  Case 8:19-md-02879-PWG Document 352 Filed 07/24/19 Page 1 of 373



              IN THE UNITED STATES DISTRICT COURT
                 FOR THE DISTRICT OF MARYLAND
                         Southern Division


IN RE: MARRIOTT INTERNATIONAL
INC., CUSTOMER DATA SECURITY
                                              REDACTED
BREACH LITIGATION
                                  MDL No. 19-md-2879

THIS DOCUMENT RELATES TO
THE CONSUMER ACTIONS              Judge Paul W. Grimm


                                  JURY TRIAL DEMANDED




         CONSOLIDATED CONSUMER CLASS ACTION COMPLAINT
         Case 8:19-md-02879-PWG Document 352 Filed 07/24/19 Page 2 of 373




                                               TABLE OF CONTENTS

INTRODUCTION..........................................................................................................................1

JURISDICTION AND VENUE ....................................................................................................2

DEFENDANTS ..............................................................................................................................4

DEFINITIONS ...............................................................................................................................4

NAMED PLAINTIFFS ..................................................................................................................5
  Alabama ........................................................................................................................................5
  Alaska ...........................................................................................................................................6
  Arizona..........................................................................................................................................7
  Arkansas ........................................................................................................................................7
  California ......................................................................................................................................8
  Colorado........................................................................................................................................9
  Connecticut .................................................................................................................................10
  Delaware .....................................................................................................................................11
  Florida .........................................................................................................................................11
  Georgia ........................................................................................................................................12
  Hawaii .........................................................................................................................................13
  Idaho ...........................................................................................................................................13
  Illinois .........................................................................................................................................14
  Indiana.........................................................................................................................................15
  Iowa.............................................................................................................................................15
  Kansas .........................................................................................................................................15
  Kentucky .....................................................................................................................................16
  Louisiana .....................................................................................................................................16
  Maine ..........................................................................................................................................17
  Maryland .....................................................................................................................................18
  Massachusetts .............................................................................................................................18
  Michigan .....................................................................................................................................18
  Minnesota....................................................................................................................................19



                                                                    i
         Case 8:19-md-02879-PWG Document 352 Filed 07/24/19 Page 3 of 373



  Mississippi ..................................................................................................................................20
  Missouri ......................................................................................................................................20
  Montana ......................................................................................................................................21
  Nebraska .....................................................................................................................................21
  Nevada ........................................................................................................................................21
  New Hampshire ..........................................................................................................................22
  New Jersey ..................................................................................................................................22
  New Mexico ................................................................................................................................23
  New York ....................................................................................................................................23
  North Carolina ............................................................................................................................25
  North Dakota ...............................................................................................................................25
  Ohio.............................................................................................................................................26
  Oklahoma ....................................................................................................................................26
  Oregon.........................................................................................................................................26
  Pennsylvania ...............................................................................................................................27
  Rhode Island ...............................................................................................................................28
  South Carolina ............................................................................................................................28
  South Dakota...............................................................................................................................28
  Tennessee ....................................................................................................................................29
  Texas ...........................................................................................................................................29
  Utah .............................................................................................................................................30
  Vermont ......................................................................................................................................31
  Virginia .......................................................................................................................................31
  Washington .................................................................................................................................32
  West Virginia ..............................................................................................................................32
  Wisconsin....................................................................................................................................33
  Wyoming.....................................................................................................................................33

FACTUAL ALLEGATIONS ......................................................................................................33
    Marriott International and its Privacy Policy ...........................................................................33
    Starwood Hotels and Its Preferred Guest Program ..................................................................36
    Marriott’s Acquisition of Starwood .........................................................................................41
    Marriott and Starwood Knew they were Targets of Cyber Threats .........................................47



                                                                   ii
         Case 8:19-md-02879-PWG Document 352 Filed 07/24/19 Page 4 of 373



     The Data Breach ......................................................................................................................56
     Marriott’s Response to the Breach ...........................................................................................63
     Reactions to the Breach and Government and Regulatory Investigations ...............................68
     An Independent Report Confirms Marriott’s Deficient Data Security Practices ....................73
     Accenture’s Role in the Data Breach .......................................................................................79
     Marriott Failed to Comply with Regulatory Guidance ............................................................83
     The Effect of the Data Breach on Impacted Consumers..........................................................84

CLASS ACTION ALLEGATIONS ...........................................................................................90

CHOICE OF LAW FOR NATIONWIDE CLAIMS ................................................................94

CLAIMS ON BEHALF OF THE NATIONWIDE CLASS AGAINST MARRIOTT
AND STARWOOD ......................................................................................................................96

      COUNT 1 ...............................................................................................................................96
      NEGLIGENCE

      COUNT 2 .............................................................................................................................100
      NEGLIGENCE PER SE

      COUNT 3 .............................................................................................................................101
      BREACH OF CONTRACT

      COUNT 4 .............................................................................................................................103
      BREACH OF IMPLIED CONTRACT

      COUNT 5 .............................................................................................................................104
      UNJUST ENRICHMENT

      COUNT 6 .............................................................................................................................106
      DECLARATORY JUDGMENT

      COUNT 7 .............................................................................................................................108
      MARYLAND PERSONAL INFORMATION PROTECTION ACT
      Md. Comm. Code §§ 14-3501, et seq.

      COUNT 8 .............................................................................................................................110
      MARYLAND CONSUMER PROTECTION ACT
      Md. Code Ann., Com. Law §§ 13-301, et seq.

CLAIMS ON BEHALF OF THE ALABAMA SUBCLASS ..................................................114

      COUNT 9 .............................................................................................................................114
      ALABAMA DECEPTIVE TRADE PRACTICES ACT
      Ala. Code §§ 8-19-1, et seq.


                                                               iii
      Case 8:19-md-02879-PWG Document 352 Filed 07/24/19 Page 5 of 373



CLAIMS ON BEHALF OF THE ALASKA SUBCLASS ......................................................118

    COUNT 10 ...........................................................................................................................118
    PERSONAL INFORMATION PROTECTION ACT
    Alaska Stat. §§ 45.48.010, et seq.

    COUNT 11 ...........................................................................................................................119
    ALASKA CONSUMER PROTECTION ACT
    Alaska Stat. §§ 45.50.471, et seq.

CLAIMS ON BEHALF OF THE ARIZONA SUBCLASS....................................................122

    COUNT 12 ...........................................................................................................................122
    ARIZONA CONSUMER FRAUD ACT
    A.R.S. §§ 44-1521, et seq.

CLAIMS ON BEHALF OF THE ARKANSAS SUBCLASS ................................................125

    COUNT 13 ...........................................................................................................................125
    ARKANSAS DECEPTIVE TRADE PRACTICES ACT
    A.C.A. §§ 4-88-101, et seq.

CLAIMS ON BEHALF OF THE CALIFORNIA SUBCLASS.............................................129

    COUNT 14 ...........................................................................................................................129
    CALIFORNIA CUSTOMER RECORDS ACT
    Cal. Civ. Code §§ 1798.80, et seq.

    COUNT 15 ...........................................................................................................................131
    CALIFORNIA UNFAIR COMPETITION LAW
    Cal. Bus. & Prof. Code §§ 17200, et seq.

    COUNT 16 ...........................................................................................................................135
    CALIFORNIA CONSUMER LEGAL REMEDIES ACT
    Cal. Civ. Code §§ 1750, et seq.

CLAIMS ON BEHALF OF THE COLORADO SUBCLASS ...............................................137

    COUNT 17 ...........................................................................................................................137
    COLORADO SECURITY BREACH NOTIFICATION ACT
    Colo. Rev. Stat. §§ 6-1-716, et seq.

    COUNT 18 ...........................................................................................................................138
    COLORADO CONSUMER PROTECTION ACT
    Colo. Rev. Stat. §§ 6-1-101, et seq.




                                                             iv
       Case 8:19-md-02879-PWG Document 352 Filed 07/24/19 Page 6 of 373



CLAIMS ON BEHALF OF THE CONNECTICUT SUBCLASS ........................................142

    COUNT 19 ...........................................................................................................................142
    CONNECTICUT UNFAIR TRADE PRACTICES ACT
    C.G.S.A. § 42-110G

CLAIMS ON BEHALF OF THE DELAWARE SUBCLASS ...............................................145

    COUNT 20 ...........................................................................................................................145
    DELAWARE COMPUTER SECURITY BREACH ACT
    6 Del. Code Ann. §§ 12B-102, et seq.

    COUNT 21 ...........................................................................................................................146
    DELAWARE CONSUMER FRAUD ACT
    6 Del. Code §§ 2513, et seq.

CLAIMS ON BEHALF OF THE DISTRICT OF COLUMBIA SUBCLASS .....................149

    COUNT 22 ...........................................................................................................................149
    DISTRICT OF COLUMBIA CONSUMER SECURITY BREACH NOTIFICATION
   ACT
    D.C. Code §§ 28-3851, et seq.

    COUNT 23 ...........................................................................................................................150
    DISTRICT OF COLUMBIA CONSUMER PROTECTION PROCEDURES ACT
    D.C. Code §§ 28-3904, et seq.

CLAIMS ON BEHALF OF THE FLORIDA SUBCLASS ....................................................154

    COUNT 24 ...........................................................................................................................154
    FLORIDA DECEPTIVE AND UNFAIR TRADE PRACTICES ACT
    Fla. Stat. §§ 501.201, et seq.

CLAIMS ON BEHALF OF THE GEORGIA SUBCLASS ...................................................157

    COUNT 25 ...........................................................................................................................157
    GEORGIA UNIFORM DECEPTIVE TRADE PRACTICES ACT
    Ga. Code Ann. §§ 10-1-370, et seq.

    COUNT 26 ...........................................................................................................................160
    RECOVERY OF EXPENSES OF LITIGATION ON BEHALF OF GEORGIA
    SUBCLASS
    O.C.G.A. § 13-6-11

CLAIMS ON BEHALF OF THE HAWAII SUBCLASS ......................................................161

    COUNT 27 ...........................................................................................................................161



                                                             v
      Case 8:19-md-02879-PWG Document 352 Filed 07/24/19 Page 7 of 373



    HAWAII SECURITY BREACH NOTIFICATION ACT
    Haw. Rev. Stat. §§ 487N-1, et seq.

    COUNT 28 ...........................................................................................................................162
    HAWAII UNFAIR PRACTICES AND UNFAIR COMPETITION ACT
    Haw. Rev. Stat. §§ 480-1, et seq.

    COUNT 29 ...........................................................................................................................165
    HAWAII UNIFORM DECEPTIVE TRADE PRACTICE ACT
    Haw. Rev. Stat. §§ 481A-3, et seq.

CLAIMS ON BEHALF OF THE IDAHO SUBCLASS .........................................................167

    COUNT 30 ...........................................................................................................................167
    IDAHO CONSUMER PROTECTION ACT
    Idaho Code §§ 48-601, et seq.

CLAIMS ON BEHALF OF THE ILLINOIS SUBCLASS ....................................................170

    COUNT 31 ...........................................................................................................................170
    ILLINOIS PERSONAL INFORMATION PROTECTION ACT
    815 Ill. Comp. Stat. §§ 530/10(a), et seq.

    COUNT 32 ...........................................................................................................................171
    ILLINOIS CONSUMER FRAUD ACT
    815 Ill. Comp. Stat. §§ 505, et seq.

    COUNT 33 ...........................................................................................................................174
    ILLINOIS UNIFORM DECEPTIVE TRADE PRACTICES ACT
    815 Ill. Comp. Stat. §§ 510/2, et seq.

CLAIMS ON BEHALF OF THE INDIANA SUBCLASS .....................................................177

    COUNT 34 ...........................................................................................................................177
    Indiana Deceptive Consumer sales ACT
    Ind. Code §§ 24-5-0.5-1, et seq.

CLAIMS ON BEHALF OF THE IOWA SUBCLASS ...........................................................183

    COUNT 35 ...........................................................................................................................183
    PERSONAL INFORMATION SECURITY BREACH PROTECTION LAW
    Iowa Code § 715C.2

    COUNT 36 ...........................................................................................................................184
    IOWA PRIVATE RIGHT OF ACTION FOR CONSUMER FRAUDS ACT
    Iowa Code § 714H




                                                             vi
      Case 8:19-md-02879-PWG Document 352 Filed 07/24/19 Page 8 of 373



CLAIMS ON BEHALF OF THE KANSAS SUBCLASS ......................................................187

    COUNT 37 ...........................................................................................................................187
    PROTECTION OF CONSUMER INFORMATION
    Kan. Stat. Ann. §§ 50-7a02(a), et seq.

    COUNT 38 ...........................................................................................................................188
    KANSAS CONSUMER PROTECTION ACT
    K.S.A. §§ 50-623, et seq.

CLAIMS ON BEHALF OF THE KENTUCKY SUBCLASS ...............................................192

    COUNT 39 ...........................................................................................................................192
    KENTUCKY COMPUTER SECURITY BREACH NOTIFICATION ACT
    Ky. Rev. Stat. Ann. §§ 365.732, et seq.

    COUNT 40 ...........................................................................................................................193
    KENTUCKY CONSUMER PROTECTION ACT
    Ky. Rev. Stat. §§ 367.110, et seq.

CLAIMS ON BEHALF OF THE LOUISIANA SUBCLASS ................................................196

    COUNT 41 ...........................................................................................................................196
    DATABASE SECURITY BREACH NOTIFICATION LAW
    La. Rev. Stat. Ann. §§ 51:3074(A), et seq.

    COUNT 42 ...........................................................................................................................197
    LOUISIANA UNFAIR TRADE PRACTICES AND CONSUMER
    PROTECTION LAW
    La Rev. Stat. Ann. §§ 51:1401, et seq.

CLAIMS ON BEHALF OF THE MAINE SUBCLASS.........................................................201

    COUNT 43 ...........................................................................................................................201
    MAINE UNFAIR TRADE PRACTICES ACT
    5 Me. Rev. Stat. §§ 205, 213, et seq.

    COUNT 44 ...........................................................................................................................203
    MAINE UNIFORM DECEPTIVE TRADE PRACTICES ACT
    10 Me. Rev. Stat. §§ 1212, et seq.

CLAIMS ON BEHALF OF THE MASSACHUSETTS SUBCLASS ...................................206

    COUNT 45 ...........................................................................................................................206
    MASSACHUSETTS CONSUMER PROTECTION ACT
    Mass. Gen. Laws Ann. Ch. 93A, §§ 1, et seq.




                                                            vii
      Case 8:19-md-02879-PWG Document 352 Filed 07/24/19 Page 9 of 373



CLAIMS ON BEHALF OF THE MICHIGAN SUBCLASS.................................................210

    COUNT 46 ...........................................................................................................................210
    MICHIGAN IDENTITY THEFT PROTECTION ACT
    Mich. Comp. Laws Ann. §§ 445.72, et seq.

    COUNT 47 ...........................................................................................................................211
    MICHIGAN CONSUMER PROTECTION ACT
    Mich. Comp. Laws Ann. §§ 445.903, et seq.

CLAIMS ON BEHALF OF THE MINNESOTA SUBCLASS ..............................................214

    COUNT 48 ...........................................................................................................................214
    MINNESOTA CONSUMER FRAUD ACT
    Minn. Stat. §§ 325F.68, et seq. and Minn. Stat. §§ 8.31, et seq.

    COUNT 49 ...........................................................................................................................217
    MINNESOTA UNIFORM DECEPTIVE TRADE PRACTICES ACT
    Minn. Stat. §§ 325D.43, et seq.

CLAIMS ON BEHALF OF THE MISSISSIPPI SUBCLASS...............................................220

    COUNT 50 ...........................................................................................................................220
    MISSISSIPPI CONSUMER PROTECTION ACT
    Miss. Code §§ 75-24-1, et seq.

CLAIMS ON BEHALF OF THE MISSOURI SUBCLASS ..................................................224

    COUNT 51 ...........................................................................................................................224
    MISSOURI MERCHANDISING PRACTICES ACT
    Mo. Rev. Stat. §§ 407.010, et seq.

CLAIMS ON BEHALF OF THE MONTANA SUBCLASS .................................................227

    COUNT 52 ...........................................................................................................................227
    COMPUTER SECURITY BREACH LAW
    Mont. Code Ann. §§ 30-14-1704(1), et seq.

    COUNT 53 ...........................................................................................................................228
    MONTANA UNFAIR TRADE PRACTICES AND CONSUMER
    PROTECTION ACT
    M.C.A. §§ 30-14-101, et seq.

CLAIMS ON BEHALF OF THE NEBRASKA SUBCLASS ................................................231

    COUNT 54 ...........................................................................................................................231
    NEBRASKA CONSUMER PROTECTION ACT
    Neb. Rev. Stat. §§ 59-1601, et seq.


                                                            viii
     Case 8:19-md-02879-PWG Document 352 Filed 07/24/19 Page 10 of 373



    COUNT 55 ...........................................................................................................................234
    NEBRASKA UNIFORM DECEPTIVE TRADE PRACTICES ACT
    Neb. Rev. Stat. §§ 87-301, et seq.

CLAIMS ON BEHALF OF THE NEVADA SUBCLASS .....................................................237

    COUNT 56 ...........................................................................................................................237
    NEVADA DECEPTIVE TRADE PRACTICES ACT
    Nev. Rev. Stat. Ann. §§ 598.0903 et seq.

CLAIMS ON BEHALF OF THE NEW HAMPSHIRE SUBCLASS ...................................240

    COUNT 57 ...........................................................................................................................240
    NOTICE OF SECURITY BREACH
    N.H. Rev. Stat. Ann. §§ 359-C:20(I)(A), et seq.

    COUNT 58 ...........................................................................................................................241
    NEW HAMPSHIRE CONSUMER PROTECTION ACT
    N.H.R.S.A. §§ 358-A, et seq.

CLAIMS ON BEHALF OF THE NEW JERSEY SUBCLASS.............................................244

    COUNT 59 ...........................................................................................................................244
    NEW JERSEY CUSTOMER SECURITY BREACH DISCLOSURE ACT
    N.J. Stat. Ann. §§ 56:8-163, et seq.

    COUNT 60 ...........................................................................................................................245
    NEW JERSEY CONSUMER FRAUD ACT
    N.J. Stat. Ann. §§ 56:8-1, et seq.

CLAIMS ON BEHALF OF THE NEW MEXICO SUBCLASS ...........................................248

    COUNT 61 ...........................................................................................................................248
    NEW MEXICO UNFAIR PRACTICES ACT
    N.M. Stat. Ann. §§ 57-12-2, et seq.

CLAIMS ON BEHALF OF THE NEW YORK SUBCLASS ................................................252

    COUNT 62 ...........................................................................................................................252
    NEW YORK GENERAL BUSINESS LAW
    N.Y. Gen. Bus. Law §§ 349, et seq.

CLAIMS ON BEHALF OF THE NORTH CAROLINA SUBCLASS .................................254

    COUNT 63 ...........................................................................................................................254
    NORTH CAROLINA IDENTITY THEFT PROTECTION ACT
    N.C. Gen. Stat. §§ 75-60, et seq.



                                                             ix
      Case 8:19-md-02879-PWG Document 352 Filed 07/24/19 Page 11 of 373



    COUNT 64 ...........................................................................................................................255
    NORTH CAROLINA UNFAIR TRADE PRACTICES ACT
    N.C. Gen. Stat. Ann. §§ 75-1.1, et seq.

CLAIMS ON BEHALF OF THE NORTH DAKOTA SUBCLASS .....................................259

    COUNT 65 ...........................................................................................................................259
    NOTICE OF SECURITY BREACH FOR PERSONAL INFORMATION,
    N.D. Cent. Code §§ 51-30-02, et seq.

    COUNT 66 ...........................................................................................................................260
    NORTH DAKOTA UNLAWFUL SALES OR ADVERTISING ACT
    N.D. Cent. Code §§ 51-15-01, et seq.

CLAIMS ON BEHALF OF THE OHIO SUBCLASS............................................................263

    COUNT 67 ...........................................................................................................................263
    OHIO CONSUMER SALES PRACTICES ACT
    Ohio Rev. Code §§ 1345.01, et seq.

    COUNT 68 ...........................................................................................................................266
    OHIO DECEPTIVE TRADE PRACTICES ACT
    Ohio Rev. Code §§ 4165.01, et seq.

CLAIMS ON BEHALF OF THE OKLAHOMA SUBCLASS ..............................................269

    COUNT 69 ...........................................................................................................................269
    OKLAHOMA CONSUMER PROTECTION ACT
    Okla. Stat. Tit. 15, §§ 751, et seq.

CLAIMS ON BEHALF OF THE OREGON SUBCLASS.....................................................273

    COUNT 70 ...........................................................................................................................273
    OREGON CONSUMER IDENTITY THEFT PROTECTION ACT
    Or. Rev. Stat. §§ 646A.604(1), et seq.

    COUNT 71 ...........................................................................................................................274
    OREGON UNLAWFUL TRADE PRACTICES ACT
    Or. Rev. Stat. §§ 646.608, et seq.

CLAIMS ON BEHALF OF THE PENNSYLVANIA SUBCLASS.......................................278

    COUNT 72 ...........................................................................................................................278
    PENNSYLVANIA UNFAIR TRADE PRACTICES AND CONSUMER
    PROTECTION LAW
    73 Pa. Cons. Stat. §§ 201-2 & 201-3, et seq.




                                                             x
      Case 8:19-md-02879-PWG Document 352 Filed 07/24/19 Page 12 of 373



CLAIMS ON BEHALF OF THE PUERTO RICO SUBCLASS ..........................................281

    COUNT 73 ...........................................................................................................................281
    CITIZEN INFORMATION ON DATA BANKS SECURITY ACT
    P.R. Laws Ann. tit. 10, §§ 4051, et seq.

CLAIMS ON BEHALF OF THE RHODE ISLAND SUBCLASS........................................282

    COUNT 74 ...........................................................................................................................282
    RHODE ISLAND DECEPTIVE TRADE PRACTICES ACT
    R.I. Gen. Laws §§ 6-13.1, et seq.

CLAIMS ON BEHALF OF THE SOUTH CAROLINA SUBCLASS..................................286

    COUNT 75 ...........................................................................................................................286
    SOUTH CAROLINA DATA BREACH SECURITY ACT
    S.C. Code Ann. §§ 39-1-90, et seq.

    COUNT 76 ...........................................................................................................................287
    SOUTH CAROLINA UNFAIR TRADE PRACTICES ACT
    S.C. Code Ann. §§ 39-5-10, et seq.

CLAIMS ON BEHALF OF THE SOUTH DAKOTA SUBCLASS ......................................292

    COUNT 77 ...........................................................................................................................292
    SOUTH DAKOTA DECEPTIVE TRADE PRACTICES AND CONSUMER
    PROTECTION ACT
    S.D. Codified Laws §§ 37-24-1, et seq.

CLAIMS ON BEHALF OF THE TENNESSEE SUBCLASS ...............................................296

    COUNT 78 ...........................................................................................................................296
    TENNESSEE PERSONAL CONSUMER INFORMATION RELEASE ACT
    Tenn. Code Ann. §§ 47-18-2107, et seq.

    COUNT 79 ...........................................................................................................................297
    TENNESSEE CONSUMER PROTECTION ACT
    Tenn. Code Ann. §§ 47-18-101, et seq.

CLAIMS ON BEHALF OF THE TEXAS SUBCLASS .........................................................302

    COUNT 80 ...........................................................................................................................302
    DECEPTIVE TRADE PRACTICES—CONSUMER PROTECTION ACT
    Texas Bus. & Com. Code §§ 17.41, et seq.

CLAIMS ON BEHALF OF THE UTAH SUBCLASS ...........................................................307




                                                             xi
     Case 8:19-md-02879-PWG Document 352 Filed 07/24/19 Page 13 of 373



    COUNT 81 ...........................................................................................................................307
    UTAH CONSUMER SALES PRACTICES ACT
    Utah Code §§ 13-11-1, et seq.

CLAIMS ON BEHALF OF THE VERMONT SUBCLASS..................................................312

    COUNT 82 ...........................................................................................................................312
    VERMONT CONSUMER FRAUD ACT
    Vt. Stat. Ann. Tit. 9, §§ 2451, et seq.

CLAIMS ON BEHALF OF THE VIRGIN ISLANDS SUBCLASS .....................................316

    COUNT 83 ...........................................................................................................................316
    IDENTITY THEFT PREVENTION ACT
    V.I. Code Ann. tit. 14 §§ 2208, et seq.

    COUNT 84 ...........................................................................................................................317
    VIRGIN ISLANDS CONSUMER FRAUD AND DECEPTIVE BUSINESS
    PRACTICES ACT
    Virgin Islands Code tit. 12A, §§ 301, et seq.

    COUNT 85 ...........................................................................................................................322
    VIRGIN ISLANDS CONSUMER PROTECTION LAW
    V.I. Code tit. 12A, §§101, et seq.

CLAIMS ON BEHALF OF THE VIRGINIA SUBCLASS ...................................................326

    COUNT 86 ...........................................................................................................................326
    VIRGINIA PERSONAL INFORMATION BREACH NOTIFICATION ACT
    Va. Code. Ann. §§ 18.2-186.6, et seq.

    COUNT 87 ...........................................................................................................................327
    VIRGINIA CONSUMER PROTECTION ACT
    Va. Code Ann. §§ 59.1-196, et seq.

CLAIMS ON BEHALF OF THE WASHINGTON SUBCLASS ..........................................331

    COUNT 88 ...........................................................................................................................331
    WASHINGTON DATA BREACH NOTICE ACT
    Wash. Rev. Code §§ 19.255.010, et seq.

    COUNT 89 ...........................................................................................................................332
    WASHINGTON CONSUMER PROTECTION ACT
    Wash. Rev. Code Ann. §§ 19.86.020, et seq.

CLAIMS ON BEHALF OF THE WEST VIRGINIA SUBCLASS.......................................335

    COUNT 90 ...........................................................................................................................335


                                                            xii
        Case 8:19-md-02879-PWG Document 352 Filed 07/24/19 Page 14 of 373



      WEST VIRGINIA CONSUMER CREDIT AND PROTECTION ACT
      W. Va. Code §§46A-6-101, et seq.

CLAIMS ON BEHALF OF THE WISCONSIN SUBCLASS ...............................................341

      COUNT 91 ...........................................................................................................................341
      NOTICE OF UNAUTHORIZED ACQUISITION OF PERSONAL
      INFORMATION
      Wis. Stat. §§ 134.98(2), et seq.

      COUNT 92 ...........................................................................................................................342
      WISCONSIN DECEPTIVE TRADE PRACTICES ACT
      Wis. Stat. § 100.18

CLAIMS ON BEHALF OF THE WYOMING SUBCLASS .................................................346

      COUNT 93 ...........................................................................................................................346
      COMPUTER SECURITY BREACH; NOTICE TO AFFECTED PERSONS
      Wyo. Stat. Ann. §§ 40-12-502(a), et seq.

      COUNT 94 ...........................................................................................................................347
      WYOMING CONSUMER PROTECTION ACT
      Wyo. Stat. Ann. §§ 40-12-101, et seq.

CLAIMS ON BEHALF OF THE NATIONWIDE CLASS AGAINST
ACCENTURE ............................................................................................................................352

      COUNT 95 ...........................................................................................................................352
      NEGLIGENCE

      COUNT 96 ...........................................................................................................................355
      NEGLIGENCE PER SE

REQUEST FOR RELIEF .........................................................................................................356

DEMAND FOR JURY TRIAL .................................................................................................357




                                                              xiii
      Case 8:19-md-02879-PWG Document 352 Filed 07/24/19 Page 15 of 373



                                       INTRODUCTION

       1.      On November 30, 2018, Marriott announced that it was subject to one of the

largest data breaches in history when the sensitive personal and financial information of up to

500 million hotel guests was exfiltrated from its Starwood guest reservation database as part of

an extensive, four-year long data breach.

       2.      Beginning in July 2014 and continuing through September 2018, hackers

exploited glaring vulnerabilities in the Starwood network to install malicious software, harvest

user credentials, and roam freely across the Starwood networks to steal valuable consumer data.

The stolen information includes names, mailing addresses, phone numbers, email addresses,

passport numbers, Starwood Preferred Guest account information, dates of birth, gender, arrival

and departure information, reservation dates, communication preferences, payment card

numbers, payment card expiration dates, and tools needed to decrypt cardholder data. Perhaps

most shockingly, given the extended period during which the hackers had access to Starwood’s

systems, Marriott has been unable to definitively determine how much data was stolen beyond

the limited data it has been able to identify, since several files that the hackers appear to have

exfiltrated were deleted.

       3.      Subsequently, Marriott disclosed that after removing duplicates, the data breach

impacted at least 383 million guest records—making it one of the largest data breaches in

history. The impacted records Marriott was able to identify include nearly 24 million passport

numbers (more than 5 million of which were unencrypted), and more than 9 million credit and

debit cards. Marriott has asserted it does not know who carried out the attack.

       4.      Defendants are responsible for allowing the breach to occur because they failed to

implement and maintain any reasonable safeguards and failed to comply with industry-standard




                                                1
      Case 8:19-md-02879-PWG Document 352 Filed 07/24/19 Page 16 of 373



data security practices, contrary to the representations made in Marriott’s privacy statements and

its explicit and implied agreements with its hotel guests.

       5.      During the four-year data breach period, one of the longest undiscovered breach

periods ever, Marriott (and its third party IT security provider, Accenture) failed to detect the

hackers’ presence, notice the massive amounts of data that was being exfiltrated from

Starwood’s databases, and failed to take any steps to investigate the numerous other red flags

that should have warned the companies that Starwood’s systems were not secure – even in the

face of other breaches at Starwood and despite the extensive due diligence Marriott should have

undertaken in purchasing Starwood. As a result of Defendants’ failure to protect the consumer

information they were entrusted to safeguard, Plaintiffs and class members did not receive the

benefits of their bargains—protection of their Personal Information when transacting with

Marriott—and have been exposed to and/or are at significant risk of identity theft, financial

fraud, and other identity-related fraud into the indefinite future. Plaintiffs and class members

have also lost the inherent value of their Personal Information.

                                JURISDICTION AND VENUE

       6.      This Consolidated Complaint is intended to serve as a superseding complaint as to

all other complaints consolidated in this multidistrict litigation that were filed on behalf of

consumers, and to serve for all purposes as the operative pleading for the Classes defined below.

       7.      This Court has subject matter jurisdiction pursuant to the Class Action Fairness

Act of 2005 (“CAFA”), 28 U.S.C. § 1332(d). The amount in controversy exceeds the sum of

$5,000,000.00 exclusive of interest and costs, there are more than 100 putative class members,

and minimal diversity exists because the majority of putative class members are citizens of a

different state than Marriott. This Court also has supplemental jurisdiction pursuant to 28 U.S.C.

§ 1367(a) because all claims alleged herein form part of the same case or controversy.


                                                 2
      Case 8:19-md-02879-PWG Document 352 Filed 07/24/19 Page 17 of 373



       8.      This Court has personal jurisdiction over Marriott because it is headquartered in

and maintains its principal place of business in this District. Marriott is authorized to and

regularly conducts business in Maryland. In this District, Marriott makes decisions regarding

corporate governance and management of the hotels that it owns or manages, including decisions

regarding the security measures to protect its customers’ Personal Information. Marriott owns

and operates many hotels throughout Maryland, the United States, and internationally. Marriott

intentionally avails itself of this jurisdiction by promoting, selling and marketing its services

from Maryland to millions of consumers nationwide.

       9.      This Court has personal jurisdiction over Starwood because Starwood is

incorporated in Maryland, maintains its principal place of business in Maryland, regularly

conducts business in Maryland and has sufficient minimum contacts in Maryland such that

Starwood intentionally avails itself of this Court’s jurisdiction by conducting corporate

operations here and promoting, selling and marketing its services from this District to millions of

consumers nationwide.

       10.     This Court has personal jurisdiction over Accenture because it is authorized to

and regularly conducts business in Maryland and has sufficient minimum contacts in Maryland

such that Accenture intentionally avails itself of this Court’s jurisdiction by conducting

operations here and promoting, selling and marketing its services in this District.

       11.     Venue is proper in this District under 28 U.S.C. 1391(a) through (d) because

Marriott’s headquarters and principal place of business are located in this District, Starwood

resides in this District, and substantial parts of the events or omissions giving rise to the claims

occurred in or emanated from this District, including, without limitation, decisions made by

Marriott’s governance and management personnel or inaction by those individuals that led to




                                                 3
      Case 8:19-md-02879-PWG Document 352 Filed 07/24/19 Page 18 of 373



misrepresentations, invasions of privacy and the Data Breach. Moreover, Accenture maintains an

office in this District, conducts business in this District, and provided services to Marriott and

Starwood in this District.

                                         DEFENDANTS

       12.     Defendant Marriott International, Inc. is a Delaware corporation with its principal

place of business in Bethesda, Maryland.

       13.     Defendant Starwood Hotels & Resorts Worldwide, LLC is a Maryland limited

liability company with its principal place of business in Bethesda, Maryland. Starwood is now a

wholly-owned subsidiary of Defendant Marriott.

       14.     Defendant Accenture plc is an Irish public limited company, with its principal

executive offices in Dublin, Ireland and operates its business through subsidiaries of Accenture

plc. Defendant Accenture LLP is a subsidiary of Accenture plc and a limited liability partnership

organized under the laws of the state of Illinois. Defendants Accenture plc and Accenture LLP

are collectively referred to herein as “Accenture.”

                                         DEFINITIONS

       15.     As used throughout this Complaint, “Data Breach” refers to the data security

incident involving the Starwood guest reservation database announced by Marriott on November

30, 2018.

       16.     As used throughout this Complaint, “Marriott” is defined to include Marriott

International, Inc., Starwood Hotels & Resorts Worldwide, LLC, Starwood Hotels & Resorts

Worldwide, Inc., and any other wholly-owned subsidiaries of Marriott International, Inc.

       17.     As used throughout this Complaint, “Personal Information” is defined to include

all information exposed in the Data Breach, including all or any part or combination of name,

mailing address, phone number, email address, passport number, Starwood Preferred Guest


                                                 4
      Case 8:19-md-02879-PWG Document 352 Filed 07/24/19 Page 19 of 373



account information, date of birth, gender, arrival and departure information, reservation date,

communication preferences, payment card numbers, and payment card expiration dates.

       18.     As used throughout this Complaint, “Marriott Property” is defined to include any

Marriott property collecting guest information that was compromised in the Data Breach

including W Hotels, St. Regis, Sheraton Hotels & Resorts, Westin Hotels & Resorts, Element

Hotels, Aloft Hotels, The Luxury Collection, Tribute Portfolio, Le Méridien Hotels & Resorts,

Four Points by Sheraton and Design Hotels, and Starwood-branded timeshare properties

Sheraton Vacation Club, Westin Vacation Club, The Luxury Collection Residence Club, St.

Regis Residence Club, and Vistana.

                                     NAMED PLAINTIFFS

       19.     Plaintiffs are individuals who, upon information and belief, had their Personal

Information compromised in the Data Breach, and bring this action on behalf of themselves and

all those similarly situated both across the United States and within their State or Territory of

residence. The following allegations are made upon information and belief derived from, among

other things, investigation of counsel, public sources, and the facts and circumstances as

currently known. Because Marriott has exclusive but incomplete knowledge of what information

was compromised for each individual, including payment card and passport information,

Plaintiffs reserve their right to supplement their allegations with additional facts and injuries as

they are discovered.

                                           ALABAMA

       20.     Plaintiff Keith Williams is a resident of the State of Alabama and provided his

Personal Information to Marriott in order to stay at a Marriott Property prior to the Data Breach.

As a result of the Data Breach, Plaintiff Williams has suffered identity theft and fraud in the form

of unauthorized accounts opened and applied for in his name and unauthorized tax returns filed


                                                 5
        Case 8:19-md-02879-PWG Document 352 Filed 07/24/19 Page 20 of 373



in his name. As a result, Plaintiff Williams spent time and money signing up for credit

monitoring, freezing his credit, filing a police report, contacting banks and credit card

companies, and contacting and filing paperwork with the IRS, the Social Security

Administration, and state attorneys general offices to resolve the identity theft and fraud issues.

Further, as a result of the Data Breach and an inability to resolve the issues caused by the

fraudulently filed tax return, Plaintiff has not received tax refunds owed to him. As a direct result

of the Data Breach, Plaintiff Williams spent time and money enrolling in credit monitoring and

freezing his credit to mitigate potential harm. Prior to the announcement of the Data Breach,

Plaintiff Williams used his debit card to purchase goods or services at a Marriott Property. As a

result of the Data Breach, Plaintiff Williams subsequently experienced unauthorized charges on

this same payment card. As a result of this fraud, Plaintiff Williams spent time investigating the

source of the unauthorized charges and working with his bank to reverse the charges and get a

new card. In addition, as a result of the Data Breach, Plaintiff Williams spent time and effort

monitoring his financial accounts to detect fraudulent activity. Given the highly-sensitive nature

of the information stolen, Plaintiff Williams remains at a substantial and imminent risk of future

harm.

                                             ALASKA

         21.   Plaintiff Teresa Borman is a resident of the State of Alaska and provided her

Personal Information to Marriott in order to stay at a Marriott Property prior to the Data Breach.

As a result of the Data Breach, Plaintiff Borman spent time and effort regularly monitoring her

accounts to detect fraudulent activity and monitoring her credit accounts through a credit

monitoring service in order to mitigate against potential harm. Given the highly-sensitive nature

of the information stolen, Plaintiff Borman remains at a substantial and imminent risk of future

harm.


                                                 6
      Case 8:19-md-02879-PWG Document 352 Filed 07/24/19 Page 21 of 373



                                            ARIZONA

       22.     Plaintiff Nathan Esquerra is a resident of the State of Arizona and provided his

Personal Information to Marriott in order to purchase a Marriott timeshare and stay at a Marriott

Property prior to the Data Breach. As a result of the Data Breach, Plaintiff Esquerra spent time

and money purchasing credit monitoring in order to mitigate against potential harm. In addition,

as a result of the Data Breach, Plaintiff Esquerra spent time and effort monitoring his credit score

and financial accounts to detect fraudulent activity. Given the highly-sensitive nature of the

information stolen, Plaintiff Esquerra remains at a substantial and imminent risk of future harm.

                                           ARKANSAS

       23.     Plaintiff Sean Phillips is a resident of the State of Arkansas and provided his

Personal Information to Marriott in order to stay at a Marriott Property prior to the Data Breach.

As a result of the Data Breach, Plaintiff Phillips has suffered identity theft and fraud in the form

of unauthorized accounts opened in his name, unauthorized debit and credit cards opened and

applied for in his name, and unauthorized tax returns filed in his name. As a result of this identity

theft and fraud, Plaintiff Phillips spent time filing a police report regarding the fraudulently filed

tax return, working with the SEC and IRS to resolve the fraudulent tax return issues, working

with his bank to combat fraud on his account and to shut down fraudulently opened debit and

credit cards, and working with a retailer to shut down a fraudulently opened account. Further, as

a result of the Data Breach and an inability to resolve the issues caused by the fraudulently filed

tax returns, Plaintiff Phillips has not received the tax refund owed to him. Plaintiff Phillips has

also spent time and effort freezing his credit, monitoring his financial accounts, and searching for

fraudulent activity. Given the highly-sensitive nature of the information stolen, Plaintiff Phillips

remains at a substantial and imminent risk of future harm.




                                                  7
      Case 8:19-md-02879-PWG Document 352 Filed 07/24/19 Page 22 of 373



       24.     Plaintiff William Boyd is a resident of the State of Arkansas and provided his

Personal Information to Marriott in order to purchase incidentals at a Marriott Property prior to

the Data Breach. As a result of the Data Breach, Plaintiff Boyd spent time and effort researching

the Data Breach and its impact, and monitoring his financial accounts and credit reports to detect

fraudulent activity. Given the highly-sensitive nature of the information stolen, Plaintiff Boyd

remains at a substantial and imminent risk of future harm.

                                         CALIFORNIA

       25.     Plaintiff Robert Guzikowski is a resident of the State of California and provided

his Personal Information to Marriott in order to stay at a Marriott Property prior to the Data

Breach. Plaintiff Guzikowski also provided his passport information in order to stay at a Marriott

Property. As a result of the Data Breach, Plaintiff Guzikowski spent time and money purchasing

credit monitoring and identity theft protection services and making international calls in order to

mitigate against potential harm. In addition, as a result of the Data Breach, Plaintiff Guzikowski

spent time and effort monitoring his financial accounts to detect fraudulent activity. Given the

highly-sensitive nature of the information stolen, Plaintiff Guzikowski remains at a substantial

and imminent risk of future harm.

       26.     Plaintiff Denitrice Marks is a resident of the State of California and provided her

Personal Information to Marriott in order to stay at a Marriott Property prior to the Data Breach.

As a result of the Data Breach, Plaintiff Marks spent time and effort monitoring her financial

accounts to detect fraudulent activity. Given the highly-sensitive nature of the information stolen,

Plaintiff Marks remains at a substantial and imminent risk of future harm.

       27.     Plaintiff Janel Sempre is a resident of the State of California and provided her

Personal Information to Marriott in order to stay at a Marriott Property prior to the Data Breach.

As a result of the Data Breach, Plaintiff Sempre spent time and money purchasing credit


                                                 8
      Case 8:19-md-02879-PWG Document 352 Filed 07/24/19 Page 23 of 373



monitoring and identity theft protection services and reviewing her credit reports to detect

fraudulent activity. Plaintiff Sempre also spent time and effort monitoring her financial accounts

to detect fraudulent activity, researching the Data Breach, and calling her bank and credit card

companies to ensure her accounts were secure. Given the highly-sensitive nature of the

information stolen, Plaintiff Sempre remains at a substantial and imminent risk of future harm.

       28.     Plaintiff Maria Maisto is a resident of the State of California and provided her

Personal Information to Marriott in order to stay at a Marriott Property prior to the Data Breach.

Plaintiff Maisto also provided her passport information in order to stay at a Marriott Property.

Prior to the announcement of the Data Breach, Plaintiff Maisto used her credit card to purchase

goods or services at a Marriott Property. As a result of the Data Breach, Plaintiff Maisto spent

time and effort monitoring her financial accounts and credit card statements to detect fraudulent

activity and uses a credit monitoring service in order to mitigate against potential harm. Given

the highly-sensitive nature of the information stolen, Plaintiff Maisto remains at a substantial and

imminent risk of future harm.

                                          COLORADO

       29.     Plaintiff Matthew Crabtree is a resident of the State of Colorado and provided his

Personal Information to Marriott in order to stay at a Marriott Property prior to the Data Breach.

Plaintiff Crabtree also provided his passport information in order to stay at a Marriott Property.

As a result of the Data Breach, Plaintiff Crabtree spent time and effort monitoring his financial

accounts to detect fraudulent activity. Given the highly-sensitive nature of the information stolen,

Plaintiff Crabtree remains at a substantial and imminent risk of future harm.

       30.     Plaintiff Travis Bowlby is a resident of the State of Colorado and provided his

Personal Information to Marriott in order to stay at a Marriott Property prior to the Data Breach.

Prior to the announcement of the Data Breach, Plaintiff Bowlby used his credit card to purchase


                                                 9
      Case 8:19-md-02879-PWG Document 352 Filed 07/24/19 Page 24 of 373



goods or services at a Marriott Property. As a result of the Data Breach, Plaintiff Bowlby

suffered identity theft and fraud in the form of several unauthorized accounts being applied for in

his name. As a result of this identity theft and fraud, Plaintiff Bowlby spent time and money

speaking over the phone with creditors and credit report officials, investigating and monitoring

his credit for additional fraudulent activity, filling out paperwork, and paying for postage to

correspond with creditors. In addition, as a result of the Data Breach, Plaintiff Bowlby spent time

and money setting up credit freezes to help mitigate against potential harm. Given the highly

sensitive nature of the information stolen, Plaintiff Bowlby remains at a substantial and imminent

risk of future harm.

       31.     Plaintiff Joan Knudson is a resident of the State of Colorado and provided her

Personal Information to Marriott in order to stay at a Marriott Property prior to the Data Breach.

As a result of the Data Breach, Plaintiff Knudson spent time and effort monitoring her financial

accounts to detect fraudulent activity. Given the highly-sensitive nature of the information stolen,

Plaintiff Knudson remains at a substantial and imminent risk of future harm.

                                        CONNECTICUT

       32.     Plaintiff Anne Marie Amarena is a resident of the State of Connecticut and

provided her Personal Information to Marriott in order to stay at a Marriott Property prior to the

Data Breach. Plaintiff Amarena also provided her passport information in order to stay at a

Marriott Property. As a result of the Data Breach, Plaintiff Amarena spent time calling her credit

card company, filling out forms, checking her credit report and monitoring her accounts to detect

fraudulent charges. Given the highly-sensitive nature of the information stolen, Plaintiff

Amarena remains at a substantial and imminent risk of future harm.




                                                10
      Case 8:19-md-02879-PWG Document 352 Filed 07/24/19 Page 25 of 373



                                          DELAWARE

       33.     Plaintiff Frank Ragan is a resident of the State of Delaware and provided his

Personal Information to Marriott in order to stay at a Marriott Property prior to the Data Breach.

As a result of the Data Breach, Plaintiff Ragan spent time and effort contacting his bank to

mitigate against potential harm and updating various accounts in order to keep them secure. In

addition, as a result of the Data Breach, Plaintiff Ragan spent time and effort monitoring his

financial accounts, credit reports, and credit card statements for suspicious and fraudulent

activity and to mitigate against potential harm. Given the highly-sensitive nature of the

information stolen, Plaintiff Ragan remains at a substantial and imminent risk of future harm.

                                            FLORIDA

       34.     Plaintiff Irma Lawrence is a resident of the State of Florida and provided her

Personal Information to Marriott in order to stay at a Marriott Property prior to the Data Breach.

Plaintiff Lawrence also provided her passport information in order to stay at a Marriott Property.

As a result of the Data Breach, Plaintiff Lawrence spent time and effort monitoring her financial

accounts to detect fraudulent activity. Given the highly-sensitive nature of the information stolen,

Plaintiff Lawrence remains at a substantial and imminent risk of future harm.

       35.     Plaintiff Michaela Bittner is a resident of the State of Florida and provided her

Personal Information to Marriott in order to stay at a Marriott Property prior to the Data Breach.

Prior to the announcement of the Data Breach, Plaintiff Bowlby used her credit card to purchase

goods or services at a Marriott Property. As a result of the Data Breach, Plaintiff Bittner spent

time and effort monitoring her financial accounts to detect fraudulent activity. Given the highly

sensitive nature of the information stolen, Plaintiff Bittner remains at a substantial and imminent

risk of future harm.




                                                11
      Case 8:19-md-02879-PWG Document 352 Filed 07/24/19 Page 26 of 373



       36.     Plaintiff Kathleen Frakes Hevener is a resident of the State of Florida and

provided her Personal Information to Marriott in order to stay at a Marriott Property prior to the

Data Breach. Subsequent to the Data Breach, Plaintiff Hevener suffered identity theft and fraud

in the form of unauthorized credit cards applied for in her name. As a result of this identity theft

and fraud, Plaintiff Hevener spent time and effort contacting banks and credit reporting agencies

to cancel these fraudulent accounts and remove them from her credit report. Plaintiff Hevener

also spent time and effort monitoring her financial accounts to detect fraudulent activity. Given

the highly sensitive nature of the information stolen, Plaintiff Hevener remains at a substantial

and imminent risk of future harm.

                                            GEORGIA

       37.     Plaintiff Brent Long is a resident of the State of Georgia and provided his

Personal Information to Marriott in order to stay at a Marriott Property prior to the Data Breach.

Plaintiff Long also provided his passport information in order to stay at a Marriott Property. As a

result of the Data Breach, Plaintiff Long has spent time and money enrolling in credit monitoring

and identity theft protection services in order to mitigate against potential harm. In addition, as a

result of the Data Breach, Plaintiff Long spent time and effort monitoring financial accounts to

detect fraudulent activity. Given the highly-sensitive nature of the information stolen, Plaintiff

Long remains at a substantial and imminent risk of future harm.

       38.     Plaintiff David Viggiano is a resident of the State of Georgia and provided his

Personal Information to Marriott in order to stay at a Marriott Property prior to the Data Breach.

Plaintiff Viggiano also provided his passport information in order to stay at a Marriott Property.

As a result of the breach, Plaintiff Viggiano spent time and money replacing his passport in order

to mitigate against potential harm. In addition, as a result of the Data Breach, Plaintiff Viggiano

spent time and effort monitoring his financial accounts to detect fraudulent activity. Given the


                                                 12
      Case 8:19-md-02879-PWG Document 352 Filed 07/24/19 Page 27 of 373



highly-sensitive nature of the information stolen, Plaintiff Viggiano remains at a substantial and

imminent risk of future harm.

       39.     Plaintiff Mary Ann Miller is a resident of the State of Georgia and provided her

Personal Information to Marriott in order to stay at a Marriott Property prior to the Data Breach.

Prior to the announcement of the Data Breach, Plaintiff Miller used her credit card to purchase

goods or services at a Marriott Property. As a result of the Data Breach, Plaintiff Miller spent

time and effort monitoring her financial accounts for fraudulent activity. Given the highly-

sensitive nature of the information stolen, Plaintiff Miller remains at a substantial and imminent

risk of future harm.

                                           HAWAII

       40.     Plaintiff Michael Podesta is a resident of the State of Hawaii and provided his

Personal Information to Marriott in order to stay at a Marriott Property prior to the Data Breach.

Prior to the announcement of the Data Breach, Plaintiff Podesta used his credit card to purchase

goods or services at a Marriott Property. As a result of the Data Breach, Plaintiff Podesta

subsequently experienced unauthorized charges on this same payment card. As a result of this

fraud, Plaintiff Podesta spent time and effort contacting his credit card company to have the

unauthorized charges reversed and a new card issued. Plaintiff Podesta also spent time and effort

researching the Data Breach, monitoring his financial accounts to detect fraudulent activity, and

enrolling in credit monitoring services in order to mitigate against potential harm. Given the

highly-sensitive nature of the information stolen, Plaintiff Podesta remains at a substantial and

imminent risk of future harm.

                                            IDAHO

       41.     Plaintiff William Muckelroy II is a resident of the State of Idaho and provided his

Personal Information to Marriott in order to stay at a Marriott Property prior to the Data Breach.


                                               13
      Case 8:19-md-02879-PWG Document 352 Filed 07/24/19 Page 28 of 373



Plaintiff Muckelroy II also provided his passport information when staying at a Marriott

Property. After learning his passport information may have been compromised, Plaintiff

Muckelroy II spent time and money purchasing a replacement passport in order to mitigate

against potential harm. Prior to the announcement of the Data Breach, Plaintiff Muckelroy II

used his credit card to purchase goods or services at a Marriott Property. In addition, as a result

of the Data Breach, Plaintiff Muckelroy II spent time and effort enrolling in credit monitoring

services and monitoring his financial accounts to detect fraudulent activity. Given the highly-

sensitive nature of the information stolen, Plaintiff Muckelroy II remains at a substantial and

imminent risk of future harm.

                                            ILLINOIS

       42.     Plaintiff Barry Golin is a resident of the State of Illinois and provided his Personal

Information to Marriott in order to stay at a Marriott Property prior to the Data Breach. Plaintiff

Golin also provided his passport information in order to stay at a Marriott Property. Prior to the

announcement of the Data Breach, Plaintiff Golin used his credit card to purchase goods or

services at Marriott Properties. As a result of the Data Breach, Plaintiff Golin experienced

unauthorized charges on this same payment card. As a result of this fraud, Plaintiff Golin spent

time speaking with the police and the FBI, and working with his credit card companies to get the

unauthorized charges reversed. Given the highly-sensitive nature of the information stolen,

Plaintiff Golin remains at a substantial and imminent risk of future harm.

       43.     Plaintiff Susan Raab is a resident of the State of Illinois and provided her Personal

Information to Marriott in order to stay at a Marriott Property prior to the Data Breach. Plaintiff

Raab also provided her passport information in order to stay at a Marriott Property. As a result of

the Data Breach, Plaintiff Raab spent time reviewing her statements and contacting her credit

card companies to detect fraudulent activity and mitigate against potential harm. Given the


                                                14
      Case 8:19-md-02879-PWG Document 352 Filed 07/24/19 Page 29 of 373



highly-sensitive nature of the information stolen, Plaintiff Raab remains at a substantial and

imminent risk of future harm.

                                           INDIANA

       44.     Plaintiff Leslie Dallner is a resident of the State of Indiana and provided her

Personal Information to Marriott in order to stay at a Marriott Property prior to the Data Breach.

As a result of the Data Breach, Plaintiff Dallner has suffered identity theft and fraud in the form

of unauthorized accounts opened in her name and fraudulent checks cashed in her name. Plaintiff

Dallner spent time and effort monitoring her financial accounts to detect fraudulent activity,

cancelling the credit cards she used at Marriott, changing her bank account information,

engaging in credit monitoring, and taking other steps to mitigate against potential harm. Given

the highly-sensitive nature of the information stolen, Plaintiff Dallner remains at a substantial

and imminent risk of future harm.

                                             IOWA

       45.     Plaintiff Sherita Olive-Miller is a resident of the State of Iowa and provided her

Personal Information to Marriott in order to stay at a Marriott Property prior to the Data Breach.

As a result of the Data Breach, Plaintiff Olive-Miller spent time and money monitoring her

financial accounts to detect fraudulent activity, addressing suspicious activity, closing several

credit card accounts used at Marriott, enrolling in credit monitoring services, securing credit

freezes, and taking other steps to help mitigate against potential harm. Given the highly-sensitive

nature of the information stolen, Plaintiff Olive-Miller remains at a substantial and imminent risk

of future harm.

                                            KANSAS

       46.     Plaintiff Mary Jo Jurey is a resident of the State of Kansas and provided her

Personal Information to Marriott in order to stay at a Marriott Property prior to the Data Breach.


                                                15
        Case 8:19-md-02879-PWG Document 352 Filed 07/24/19 Page 30 of 373



As a result of the Data Breach, Plaintiff Jurey spent time and effort monitoring her financial

accounts to detect fraudulent activity and monitoring her credit accounts through a credit

monitoring service in order to mitigate against potential harm. Given the highly-sensitive nature

of the information stolen, Plaintiff Jurey remains at a substantial and imminent risk of future

harm.

                                          KENTUCKY

         47.   Plaintiff Timothy Hawkins is a resident of the State of Kentucky and provided his

Personal Information to Marriott in order to stay at a Marriott Property prior to the Data Breach.

As a result of the Data Breach, Plaintiff Hawkins spent time and effort monitoring financial

accounts to detect fraudulent activity. Given the highly-sensitive nature of the information stolen,

Plaintiff Hawkins remains at a substantial and imminent risk of future harm.

                                          LOUISIANA

         48.   Plaintiff Anastasia McGee is a resident of the State of Louisiana and provided her

Personal Information to Marriott in order to stay at a Marriott Property prior to the Data Breach.

As a result of the Data Breach, Plaintiff McGee has suffered identity theft and fraud in the form

of an unauthorized party opening a Bitcoin account using her Personal Information. As a result

of this fraud, Plaintiff McGee has spent significant time and effort attempting to resolve the issue

and close the account. Plaintiff McGee also spent time and effort monitoring her financial

accounts to detect fraudulent activity. Given the highly-sensitive nature of the information stolen,

Plaintiff McGee remains at a substantial and imminent risk of future harm.

         49.   Plaintiff Lisa Henderson is a resident of the State of Louisiana and provided her

Personal Information to Marriott in order to participate in the Marriott program prior to the Data

Breach. As a result of the Data Breach, Plaintiff Henderson spent time and effort reviewing her

credit card statements and monitoring credit reports to detect suspicious and fraudulent activity.


                                                16
      Case 8:19-md-02879-PWG Document 352 Filed 07/24/19 Page 31 of 373



Given the highly sensitive nature of the information stolen, Plaintiff Henderson remains at a

substantial and imminent risk of future harm.

                                              MAINE

       50.     Plaintiff Sheila Coughlin is a resident of the State of Maine and provided her

Personal Information to Marriott in order to stay at a Marriott Property prior to the Data Breach.

Plaintiff Coughlin also provided her passport information in order to stay at a Marriott Property.

As a result of the Data Breach, Plaintiff Coughlin spent time and money replacing her passport in

order to mitigate against potential harm. In addition, as a result of the Data Breach, Plaintiff

Coughlin spent time and effort monitoring her financial accounts, credit reports, and credit card

statements to detect fraudulent activity. Given the highly-sensitive nature of the information

stolen, Plaintiff Coughlin remains at a substantial and imminent risk of future harm.

       51.     Plaintiff Bruce Fitzgerald is a resident of the State of Maine and provided his

Personal Information to Marriott in order to stay at a Marriott Property prior to the Data Breach.

Plaintiff Fitzgerald also provided his passport information in order to stay at a Marriott Property.

As a result of the Data Breach, Plaintiff Fitzgerald suffered from identity theft and fraud in the

form of unauthorized parties opening of fraudulent accounts in his name. As a result of this

identity theft and fraud, Plaintiff Fitzgerald spent time and effort reporting these activities to the

police, monitoring his accounts to detect fraudulent activity, and contacting the banks where the

applications had been submitted to ensure the accounts were closed. Plaintiff Fitzgerald also

subsequently paid to have a new passport issued and enrolled in credit monitoring in order to

mitigate against potential harm. Given the highly-sensitive nature of the information stolen,

Plaintiff Fitzgerald remains at a substantial and imminent risk of future harm.




                                                 17
      Case 8:19-md-02879-PWG Document 352 Filed 07/24/19 Page 32 of 373



                                          MARYLAND

       52.     Plaintiff Peter Maldini is a resident of the State of Maryland and provided his

Personal Information to Marriott in order to stay at a Marriott Property prior to the Data Breach.

Prior to the announcement of the Data Breach, Plaintiff Maldini used his credit card to purchase

goods or services at a Marriott Property. As a result of the Data Breach, Plaintiff Maldini spent

time and effort monitoring his financial accounts to detect fraudulent activity. Given the highly-

sensitive nature of the information stolen, Plaintiff Maldini remains at a substantial and imminent

risk of future harm.

       53.     Plaintiff Richard Ryans is a resident of the State of Maryland and provided his

Personal Information to Marriott in order to stay at a Marriott Property prior to the Data Breach.

As a result of the Data Breach, Plaintiff Ryans spent time and effort taking measures that he

otherwise would not have to take to ensure that his identity is not stolen and that his accounts are

not compromised. Given the highly-sensitive nature of the information stolen, Plaintiff Ryans

remains at a substantial and imminent risk of future harm.

                                      MASSACHUSETTS

       54.     Plaintiff Dallas Perkins is a resident of the State of Massachusetts and provided

his Personal Information to Marriott in order to stay at a Marriott Property prior to the Data

Breach. Plaintiff Perkins also provided his passport information in order to stay at a Marriott

Property. As a result of the Data Breach, Plaintiff Perkins spent time and effort reviewing his

financial statements to detect fraudulent activity. Given the highly-sensitive nature of the

information stolen, Plaintiff Perkins remains at a substantial and imminent risk of future harm.

                                           MICHIGAN

       55.     Plaintiff Bryan Wallace is a resident of the State of Michigan and provided his

Personal Information to Marriott in order to stay at a Marriott Property prior to the Data Breach.


                                                18
      Case 8:19-md-02879-PWG Document 352 Filed 07/24/19 Page 33 of 373



As a result of the Data Breach, Plaintiff Wallace spent time and effort contacting his credit card

company to mitigate against potential harm. Given the highly-sensitive nature of the information

stolen, Plaintiff Wallace remains at a substantial and imminent risk of future harm.

       56.     Plaintiff Laura Gononian is a resident of the State of Michigan and provided her

Personal Information to Marriott in order to stay at a Marriott Property prior to the Data Breach.

Plaintiff Gononian also provided her passport information in order to stay at a Marriott Property.

As a result of the Data Breach, Plaintiff Gononian spent time and effort reviewing her account

statements and contacting her credit card companies to mitigate against potential harm. Given the

highly-sensitive nature of the information stolen, Plaintiff Gononian remains at a substantial and

imminent risk of future harm.

                                         MINNESOTA

       57.     Plaintiff Linda Wu is a resident of the State of Minnesota and provided her

Personal Information to Marriott in order to stay at a Marriott Property prior to the Data Breach.

Plaintiff Wu also provided her passport information in order to stay at a Marriott Property. Prior

to the announcement of the Data Breach, Plaintiff Wu used her credit card to purchase goods or

services at a Marriott Property. As a result of the Data Breach, Plaintiff Wu subsequently

experienced unauthorized charges on this same payment card. Plaintiff Wu also spent time and

effort reviewing her credit card statements to detect fraudulent activity, changing her account

passwords to mitigate against potential harm, and reviewing her credit card monitoring reports,

which recently informed her that her email address linked to her SPG membership was the

subject of unauthorized activity. Given the highly-sensitive nature of the information stolen,

Plaintiff Wu remains at a substantial and imminent risk of future harm.




                                                19
      Case 8:19-md-02879-PWG Document 352 Filed 07/24/19 Page 34 of 373



                                         MISSISSIPPI

       58.     Plaintiff Shaun Yurtkuran is a resident of the State of Mississippi and provided

his Personal Information to Marriott in order to stay at a Marriott Property prior to the Data

Breach. Prior to the announcement of the Data Breach, Plaintiff Yurtkuran used his debit card

and credit card to purchase goods or services at a Marriott Property. As a result of the Data

Breach, Plaintiff Yurtkuran subsequently experienced unauthorized charges on these same

payment cards. As a result of this fraud, Plaintiff Yurtkuran spent time and effort resetting the

automatic payment instructions for multiple accounts, contacting and traveling to his bank to

address the unauthorized charges, and contacting other merchants with which he does business to

update his new card information. In addition, as a result of the Data Breach, Plaintiff Yurtkuran

spent time and effort monitoring financial accounts to detect fraudulent activity. Given the

highly-sensitive nature of the information stolen, Plaintiff Yurtkuran remains at a substantial and

imminent risk of future harm.

                                           MISSOURI

       59.     Plaintiff Steven Jamison is a resident of the State of Missouri and provided his

Personal Information to Marriott in order to stay at a Marriott Property prior to the Data Breach.

As a result of the Data Breach, Plaintiff Jamison spent time and effort reviewing his financial

statements to detect fraudulent activity and contacting his bank to mitigate against potential

harm. Given the highly-sensitive nature of the information stolen, Plaintiff Jamison remains at a

substantial and imminent risk of future harm.

       60.     Plaintiff Brent McArthur is a resident of the State of Missouri and provided his

Personal Information to Marriott in order to stay at a Marriott Property prior to the Data Breach.

Plaintiff McArthur also provided his passport Information in order to stay at a Marriott Property.

As a result of the Data Breach, Plaintiff McArthur spent time and money monitoring his accounts


                                                20
        Case 8:19-md-02879-PWG Document 352 Filed 07/24/19 Page 35 of 373



and purchasing credit monitoring services in order to mitigate against potential harm. Given the

highly-sensitive nature of the information stolen, Plaintiff McArthur remains at a substantial and

imminent risk of future harm.

                                           MONTANA

         61.   Plaintiff Holger Meyer is a resident of the State of Montana and provided his

Personal Information to Marriott in order to stay at a Marriott Property prior to the Data Breach.

Plaintiff Meyer also provided his passport information in order to stay at a Marriott Property. As

a result of the Data Breach, Plaintiff Meyer spent time and effort monitoring his financial

accounts to detect fraudulent activity. Given the highly-sensitive nature of the information stolen,

Plaintiff Meyer remains at a substantial and imminent risk of future harm.

                                          NEBRASKA

         62.   Plaintiff Kathleen Christensen is a resident of the State of Nebraska and provided

her Personal Information to Marriott in order to stay at a Marriott Property prior to the Data

Breach. As a result of the Data Breach, Plaintiff Christensen spent time and effort monitoring her

financial accounts to detect fraudulent activity. Given the highly-sensitive nature of the

information stolen, Plaintiff Christensen remains at a substantial and imminent risk of future

harm.

                                            NEVADA

         63.   Plaintiff Salvatore Caponigro is a resident of the State of Nevada and provided his

Personal Information to Marriott in order to stay at a Marriott Property prior to the Data Breach.

As a result of the Data Breach, Plaintiff Caponigro spent time and effort monitoring his financial

accounts to detect fraudulent activity. Given the highly-sensitive nature of the information stolen,

Plaintiff Caponigro remains at a substantial and imminent risk of future harm.




                                                21
      Case 8:19-md-02879-PWG Document 352 Filed 07/24/19 Page 36 of 373



       64.     Plaintiff Cheryl Pilon Meyer is a resident of the State of Nevada and provided her

Personal Information to Marriott in order to stay at a Marriott Property prior to the Data Breach.

As a result of the Data Breach, Plaintiff Meyer spent time and effort monitoring her financial

accounts to detect fraudulent activity. Given the highly sensitive nature of the information stolen,

Plaintiff Meyer remains at a substantial and imminent risk of future harm.

                                       NEW HAMPSHIRE

       65.     Plaintiff Nicole King is a resident of the State of New Hampshire and provided

her Personal Information to Marriott in order to stay at a Marriott Property prior to the Data

Breach. Plaintiff King also provided her passport information in order to stay at a Marriott

Property. As a result of the Data Breach, Plaintiff King was the victim of a mobile phishing scam

that resulted in unauthorized and unreimbursed purchases made using her Personal Information.

As a result, Plaintiff King spent time and effort attempting to address the fraud, including filing a

police report. In addition, as a result of the Data Breach, Plaintiff King spent time and effort

monitoring her financial accounts, credit reports, and credit card statements for fraudulent

activity. Given the highly-sensitive nature of the information stolen, Plaintiff King remains at a

substantial and imminent risk of future harm.

                                          NEW JERSEY

       66.     Plaintiff Svetlana Shtofmakher is a resident of the State of New Jersey and

provided her Personal Information to Marriott in order to stay at a Marriott Property prior to the

Data Breach. As a result of the Data Breach, Plaintiff Shtofmakher spent time and effort

monitoring her financial accounts to detect for fraudulent activity. Given the highly-sensitive

nature of the information stolen, Plaintiff Shtofmakher remains at a substantial and imminent risk

of future harm.




                                                 22
      Case 8:19-md-02879-PWG Document 352 Filed 07/24/19 Page 37 of 373



       67.     Plaintiff Mary Ann Sundius-Rose is a resident of the State of New Jersey and

provided her Personal Information to Marriott in order to stay at a Marriott Property prior to the

Data Breach. As a result of the Data Breach, Plaintiff Sundius-Rose spent time and effort

monitoring her financial accounts to detect fraudulent activity and contacting her bank to

mitigate against potential harm. Given the highly-sensitive nature of the information stolen,

Plaintiff Sundius-Rose remains at a substantial and imminent risk of future harm.

       68.     Plaintiff Marc Weinberg is a resident of the State of New Jersey and provided his

Personal Information to Marriott in order to stay at a Marriott Property prior to the Data Breach.

Prior to the announcement of the Data Breach, Plaintiff Weinberg used his credit card to

purchase goods or services at a Marriott Property. As a result of the Data Breach, Plaintiff

Weinberg suffered identity theft and fraud in the form of unauthorized charges. As a result of

this identity theft and fraud, Plaintiff Weinberg spent time disputing the charges and attempting

to resolve further identity theft and fraud with his credit card companies. Given the highly-

sensitive nature of the information stolen, Plaintiff Weinberg remains at a substantial and

imminent risk of future harm.

                                         NEW MEXICO

       69.     Plaintiff Kris Morris is a resident of the State of New Mexico and provided her

Personal Information to Marriott in order to stay at a Marriott Property prior to the Data Breach.

As a result of the Data Breach, Plaintiff Morris spent time and effort monitoring her financial

accounts to detect fraudulent activity. Given the highly-sensitive nature of the information stolen,

Plaintiff Morris remains at a substantial and imminent risk of future harm.

                                          NEW YORK

       70.     Plaintiff Roger Cullen is a resident of New York and provided his Personal

Information to Marriott in order to stay at a Marriott Property prior to the Data Breach. Plaintiff


                                                23
      Case 8:19-md-02879-PWG Document 352 Filed 07/24/19 Page 38 of 373



Cullen also provided his passport information in order to stay at a Marriott Property. Prior to the

announcement of the Data Breach, Plaintiff Cullen used his SPG payment card to purchase

goods or services at a Marriott Property. As a result of the Data Breach, Plaintiff Cullen

experienced unauthorized charges on this same payment card, as well as unauthorized purchases

made from his personal checking account. As a result of this fraud, Plaintiff Cullen spent

significant time and effort reviewing charges and speaking on the phone with representatives

from his bank in order to replace his card, resolve the fraudulent charges, and mitigate potential

harm. In addition, as a result of the Data Breach, Plaintiff Cullen spent time and effort reviewing

his accounts to detect fraudulent activity. Given the highly-sensitive nature of the information

stolen, Plaintiff Cullen remains at a substantial and imminent risk of future harm.

       71.     Plaintiff Eric Fishon is a resident of New York and provided his Personal

Information to Marriott in order to stay at a Marriott Property prior to the Data Breach. As a

result of the Data Breach, Plaintiff Fishon spent time and money purchasing credit monitoring,

making multiple calls and visits to banks, and time spent contacting Marriott about the Data

Breach in order to mitigate against potential harm. In addition, as a result of the Data Breach,

Plaintiff Fishon spent significant time monitoring his accounts in order to detect any fraudulent

activity and mitigate against potential harm, making phone calls to the bank, reviewing account

statements, monitoring credit reports, and communicating with representatives from the credit

monitoring service he purchased in order to mitigate against potential harm. Given the highly-

sensitive nature of the information stolen, Plaintiff Fishon remains at a substantial and imminent

risk of future harm.

       72.     Plaintiff Paula O’Brien is a resident of New York and provided her Personal

Information to Marriott in order to stay at a Marriott Property prior to the Data Breach. Prior to




                                                24
      Case 8:19-md-02879-PWG Document 352 Filed 07/24/19 Page 39 of 373



the announcement of the Data Breach, Plaintiff O’Brien used her credit card to purchase goods

or services at a Marriott Property. As a result of the Data Breach, Plaintiff O’Brien subsequently

experienced unauthorized charges on this same payment card. As a result of this fraud, Plaintiff

O’Brien was forced to replace her card, reset automatic payment instructions for multiple

accounts, and spend time communicating with her bank to reverse the charges. In addition, as a

result of the Data Breach, Plaintiff O’Brien spent time and effort reviewing her account

statements in order to detect fraudulent activity. Given the highly-sensitive nature of the

information stolen, Plaintiff O’Brien remains at a substantial and imminent risk of future harm.

                                     NORTH CAROLINA

       73.     Plaintiff Alan Teitleman is a resident of North Carolina and provided his Personal

Information to Marriott in order to stay at a Marriott Property prior to the Data Breach. Plaintiff

Teitleman also provided his passport information in order to stay at a Marriott Property. As a

result of the Data Breach, Plaintiff Teitleman spent time and effort reviewing his account history,

monitoring credit reports, and communicating with Marriott regarding the exposure of his

Personal Information. Given the highly-sensitive nature of the information stolen, Plaintiff

Teitleman remains at a substantial and imminent risk of future harm.

                                       NORTH DAKOTA

       74.     Plaintiff Cleary Johs is a resident of the State of North Dakota and provided his

Personal Information to Marriott in order to stay at a Marriott Property prior to the Data Breach.

As a result of the Data Breach, Plaintiff Johs spent time and effort monitoring his financial

accounts to detect fraudulent activity. Given the highly-sensitive nature of the information stolen,

Plaintiff Johs remains at a substantial and imminent risk of future harm.




                                                25
      Case 8:19-md-02879-PWG Document 352 Filed 07/24/19 Page 40 of 373



                                              OHIO

       75.     Plaintiff Eric Dubitsky is a resident of the State of Ohio and provided his Personal

Information to Marriott in order to stay at a Marriott Property prior to the Data Breach. As a

result of the Data Breach, Plaintiff Dubitsky spent time and money purchasing identity theft

protection services in order to mitigate against potential harm. In addition, as a result of the Data

Breach, Plaintiff Dubitsky spent time and effort monitoring his financial accounts to detect

fraudulent activity. Given the highly-sensitive nature of the information stolen, Plaintiff

Dubitsky remains at a substantial and imminent risk of future harm.

                                          OKLAHOMA

       76.     Plaintiff Susan Mullins is a resident of the State of Oklahoma and provided her

Personal Information to Marriott in order to stay at a Marriott Property prior to the Data Breach.

Plaintiff Mullins received notice from Marriott by email that her Personal Information was

compromised in the Data Breach. As a result of the Data Breach, Plaintiff Mullins spent time and

effort monitoring her financial accounts to detect fraudulent activity. Given the highly-sensitive

nature of the information stolen, Plaintiff Mullins remains at a substantial and imminent risk of

future harm.

                                            OREGON

       77.     Plaintiff Adam Ropp is a resident of Oregon and provided his Personal

Information to Marriott in order to stay at a Marriott Property prior to the Data Breach. Plaintiff

Ropp also provided his passport information in order to stay at a Marriott Property. As a result of

the Data Breach, Plaintiff Ropp suffered identity theft and fraud in the form multiple

unauthorized accounts for credit cards, consolidated loans, consumer accounts, and other lines of

credit opened using his Personal Information. Plaintiff Ropp is currently working with the IRS in

order to resolve his most recent tax refund being collected by an unauthorized individual. As a


                                                 26
      Case 8:19-md-02879-PWG Document 352 Filed 07/24/19 Page 41 of 373



result, Plaintiff Ropp spent time and money monitoring his accounts and purchasing identity

theft insurance in order to mitigate against potential harm. Plaintiff Ropp also invested money in

protecting his account information and spent numerous hours reviewing account records,

speaking on the phone with representatives from the bank, and sending letters to credit card

companies to mitigate against further harm. In addition, as a result of the Data Breach, Plaintiff

Ropp spent time and effort monitoring his financial accounts to detect fraudulent activity. Given

the highly-sensitive nature of the information stolen, Plaintiff Ropp remains at a substantial and

imminent risk of future harm.

                                       PENNSYLVANIA

       78.     Plaintiff Fredric Lazarus is a resident of Pennsylvania and provided his Personal

Information to Marriott in order to stay at a Marriott Property prior to the Data Breach. Plaintiff

Lazarus also provided his passport information in order to stay at a Marriott Property. Prior to

the announcement of the Data Breach, Plaintiff Lazarus used his personal credit card to purchase

goods or services at a Marriott Property. As a result of the Data Breach, Plaintiff Lazarus

subsequently experienced unauthorized charges on this same payment card. As a result of this

fraud, Plaintiff Lazarus spent multiple hours on calls with his credit card company, obtaining

new credit cards and changing the payment information on various accounts and websites. In

addition, as a result of the Data Breach, Plaintiff Lazarus spent time and effort monitoring his

financial accounts and searching for fraudulent activity. Given the highly-sensitive nature of the

information stolen, Plaintiff Lazarus remains at a substantial and imminent risk of future harm.

       79.     Plaintiff Robert Reynolds is a resident of Pennsylvania and provided his Personal

Information to Marriott in order to stay at a Marriott Property prior to the Data Breach. Prior to

the announcement of the Data Breach, Plaintiff Reynolds used his credit card to purchase goods

or services at a Marriott Property. As a result of the Data Breach, Plaintiff Reynolds spent time


                                                27
      Case 8:19-md-02879-PWG Document 352 Filed 07/24/19 Page 42 of 373



enrolling in credit monitoring in order to mitigate against potential harm. Given the highly-

sensitive nature of the information stolen, Plaintiff Reynolds remains at a substantial and

imminent risk of future harm.

                                        RHODE ISLAND

       80.     Plaintiff Laura Messier is a resident of the State of Rhode Island and provided her

Personal Information to Marriott in order to stay at a Marriott Property prior to the Data Breach.

As a result of the Data Breach, Plaintiff Messier spent time and effort monitoring her financial

accounts to detect fraudulent activity. Given the highly-sensitive nature of the information stolen,

Plaintiff Messier remains at a substantial and imminent risk of future harm.

                                      SOUTH CAROLINA

       81.     Plaintiff Josiah Trager is a resident of South Carolina and provided his Personal

Information to Marriott in order to stay at a Marriott Property prior to the Data Breach. As a

result of the Data Breach, Plaintiff Trager spent time and effort monitoring his financial accounts

to detect fraudulent activity and speaking with credit card companies to mitigate against potential

harm. Given the highly-sensitive nature of the information stolen, Plaintiff Trager remains at a

substantial and imminent risk of future harm.

                                       SOUTH DAKOTA

       82.     Plaintiff Charles Hanson is a resident of the State of South Dakota and provided

his Personal Information to Marriott in order to stay at a Marriott Property prior to the Data

Breach. As a result of the Data Breach, Plaintiff Hanson spent time and money purchasing

identity theft protection services in order to mitigate against potential harm. In addition, as a

result of the Data Breach, Plaintiff Hanson spent time and effort monitoring his financial

accounts to detect fraudulent activity. Given the highly-sensitive nature of the information stolen,

Plaintiff Hanson remains at a substantial and imminent risk of future harm.


                                                28
      Case 8:19-md-02879-PWG Document 352 Filed 07/24/19 Page 43 of 373



                                          TENNESSEE

       83.     Plaintiff Douglas Blake is a resident of the State of Tennessee and provided his

Personal Information to Marriott in order to stay at a Marriott Property prior to the Data Breach.

As a result of the Data Breach, Plaintiff Blake spent time and effort monitoring his financial

accounts to detect fraudulent activity and contacting credit card companies to mitigate against

potential harm. Given the highly-sensitive nature of the information stolen, Plaintiff Blake

remains at a substantial and imminent risk of future harm.

                                             TEXAS

       84.     Plaintiff John Stephen Griesenbeck is a resident of the State of Texas and

provided his Personal Information to Marriott in order to stay at a Marriott Property prior to the

Data Breach. Plaintiff Griesenbeck also provided his passport information in order to stay at a

Marriott Property. As a result of the Data Breach, Plaintiff Griesenbeck has suffered fraud in the

form of having his checking account compromised by an unauthorized individual. As a result of

this fraud, Plaintiff Griesenbeck spent significant time and effort dealing with the fraud including

obtaining a new checking account, credit card, notifying creditors, changing account information

on numerous other accounts set up to auto-pay from his checking account, and monitoring his

credit accounts on a regular basis. In addition, as a result of the Data Breach, Plaintiff

Griesenbeck spent time and money reviewing his financial records and enrolling in credit

monitoring and identity theft protection services to mitigate against potential harm. Given the

highly-sensitive nature of the information stolen, Plaintiff Griesenbeck remains at a substantial

and imminent risk of future harm.

       85.     Plaintiff Michael Piana is a resident of the State of Texas and provided his

Personal Information to Marriott in order to stay at a Marriott Property prior to the Data

Breach. As a result of the Data Breach, Plaintiff Piana has suffered identity theft and fraud in the


                                                29
      Case 8:19-md-02879-PWG Document 352 Filed 07/24/19 Page 44 of 373



form of an unauthorized account opened under his name at a credit union, and the use of that

account to pay for a significant charge at a jewelry store. As a result of this identity theft and

fraud, Plaintiff Piana spent time calling and emailing the credit union to mitigate against

potential harm. Given the highly sensitive nature of the information stolen, Plaintiff Piana

remains at a substantial and imminent risk of future harm.

       86.     Plaintiff Hope Turner is a resident of the State of Texas provided her Personal

Information to Marriott in order to stay at a Marriott Property prior to the Data Breach. As a

result of the Data Breach, Plaintiff Turner has suffered identity theft and fraud in the form of an

unsecured loan taken out in her name. Plaintiff Turner also had several mobile accounts opened

in her name. As a result of this identity theft and fraud, Plaintiff Turner spent time on the phone

with banks, completing identify theft and police reports, copying personal records, changing

passwords, checking credit alerts, and trying to determine the identity of individuals fraudulently

using her information. In addition, as a result of the Data Breach, Plaintiff Turner spent time and

money purchasing credit monitoring, freezing her accounts in order to mitigate against future

potential harm, and monitoring her financial accounts to detect fraudulent activity. Given the

highly-sensitive nature of the information stolen, Plaintiff Turner remains at a substantial and

imminent risk of future harm.

                                             UTAH

       87.     Plaintiff Gary Dean Dittemore is a resident of the State of Utah and provided his

Personal Information to Marriott in order to stay at a Marriott Property prior to the Data Breach.

Plaintiff Dittemore also provided his passport information in order to stay at a Marriott Property.

As a result of the Data Breach, Plaintiff Dittemore has suffered identity theft in the form of an

unauthorized automobile loan applied for in his name. As a result of this identity theft, Plaintiff

Dittemore spent time and money attempting to address the fraud and purchasing identity theft


                                                30
      Case 8:19-md-02879-PWG Document 352 Filed 07/24/19 Page 45 of 373



protection services in order to mitigate against further potential harm. In addition, as a result of

the Data Breach, Plaintiff Dittemore spent time and effort monitoring his financial accounts to

detect fraudulent activity. Given the highly-sensitive nature of the information stolen, Plaintiff

Dittemore remains at a substantial and imminent risk of future harm.

                                           VERMONT

       88.     Plaintiff Michael Charron is a resident of the State of Vermont and provided his

Personal Information to Marriott in order to stay at a Marriott Property prior to the Data Breach.

As a result of the Data Breach, Plaintiff Charron spent time and money addressing suspicious

activity, contacting his credit card companies and closing accounts, and taking other steps to help

mitigate against potential harm. Given the highly-sensitive nature of the information stolen,

Plaintiff Charron remains at a substantial and imminent risk of future harm.

       89.     Plaintiff Jeninne Pitts is a resident of the State of Vermont and provided her

Personal Information to Marriott in order to stay at a Marriott Property prior to the Data Breach.

As a result of the Data Breach, Plaintiff Pitts spent time and effort monitoring her financial

accounts to detect fraudulent activity. Given the highly sensitive nature of the information stolen,

Plaintiff Pitts remains at a substantial and imminent risk of future harm.

                                            VIRGINIA

       90.     Plaintiff Shantonu Kundu is a resident of the Commonwealth of Virginia and

provided his Personal Information to Marriott in order to stay at a Marriott Property prior to the

Data Breach. As a result of the Data Breach, Plaintiff Kundu spent time and effort monitoring his

financial accounts to detect fraudulent activity. Given the highly-sensitive nature of the

information stolen, Plaintiff Kundu remains at a substantial and imminent risk of future harm.

       91.     Plaintiff James Marshall Farmer is a resident of the Commonwealth of Virginia

and provided his Personal Information to Marriott in order to stay at a Marriott Property prior to


                                                31
        Case 8:19-md-02879-PWG Document 352 Filed 07/24/19 Page 46 of 373



the Data Breach. As a result of the Data Breach, Plaintiff Farmer spent time and effort

monitoring his financial accounts to detect fraudulent activity. Given the highly-sensitive nature

of the information stolen, Plaintiff Farmer remains at a substantial and imminent risk of future

harm.

                                        WASHINGTON

         92.   Plaintiff Thomas Evankovich is a resident of the State of Washington and

provided his Personal Information to Marriott in order to stay at a Marriott Property prior to the

Data Breach. Plaintiff Evankovich also provided his passport information in order to stay at a

Marriott Property. As a result of the Data Breach, Plaintiff Evankovich spent time and effort

monitoring his financial accounts to detect fraudulent activity and speaking with his bank to

mitigate against potential harm. Given the highly-sensitive nature of the information stolen,

Plaintiff Evankovich remains at a substantial and imminent risk of future harm.

                                       WEST VIRGINIA

         93.   Plaintiff Harry Bell is a resident of the State of West Virginia and provided his

Personal Information to Marriott in order to purchase Marriott timeshares and stay at a Marriott

Property prior to the Data Breach. As a result of the Data Breach, Plaintiff Bell has suffered

identity theft in the form of an unauthorized account opened in his name. As a result of this

identity theft, Plaintiff Bell spent time filing a police report and contacting the company to close

the fraudulent account. In addition, as a result of the Data Breach, Plaintiff Bell spent time and

effort monitoring his financial accounts to detect fraudulent activity. Given the highly-sensitive

nature of the information stolen, Plaintiff Bell remains at a substantial and imminent risk of

future harm.




                                                32
      Case 8:19-md-02879-PWG Document 352 Filed 07/24/19 Page 47 of 373



                                         WISCONSIN

       94.     Plaintiff Gertie Haese is a resident of the State of Wisconsin and provided her

Personal Information to Marriott in order to stay at a Marriott Property prior to the Data Breach.

As a result of the Data Breach, Plaintiff Haese spent time and effort monitoring her financial

accounts to detect fraudulent activity and speaking with her credit card company to mitigate

against potential harm. Given the highly-sensitive nature of the information stolen, Plaintiff

Haese remains at a substantial and imminent risk of future harm.

                                          WYOMING

       95.     Plaintiff Amber Flor is a resident of the State of Wyoming and provided her

Personal Information to Marriott in order to stay at a Marriott Property prior to the Data Breach.

As a result of the Data Breach, Plaintiff Flor spent time and effort monitoring her accounts for

fraudulent activity. Given the highly-sensitive nature of the information stolen, Plaintiff Flor

remains at a substantial and imminent risk of future harm.

                                 FACTUAL ALLEGATIONS

                         Marriott International and its Privacy Policy

       96.     Marriott International is a multinational, diversified hospitality company that

manages and franchises a broad portfolio of hotels and related lodging facilities, including 30

brands with more than 7,000 properties across 130 countries and territories globally. Founded in

1927, the company is headquartered in Bethesda, Maryland, and maintains hotel brands

including Marriott, Courtyard, and Ritz-Carlton. Marriott reported revenues of $20.75 billion in

the 2018 fiscal year.

       97.     Marriott International was founded by J. Willard Marriott and is now led by his

son, Executive Chairman Bill Marriott, and President and CEO Arne Sorenson.




                                               33
      Case 8:19-md-02879-PWG Document 352 Filed 07/24/19 Page 48 of 373



       98.       On September 23, 2016, Marriott International closed a $13.6 billion acquisition

of Starwood Hotels & Resorts Worldwide, bringing together its Marriott, Courtyard, and Ritz-

Carlton brands with Starwood’s Sheraton, Westin, W Hotels, and St. Regis properties. As a

result, the 30 hotel brands that now fall under Marriott International’s umbrella have made it the

largest hotel chain in the world, accounting for 1 out of every 15 hotel rooms globally.

       99.       Guests can make reservations at a Marriott hotel via multiple methods, including

through Marriott’s website. When making a reservation, Marriott requires the guest to provide

certain personal information including name, address, email address, phone number, and

payment card information. In some instances, Marriott also collects passport information, room

preferences, travel destinations, and other personal information.

       100.      In Marriott’s Global Privacy Statement dated May 18, 2018, Marriott represents

that: “The Marriott Group, which includes Marriott International, Inc., Starwood Hotels &

Resorts Worldwide, LLC … and their affiliates, values you as our guest and recognizes that

privacy is important to you.” It explains that the Marriott Group collects data:

                through websites operated by us from which you are accessing this Privacy
                 Statement, including Marriott.com and other websites owned or controlled by the
                 Marriott Group (collectively, the “Websites”)
                through the software applications made available by us for use on or through
                 computers and mobile devices (the “Apps”)
                through our social media pages that we control from which you are accessing this
                 Privacy Statement (collectively, our “Social Media Pages”)
                through HTML-formatted email messages that we send you that link to this
                 Privacy Statement and through your communications with us
                when you visit or stay as a guest at one of our properties, or through other offline
                 interactions.

       101.      The Privacy Statement defines “Collection of Personal Data” as follows:




                                                  34
     Case 8:19-md-02879-PWG Document 352 Filed 07/24/19 Page 49 of 373



               “Personal Data” are data that identify you as an individual or relate to an
       identifiable individual. At touchpoints throughout your guest journey, we collect Personal
       Data in accordance with law, such as:
                 Name
                 Gender
                 Postal address
                 Telephone number
                 Email address
                 Credit and debit card number or other payment data
                 Financial information in limited circumstances
                 Language preference
                 Date and place of birth
                 Nationality, passport, visa or other government-issued identification data
                 Important dates, such as birthdays, anniversaries and special occasions
                 Membership or loyalty program data (including co-branded payment cards,
                  travel partner program affiliations)
                 Employer details
                 Travel itinerary, tour group or activity data
                 Prior guest stays or interactions, goods and services purchased, special service
                  and amenity requests
                 Geolocation information
                 Social media account ID, profile photo and other data publicly available, or
                  data made available by linking your social media and loyalty accounts

       102.   Marriott states that “in more limited circumstances, we also may collect” the

following:

                 Data about family members and companions, such as names and ages of
                  children
                 Biometric data, such as digital images
                 Images and video and audio data via: (a) security cameras located in public
                  areas, such as hallways and lobbies, in our properties; and (b) body-worn
                  cameras carried by our loss prevention officers and other security personnel
                 Guest preferences, inquiries and comments and any other personalized data
                  (“Personal Preferences”), such as your interests, activities, hobbies, food and



                                                35
      Case 8:19-md-02879-PWG Document 352 Filed 07/24/19 Page 50 of 373



                   beverage choices, services and amenities of which you advise us or which we
                   learn about during your visit.

       103.    Marriott further represents that: “We seek to use reasonable organizational,

technical and administrative measures to protect Personal Data.”

       104.    Marriott recognizes the value of this information as evidenced by the fact that

Marriott employs a customer analytics company for the systematic examination of its customer

information to identify, attract, and retain the most profitable customers and to predict future

behaviors. According to Marriott, “there is no lack of available data: household profile, including

number of kids; type of jobs held by family members; their salaries; where and how they spend

their money and even the type of jeans they buy.”1

       105.    Knowing the significant value and sensitive nature of the information it collects,

Marriott’s current privacy policy represents that Marriott uses “reasonable physical, electronic,

and administrative safeguards to protect your Personal Data from loss, misuse and unauthorized

access, disclosure, alteration and destruction, taking into account the nature of the Personal Data

and the risks involved in processing that information.”2

                       Starwood Hotels and Its Preferred Guest Program

       106.    Starwood Hotels was originally formed by Starwood Capital Partners, a Chicago-

based real estate investment firm founded by Barry Sternlicht in 1991.

       107.    In 1995, Starwood Capital acquired Hotel Investors Trust and Hotel Investors

Corporation, one of a handful of public companies that was grandfathered in as a “paired-share”

real estate investment trust (“REIT”). This structure allowed Starwood to own and operate its

1
 D. Eisen, Marriott Bets on Predictive Analytics for Brand Growth, QUESTEX LLC (Jan. 31,
2018), https://www.hotelmanagement.net/tech/marriott-builds-its-brands-by-knowing-more-
about-you (last accessed July 22, 2019).
2
 Marriott U.S. Privacy Shield Guest Privacy Policy (updated May 24, 2019),
https://www.marriott.com/about/global-privacy.mi (last accessed July 22, 2019).


                                                36
      Case 8:19-md-02879-PWG Document 352 Filed 07/24/19 Page 51 of 373



hotels through a single entity, while at the same time taking advantage of favorable tax shelter

aspects of a REIT.

       108.    This preferred tax status garnered significant investment in Starwood Capital and

by 1998, it was able to acquire established hotel brands like Westin for $1.57 billion and ITT

Sheraton Corporation for $9.8 billion.

       109.    Over the next two decades, Starwood continued its global expansion by acquiring

numerous hotel chains including Le Méridien, a chain of more than 120 properties primarily

located in Europe and the Middle East, and launching a number of specialty brands. Starwood

brands now include W Hotels, St. Regis, Sheraton Hotels & Resorts, Westin Hotels & Resorts,

Element Hotels, Aloft Hotels, The Luxury Collection, Tribute Portfolio, Le Méridien Hotels &

Resorts, Four Points by Sheraton, and Design Hotels. Starwood also operates certain Starwood-

branded timeshare properties.

       110.    In 1999, Starwood launched a guest loyalty programs known as Starwood

Preferred Guest Program (“SPG Program”) to create brand loyalty and encourage travelers to

stay at its properties by offering rewards. Starwood promoted the SPG Program as first in the

industry to offer no blackout dates, no capacity controls, and online redemption.3

       111.    Starwood has long touted its SPG Program as industry-leading and a significant

driver of repeat business from frequent travelers. For example, in 2012, Starwood stated that the

SPG Program, “…launches the richest elite program benefits in history for global mega travelers

including standouts like first-of-its-kind 24-hour check-in, confirmable upgrades, and free

breakfast. For our most loyal guests, SPG offers lifetime status and a dedicated Starwood



3
 Starwood Corporate Overview, at 9-10, https://marriott.gcs-web.com/static-files/4cb4e011-
ddff-4613-984f-1e08d799227c (last accessed July 22, 2019).


                                                37
         Case 8:19-md-02879-PWG Document 352 Filed 07/24/19 Page 52 of 373



ambassador. In its first year, SPG transformation drove a 12% year-over-year increase in revenue

to our hotels from SPG members with a 16% increase from Platinum members.”4

           112.   Starwood also promoted the SPG Program’s “crossover rewards” with companies

such as Delta Airlines and convenience features such as keyless entry that “enable guests to

bypass the front desk, avoid waiting in line and ultimately unlock their stay with a simple tap of

their smartphone.”5

           113.   In the course of its business, Starwood collects and stores significant amounts of

sensitive customer information. For example, Starwood’s online privacy statement dated October

15, 2014 stated that Starwood is “dedicated to protecting your privacy and safeguarding your

personally identifiable information” and “collects information about our guests and visitors to

our web sites so that we can provide an experience that is responsive to our guests’ and visitors’

needs.” The statement further provided:

           TYPES OF INFORMATION WE COLLECT:
           Starwood collects information about our guests and visitors to our web sites so
           that we can provide an experience that is responsive to our guests’ and visitors’
           needs. Information may be collected as part of: (i) fulfilling reservation or
           information requests, (ii) purchasing products or services, (iii) registering for
           program membership, (iv) submitting a job application, (v) responding to
           communications from us (e.g., surveys, promotional offers, or reservation
           confirmations), (vi) accommodating your personal preferences, (vii) fulfilling
           requests for services or recommendations we provide you, (viii) working with
           third party sources, including collecting information available from social
           networking and other web sites, to better assist us with understanding your
           interests and to serve you better, (ix) your use of our apps on your electronic
           devices, (x) updating your contact information including your address (through
           such services as the National Change of Address Service in the United States), or
           (xi) facilitating the transmission of forward to a friend email at your request. The
           types of personally identifiable information (sometimes referred to as “PII”) that
           we collect may include your name, home, work and e-mail addresses, telephone,
           mobile telephone, and fax numbers, credit card information, date of birth, gender,

4
    Id., at 5.
5
    Id., at 4.


                                                   38
Case 8:19-md-02879-PWG Document 352 Filed 07/24/19 Page 53 of 373



 and lifestyle information such as room preferences, leisure activities, names and
 ages of children, and other information necessary to fulfill special requests (e.g.,
 health conditions that require special room accommodations).

 Starwood may also collect non-personally identifiable information about you,
 such as your use of our web sites, communication preferences, travel habits,
 aggregated data relative to your stays, and responses to promotional offers and
 surveys.
                                        ***
 PURPOSE FOR COLLECTION, PROCESSING, AND DISCLOSURE:
 Collection & Use
 Starwood is fully committed to providing you with information about the
 collection and use of PII furnished by, or collected from, visitors while using our
 web sites, products and services. It is our practice not to ask you for information
 unless we need it or intend to use it. Some of the primary purposes for collecting
 your PII are as follows:
       providing services such as processing a transaction (e.g., making a
        reservation, fulfilling a request for information, or completing a product
        order)
       marketing and communications with you in relation to the products and
        services offered by Starwood, our strategic marketing partners, and other
        trusted third parties
       performing market research via surveys to better serve your needs,
        improve the effectiveness of our web sites, your hotel experience, our
        various types of communications, advertising campaigns, and/or
        promotional activities
                                         ***
 Processing and Disclosure
 In most cases, the information you provide is added to a local or global database.
 In the course of processing your information, it may be necessary to transfer your
 PII to Starwood’s affiliates, properties within the Starwood system and/or third
 party service providers located in the United States and throughout the world for
 the purposes outlined within this Privacy Statement. Unless otherwise precluded
 or governed by legal requirements and/or process, Starwood subsidiaries,
 affiliates and property owners that may receive your information are required to
 abide by substantially similar privacy requirements relating to your PII. As a
 general practice, Starwood does not sell, rent, or give physical possession of your
 PII to unaffiliated third parties outside the Starwood system. Situations in which
 Starwood may disclose your information to others include:
       when we have received your consent to do so
       in situations where sharing or disclosing your information is required in
        order to offer you products or services you desire (e.g., a vacation
        package)


                                         39
Case 8:19-md-02879-PWG Document 352 Filed 07/24/19 Page 54 of 373



       when companies or services providers that perform business activities on
        behalf of Starwood require such information (e.g., credit card processing,
        customer support services, market research administration or database
        management services)
       when a hotel or other property leaves the Starwood system and access to
        your PII is necessary to facilitate business operations or meet contractual
        obligations in connection with the fulfillment of reservations that are
        booked for future stays or events
       in the event Starwood is merged or acquired by another company
       to comply with legal or regulatory requirements or obligations in
        accordance with applicable law, a court order or a subpoena
       in case of emergency such as to safeguard the life, health, or property of
        an individual
 If information is shared as mentioned above, we seek to limit the scope of
 information that is furnished to the amount necessary for the performance of the
 specific function. Unless otherwise precluded by legal process, we require third
 parties to protect your PII and abide by applicable privacy laws and regulations.
                            ***
 DATA TRANSFERS ACROSS INTERNATIONAL BORDERS:
 As a global company, we endeavor to provide you with the same outstanding
 service in New York City, as you would find in Paris or Beijing. To achieve this
 goal, we have established a global network comprised of properties, offices, data
 centers, trusted marketing partners, service providers, customer contact centers,
 and trained associates around the globe. The nature of our business and our
 operations require us to transfer your information, including PII, to other group
 companies, properties, centers of operations, data centers, or service providers
 that may be located in countries outside of your own. We may transfer the PII we
 collect about you to countries other than the country in which the information was
 originally collected. Although the data protection and other laws of these various
 countries may not be as comprehensive as those in your own country, Starwood
 will take appropriate steps to ensure that your PII is protected and handled as
 described in this Privacy Statement.
                                        ***
 SECURITY SAFEGUARDS:
 Starwood recognizes the importance of information security, and is constantly
 reviewing and enhancing our technical, physical, and logical security rules and
 procedures. All Starwood owned web sites and servers have security measures in
 place to help protect your PII against accidental, loss, misuse, unlawful or
 unauthorized access, disclosure, or alteration while under our control. Although
 “guaranteed security” does not exist either on or off the Internet, we safeguard
 your information using appropriate administrative, procedural and technical
 safeguards, including password controls, “firewalls” and the use of up to 256-bit
 encryption based on a Class 3 Digital Certificate issued by VeriSign, Inc. This


                                        40
          Case 8:19-md-02879-PWG Document 352 Filed 07/24/19 Page 55 of 373



           allows for the use of Secure Sockets Layer (SSL), an encryption method used to
           help protect your data from interception and hacking while in transit.

           114.   Although Starwood represented that it “recognized the importance of keeping its

valuable customer information secure” and had “security measures in place to help protect”

consumers against “unauthorized access” of their Personal Information—it failed to live up to

that promise by failing to implement and maintain reasonable safeguards that resulted in the

exposure and exfiltration of the Personal Information for hundreds of millions of hotel guests.

                                 Marriott’s Acquisition of Starwood

           115.   On November 16, 2015, Marriott International announced that it was purchasing

Starwood for $13.6 billion, creating the world’s largest hotel company.

           116.   After the transaction closed on September 23, 2016, Marriott stated in a press

release that the new company “offers the most comprehensive portfolio of brands including

leading lifestyle brands, a significant global footprint, and leadership in the luxury and select-

service tiers as well as the convention and resort segment. Beginning today, Marriott will match

member status across Marriott Rewards – which includes The Ritz-Carlton Rewards – and

Starwood Preferred Guest (SPG), enabling members to transfer points between the programs for

travel and exclusive experiences when they link their accounts later today.”6

           117.   The press release further stated that Marriott “will operate or franchise more than

5,700 properties and 1.1 million rooms, representing 30 leading brands from the moderate-tier to

luxury in over 110 countries. With the completion of this acquisition, Marriott’s distribution has

more than doubled in Asia and the Middle East & Africa combined.” 7



6
 https://news.marriott.com/2016/09/marriotts-acquisition-of-starwood-complete/ (last accessed
July 22, 2019).
7
    Id.


                                                  41
     Case 8:19-md-02879-PWG Document 352 Filed 07/24/19 Page 56 of 373



       118.   According to Marriott CEO Arne Sorenson, Starwood’s SPG Program was a

“central, strategic rationale for the transaction” because its members are deeply loyal, have

generally higher incomes, and tend to spend many nights on the road.8

       119.   In any acquisition of this size, it is standard practice to perform cybersecurity due

diligence, including researching undisclosed or unknown data breaches, as well as identifying

information technology (“IT”) security risks and shortfalls in operations and governance of the

target company. A primary responsibility of Marriott (or any company conducting a merger and

acquisition) is to perform a full and complete cyber-security assessment to understand the state

of the target company’s computer networks, systems, and its vulnerabilities.

       120.   During the year that elapsed between announcement and closing of the merger,

Marriott and Starwood retained respective financial advisors and legal counsel to analyze

business records and make a financial assessment of the merger and valuation of the stock for

purposes of recommending the merger to stockholders.



                              even after Starwood disclosed a breach of its point of sale systems

at more than 50 locations just four days after Marriott’s announcement of the merger.

       121.   This lack of cybersecurity due diligence




8
  S. Mayerowitz, Marriott Buys Starwood, Becoming World’s Largest Hotel Chain, THE
ASSOCIATED PRESS (Sept. 23, 2016), https://apnews.com/a082e1af32ee4fd6a35e0542461c5b79
(last accessed July 22, 2019).


                                               42
      Case 8:19-md-02879-PWG Document 352 Filed 07/24/19 Page 57 of 373




       122.      After the Data Breach, Jeff Flaherty, a senior director of global communications

and public affairs at Marriott, stated that “as part of the company’s integration efforts, Marriott

conducted an assessment of the legacy Starwood IT systems prior to and after the close of the

transaction.”9

       123.




                                                                                          10



       124.




9
  Starwood Data Breach: Lessons for the Hotel Industry, HOTEL NEWS NOW (Apr. 9, 2019),
http://www.hotelnewsnow.com/Articles/294646/Starwood-data-breach-Lessons-for-the-hotel-
industry (last accessed July 22, 2019).
10

11




                                                43
     Case 8:19-md-02879-PWG Document 352 Filed 07/24/19 Page 58 of 373




      125.



                                                            13



      126.



                                         4



      127.




                                                15



      128.




      129.




12
             .
13

14

15




                                    44
           Case 8:19-md-02879-PWG Document 352 Filed 07/24/19 Page 59 of 373




                                                                             .16

            130.   In March 2017, Marriott internally announced “Project Tetris” – which referred to

Marriott’s planned integration of Starwood properties into Marriott’s finance model. It was one

of many expected initiatives directed specifically at Starwood-branded hotel owners.17 Project

Tetris outlined the transition plan and savings anticipated as a result of leveraging Marriott’s size

and scale to improve negotiated merchant contracts and achieve incremental savings through

increased buying power.18

            131.




                                                                        19



            132.




16

17
   A. Leber, How Marriott Plans to Save Starwood Owners Real Money, QUESTEX, LLC (Mar.
28, 2017), https://www.hotelmanagement.net/asset-management/how-marriott-plans-to-save-
starwood-owners-real-money (last accessed July 22, 2019).
18
     Id.
19




                                                  45
           Case 8:19-md-02879-PWG Document 352 Filed 07/24/19 Page 60 of 373




                                                          20



            133.




            134.   Marriott ultimately launched its new loyalty program on August 18, 2018,

combining Starwood’s SPG Program with Marriott Rewards and Ritz-Carlton Rewards onto the

Marriott IT platform.22 The platform migration did not go smoothly. During this time, the

systems were down sporadically, the nomenclature and status were confusing to members from

different programs, and many Marriott members ended up with an incorrect status.23

            135.   In fact, Marriott




20

21

22
   G. Leff, Marriott Explains What Systems Still Aren’t Working and When They’ll Be Fixed,
VIEW FROM THE WING (Aug. 27, 2018),
https://viewfromthewing.boardingarea.com/2018/08/27/marriott-explains-what-systems-still-
arent-working-and-when-theyll-be-fixed/ (last accessed July 22, 2019).
23
     Id.


                                               46
     Case 8:19-md-02879-PWG Document 352 Filed 07/24/19 Page 61 of 373




          24



       136.    Marriott’s cybersecurity due diligence fell woefully short as Marriott

                                                                        failed to detect numerous

red flags indicating that Starwood’s network had already been breached.

       137.    For example, Marriott and Starwood




                                            .27

       138.

         Marriott could have thwarted the Data Breach or at the very least discovered the hackers

lurking in the Starwood’s networks long before they were able to remove the Starwood guest

reservation database tables containing the Personal Information of 383 million guests.

               Marriott and Starwood Knew they were Targets of Cyber Threats

       139.    Both before and after the acquisition, Marriott knew it and other hotel chains were

prime targets for hackers given the significant amount of sensitive customer information it

collects in the course of business. In fact, both Starwood and Marriott, among many other high-

24

25



26



27




                                                  47
      Case 8:19-md-02879-PWG Document 352 Filed 07/24/19 Page 62 of 373



profile hotel chains, were targeted in other data breaches by hackers in the months and years

before the Data Breach was discovered.

        140.    On February 3, 2014, White Lodging Services Corporation, a franchise

management company used by Marriott and Starwood, announced that the POS systems at 14

hotels, including seven Marriott locations, one Westin location, and one Sheraton location, were

compromised. White Lodging’s statement confirmed that the “unlawfully accessed data may

have included names printed on customers’ credit or debit cards, credit or debit card numbers,

the security code and card expiration dates.”28

        141.    Following confirmation of that breach, Marriott also issued a statement stating

that “one of its franchisees has experienced unusual fraud patterns in connection with its systems

that process credit card transactions at a number of hotels across a range of brands, including

some Marriott-branded hotels.” The statement continued: “As this impacts customers of Marriott

hotels we want to provide assurance that Marriott has a long-standing commitment to protect the

privacy of the personal information that our guests entrust to us, and we will continue to monitor

the situation closely.”29

        142.    The following year, sources in the banking industry began seeing a pattern of

fraud on payment cards that were used at Marriott hotels. On April 8, 2015, White Lodging again

confirmed that its POS systems at 10 hotels were breached, this time including seven Marriott

locations and one Sheraton location.



28
 N. Vivion, White Lodging Releases More About Credit Card Data Breach, Including Affected
Hotels, PHOCUSWIRE (Feb. 4, 2014), https://www.phocuswire.com/White-Lodging-releases-
more-about-credit-card-data-breach-including-affected-hotels (last accessed July 22, 2019).
29
  B. Krebs, Hotel Franchise Firm White Lodging Investigates Breach, KREBS ON SECURITY
(Jan. 31, 2014), https://krebsonsecurity.com/2014/01/hotel-franchise-firm-white-lodging-
investigates-breach/ (emphasis added) (last accessed July 22, 2019).


                                                  48
        Case 8:19-md-02879-PWG Document 352 Filed 07/24/19 Page 63 of 373



          143.   Following this second breach, White Lodging issued another statement: “After

suffering a malware incident in 2014, we took various actions to prevent a recurrence, including

engaging a third party security firm to provide security technology and managed services,” said

Dave Sibley, White Lodging president and CEO, Hospitality Management. “These security

measures were unable to stop the current malware occurrence on point of sale systems at food

and beverage outlets in 10 hotels that we manage. We continue to remain committed to investing

in the measures necessary to protect the personal information entrusted to us by our valuable

guests. We deeply regret and apologize for this situation.”

          144.   Marriott spokesperson Jeff Flaherty also commented on the White Lodging

breach: “We recently were made aware of the possibility of unusual credit card transactions at a

number of hotels operated by one of our franchise management companies. We understand the

franchise company is looking into the matter. Because the suspected issue is related to systems

that Marriott does not own or control, we do not have additional information to provide.”30

          145.   On November 20, 2015, just four days after the announcement of Marriott’s

acquisition of Starwood, Starwood disclosed that its point-of-sale (“POS”) systems at 54 hotels

located across North America were infected with malware (malicious software designed to cause

damage to a computer, server, client, or computer network), enabling unauthorized parties to

access the payment card data of its customers.31

          146.   In a letter to Starwood customers, Starwood stated that the “malware was

designed to collect certain payment card information, including cardholder name, payment card

number, security code and expiration date” and Starwood “engaged third-party forensic experts
30
   B. Krebs, Banks: Card Thieves Hit White Lodging Again, KREBS ON SECURITY (Feb. 3, 2015),
https://krebsonsecurity.com/2015/02/banks-card-thieves-hit-white-lodging-again/#more-29697
(last accessed July 22, 2019).
31
     https://oag.ca.gov/system/files/starwood-notice-materials_0.pdf (last accessed July 22, 2019).


                                                  49
           Case 8:19-md-02879-PWG Document 352 Filed 07/24/19 Page 64 of 373



to conduct an extensive investigation” but there was “no indication that our guest reservation or

Starwood Preferred Guest membership systems were impacted.” It is unclear what type of

“extensive investigation” occurred as Marriott’s latter statement proved to be false given that

hackers had access to Starwood’s guest reservation database as early as July 2014.

            147.   In another example, a security researcher found an SQL injection bug (type of

attack that can give malicious actor control over target’s database by inserting arbitrary code into

a database query) that could have been exploited to gain access to Starwood databases. The

researcher said that such vulnerabilities and services offering to hack Starwood were being

offered for sale on underground websites in 2014.32

            148.   In June 2017, Marriott’s security team was notified by independent cybersecurity

researchers that hackers were able to access the email servers of Marriott’s Computer Incident

Response Team (“CIRT”) due to an external analyst downloading a malware sample.33

            149.   A Marriott spokesperson told Forbes the breach “was an isolated incident

involving that one analyst’s machine that had access to Marriott’s outlook Web access mailbox

but was not connected to the Marriott network.”34 Daniel Gallagher, an independent

cybersecurity researcher, uncovered the 2017 breach when he located the server on which

Nigerian hackers were running their criminal enterprise.35




32
  T. Brewster, Revealed: Marriott’s 500 Million Hack Came After a String of Security Breaches,
FORBES (Dec. 3, 2018), https://www.forbes.com/sites/thomasbrewster/2018/12/03/revealed-
marriotts-500-million-hack-came-after-a-string-of-security-breaches/#27ac9dd546f4 (last
accessed July 22, 2019).
33
     Id.
34
     Id.
35
     Id.


                                                  50
           Case 8:19-md-02879-PWG Document 352 Filed 07/24/19 Page 65 of 373



            150.   SecureWorks, a cybersecurity provider, was the vendor during the 2017 breach in

which Marriott’s CIRT was compromised.36 At the time, SecureWorks declined to comment and

Marriott declined to name the contractor.37

            151.   In yet another example, security researcher Alex Holden discovered that six

servers hosting starwoodhotels.com domains were controlled by a Russian botnet (a network of

private computers infected with malicious software and controlled as a group without the

owner’s knowledge). Holden also detailed other security concerns, including that one of

Starwood’s cloud portals had an easily guessable password, which could allow hackers to access

financial records, IT security controls, and booking information.38

            152.   It is not surprising that hotels have been frequent targets for hackers. As noted by

one cybersecurity expert, “hotels are an attractive target for hackers because they hold a lot of

sensitive information, including credit card and passport details, but often don’t have security

standards as tough as those of more regulated industries, like banking.”39

            153.   In its recent Data Breach Investigations Report, Verizon noted that 15% of all

data breaches occurring in 2017 involved the accommodation and food services industry and that

it is “the hardest hit” industry for POS intrusions.40 The report noted that there were 338




36
     Id.
37
     Id.
38
     Id.
39
  Democrat-Gazette Staff Wire Reports, Breach Puts Hotel Guests’ Data at Risk, ARKANSAS
DEMOCRAT GAZETTE (Dec. 1, 2018), https://www.arkansasonline.com/news/2018/dec/01/breach-
puts-hotel-guests-data-at-risk-2/ (last accessed July 22, 2019).
40
   Verizon 2018 Data Breach Investigations Report, 11th Ed., at 5, 24, 25, 27, 28,
https://enterprise.verizon.com/resources/reports/DBIR_2018_Report.pdf (last accessed July 22,
2019).


                                                    51
           Case 8:19-md-02879-PWG Document 352 Filed 07/24/19 Page 66 of 373



breaches in the accommodation industry in 2017 alone, including at major hotel brands including

Hyatt, Radisson, Hard Rock, and Kimpton, among others.41

            154.   For example, on October 30, 2018, Radisson Hotels disclosed a data breach

affecting Radisson Rewards members who had their names, company names, e-mail addresses,

addresses, phone numbers, Radisson Rewards member numbers, and frequent flyer numbers

accessed by an unauthorized party.42

            155.   In August 2018, it was announced that China-based Huazhu Hotels Group

suffered a massive data breach where the personal information of hundreds of millions of hotel

guests was exfiltrated and offered for sale on the dark web.43

            156.   In November 2017, Hilton Worldwide Holdings Inc. agreed to pay $700,000 and

bolster its data security practices for mishandling data breaches in 2014 and 2015, including

failing to maintain reasonable data security and failing to notify victims of the data breach in a

timely manner. The breaches, discovered in February and July 2015, respectively, exposed the

credit card numbers of more than 360,000 guests.44

            157.   In October 2017, Hyatt announced that it discovered unauthorized access to

payment card information at 41 of its properties worldwide. This announcement came on the

heels of Hyatt’s announcement in late 2015 that hackers had gained access to credit card systems


41
     Id.
42
   C. Osborne, Radisson Hotel Group Suffers Data Breach, Customer Info Leaked, ZDNET (Nov.
1, 2018), https://www.zdnet.com/article/radisson-hotel-group-chain-suffers-data-breach/ (last
accessed July 22, 2019).
43
  E. Hertzfeld, Data Leak from Huazhu Hotels May Affect 130 Million Customers, QUESTEX,
LLC (Aug. 30, 2018), https://www.hotelmanagement.net/tech/data-leak-from-huazhu-hotels-
may-affect-130-million-customers (last accessed July 22, 2019).
44
  J, Stempel, Hilton to Pay $700,000 Over Credit Card Data Breaches, REUTERS (Oct. 31,
2017), https://www.reuters.com/article/us-hilton-wrldwide-settlement/hilton-to-pay-700000-
over-credit-card-data-breaches-idUSKBN1D02L3 (last accessed July 22, 2019).


                                                52
      Case 8:19-md-02879-PWG Document 352 Filed 07/24/19 Page 67 of 373



at 250 properties in 50 different countries for a period spanning nearly four months, exposing

customers’ payment card data including cardholder names, numbers, expiration dates, and

internal verification codes.45

          158.   In July 2017, multiple hotel chains including Hard Rock Hotels & Casinos, Four

Seasons Hotels and Resorts, Trump Hotels, Loews Hotels, Kimpton Hotels & Restaurants, RLH

Corporation, and Club Quarter Hotels, among others, reported a data breach via a third-party

reservations system provided by Sabre Hospitality Solutions. The breach permitted unauthorized

access to customers’ credit card information and certain reservation information between August

2016 and March 2017.46

          159.   In February 2017, InterContinental Hotels Group announced that cash registers at

more than 1,000 of its properties were infected with malware designed to siphon customers’

payment card data from on-site hotel locations between September 29, 2016 and December 29,

2016.47




45
   B. Krebs, Hyatt Hotels Suffers 2nd Card Breach in 2 Years, KREBS ON SECURITY (Oct. 17,
2017), https://krebsonsecurity.com/2017/10/hyatt-hotels-suffers-2nd-card-breach-in-2-years/
(last accessed July 22, 2019).
46
   D. Ting, Data Breach at Sabre Hits Four Seasons and Other Hotels, SKIFT (July 11, 2017),
https://skift.com/2017/07/11/data-breach-at-sabre-hits-four-seasons-and-other-hotels/ (last
accessed July 22, 2019); B. Krebs, Breach at Sabre Corp.’s Hospitality Unit, KREBS ON
SECURITY (May 17, 2017) https://krebsonsecurity.com/2017/05/breach-at-sabre-corp-s-
hospitality-unit/ (last accessed July 22, 2019).
47
  M. Schwartz, InterContinental Hotels Group: Malware Hit 1,200 Locations, BANK INFO
SECURITY (Apr. 19, 2017), https://www.bankinfosecurity.com/intercontinental-hotels-group-
malware-hit-1200-locations-a-9852 (last accessed July 22, 2019).


                                                53
      Case 8:19-md-02879-PWG Document 352 Filed 07/24/19 Page 68 of 373



        160.    In September 2016, Kimpton Hotel & Restaurant Group LLC announced that

customers’ payment card information was compromised by malware installed on its servers at

more than 60 of its hotels and restaurants during a six-month period.48

        161.    In June 2016, Hard Rock Hotel & Casino Las Vegas announced that after

receiving reports of fraudulent activity associated with payment cards used at its hotel, the resort

conducted an investigation revealing that malware had been installed on its servers allowing

unauthorized access to customers’ names, credit card numbers, expiration dates, and verification

numbers.49

        162.    The following month, Omni Hotels & Resorts confirmed that a similar malware

attack exposed the names and payment card information of more than 50,000 customers at 49 of

its properties.50

        163.    In November 2015, Noble House Hotels and Resorts announced a breach

affecting six of its properties over different periods of time from December 29, 2014 to August

11, 2015. This breach also involved malware installed on Noble’s POS systems.51




48
   B. Krebs, Kimpton Hotels Acknowledges Data Breach, KREBS ON SECURITY (Sept. 16, 2017),
https://krebsonsecurity.com/2016/09/kimpton-hotels-acknowledges-data-breach/ (last accessed
July 22, 2019).
49
   S. Ragan, Hard Rock Las Vegas Suffers a Second Data Breach, CSO ONLINE (June 28, 2016),
https://www.csoonline.com/article/3089449/hard-rock-las-vegas-suffers-a-second-data-
breach.html (last accessed July 22, 2019).
50
   K. Robinson, Dallas-based Omni Hotels Announces Data Breach of 50,000 Credit, Debit
Cards, THE DALLAS MORNING NEWS (July 2016),
https://www.dallasnews.com/business/hotels/2016/07/12/omni-hit-data-breach-impacted-50000-
credit-debit-cards (last accessed July 22, 2019).
51
  HNN Editorial Staff, Timeline: The Growing Number of Hotel Data Breaches, HOTEL NEWS
NOW (Nov. 30, 2018) http://www.hotelnewsnow.com/Articles/50937/Timeline-The-growing-
number-of-hotel-data-breaches (last accessed July 22, 2019).


                                                54
     Case 8:19-md-02879-PWG Document 352 Filed 07/24/19 Page 69 of 373



       164.    In March 2015, hotel chain Mandarin Oriental Hotel Group confirmed that its

hotels were affected by a payment card breach indicating that some of the chain’s POS systems

were infected with malware capable of stealing customer card data.52

       165.    Despite these well-publicized breaches of their competitors, Marriott and

Starwood failed to undertake adequate analyses and testing of their own systems to ensure that

similar vulnerabilities were remedied.

       166.    In addition to data breaches affecting the hospitality industry, Marriott and

Starwood observed numerous, well-publicized data breaches involving other types of major

corporations who were also targeted given the sensitive consumer information they retained.

       167.    For example, through a series of data breaches extending back to 2013, more than

three billion Yahoo! user accounts were compromised when account-holders’ names, addresses,

and dates of birth were stolen. The hackers also stole users’ passwords, both encrypted and

unencrypted, and security questions and answers.53

       168.    In separate incidents in 2013 and 2014, hundreds of millions of retail customers

were victimized by hacks of payment card systems at Target and the Home Depot. Both breaches

led to rampant payment card fraud and other damages both to consumers and to the card-issuing

banks.54




52
   B. Krebs, Credit Card Breach at Mandarin Oriental, KREBS ON SECURITY (March 4, 2015),
https://krebsonsecurity.com/2015/03/credit-card-breach-at-mandarian-oriental/ (last accessed
July 22, 2019).
53
   S. Larson, Every Single Yahoo Account was Hacked – 3 Billion in All, CNN (OCT. 4, 2017),
https://money.cnn.com/2017/10/03/technology/business/yahoo-breach-3-billion-
accounts/index.html (last accessed July 22, 2019).
54
  B. Krebs, Home Depot Hit By Same Malware as Target, KREBS ON SECURITY (Sept. 14,
2014), https://krebsonsecurity.com/tag/home-depot-databreach/ (last accessed July 22, 2019).


                                              55
      Case 8:19-md-02879-PWG Document 352 Filed 07/24/19 Page 70 of 373



          169.   In early 2015, Anthem, Inc., the second-largest health insurer in the United States,

suffered a data breach that exposed the names, addresses, Social Security numbers, dates of birth,

and employment histories of nearly 80 million current and former plan members.55 Other health

care providers like, Premera and Excellus BlueCross BlueShield, reported similar breaches.56

          170.   In September 2017, credit reporting agency Equifax announced that hackers stole

the personal and financial information of nearly 150 million Americans between May and July

2017.57

          171.   Despite being holders of Personal Information for millions of individuals

worldwide, Defendants failed to prioritize data security by adopting reasonable data security

measures to prevent and detect unauthorized access to their highly-sensitive databases.

Defendants had the resources to prevent a breach and made significant expenditures to market

their hotels and hospitality services, but neglected to adequately invest in data security, despite

the growing number of well-publicized data breaches affecting the hospitality and similar

industries.

                                          The Data Breach

          172.




55
   C. Riley, Insurance Giant Anthem Hit by Massive Data Breach, CNN (Feb. 6, 2015),
https://money.cnn.com/2015/02/04/technology/anthem-insurance-hack-data-security/ (last
accessed July 22, 2019).
56
   Cyber Breach Hits 10 Million Excellus Healthcare Customers, USA TODAY (Sept. 10, 2015),
https://www.usatoday.com/story/tech/2015/09/10/cyber-breach-hackers-excellus-blue-cross-
blue-shield/72018150/ (last accessed July 22, 2019).
57
  https://www.equifaxsecurity2017.com/frequently-asked-questions/ (last accessed July 22,
2019).


                                                  56
     Case 8:19-md-02879-PWG Document 352 Filed 07/24/19 Page 71 of 373




                                    .

      173.




      174.




                      .60

      175.




58

59

60

61




                                    57
      Case 8:19-md-02879-PWG Document 352 Filed 07/24/19 Page 72 of 373




                                                     63



       176.




                                                                64



       177.

                                                                        This activity resulted in

Accenture–the IT company tasked with managing the Starwood guest reservation database–

receiving an alert that was generated by one of its security products, IBM “Guardium.”

Guardium is used to provide “automated, sensitive data discovery and classification, real-time

data activity monitoring and cognitive analytics to discover unusual activity around sensitive

data.”65

       178.   On September 8, 2018, Accenture notified Marriott’s IT team that Guardium

detected an anomaly in the Starwood database: an unusual query from an administrator’s account




62

63

64

65
   According to IBM’s Security Data Sheet, the Guardium “solution continuously monitors all
data access operation in real time to detect unauthorized actions, based on detailed contextual
information – the ‘who, what, where, when and how’ of each data access. Guardium Data
Protection reacts immediately to help prevent unauthorized or suspicious activities by privileged
insiders and potential hackers.” IBM Guardium Data Protection – Monitor Data Access and Take
Action Against Threats, https://www.ibm.com/us-en/marketplace/ibm-guardium-data-protection
(last accessed July 22, 2019).


                                               58
           Case 8:19-md-02879-PWG Document 352 Filed 07/24/19 Page 73 of 373



to return the count of rows from a table in the database.66 The query was suspicious because the

software that runs over the database does not usually need to make queries, and therefore

indicated a human operator was likely manually making this (very specific) query.67

            179.




            180.




            8



            181.   After determining the individual whose credentials were used to make this query

had not actually accessed the data, on September 10, 2018, Marriott “brought in third-party

investigators” to look into whether the Starwood systems had been breached.69




66
   A. Sorenson, Testimony of Arne Sorenson, President & CEO, Marriott International Before
the Senate Committee on Homeland Security & Governmental Affairs Permanent Subcommittee
on Investigations, Opening Statement (hereinafter “Sorenson Testimony”) (March 7, 2019),
https://www.hsgac.senate.gov/imo/media/doc/Soresnson%20Testimony.pdf (last accessed July
22, 2019).
67
     Id.
68

69




                                                  59
        Case 8:19-md-02879-PWG Document 352 Filed 07/24/19 Page 74 of 373



          182.




          183.




          184.   The investigation revealed that the malware installed on Starwood’s systems

dated back to July 2014, long before the Marriott acquisition. And in early to mid-October 2018,

the investigation identified additional malware, including a tool called “Mimikatz,” which

searches a device memory for usernames and passwords.71 Yet, according to Marriott, the

investigators still lacked sufficient evidence at this time that hackers had accessed customer

data.72

          185.   Over six weeks after discovering suspicious activity on its systems, only on

October 29, 2018, did Marriott finally contact the Federal Bureau of Investigation (“FBI”) to

notify the agency about its investigation into the unauthorized access of the Starwood servers.

70

71

72
     Sorenson Testimony at p. 3.


                                              60
           Case 8:19-md-02879-PWG Document 352 Filed 07/24/19 Page 75 of 373



Just over a week later, Marriott provided the FBI with additional information including a list of

the malware and IP addresses used by one or more of the hackers.

            186.   Marriott filed its quarterly report with the U.S. Securities and Exchange

Commission (“SEC”) on November 6, 2018 for the period ending September 30, 2018. The

company’s filing occurred after it was alerted of a potential breach on September 8, 2018, and

had begun its investigation, but the filing did not contain any mention of the breach, only a

description of generic cyber risk factors that had been included in previous reports.

            187.   Marriott claims the evidence confirming the occurrence of a breach was not

actually discovered until November 13, 2018, when investigators found that two compressed,

encrypted files had been deleted from a device they were examining, and that those two files had

potentially been removed from the Starwood network.73 Marriott claims it took another six days

for the investigators to decrypt the files, and on November 19, 2018, they uncovered the

contents: a table of data from the Starwood guest reservation database which contained personal

information of hundreds of millions of guests who had made a reservation at a Starwood

property and another table containing detailed passport information.74 Only then, two months

later, did Marriott begin preparing to notify guests and other regulatory authorities.75

            188.   On November 29, 2018, Marriott provided updated information to the FBI after

confirming that the attacker had accessed and exfiltrated customer data, and further notified all

U.S. Attorneys General, the Federal Trade Commission (“FTC”), the SEC, regulators in 20

different countries, four major payment card networks and their credit card processing vendors,



73
     Id.
74
     Id. at 4.
75
     Id.


                                                 61
           Case 8:19-md-02879-PWG Document 352 Filed 07/24/19 Page 76 of 373



and three major U.S. credit reporting agencies.76 According to Marriott, the company “furnished

to the credit card networks all of the encrypted payment card data that was in the data tables

[they] believe were involved in the incident, and the credit card networks then notified the banks

that issued the cards.”77

            189.    As the investigation continued, the investigators found evidence that at some time

between 2015 and 2016, the hackers created a copy of two other tables which were later

deleted.78 The file names correspond to two tables in the Starwood guest reservation database.79

Marriott has been unable to recover those files and cannot determine what customer information

in those tables was removed from the Starwood network.80 Consequently, it is highly likely that

additional data was stolen beyond what Marriott has already confirmed, including other Personal

Information.

            190.




            191.    The following is a summary



               




76
     Id. at 4, 5.
77
   Starwood Guest Reservation Database Security Incident Website, https://answers.kroll.com/
(last accessed July 22, 2019).
78
     Sorenson Testimony at p. 4.
79
     Id.
80
     Id.


                                                    62
     Case 8:19-md-02879-PWG Document 352 Filed 07/24/19 Page 77 of 373




           

           



           



           



           



           


           




           


                        .

       192.    Marriott has subsequently acknowledged that it does not know the identity of the

hackers and has not speculated as to the hackers’ identities or their purpose for stealing this

Personal Information.

                              Marriott’s Response to the Breach

       193.    Although Marriott was on notice of a potential breach as early as September 8,

2018, it took Marriott 83 days to publicly acknowledge the breach and even longer to directly

notify impacted customers via e-mail.


                                              63
           Case 8:19-md-02879-PWG Document 352 Filed 07/24/19 Page 78 of 373



            194.   On November 30, 2018, Marriott publicly notified guests in a press release,

stating that “there was unauthorized access to the database, which contained guest information

relating to reservations at Starwood properties on or before September 10, 2018.”81 Marriott

initially reported that the Data Breach affected up to 500 million guests who made a reservation

at a Starwood property,82 including W Hotels, St. Regis, Sheraton Hotels & Resorts, Westin

Hotels & Resorts, Element Hotels, Aloft Hotels, The Luxury Collection, Tribute Portfolio, Le

Méridien Hotels & Resorts, Four Points by Sheraton, and Design Hotels, as well as Starwood-

branded timeshare properties Sheraton Vacation Club, Westin Vacation Club, The Luxury

Collection Residence Club, St. Regis Residence Club, and Vistana.

            195.   Marriott’s announcement further stated that for approximately 327 million of the

500 million guests, the information compromised contained some combination of name, mailing

address, phone number, email address, passport number, Starwood Preferred Guest account

information, date of birth, gender, arrival and departure information, reservation date, and

communication preferences. For the remaining guests, Marriott offered the opaque statement that

their “information was limited to name and sometimes other data such as mailing address, email

address, or other information.”83

            196.   Marriott also said that for some guests, the information includes payment card

numbers and payment card expiration dates, “but the payment card numbers were encrypted

using Advanced Encryption Standard encryption (AES-128).” Marriott explained that “[t]here

are two components needed to decrypt the payment card numbers,” but that it had “not been able

81
   Marriott Announces Starwood Guest Reservation Database Security Incident (hereinafter
“Marriott Data Breach Announcement”), https://news.marriott.com/2018/11/marriott-announces-
starwood-guest-reservation-database-security-incident/ (last accessed July 22, 2019).
82
     Id.
83
     Id.


                                                  64
           Case 8:19-md-02879-PWG Document 352 Filed 07/24/19 Page 79 of 373



to rule out the possibility that both were taken.”84 In fact, evidence suggests hackers did take

those components.

            197.   In the statement, Marriott CEO Arne Sorenson added: “We deeply regret this

incident happened. We fell short of what our guests deserve and what we expect of ourselves.

We are doing everything we can to support our guests, and using lessons learned to be better

moving forward.”85

            198.   Following the November 30, 2018 press release, Marriott started sending email

notifications to various guests who had valid email addresses in the compromised data tables.

Marriott sent email notifications on a rolling basis, completing the email notice to domestic

guests on December 11, 2018.

            199.   Marriott’s significant delay in notification was unreasonable, violated various

state notification laws, and prevented impacted customers from taking immediate steps to protect

themselves against identity theft and fraud.

            200.   Marriott’s email notification procedure also raised concerns among security

experts. To send the emails, Marriott created a separate domain—“email-marriott.com,”—which

is registered to a third party firm on behalf of Marriott.86 A major issue cited by technology

reporters was that the email’s sender domain does not look like a legitimate domain because the

domain does not load to a website or have an identifying HTTPS certificate.87 The email was

also criticized for being “easily spoofable” (that is, easy for “cybersquatters” to mimic with


84
     Id.
85
     Id.
86
     https://www.cscglobal.com/service/dbs/digital-brand-services/ (last accessed July 22, 2019).
87
  Z. Whittaker, Marriott’s breach response is so bad, security experts are filling in the gaps—at
their own expense, TECHCRUNCH (Dec. 3, 2018), https://techcrunch.com/2018/12/03/marriott-
data-breach-response-risk-phishing/ (last accessed July 22, 2019).


                                                  65
           Case 8:19-md-02879-PWG Document 352 Filed 07/24/19 Page 80 of 373



similar-looking domains).88 The FTC even warned consumers that “phishing scammers try to

take advantage of situations like this” by “pos[ing] as legitimate companies and send[ing] emails

with links to fake websites to try to trick people into sharing their personal information.”89

            201.   The problems with Marriott’s email notifications were so apparent that two

different cybersecurity experts registered similarly-named domains—“email-mariott.com” and

“email-marriot.com”—to protect consumers from clicking on spoofed links. To the untrained

eye, these look like legitimate domains – many would not notice the misspellings. The first was

registered by Nick Carr who works for FireEye and the second belongs to Jake Williams,

founder of Rendition Infosec.90 In their words, “[h]ad Marriott just sent the email from its own

domain, it wouldn’t be an issue.”91

            202.   Marriott also opened a call center and created a dedicated website—through a

third-party company called Kroll—to answer questions about the Data Breach and provide

access to a web monitoring service called WebWatcher. But the enrollment process for this

service appeared to be intentionally camouflaged to prevent consumers from easily enrolling. For

example, there was no link to “click here” or “enroll now” under the heading “Free WebWatcher

Enrollment” on the announcement website. Instead, consumers were supposed to click on their

country of origin above the announcement, even though there was no clear indication that the

countries were “clickable” links.



88
     Id.
89
   S. Gressin, The Marriott Data Breach, FEDERAL TRADE COMMISSION, CONSUMER
INFORMATION (Dec. 4, 2018), https://www.consumer.ftc.gov/blog/2018/12/marriott-data-breach
(last accessed July 22, 2019).
90
  Z. Whittaker, Marriott’s breach response is so bad, security experts are filling in the gaps—at
their own expense, supra note 87.
91
     Id.


                                                 66
           Case 8:19-md-02879-PWG Document 352 Filed 07/24/19 Page 81 of 373



            203.   Compounding this problem, the “FAQ” section of the website included a question

entitled “What is WebWatcher and how do I enroll?” The corresponding answer stated that

“WebWatcher monitors internet sites where personal information is shared and generates an alert

if evidence of your personal information is found” – but failed to answer the question “how do I

enroll?”

            204.   Additionally, the WebWatcher services offered by Marriott had obvious

limitations. For one, critics decried the “relatively short [one year] window of coverage, since

identity thieves often wait to use stolen data.”92 Likewise, the service itself is not “particularly

effective at protecting your data” because it is reactionary – it only alerts individuals after their

information is located on underground websites.93

            205.   As noted by Consumer Reports, the WebWatcher service also does not include “a

credit-monitoring service to alert consumers when new accounts have been opened in their name,

which most identity theft services do include.”94 Indeed, hallmarks of a robust monitoring

product include not only “dark web” notifications, but also three-bureau credit monitoring,

access to credit reports and credit scores, public record monitoring, bank and credit account

takeover alerts, change of address alerts, access to an insurance policy, and access to agents who

specialize in fraud resolution and identity restoration services. By depriving consumers of access

to a more robust service, many affected individuals were unable to take necessary mitigative

measures or were forced to pay out-of-pocket to protect themselves from Marriott’s security

failures.

92
  O. Blanco, Why Marriott’s ID Theft Protection May Not Be Enough, CONSUMER REPORTS
(Dec. 7, 2018), https://www.consumerreports.org/identity-theft/why-marriotts-id-theft-
protection-may-not-be-enough/ (last accessed July 22, 2019).
93
     Id.
94
     Id.


                                                 67
           Case 8:19-md-02879-PWG Document 352 Filed 07/24/19 Page 82 of 373



            206.   On January 4, 2019, Marriott issued a follow-up press release adjusting the

number of affected records to 383 million guest records, including 23.75 million passport

numbers (at least 5.25 million of which were unencrypted), and 9.1 million unique encrypted

payment card numbers.95 As of March 7, 2019, Marriott estimated that the information

compromised “could include several thousand unencrypted payment card numbers.”96 Marriott

noted that investigators at that time had “not found evidence that the master encryption keys

needed to decrypt encrypted payment card numbers were accessed” – but could not rule out that

possibility (and experts view it as likely having occurred). Thus, even though 9.1 million

payment card numbers were encrypted, it is likely that the hackers had access to the full payment

card information with encryption keys.

            207.   During the time between discovery of the Data Breach and Marriott’s retiring of

the Starwood database, Marriott reportedly took measures to secure the Starwood network,

including “malware removal, deployment of endpoint protection tools to approximately 70,000

devices that were originally on the Starwood network, rebuilding impacted hosts, and IP

whitelisting to control access to the Starwood database.”97 Marriott reportedly retired its use of

the Starwood guest reservation database for business operations as of December 18, 2018.98

               Reactions to the Breach and Government and Regulatory Investigations

            208.   Reactions to the Data Breach from industry security analysts and Congressional

members highlight its severity. Chris Wysopal, chief technology officer of security company




95
     Sorenson Testimony at p. 5.
96
     Id.
97
     Id.
98
     Id.


                                                  68
            Case 8:19-md-02879-PWG Document 352 Filed 07/24/19 Page 83 of 373



Veracode, stated that: “On a scale of 1 to 10 and up, this is one of those No. 10 size breaches.

There have only been a few of them of this scale and scope in the last decade.”99

             209.   Ollie Whitehouse, Global Chief Technology Officer at IT security company NCC

Group, stated that: “Marriott Hotels should have identified this breach through their cyber due

diligence of Starwood in 2016 when it acquired the company. As result of buying a breach they

will face a number of challenges at a board level around the levels of governance and diligence

within the business. Had it performed a detailed compromise assessment as part of its due-

diligence activity, the organization’s board would have been informed of the breach and been

able to make a decision based on risk or put other warranties in place.” 100

             210.   Joseph Carson, Chief Security Scientist at security company Thycotic, stated that:

“What is shocking about this data breach is that the cybercriminals potentially got away with

both the encrypted data as well as the methods to decrypt the data which appears that Marriott

have not practiced adequate cybersecurity protection for their customers personal and sensitive

information.”101

             211.   Satya Gupta, Global Chief Technology Officer and Co-Founder of cyber-security

company Virsec, stated that: “What’s most disturbing about this attack is the enormous dwell

time inside Starwood’s systems. The attackers apparently had unauthorized access since 2014 – a

massive window of opportunity to explore internal servers, escalate privileges, move laterally to

other systems, and plot a careful exfiltration strategy before being discovered. All organizations

99
  Democrat-Gazette Staff Wire Reports, Breach Puts Hotel Guests’ Data at Risk, ARKANSAS
DEMOCRAT GAZETTE (Dec. 1, 2018), https://www.arkansasonline.com/news/2018/dec/01/breach-
puts-hotel-guests-data-at-risk-2/ (last accessed July 22, 2019).
100
    M. Zorz, Industry Reactions to the Enormous Marriott Data Breach, HELPNET SECURITY
(Nov. 30, 2018), https://www.helpnetsecurity.com/2018/11/30/marriott-data-breach-reactions/
(last accessed July 22, 2019).
101
      Id.


                                                    69
            Case 8:19-md-02879-PWG Document 352 Filed 07/24/19 Page 84 of 373



should assume that the next threat is already inside their networks and won’t be caught by

conventional perimeter security. We need much more careful scrutiny of what critical

applications are actually doing to spot signs of internal corruption. We must reduce dwell time

from years to seconds.”102

             212.   Matt Walmsley, EMEA Director at Vectra, stated that: “This breach also

demonstrates that incident response continues to take too long, and in many cases the result is

security teams trying to figure out ‘what just happened, how do we stop it happening again?’

rather than spotting, understanding and closing down an attacker earlier in its lifecycle to

minimi[ze] or stop a breach occurring.”103

             213.   Tom van de Wiele, a security consultant at cybersecurity and privacy company F-

Secure, stated that: “The most disappointing part of this hack is the fact that the amount of data

stolen is one of the bigger ones of the last few years and further made worse by the fact that the

compromise had been going on for at least four years according to several online publications.

This indicates that as far as security monitoring and being able to respond in a timely and

adequate fashion, Marriott had severe challenges being able to live up to its mission statement of

keeping customer data safe.”104

             214.   Marriott has also been condemned by members of Congress who faulted Marriott

for moving too slowly to phase out Starwood’s software. For example, on March 7, 2019, the

U.S. Senate Homeland Security and Governmental Affairs Permanent Subcommittee on

Investigations held a hearing on “Examining Private Sector Data Breaches” and lawmakers

102
  Security Experts, Industry Leaders Reaction on Marriott Data Breach Exposing 500M
Customers, ISBUZZ NEWS (Dec. 3, 2018), https://www.informationsecuritybuzz.com/expert-
comments/marriott-data-breach/ (last accessed July 22, 2019).
103
      M. Zorz, Industry Reactions to the Enormous Marriott Data Breach, supra note 100.
104
      Id.


                                                   70
      Case 8:19-md-02879-PWG Document 352 Filed 07/24/19 Page 85 of 373



admonished Marriott for its deficient data security practices. In particular, Democratic Sen.

Jacky Rosen (Nev.), who previously worked in IT, expressed surprise that Marriott had taken

“no method of auditing the data coming across” following its acquisition of Starwood.105

       215.   On November 30, 2018, Texas Attorney General Ken Paxton announced that his

office served an investigative subpoena on Marriott, seeking documents and other information to

examine the nature and extent of this data breach. The state Attorneys General for New York,

Massachusetts, Illinois, Connecticut, Maryland, and Pennsylvania have also indicated they are

investigating the Data Breach.

       216.   In the European Union, the Information Commissioner’s Office (“ICO”) is

leading an investigation into the Data Breach. Marriott is subject to the European Union’s

General Data Protection Regulation (“GDPR”), which became effective in May 2018, and

various U.S. state and federal laws governing the protection of personal information and data

privacy. Specifically, the GDPR imposes compliance obligations for handling of personal

information and has increased financial penalties for noncompliance – “monetary penalties of up

to 4% of worldwide revenue.”

       217.




105
   A. Gregg, The Cybersecurity 202: Senators Call for Data Breach Penalties, Tougher Privacy
Laws After Marriott Hack, THE WASHINGTON POST (Dec. 3, 2018),
https://www.washingtonpost.com/news/powerpost/paloma/the-cybersecurity-
202/2018/12/03/the-cybersecurity-202-senators-call-for-data-breach-penalties-tougher-privacy-
laws-after-marriott-hack/5c0436431b326b60d12800d2/ (last accessed July 22, 2019).


                                               71
            Case 8:19-md-02879-PWG Document 352 Filed 07/24/19 Page 86 of 373




                                                        06



             218.




                                     107



             219.   On July 9, 2019, the ICO issued a “notice of intention to fine” Marriott £99

million ($123 million) for violations of the GDPR. The ICO concluded that Marriott failed to

conduct sufficient due diligence when it acquired Starwood and should have done more to ensure

the Starwood systems were secure, in violation of the GDPR.108

             220.   In a statement, ICO commissioner Elizabeth Denham stated: “The GDPR makes it

clear that organizations must be accountable for the personal data they hold. This can include

carrying out proper due diligence when making a corporate acquisition, and putting in place

proper accountability measures to assess not only what personal data has been acquired, but also

how it is protected. Personal data has a real value so organizations have a legal duty to ensure its

security, just like they would do with any other asset. If that doesn’t happen, we will not hesitate

to take strong action when necessary to protect the rights of the public.”109



106

107

108
   ICO News, Intention to fine Marriott International, Inc more than £99 million under GDPR
for data breach, (July 9, 2019), https://ico.org.uk/about-the-ico/news-and-events/news-and-
blogs/2019/07/intention-to-fine-marriott-international-inc-more-than-99-million-under-gdpr-for-
data-breach/ (last accessed July 22, 2019).
109
      Id.


                                                 72
        Case 8:19-md-02879-PWG Document 352 Filed 07/24/19 Page 87 of 373



          221.   Immediately following imposition of the penalty, Marriott stated its intention to

contest the fine: “We are disappointed with this notice of intent from the ICO, which we will

contest,” said Marriott CEO Arne Sorenson. “Marriott has been cooperating with the ICO

throughout its investigation into the incident, which involved a criminal attack against the

Starwood guest reservation database. We deeply regret this incident happened.”110

           An Independent Report Confirms Marriott’s Deficient Data Security Practices

          222.   The Payment Card Industry Data Security Standard (“PCI DSS”) “is a set of

security standards designed to ensure that ALL companies that accept, process, store or transmit

credit card information maintain a secure environment.”111 The standards are intended to protect

the sensitive information involved in processing payments.112 The PCI Security Standards

Council (“PCI SSC”) was launched in September 2006 in an effort to manage the ongoing

evolution of the PCI security standards with a focus on improving payment account security

throughout the transaction process.113

          223.




110
   https://news.marriott.com/2019/07/marriott-international-update-on-starwood-reservation-
database-security-incident/ (last accessed July 22, 2019).
111
      PCI FAQ, https://www.pcicomplianceguide.org/faq/#1 (last accessed July 22, 2019).
112
   Marriott Data Security Breach Lessons: Why PCI Levels Matter, PDC FLOW (Dec. 18,
2018), https://www.pdcflow.com/payment-compliance/marriott-data-security-breach-lessons-
why-pci-compliance-levels-matter/ (last accessed July 22, 2019).
113
      PCI FAQ, supra note 111.


                                                73
     Case 8:19-md-02879-PWG Document 352 Filed 07/24/19 Page 88 of 373



      a.

                     ;

      b.



      c.



      d.



      e.


      224.




      225.   A company with proper information security would not have allowed outsiders to

have access to such a massive variety of information systems over four years even if they



                                           74
     Case 8:19-md-02879-PWG Document 352 Filed 07/24/19 Page 89 of 373



somehow managed to access internal systems for a brief period of time.




       226.




       227.




       228.   Moreover, for at least four years,




       229.




         .




                                              75
Case 8:19-md-02879-PWG Document 352 Filed 07/24/19 Page 90 of 373



 230.




 231.




 232.




                               76
      Case 8:19-md-02879-PWG Document 352 Filed 07/24/19 Page 91 of 373




                           it is highly probable that at least one or more threat actors had already

accessed, exfiltrated the files containing encrypted cardholder values, and ascertained how to

decrypt the files. Once one card was decrypted successfully, the process of writing a script to do

so for the entire database would have been simple.

                               it would have been completely undetectable. Moreover, several

databases that were created by the hackers were deleted and Marriott has suggested that it cannot

confirm what data was in those files.

       233.      Marriott’s post-breach response was also lacking. It implemented infrastructure

changes after discovering the breach that only changed known compromised devices and

credentials, even though




                                                  Starwood should have assumed that hackers still

had access to its systems and ensured that all of its systems were clean before redeploying the

systems again.

       234.




                                                 77
      Case 8:19-md-02879-PWG Document 352 Filed 07/24/19 Page 92 of 373




       235.     It is also highly unlikely that every malicious actor left evidence of their activity.

Therefore, it is highly probable that there were more intrusions; the evidence was either wiped by

the attacker or was unable to be uncovered four years later due to the passage of time and

degradation of digital evidence.

       236.



                               It is highly plausible that at least some of these attacks were from

different hackers                                             because such attacks would otherwise

be redundant.

       237.




       238.

                            It is proper industry practice to assume that all accounts were

compromised (because of infiltration of what are known as active directory and domain

controllers). For this reason, Marriott should be ordered to wipe and redeploy all legacy




                                                 78
      Case 8:19-md-02879-PWG Document 352 Filed 07/24/19 Page 93 of 373



Starwood systems whenever possible and isolate (and rebuild and reimage) whenever it is not.

Additionally, Marriott should be ordered to reset all accounts and properly secure administrative

access.

                               Accenture’s Role in the Data Breach

          239.   Accenture describes itself as “one of the world’s leading professional service

companies” and provides a range of services including management and technology consulting

services. Accenture represents clients in 120 countries and reported net revenues of nearly $40

billion in 2018.

          240.   In 2009, Accenture and Starwood entered into a $200 million contract to

outsource the maintenance of Starwood’s IT and security infrastructure to Accenture.

Accenture’s services included “development, testing, maintenance and running of the

applications. Infrastructure outsourcing services include server and storage management, data

center     management,    end-user   computing,      network   management    and   service   desk

management.”114

          241.   Marriott likewise transferred its finance and accounting services to Accenture in

2013 after previously handling those services in-house. As part of a 10-year agreement,

Accenture collaborated in managing Marriott’s finance and accounting operations with Marriott

Business Services, a wholly-owned subsidiary of Marriott.




114
   J. Bosavage, Accenture Books $200 Million Deal with Starwood, CRN (Mar. 15, 2010),
https://www.crn.com/news/channel-programs/223800264/accenture-books-200-million-deal-
with-starwood.htm (last accessed July 22, 2019).


                                                79
      Case 8:19-md-02879-PWG Document 352 Filed 07/24/19 Page 94 of 373



       242.



                                                         115



       243.



                         116



       244.




                                   117



       245.    Following the announcement of the Marriott and Starwood merger, Accenture

continued to provide services to Starwood and Marriott including facilities, personnel, software

and equipment and other resources necessary to the security of the application, infrastructure,

and security domains. In particular,
                                                       118



       246.    Following the acquisition, Marriott hosted the Starwood guest reservation

database on Marriott-owned hardware in a data center operated by Digital Realty in Phoenix,

Arizona. Accenture continued managing the operation of the Starwood guest reservation

database, as it had since late 2009.




115

116

117

118




                                              80
      Case 8:19-md-02879-PWG Document 352 Filed 07/24/19 Page 95 of 373



       247.   At all relevant times,




       248.




       249.   In describing Accenture’s role,




                                         120




119

120




                                           81
      Case 8:19-md-02879-PWG Document 352 Filed 07/24/19 Page 96 of 373



        250.    Accenture knew the information stored on the Starwood database contained

valuable, sensitive information of Starwood guests and was specifically tasked with identifying

security threats in order to prevent unauthorized access of Starwood’s systems.

        251.    As described herein, Accenture repeatedly failed over a four-year period to

identify critical security threats such as unauthorized queries on Starwood’s guest reservation

database and malware specifically designed to access and exfiltrate sensitive information.

        252.    Accenture recognized that its failure to adequately secure its clients’ systems

could result in significant harm to its clients and jeopardize its own business operations. As noted

in a recent public filing:

        In providing services and solutions to clients, we often manage, utilize and store
        sensitive or confidential client or Accenture data, including personal data, and we
        expect these activities to increase, including through the use of artificial
        intelligence, the internet of things and analytics. Unauthorized disclosure of
        sensitive or confidential client or Accenture data, whether through systems
        failure, employee negligence, fraud, misappropriation, or other intentional or
        unintentional acts, could damage our reputation, cause us to lose clients and could
        result in significant financial exposure. Similarly, unauthorized access to or
        through our or our service providers’ information systems or those we develop for
        our clients, whether by our employees or third parties, including a cyberattack by
        computer programmers, hackers, members of organized crime and/or state-
        sponsored organizations, who continuously develop and deploy viruses,
        ransomware or other malicious software programs or social engineering attack,
        could result in negative publicity, significant remediation costs, legal liability,
        damage to our reputation and government sanctions and could have a material
        adverse effect on our results of operations.121

        253.    In conjunction with Starwood and Marriott, Accenture’s ongoing failure to

maintain adequate security controls to detect and neutralize known and obvious security threats

over a four-year period was a direct and proximate cause of the Data Breach.




121
   Accenture U.S. SEC 2018 Form 10-K at 11, https://www.accenture.com/_acnmedia/PDF-
89/Accenture-2018-10-K.pdf (last accessed July 22, 2019).


                                                82
            Case 8:19-md-02879-PWG Document 352 Filed 07/24/19 Page 97 of 373



                          Marriott Failed to Comply with Regulatory Guidance

             254.   Federal agencies have issued recommendations and guidelines to temper data

breaches and the resulting harm to individuals and financial institutions. For example, the FTC

has issued numerous guides for business highlighting the importance of reasonable data security

practices. According to the FTC, the need for data security should be factored into all business

decision-making.122

             255.   In 2016, the FTC updated its publication, Protecting Personal Information: A

Guide for Business, which established guidelines for fundamental data security principles and

practices for business.123 Among other things, the guidelines note businesses should protect the

personal customer information that they keep; properly dispose of personal information that is no

longer needed; encrypt information stored on computer networks; understand their network’s

vulnerabilities; and implement policies to correct security problems. The guidelines also

recommend that businesses use an intrusion detection system to expose a breach as soon as it

occurs; monitor all incoming traffic for activity indicating someone is attempting to hack the

system; watch for large amounts of data being transmitted from the system; and have a response

plan ready in the event of a breach.124

             256.   Additionally, the FTC recommends that companies limit access to sensitive data;

require complex passwords to be used on networks; use industry-tested methods for security;



122
   Federal Trade Commission, Start With Security (June 2015),
https://www.ftc.gov/system/files/documents/plain-language/pdf0205-startwithsecurity.pdf (last
accessed July 22, 2019).
123
    Federal Trade Commission, Protecting Personal Information: A Guide for Business (Oct.
2016), https://www.ftc.gov/system/files/documents/plain-language/pdf-0136_proteting-personal-
information.pdf (last accessed July 22, 2019).
124
      Id.


                                                   83
        Case 8:19-md-02879-PWG Document 352 Filed 07/24/19 Page 98 of 373



monitor for suspicious activity on the network; and verify that third-party service providers have

implemented reasonable security measures.125

          257.   The FTC has brought enforcement actions against businesses for failing to

adequately and reasonably protect customer information, treating the failure to employ

reasonable and appropriate measures to protect against unauthorized access to confidential

consumer data as an unfair act or practice prohibited by Section 5 of the Federal Trade

Commission Act, 15 U.S.C. § 45. Orders resulting from these actions further clarify the

measures businesses must take to meet their data security obligations.126

          258.   In this case, Marriott was fully aware of its obligation to use reasonable measures

to protect the personal information of its customers, acknowledging as much in its own privacy

policies. Marriott also knew it was a target for hackers. But despite understanding the

consequences of inadequate data security, Marriott failed to comply with industry-standard data

security requirements.

          259.   Marriott’s failure to employ reasonable and appropriate measures to protect

against unauthorized access to its customers’ information constitutes an unfair act or practice

prohibited by Section 5 of the FTC Act, 15 U.S.C. § 45.

                      The Effect of the Data Breach on Impacted Consumers

          260.   Given the sensitive nature of the Personal Information stolen in the Data

Breach—including names, mailing addresses, email addresses, phone numbers, passport

numbers, dates of birth, and travel information (and likely other sensitive information that was

unable to be confirmed)—hackers have the ability to commit identity theft, financial fraud, and
125
      FTC, Start With Security, supra note 122.
126
   Federal Trade Commission, Privacy and Security Enforcement: Press Releases,
https://www.ftc.gov/news-events/media-resources/protecting-consumer-privacy/privacy-
security-enforcement (last accessed July 22, 2019).


                                                  84
      Case 8:19-md-02879-PWG Document 352 Filed 07/24/19 Page 99 of 373



other identity-related fraud against Plaintiffs and class members now and into the indefinite

future and have already done so.

       261.    In fact, many victims of the Data Breach have already experienced significant

harms as the result of the Data Breach, including, but not limited to, identity theft, financial

fraud, tax fraud, unauthorized lines of credit opened in their names, and fraudulent payment card

purchases. Plaintiffs and class members have also spent time, money, and effort dealing with the

fallout of the Data Breach, including purchasing credit protection services, replacing passports,

checking credit reports, and spending time and effort searching for unauthorized activity.

       262.    The Personal Information exposed in the Data Breach is highly-coveted and

valuable on underground or black markets. For example, a cyber “black market” exists in which

criminals openly post and sell stolen consumer information on underground internet websites

known as the “dark web” – exposing consumers to identity theft and fraud for years to come.

Identity thieves can use the Personal Information to: (a) create fake credit cards that can be

swiped and used to make purchases as if they were the real credit cards; (b) reproduce stolen

debit cards and use them to withdraw cash from ATMs; (c) commit immigration fraud; (d) obtain

a fraudulent driver’s license or ID card in the victim’s name; (e) obtain fraudulent government

benefits or medical treatment; (f) file a fraudulent tax return using the victim’s information; (g)

commit passport fraud; (h) commit espionage; or (i) commit any number of other frauds, such as

obtaining a job, procuring housing, or giving false information to police during an arrest.

       263.    Additionally, victims of the Data Breach are at risk of harm unique to this breach,

including having their guest reward points siphoned for misuse. For example, Bloomberg notes

that: “Hackers have found it’s increasingly easy to access rewards portals and quickly redeem




                                                85
        Case 8:19-md-02879-PWG Document 352 Filed 07/24/19 Page 100 of 373



consumers’ hard-earned points and miles for gift cards or hotel stays.”127 In fact, “data associated

with these programs has become increasingly valuable to criminals: on the dark web, a

consumer’s Social Security number often sells for $1, while loyalty-account information can

fetch 20 times that.”128

            264.   Victims who had their passport numbers compromised are at an even greater risk

of harm. Hackers can combine exposed passport numbers with other personal information to

create false identities or fraudulent passports, which are “often linked to illegal immigration,

contraband smuggling, economic crimes, international terrorism and other serious crimes.”129

According to the U.S. Government Accountability Office (“GAO”), which conducted a study

regarding passport fraud:

            Fraudulent passports pose a significant risk because they can be used to conceal
            the true identity of the user. In addition, according to the Department of State
            (State), passport and visa fraud are often committed in connection with crimes
            such as international terrorism, drug trafficking, organized crime, alien
            smuggling, money laundering, pedophilia, and murder. As a result, even a few
            instances of passport fraud can have far-reaching effects.130

            265.   For this reason, passport information is a valuable commodity on underground

markets, especially when it is paired with other data points tied to an individual such as those

exposed by Marriott here. As noted by Brian Stack, vice president of dark web intelligence at




127
   J. Surane & K. Chiglinsky, All Those Starwood Points You Racked Up at Risk in Marriott
Hack, BLOOMBERG (Nov. 30, 2018), https://www.bloomberg.com/news/articles/2018-11-30/all-
those-starwood-points-you-racked-up-at-risk-in-marriott-hack (last accessed July 22, 2019).
128
      Id.
129
      https://www.us-passport-service-guide.com/passport-fraud.html (last accessed July 22, 2019).
130
   U.S. Government Accountability Office Report to Congressional Requesters, Pervasive
Passport Fraud Not Identified, but Cases of Potentially Fraudulent and High-Risk Issuances Are
under Review (May 2014), https://www.gao.gov/assets/670/662921.pdf (last accessed July 22,
2019).


                                                  86
        Case 8:19-md-02879-PWG Document 352 Filed 07/24/19 Page 101 of 373



Experian: “Knowing this passport number is tied to an individual is valuable.”131 This is because

“[c]riminals can use your passport number, along with your name and several other points of

data that were in Marriott’s database for customers of its Starwood division, to impersonate you

online. They could also use the number to create a more authentic forgery, something that could

be worth thousands of dollars on the black market.”132

            266.   For victims who opt to replace their passports, the multi-step process is time

consuming and costly. First, individuals must report the loss to the U.S. State Department so that

the passport will be invalidated and cannot be used for travel. This requires filling out a Form

DS-64, which requires an explanation of how the passport was lost or stolen and requires the

submission of the identifying information of the passport-holder including full name, address,

place of birth, and Social Security number, among other personal information.

            267.   Next, the victim must get new passport photos taken, which typically cost $15 or

more at the U.S. Post Office. The applicant then has to travel in-person to a passport acceptance

facility to apply for a new passport. This requires providing a copy of a U.S. birth certificate or

certificate of naturalization or citizenship, a government-issued photo ID, and the new passport

photos. The cost of obtaining a new passport is $140 for a passport book and card, plus an

additional $35 acceptance fee to obtain the passport through an authorized passport acceptance

facility. The applicant must then wait weeks or even months for the new passport to arrive.

            268.   As the result of the wide variety of injuries that can be traced to the Data Breach,

Plaintiffs and class members have and will continue to suffer economic loss and other actual

harm for which they are entitled to damages, including, but not limited to, the following:
131
   L. Hautala, Marriott Breach: What to do when hackers steal your passport number, CNET
(Dec. 3, 2018), https://www.cnet.com/news/marriott-breach-what-to-do-when-hackers-steal-
your-passport-number/ (last accessed July 22, 2019).
132
      Id.


                                                    87
     Case 8:19-md-02879-PWG Document 352 Filed 07/24/19 Page 102 of 373



       a.     purchasing goods and services they would not have otherwise paid for and/or
              paying more for good and services than they otherwise would have paid, had they
              known the truth about Defendants’ substandard data security practices;

       b.     losing the inherent value of their Personal Information;

       c.     losing the value of the explicit and implicit promises of data security;

       d.     identity theft and fraud resulting from the theft of their Personal Information;

       e.     costs associated with the detection and prevention of identity theft and
              unauthorized use of their financial accounts;

       f.     costs associated with purchasing credit monitoring, credit freezes, and identity
              theft protection services;

       g.     costs associated with replacing passports or addressing passport-related fraud;

       h.     loss of value of reward points accumulated through the purchase of goods or
              services;

       i.     unauthorized charges and loss of use of and access to their financial account funds
              and costs associated with inability to obtain money from their accounts or being
              limited in the amount of money they were permitted to obtain from their accounts,
              including missed payments on bills and loans, late charges and fees, and adverse
              effects on their credit;

       j.     lowered credit scores resulting from credit inquiries following fraudulent
              activities;

       k.     costs associated with time spent and the loss of productivity or the enjoyment of
              one’s life from taking time to address and attempt to mitigate and address the
              actual and future consequences of the Data Breach, including discovering
              fraudulent charges, cancelling and reissuing cards, purchasing credit monitoring
              and identity theft protection services, imposing withdrawal and purchase limits on
              compromised accounts, and the stress, nuisance and annoyance of dealing with
              the repercussions of the Data Breach; and

       l.     the continued imminent and certainly impending injury flowing from potential
              fraud and identify theft posed by their Personal Information being in the
              possession of one or many unauthorized third parties.

       269.   Even in instances where a consumer is reimbursed for a financial loss due to

identity theft or fraud, that does not make that individual whole again as there is typically

significant time and effort associated with seeking reimbursement that is not refunded. The



                                               88
      Case 8:19-md-02879-PWG Document 352 Filed 07/24/19 Page 103 of 373



Department of Justice’s Bureau of Justice Statistics found that identity theft victims “reported

spending an average of about 7 hours clearing up the issues” relating to identity theft or fraud.133

       270.    There may also be a significant time lag between when personal information is

stolen and when it is actually misused. According to the GAO, which conducted a study

regarding data breaches:

       [L]aw enforcement officials told us that in some cases, stolen data may be held
       for up to a year or more before being used to commit identity theft. Further, once
       stolen data have been sold or posted on the Web, fraudulent use of that
       information may continue for years. As a result, studies that attempt to measure
       the harm resulting from data breaches cannot necessarily rule out all future
       harm.134

       271.    Plaintiffs and class members place significant value in data security. According to

a recent survey conducted by cyber-security company FireEye, approximately 50% of consumers

consider data security to be a main or important consideration when making purchasing

decisions and nearly the same percentage would be willing to pay more in order to work with a

provider that has better data security. Likewise, 70% of consumers would provide less personal

information to organizations that suffered a data breach.135

       272.    The cost of purchasing a hotel room includes tangible and intangible components,

including things such as the overall cost of the property and employee costs, as well the cost of

providing conveniences like soaps and shampoos. One component of the cost of a hotel room is

the explicit and implicit promises Marriott made to protect its customers’ Personal Information.

133
   E. Harrell, U.S. Department of Justice, Victims of Identity Theft, 2014 (revised Nov. 13,
2017), http://www.bjs.gov/content/pub/pdf/vit14.pdf (last accessed July 22, 2019).
134
   U.S. Government Accountability Office Report to Congressional Requesters, Data Breaches
Are Frequent, but Evidence of Resulting Identity Theft Is Limited; However, the Full Extent Is
Unknown (June 2007), http://www.gao.gov/new.items/d07737.pdf (last accessed July 22, 2019).
135
   FireEye, Beyond the Bottom Line: The Real Cost of Data Breaches (May 2016),
https://www.fireeye.com/blog/executive-perspective/2016/05/beyond_the_bottomli.html (last
accessed July 22, 2019).


                                                 89
     Case 8:19-md-02879-PWG Document 352 Filed 07/24/19 Page 104 of 373



Because of the value consumers place on data privacy and security, companies with robust data

security practices can command higher prices than those who do not. Indeed, if consumers did

not value their data security and privacy, companies like Marriott and Starwood would have no

reason to tout their data security efforts to their actual and potential customers.

       273.    Consequently, had consumers known the truth about Defendants’ data security

practices—that they did not adequately protect and store their data—they would not have stayed

at a Marriott Property, purchased products or services at a Marriott Property, and/or would have

paid less. As such, Plaintiffs and class members did not receive the benefit of their bargain with

Defendants because they paid for the value of services they expected but did not receive.

                               CLASS ACTION ALLEGATIONS

                                     NATIONWIDE CLASS

       274.    Pursuant to Fed. R. Civ. P. 23(b)(2) and (b)(3), as applicable, and (c)(4), Plaintiffs

seek certification of the following nationwide class (the “Nationwide Class” or the “Class”

     All natural persons residing in the United States whose Personal Information was
                             compromised in the Data Breach.

       275.    The Nationwide Class asserts claims against Marriott and Starwood for

negligence (Count 1), negligence per se (Count 2), breach of contract (Count 3), breach of

implied contract (Count 4), unjust enrichment (Count 5), declaratory judgment (Count 6),

violations of the Maryland Personal Information Protection Act, Md. Comm. Code §§ 14-3501,

et seq., (Count 7); and violations of the Maryland Consumer Protection Act, Md. Code Ann.,

Com. Law §§ 13-301, et seq. (Count 8). The Nationwide Class also asserts claims against

Accenture for negligence (Count 95), and negligence per se (Count 96). All causes of action

asserted below are against Marriott and Starwood except where otherwise indicated.




                                                  90
      Case 8:19-md-02879-PWG Document 352 Filed 07/24/19 Page 105 of 373



               STATEWIDE [NAME OF STATE OR TERRITORY] SUBCLASS

        276.      Pursuant to Fed. R. Civ. P. 23(b)(2) and (b)(3), as applicable, and (c)(4), Plaintiffs

seek certification of state-by-state claims in the alternative to the nationwide claims, as well as

statutory claims under state data breach statutes and consumer protection statutes (Counts 9

through 94), on behalf of separate statewide subclasses for each State, the District of Columbia,

Puerto Rico, and the Virgin Islands (the “Statewide Subclasses”), defined as follows:

All natural persons residing in [name of state or territory] whose Personal Information was
                             compromised in the Data Breach.

        277.      Excluded from the Nationwide Class and each Statewide Subclass are Marriott

and Accenture, any entity in which Marriott or Accenture has a controlling interest, and

Marriott’s and Accenture’s officers, directors, legal representatives, successors, subsidiaries, and

assigns. Also excluded from the Nationwide Class and each Statewide Subclass are any judicial

officer presiding over this matter, members of their immediate family, and members of their

judicial staff.

        278.      Numerosity: Federal Rule of Civil Procedure 23(a)(1). The members of each

Class and Subclass are so numerous and geographically dispersed that individual joinder of all

class members is impracticable. While the exact number of class members is unknown to

Plaintiffs at this time, Marriott has acknowledged that Personal Information of hundreds of

millions of its customers has been compromised. Those individuals’ names and addresses are

available from Marriott’s records, and class members may be notified of the pendency of this

action by recognized, Court-approved notice dissemination methods. Indeed, Marriott has stated

that it has already provided direct notice of the breach to class members. On information and

belief, there are at least thousands of class members in each Statewide Subclass, making joinder

of all Statewide Subclass members impracticable.



                                                   91
     Case 8:19-md-02879-PWG Document 352 Filed 07/24/19 Page 106 of 373



       279.    Commonality and Predominance: Federal Rules of Civil Procedure 23(a)(2)

and 23(b)(3). As to the Nationwide Class and each Statewide Subclass, this action involves

common questions of law and fact, which predominate over any questions affecting individual

class members, including, but not limited to, the following:

       a. Whether Marriott knew or should have known that its computer systems were

           vulnerable to attack;

       b. Whether Marriott and/or Accenture failed to take adequate and reasonable measures

           to ensure Marriott’s data systems were protected;

       c. Whether Marriott and/or Accenture failed to take available steps to prevent and stop

           the breach from happening;

       d. Whether Marriott failed to disclose the material facts that it did not have adequate

           computer systems and security practices to safeguard its customers’ Personal

           Information;

       e. Whether Marriott failed to provide timely and adequate notice of the data breach;

       f. Whether Marriott and/or Accenture owed a duty to Plaintiffs and class members to

           protect their Personal Information and to provide timely and accurate notice of the

           data breach to Plaintiffs and class members;

       g. Whether Marriott and/or Accenture breached their duties to protect the Personal

           Information of Plaintiffs and class members by failing to provide adequate data

           security and by failing to provide timely and accurate notice to Plaintiffs and class

           members of the data breach;




                                                92
     Case 8:19-md-02879-PWG Document 352 Filed 07/24/19 Page 107 of 373



       h. Whether Marriott and/or Accenture’s conduct, including their failure to act, resulted

           in or was the proximate cause of the breach of Marriott’s systems, resulting in the

           unauthorized access to and/or theft of its customers’ Personal Information;

       i. Whether Marriott has a contractual obligation to use reasonable security measures

           and whether it complied with such contractual obligation;

       j. Whether Marriott’s conduct amounted to violations of state consumer protection

           statutes, and/or state data breach statutes;

       k. Whether, as a result of Defendants’ conduct, Plaintiffs and Class and Subclass

           members face a significant threat of harm and/or have already suffered harm, and, if

           so, the appropriate measure of damages to which they are entitled; and

       l. Whether, as a result of Defendants’ conduct, Plaintiffs and Class and Subclass

           members are entitled to injunctive, equitable, declaratory and/or other relief, and, if

           so, the nature of such relief.

       280.    Typicality: Federal Rule of Civil Procedure 23(a)(3). As to the Nationwide

Class and each Statewide Subclass, Plaintiffs’ claims are typical of other class members’ claims

because Plaintiffs and class members were subjected to the same allegedly unlawful conduct and

damaged in the same way.

       281.    Adequacy of Representation: Federal Rule of Civil Procedure 23(a)(4).

Plaintiffs are adequate class representatives because their interests do not conflict with the

interests of class members who they seek to represent, Plaintiffs have retained counsel competent

and experienced in complex class action litigation and data breach litigation, and Plaintiffs intend

to prosecute this action vigorously. The class members’ interests will be fairly and adequately

protected by Plaintiffs and their counsel.




                                                 93
     Case 8:19-md-02879-PWG Document 352 Filed 07/24/19 Page 108 of 373



       282.    Declaratory and Injunctive Relief: Federal Rule of Civil Procedure 23(b)(2).

The prosecution of separate actions by individual class members would create a risk of

inconsistent or varying adjudications with respect to individual class members that would

establish incompatible standards of conduct for Defendants. Such individual actions would create

a risk of adjudications that would be dispositive of the interests of other class members and

impair their interests. Defendants have acted and/or refused to act on grounds generally

applicable to the Class, making final injunctive relief or corresponding declaratory relief

appropriate.

       283.    Superiority: Federal Rule of Civil Procedure 23(b)(3). A class action is

superior to any other available means for the fair and efficient adjudication of this controversy,

and no unusual difficulties are likely to be encountered in the management of this class action.

The damages or other financial detriment suffered by Plaintiffs and class members are relatively

small compared to the burden and expense that would be required to individually litigate their

claims against Defendants, so it would be impracticable for class members to individually seek

redress for Defendants’ wrongful conduct.

                     CHOICE OF LAW FOR NATIONWIDE CLAIMS

       284.    The state laws of one state will likely govern Plaintiffs’ claims.

       285.    First, the principal place of business of Marriott, located in Bethesda, Maryland, is

the “nerve center” of its business activities—the place where its high-level officers direct,

control, and coordinate the corporation’s activities, including its data security functions and

major policy, financial, and legal decisions.

       286.    Alternatively, the former principal place of business of Starwood, Stamford,

Connecticut, was the center of operations of Starwood and its SPG Loyalty Program, and the

place where, on information and belief, its high-level officers directed, controlled, and


                                                94
     Case 8:19-md-02879-PWG Document 352 Filed 07/24/19 Page 109 of 373



coordinated the corporation’s activities, including its data security functions and major policy,

financial, and legal decisions.

        287.    Both Maryland and Connecticut have significant interests in regulating the

conduct of businesses operating within their borders. Those states, which seek to protect the

rights and interests of residents and citizens of the United States against a company

headquartered and doing business in those states, have a greater interest in the nationwide claims

of Plaintiffs and class members than any other state and are most intimately concerned with the

claims and outcome of this litigation.

        288.    Marriott’s response to the Data Breach at issue here, and corporate decisions

surrounding such response, were made from and in Maryland.

        289.    Marriott’s breaches of duty to Plaintiffs and Nationwide Class members emanated

from both Connecticut and Maryland.

        290.    Additional factual analysis is necessary in order to determine which state’s law

should apply to the claims of the class members. Accordingly, it would be inappropriate to

determine choice of law at the pleadings stage of this case. Plaintiffs are therefore pleading

nationwide claims based upon Maryland and Connecticut law in the alternative (or under the law

of the states of each Plaintiff).

        291.    Application of either Maryland or Connecticut law with respect to Plaintiffs’ and

class members’ claims after the completion of a factual inquiry would be neither arbitrary nor

fundamentally unfair because those states have significant contacts and a significant aggregation

of contacts that create a state interest in the claims of Plaintiffs and class members.

        292.    Under choice of law principles applicable to this action, the common law of one

of the states—Maryland or Connecticut—would apply to the nationwide common law claims of




                                                 95
     Case 8:19-md-02879-PWG Document 352 Filed 07/24/19 Page 110 of 373



all class members given Maryland’s and Connecticut’s significant interest in regulating the

conduct of businesses operating within their borders, consumer protection laws may be applied

to non-resident consumer plaintiffs upon completion of the factual analysis required for the

choice of law determination.

       293.    To the extent the Court finds that the laws of each Class member’s state apply to

his or her injuries, Plaintiffs previously provided Marriott with notice sufficient to satisfy state

statutory requirements, and sent correspondence to Marriott’s counsel on January 8, 2019,

providing the company with additional information on Plaintiffs’ claim.

                  CLAIMS ON BEHALF OF THE NATIONWIDE CLASS
                      AGAINST MARRIOTT AND STARWOOD

                                          COUNT 1

                                         NEGLIGENCE

   On Behalf of Plaintiffs and the Nationwide Class, or Alternatively, on Behalf of Plaintiffs
                                  and the Statewide Subclasses

       294.    Plaintiffs repeat and allege Paragraphs 1-293, as if fully alleged herein.

       295.    Marriott owed a duty to Plaintiffs and class members to exercise reasonable care

in obtaining, retaining, securing, safeguarding, deleting, and protecting their Personal

Information in its possession from being compromised, lost, stolen, accessed, and misused by

unauthorized persons. More specifically, this duty included, among other things: (a) designing,

maintaining, and testing Marriott’s security systems to ensure that Plaintiffs’ and class members’

Personal Information in Marriott’s possession was adequately secured and protected; (b)

implementing processes that would detect a breach of its security system in a timely manner; (c)

timely acting upon warnings and alerts, including those generated by its own security systems,

regarding intrusions to its networks; and (d) maintaining data security measures consistent with

industry standards.


                                                96
     Case 8:19-md-02879-PWG Document 352 Filed 07/24/19 Page 111 of 373



       296.    Marriott had a common law duty to prevent foreseeable harm to its customers.

This duty existed because Plaintiffs and class members were the foreseeable and probable

victims of any inadequate security practices. In fact, not only was it foreseeable that Plaintiffs

and class members would be harmed by the failure to protect their Personal Information because

hackers routinely attempt to steal such information and use it for nefarious purposes, Marriott

knew that it was more likely than not Plaintiffs and other class members would be harmed.

       297.    Marriott’s duty to use reasonable data security measures also arose under Section

5 of the Federal Trade Commission Act (“FTC Act”), 15 U.S.C. § 45, which prohibits “unfair . . .

practices in or affecting commerce,” including, as interpreted and enforced by the FTC, the

unfair practice of failing to use reasonable measures to protect Personal Information by

companies such as Marriott. Various FTC publications and data security breach orders further

form the basis of Marriott’s duty. In addition, individual states have enacted statutes based upon

the FTC Act that also created a duty.

       298.    Marriott also had a duty to safeguard the Personal Information of Plaintiffs and

class members and to promptly notify them of a breach because of state laws and statutes that

require Marriott to reasonably safeguard Personal Information, as detailed herein.

       299.    Timely notification was required, appropriate, and necessary so that, among other

things, Plaintiffs and class members could take appropriate measures to freeze or lock their credit

profiles, cancel current passports and obtain new passports, avoid unauthorized charges to their

credit or debit card accounts, cancel or change usernames and passwords on compromised

accounts, monitor their account information and credit reports for fraudulent activity, contact

their banks or other financial institutions that issue their credit or debit cards, obtain credit




                                                97
     Case 8:19-md-02879-PWG Document 352 Filed 07/24/19 Page 112 of 373



monitoring services, and take other steps to mitigate or ameliorate the damages caused by

Marriott’s misconduct.

       300.     Marriott breached the duties it owed to Plaintiffs and class members described

above and thus was negligent. Marriott breached these duties by, among other things, failing to:

(a) exercise reasonable care and implement adequate security systems, protocols and practices

sufficient to protect the Personal Information of Plaintiffs and class members; (b) detect the

breach while it was ongoing; (c) maintain security systems consistent with industry standards;

and (d) disclose in a timely fashion that Plaintiffs’ and the class members’ Personal Information

in Marriott’s possession had been or was reasonably believed to have been, stolen or

compromised.

       301.     But for Marriott’s wrongful and negligent breach of its duties owed to Plaintiffs

and class members, their Personal Information would not have been compromised.

       302.     As a direct and proximate result of Marriott’s negligence, Plaintiffs and class

members have been injured as described herein, and are entitled to damages in an amount to be

proven at trial. Plaintiffs and class members injuries include, but are not limited to, the

following:

       a. purchasing goods and services they would not have otherwise paid for and/or paying

             more for good and services than they otherwise would have paid, had they known the

             truth about Marriott’s substandard data security practices;

       b. losing the inherent value of their Personal Information;

       c. losing the value of the explicit and implicit promises of data security;

       d. identity theft and fraud resulting from the theft of their Personal Information;




                                                  98
Case 8:19-md-02879-PWG Document 352 Filed 07/24/19 Page 113 of 373



 e. costs associated with the detection and prevention of identity theft and unauthorized

    use of their financial accounts;

 f. costs associated with purchasing credit monitoring, credit freezes, and identity theft

    protection services;

 g. costs associated with replacing passports or addressing passport-related fraud;

 h. loss of value of reward points accumulated through the purchase of goods or services;

 i. unauthorized charges and loss of use of and access to their financial account funds

    and costs associated with inability to obtain money from their accounts or being

    limited in the amount of money they were permitted to obtain from their accounts,

    including missed payments on bills and loans, late charges and fees, and adverse

    effects on their credit;

 j. lowered credit scores resulting from credit inquiries following fraudulent activities;

 k. costs associated with time spent and the loss of productivity or the enjoyment of one’s

    life from taking time to address and attempt to mitigate and address the actual and

    future consequences of the Data Breach, including discovering fraudulent charges,

    cancelling and reissuing cards, purchasing credit monitoring and identity theft

    protection services, imposing withdrawal and purchase limits on compromised

    accounts, and the stress, nuisance and annoyance of dealing with the repercussions of

    the Data Breach; and

 l. the continued imminent and certainly impending injury flowing from potential fraud

    and identify theft posed by their Personal Information being in the possession of one

    or many unauthorized third parties.




                                          99
     Case 8:19-md-02879-PWG Document 352 Filed 07/24/19 Page 114 of 373



                                          COUNT 2

                                    NEGLIGENCE PER SE

 On Behalf of Plaintiffs and the Nationwide Class, or Alternatively, on Behalf of Plaintiffs and
                                   the Statewide Subclasses

       303.    Plaintiffs repeat and allege Paragraphs 1-293, as if fully alleged herein.

       304.    Section 5 of the Federal Trade Commission Act, 15 U.S.C. § 45, prohibits “unfair

. . . practices in or affecting commerce” including, as interpreted and enforced by the Federal

Trade Commission (“FTC”), the unfair act or practice by companies such as Marriott of failing

to use reasonable measures to protect Personal Information. Various FTC publications and orders

also form the basis of Marriott’s duty.

       305.    Marriott violated Section 5 of the FTC Act (and similar state statutes) by failing to

use reasonable measures to protect Personal Information and not complying with industry

standards. Marriott’s conduct was particularly unreasonable given the nature and amount of

Personal Information it obtained and stored and the foreseeable consequences of a data breach on

its systems.

       306.    Marriott’s violation of Section 5 of the FTC Act (and similar state statutes)

constitutes negligence per se.

       307.    Nationwide Class members are consumers within the class of persons Section 5 of

the FTC Act (and similar state statutes) was intended to protect.

       308.    Moreover, the harm that has occurred is the type of harm the FTC Act (and

similar state statutes) was intended to guard against. Indeed, the FTC has pursued over fifty

enforcement actions against businesses which, as a result of their failure to employ reasonable

data security measures and avoid unfair and deceptive practices, caused the same harm suffered

by Plaintiffs and class members.



                                                100
     Case 8:19-md-02879-PWG Document 352 Filed 07/24/19 Page 115 of 373



        309.       As a direct and proximate result of Marriott’s negligence, Plaintiffs and Class

members have been injured as described herein, and are entitled to damages in an amount to be

proven at trial.

                                              COUNT 3

                                      BREACH OF CONTRACT

 On Behalf of Plaintiffs and the Nationwide Class, or Alternatively, on Behalf of Plaintiffs and
                                   the Statewide Subclasses

        310.       Plaintiffs repeat and allege Paragraphs 1-293, as if fully alleged herein.

        311.       Marriott’s Privacy Statement is an agreement between Marriott and individuals

who provided their Personal Information to Marriott, including Plaintiffs and class members.

        312.       Marriott’s Privacy Statement states, among other things, that by using Marriott’s

services, the customer is agreeing to the terms and conditions of its Privacy Statement.

        313.       Marriott’s Privacy Statement provides a detailed list of the specific groups with

which it will share its customers’ Personal Information. It also promises that Marriott “seek[s] to

use reasonable organizational, technical and administrative measures to protect Personal Data.”

        314.       Likewise, Starwood’s online Privacy Statement dated October 14, 2014 is an

agreement between Starwood and individuals who provided their Personal Information to

Starwood, including Plaintiffs and class members.

        315.       As set forth in more detail above, Starwood’s Privacy Statement states that

Starwood “recognizes the importance of information security.”

        316.       Starwood’s Privacy Statement also provides a detailed list of specific groups with

which it will share its customers’ Personal Information and under what circumstances. It also

promises that it “recognizes the importance of information security, and is constantly reviewing

and enhancing our technical, physical, and logical security rules and procedures,” and that “[a]ll



                                                    101
      Case 8:19-md-02879-PWG Document 352 Filed 07/24/19 Page 116 of 373



Starwood owned web sites and servers have security measures in place to help protect your

[Personal Information] against accidental, loss, misuse, unlawful or unauthorized access,

disclosure, or alteration while under our control.” Starwood also promised that it “safeguard[s]

your information using appropriate administrative, procedural and technical safeguards,

including password controls, ‘firewalls’ and the use of up to 256-bit encryption based on a Class

3 Digital Certificate issued by VeriSign, Inc. This allows for the use of Secure Sockets Layer

(SSL), an encryption method used to help protect your data from interception and hacking while

in transit.”

        317.   Plaintiffs and class members on the one hand and Marriott and Starwood on the

other formed contracts when Plaintiffs and class members provided Personal Information to

Marriott and Starwood subject to their Privacy Statements.

        318.   Plaintiffs and class members fully performed their obligations under the contracts

with Marriott and Starwood.

        319.   Marriott and Starwood breached their agreements with Plaintiffs and class

members by failing to protect their Personal Information. Specifically, Marriott and Starwood (1)

failed to use reasonable organizational, technical, procedural, and administrative measures to

protect that information; and (2) disclosed that information to unauthorized third parties, in

violation of their agreements.

        320.   As a direct and proximate result of these breaches of contract, Plaintiffs and class

members sustained actual losses and damages as described in detail above, including that they

did not get the benefit of the bargain for which they paid.




                                                102
     Case 8:19-md-02879-PWG Document 352 Filed 07/24/19 Page 117 of 373



                                            COUNT 4

                              BREACH OF IMPLIED CONTRACT

 On Behalf of Plaintiffs and the Nationwide Class, or Alternatively, on Behalf of Plaintiffs and
                                   the Statewide Subclasses

        321.    Plaintiffs repeat and allege Paragraphs 1-293, as if fully alleged herein, and assert

this claim in the alternative to their breach of contract claim to the extent necessary.

        322.    Plaintiffs and class members also entered into an implied contract with Marriott

when they obtained services from Marriott, or otherwise provided Personal Information to

Marriott.

        323.    As part of these transactions, Marriott agreed to safeguard and protect the

Personal Information of Plaintiffs and class members and to timely and accurately notify them if

their Personal Information was breached or compromised.

        324.    Plaintiffs and class members entered into the implied contracts with the

reasonable expectation that Marriott’s data security practices and policies were reasonable and

consistent with industry standards. Plaintiffs and class members believed that Marriott would use

part of the monies paid to Marriott under the implied contracts to fund adequate and reasonable

data security practices.

        325.    Plaintiffs and class members would not have provided and entrusted their

Personal Information to Marriott or would have paid less for Marriott’s services in the absence of

the implied contract or implied terms between them and Marriott. The safeguarding of the

Personal Information of Plaintiffs and class members and prompt and sufficient notification of a

breach was critical to realize the intent of the parties.

        326.    Plaintiffs and class members fully performed their obligations under the implied

contracts with Marriott.



                                                  103
     Case 8:19-md-02879-PWG Document 352 Filed 07/24/19 Page 118 of 373



       327.    Marriott breached its implied contracts with Plaintiffs and class members to

protect their Personal Information when it (1) failed to have security protocols and measures in

place to protect that information; (2) disclosed that information to unauthorized third parties; and

(3) failed to provide timely and accurate notice that their Personal Information was compromised

as a result of the data breach.

       328.    As a direct and proximate result of Marriott’s breaches of implied contract,

Plaintiffs and class members sustained actual losses and damages as described in detail above,

including that they did not get the benefit of the bargain for which they paid.

                                           COUNT 5

                                    UNJUST ENRICHMENT

 On Behalf of Plaintiffs and the Nationwide Class, or Alternatively, on Behalf of Plaintiffs and
                                   the Statewide Subclasses

       329.    Plaintiffs repeat and allege Paragraphs 1-293, as if fully alleged herein, and assert

this claim in the alternative to their breach of contract claims to the extent necessary.

       330.    Plaintiffs and class members have an interest, both equitable and legal, in the

Personal Information about them that was conferred upon, collected by, and maintained by

Marriott and that was ultimately stolen in the Data Breach.

       331.    Marriott was benefitted by the conferral upon it of the Personal Information

pertaining to Plaintiffs and class members and by its ability to retain and use that information.

Marriott understood that it was in fact so benefitted.

       332.    Marriott also understood and appreciated that the Personal Information pertaining

to Plaintiffs and class members was private and confidential and its value depended upon

Marriott maintaining the privacy and confidentiality of that Personal Information.




                                                 104
     Case 8:19-md-02879-PWG Document 352 Filed 07/24/19 Page 119 of 373



       333.    But for Marriott’s willingness and commitment to maintain its privacy and

confidentiality, that Personal Information would not have been transferred to and entrusted with

Marriott. Further, if Marriott had disclosed that its data security measures were inadequate,

Marriott would not have been permitted to continue in operation by regulators, its shareholders,

and its customers.

       334.    As a result of Marriott’s wrongful conduct as alleged in this Complaint

(including, among things, its knowing failure to employ adequate data security measures, its

continued maintenance and use of the Personal Information belonging to Plaintiffs and class

members without having adequate data security measures, and its other conduct facilitating the

theft of that Personal Information), Marriott has been unjustly enriched at the expense of, and to

the detriment of, Plaintiffs and class members. Marriott continues to benefit and profit from its

retention and use of the Personal Information while its value to Plaintiffs and class members has

been diminished.

       335.    Marriott’s unjust enrichment is traceable to, and resulted directly and proximately

from, the conduct alleged herein, including the compiling and use of Plaintiffs’ and class

members’ Personal Information, while at the same time failing to maintain that information

secure from intrusion and theft by hackers and identity thieves.

       336.    Under the common law doctrine of unjust enrichment, it is inequitable for

Marriott to be permitted to retain the benefits it received, and is still receiving, without

justification, from Plaintiffs and class members in an unfair and unconscionable manner.

Marriott’s retention of such benefits under circumstances making it inequitable to do so

constitutes unjust enrichment.




                                               105
     Case 8:19-md-02879-PWG Document 352 Filed 07/24/19 Page 120 of 373



       337.    The benefit conferred upon, received, and enjoyed by Marriott was not conferred

officiously or gratuitously, and it would be inequitable and unjust for Marriott to retain the

benefit.

       338.    Marriott is therefore liable to Plaintiffs and class members for restitution in the

amount of the benefit conferred on Marriott as a result of its wrongful conduct, including

specifically the value to Marriott of the Personal Information that was stolen in the Data Breach

and the profits Marriott is receiving from the use of that information.

                                          COUNT 6

                                DECLARATORY JUDGMENT

                        On Behalf of Plaintiffs and the Nationwide Class

       339.    Plaintiffs repeat and allege Paragraphs 1-293, as if fully alleged herein.

       340.    Under the Declaratory Judgment Act, 28 U.S.C. §§ 2201, et seq., this Court is

authorized to enter a judgment declaring the rights and legal relations of the parties and grant

further necessary relief. Furthermore, the Court has broad authority to restrain acts, such as here,

that are tortious and violate the terms of the federal and state statutes described in this

Complaint.

       341.    An actual controversy has arisen in the wake of the Marriott data breach regarding

its present and prospective common law and other duties to reasonably safeguard its customers’

Personal Information and whether Marriott is currently maintaining data security measures

adequate to protect Plaintiffs and Class members from further data breaches that compromise

their Personal Information. Plaintiffs allege that Marriott’s data security measures remain

inadequate. Marriott denies these allegations. Furthermore, Plaintiffs continue to suffer injury as

a result of the compromise of their Personal Information and remain at imminent risk that further

compromises of their Personal Information will occur in the future.


                                                106
     Case 8:19-md-02879-PWG Document 352 Filed 07/24/19 Page 121 of 373



       342.    Pursuant to its authority under the Declaratory Judgment Act, this Court should

enter a judgment declaring, among other things, the following:

       a. Marriott continues to owe a legal duty to secure consumers’ Personal Information and

           to timely notify consumers of a data breach under the common law, Section 5 of the

           FTC Act, and various state statutes;

       b. Marriott continues to breach this legal duty by failing to employ reasonable measures

           to secure consumers’ Personal Information.

       343.    The Court also should issue corresponding prospective injunctive relief requiring

Marriott to employ adequate security protocols consistent with law and industry standards to

protect consumers’ Personal Information.

       344.    If an injunction is not issued, Plaintiffs and class members will suffer irreparable

injury, and lack an adequate legal remedy, in the event of another data breach at Marriott. The

risk of another such breach is real, immediate, and substantial. If another breach at Marriott

occurs, Plaintiffs and class members will not have an adequate remedy at law because many of

the resulting injuries are not readily quantified and they will be forced to bring multiple lawsuits

to rectify the same conduct.

       345.    The hardship to Plaintiffs and class members if an injunction does not issue

exceeds the hardship to Marriott if an injunction is issued. Among other things, if another

massive data breach occurs at Marriott, Plaintiff and class members will likely be subjected to

fraud, identify theft, and other harms described herein. On the other hand, the cost to Marriott of

complying with an injunction by employing reasonable prospective data security measures is

relatively minimal, and Marriott has a pre-existing legal obligation to employ such measures.




                                                107
     Case 8:19-md-02879-PWG Document 352 Filed 07/24/19 Page 122 of 373



       346.    Issuance of the requested injunction will not disserve the public interest. To the

contrary, such an injunction would benefit the public by preventing another data breach at

Marriott, thus eliminating the additional injuries that would result to Plaintiffs and the millions of

consumers whose Personal Information would be further compromised.

                                           COUNT 7

              MARYLAND PERSONAL INFORMATION PROTECTION ACT,

                               Md. Comm. Code §§ 14-3501, et seq.

 On Behalf of Plaintiffs and the Nationwide Class, or Alternatively, on Behalf of Plaintiffs and
                                the Statewide Maryland Subclass

       347.    The Maryland Plaintiff(s) identified above (“Plaintiff,” for purposes of this

Count), individually and on behalf of the Nationwide Class, or alternatively, on behalf of the

Maryland Subclass, repeats and alleges Paragraphs 1-293, as if fully alleged herein.

       348.    Under Md. Comm. Code § 14-3503(a), “[t]o protect Personal Information from

unauthorized access, use, modification, or disclosure, a business that owns or licenses Personal

Information of an individual residing in the State shall implement and maintain reasonable

security procedures and practices that are appropriate to the nature of Personal Information

owned or licensed and the nature and size of the business and its operations.”

       349.    Marriott is a business that owns or licenses computerized data that includes

Personal Information as defined by Md. Comm. Code §§ 14-3501(b)(1) and (2).

       350.    Plaintiff and class members are “individuals” and “customers” as defined and

covered by Md. Comm. Code §§ 14-3502(a) and 14-3503.

       351.    Plaintiff’s and class members’ Personal Information includes Personal

Information as covered under Md. Comm. Code § 14-3501(d).




                                                 108
     Case 8:19-md-02879-PWG Document 352 Filed 07/24/19 Page 123 of 373



       352.    Marriott did not maintain reasonable security procedures and practices

appropriate to the nature of the Personal Information owned or licensed and the nature and size

of its business and operations in violation of Md. Comm. Code § 14-3503.

       353.    The Data Breach was a “breach of the security of a system” as defined by Md.

Comm. Code § 14-3504(1).

       354.    Under Md. Comm. Code § 14-3504(b)(1), “[a] business that owns or licenses

computerized data that includes Personal Information of an individual residing in the State, when

it discovers or is notified of a breach of the security system, shall conduct in good faith a

reasonable and prompt investigation to determine the likelihood that Personal Information of the

individual has been or will be misused as a result of the breach.”

       355.    Under Md. Comm. Code §§ 14-3504(b)(2) and 14-3504(c)(2), “[i]f, after the

investigation is concluded, the business determines that misuse of the individual’s Personal

Information has occurred or is reasonably likely to occur as a result of a breach of the security

system, the business shall notify the individual of the breach” and that notification “shall be

given as soon as reasonably practical after the business discovers or is notified of the breach of a

security system.”

       356.    Because Marriott discovered a security breach and had notice of a security breach,

Marriott had an obligation to disclose the Data Breach in a timely and accurate fashion as

mandated by Md. Comm. Code §§ 14-3504(b)(2) and 14-3504(c)(2).

       357.    By failing to disclose the Data Breach in a timely and accurate manner, Marriott

violated Md. Comm. Code §§ 14-3504(b)(2) and 14-3504(c)(2).




                                                109
     Case 8:19-md-02879-PWG Document 352 Filed 07/24/19 Page 124 of 373



         358.   As a direct and proximate result of Marriott’s violations of Md. Comm. Code §§

14-3504(b)(2) and 14-3504(c)(2), Plaintiff and class members suffered damages, as described

above.

         359.   Pursuant to Md. Comm. Code § 14-3508, Marriott’s violations of Md. Comm.

Code §§ 14-3504(b)(2) and 14-3504(c)(2) are unfair or deceptive trade practices within the

meaning of the Maryland Consumer Protection Act, 13 Md. Comm. Code §§ 13-101 et seq. and

subject to the enforcement and penalty provisions contained within the Maryland Consumer

Protection Act.

         360.   Plaintiff and class members seek relief under Md. Comm. Code §13-408,

including actual damages and attorney’s fees.

                                          COUNT 8

                      MARYLAND CONSUMER PROTECTION ACT,

                          Md. Code Ann., Com. Law §§ 13-301, et seq.

 On Behalf of Plaintiffs and the Nationwide Class, or Alternatively, on Behalf of Plaintiffs and
                                the Statewide Maryland Subclass

         361.   The Maryland Plaintiff(s) identified above (“Plaintiff,” for purposes of this

Count), individually and on behalf of the Nationwide Class, or alternatively, the Maryland

Subclass, repeats and alleges Paragraphs 1-293, as if fully alleged herein.

         362.   Marriott is a person as defined by Md. Code, Com Law § 13-101(h).

         363.   Marriott’s conduct as alleged herein related to “sales,” “offers for sale,” or

“bailment” as defined by Md. Code, Com. Law § 13-101(i) and § 13-303.

         364.   Nationwide Class members are “consumers” as defined by Md. Code, Com. Law

§ 13-101(c).




                                                110
     Case 8:19-md-02879-PWG Document 352 Filed 07/24/19 Page 125 of 373



       365.    Marriott advertises, offers, or sell “consumer goods” or “consumer services” as

defined by Md. Code, Com. Law § 13-101(d).

       366.    Marriott advertised, offered, or sold goods or services in Maryland and engaged in

trade or commerce directly or indirectly affecting the people of Maryland.

       367.    Marriott engaged in unfair and deceptive trade practices, in violation of Md.

Code, Com. Law § 13-301, including:

       c. False or misleading oral or written representations that have the capacity, tendency, or

           effect of deceiving or misleading consumers;

       d. Representing that consumer goods or services have a characteristic that they do not

           have;

       e. Representing that consumer goods or services are of a particular standard, quality, or

           grade that they are not;

       f. Failing to state a material fact where the failure deceives or tends to deceive;

       g. Advertising or offering consumer goods or services without intent to sell, lease, or

           rent them as advertised or offered;

       h. Deception, fraud, false pretense, false premise, misrepresentation, or knowing

           concealment, suppression, or omission of any material fact with the intent that a

           consumer rely on the same in connection with the promotion or sale of consumer

           goods or services or the subsequent performance with respect to an agreement, sale

           lease or rental.

       368.    Marriott engaged in these unfair and deceptive trade practices in connection with

offering for sale or selling consumer goods or services in violation of Md. Code, Com Law § 13-

303, including:




                                                 111
Case 8:19-md-02879-PWG Document 352 Filed 07/24/19 Page 126 of 373



 a. Failing to implement and maintain reasonable security and privacy measures to

    protect Plaintiff and class members’ Personal Information, which was a direct and

    proximate cause of the Data Breach;

 b. Failing to identify foreseeable security and privacy risks, remediate identified security

    and privacy risks, and adequately improve security and privacy measures following

    previous cybersecurity incidents, which was a direct and proximate cause of the Data

    Breach;

 c. Failing to comply with common law and statutory duties pertaining to the security

    and privacy of Plaintiff and class members’ Personal Information, including duties

    imposed by the FTC Act, 15 U.S.C. § 45, and the Maryland Personal Information

    Protection Act, Md. Code, Com. Law § 14-3503, which was a direct and proximate

    cause of the Data Breach;

 d. Misrepresenting that it would protect the privacy and confidentiality of Plaintiff and

    class members’ Personal Information, including by implementing and maintaining

    reasonable security measures;

 e. Misrepresenting that it would comply with common law and statutory duties

    pertaining to the security and privacy of Plaintiff and class members’ Personal

    Information, including duties imposed by the FTC Act, 15 U.S.C. § 45, and the

    Maryland Personal Information Protection Act, Md. Code, Com. Law § 14-3503;

 f. Omitting, suppressing, and concealing the material fact that it did not reasonably or

    adequately secure Plaintiff and class members’ Personal Information; and

 g. Omitting, suppressing, and concealing the material fact that it did not comply with

    common law and statutory duties pertaining to the security and privacy of Plaintiff




                                         112
     Case 8:19-md-02879-PWG Document 352 Filed 07/24/19 Page 127 of 373



             and class members’ Personal Information, including duties imposed by the FTC Act,

             15 U.S.C. § 45, and the Maryland Personal Information Protection Act, Md. Code,

             Com. Law § 14-3503.

       369.     Marriott’s representations and omissions were material because they were likely

to deceive reasonable consumers about the adequacy of Marriott’s data security and ability to

protect the confidentiality of consumers’ Personal Information. Marriott’s misrepresentations and

omissions would have been important to a significant number of consumers in making financial

decisions.

       370.     Marriott intended to mislead Plaintiff and class members and induce them to rely

on its misrepresentations and omissions.

       371.     Had Marriott disclosed to Plaintiffs and class members that its data systems were

not secure and, thus, vulnerable to attack, Marriott would have been unable to continue in

business and it would have been forced to adopt reasonable data security measures and comply

with the law. Instead, Marriott received, maintained, and compiled Plaintiffs’ and class

members’ Personal Information as part of the services Marriott provided and for which Plaintiffs

and class members paid without advising Plaintiffs and class members that Marriott’s data

security practices were insufficient to maintain the safety and confidentiality of Plaintiffs’ and

class members’ Personal Information. Accordingly, Plaintiff and the class members acted

reasonably in relying on Marriott’s misrepresentations and omissions, the truth of which they

could not have discovered.

       372.     Marriott acted intentionally, knowingly, and maliciously to violate Maryland’s

Consumer Protection Act, and recklessly disregarded Plaintiff and class members’ rights.




                                               113
     Case 8:19-md-02879-PWG Document 352 Filed 07/24/19 Page 128 of 373



Marriott’s past data breaches and breaches within the hospitality industry put it on notice that its

security and privacy protections were inadequate.

         373.   As a direct and proximate result of Marriott’s unfair and deceptive acts and

practices, Plaintiff and class members have suffered and will continue to suffer injury,

ascertainable losses of money or property, and monetary and non-monetary damages, including

loss of the benefit of their bargain with Marriott as they would not have paid Marriott for goods

and services or would have paid less for such goods and services but for Marriott’s violations

alleged herein; losses from fraud and identity theft; costs for credit monitoring and identity

protection services; time and expenses related to monitoring their financial accounts for

fraudulent activity; time and money spent cancelling and replacing passports; loss of value of

their Personal Information; and an increased, imminent risk of fraud and identity theft.

         374.   Plaintiff and class members seek all monetary and non-monetary relief allowed by

law, including damages, restitution, disgorgement, injunctive relief, and attorneys’ fees and

costs.

                  CLAIMS ON BEHALF OF THE ALABAMA SUBCLASS

                                          COUNT 9

                    ALABAMA DECEPTIVE TRADE PRACTICES ACT,

                                    Ala. Code §§ 8-19-1, et seq.

         375.   The Alabama Plaintiff(s) identified above (“Plaintiff,” for purposes of this Count),

individually and on behalf of the Alabama Subclass, repeats and alleges Paragraphs 1-293, as if

fully alleged herein.

         376.   Marriott is a “person” as defined by Ala. Code § 8-19-3(5).

         377.   Plaintiff and Alabama Subclass members are “consumers” as defined by Ala.

Code § 8-19-3(2).


                                                114
     Case 8:19-md-02879-PWG Document 352 Filed 07/24/19 Page 129 of 373



        378.    Plaintiff sent pre-suit notice pursuant to Ala. Code § 8-19-10(e) on January 8,

2019.

        379.    Marriott advertised, offered, or sold goods or services in Alabama, and engaged in

trade or commerce directly or indirectly affecting the people of Alabama.

        380.    Marriott engaged in deceptive acts and practices in the conduct of trade or

commerce, in violation of the Alabama Deceptive Trade Practices Act, Ala. Code § 8-19-5,

including:

        a. Representing that goods or services have sponsorship, approval, characteristics,

             ingredients, uses, benefits, or qualities that they do not have;

        b. Representing that goods or services are of a particular standard, quality, or grade, or

             that goods are of a particular style or model, if they are of another; and

        c. Engaging in any other unconscionable, false, misleading, or deceptive act or practice

             in the conduct of trade or commerce, including acts and practices that would violate

             Section 5(a)(1) of the FTC Act, as interpreted by the FTC and federal courts.

        381.    Marriott’s deceptive acts and practices include:

        a. Failing to implement and maintain reasonable security and privacy measures to

             protect Plaintiff and Alabama Subclass members’ Personal Information, which was a

             direct and proximate cause of the Data Breach;

        b. Failing to identify foreseeable security and privacy risks, remediate identified security

             and privacy risks, and adequately improve security and privacy measures following

             previous cybersecurity incidents, which was a direct and proximate cause of the Data

             Breach;




                                                  115
     Case 8:19-md-02879-PWG Document 352 Filed 07/24/19 Page 130 of 373



       c. Failing to comply with common law and statutory duties pertaining to the security

           and privacy of Plaintiff and Alabama Subclass members’ Personal Information,

           including duties imposed by the FTC Act, 15 U.S.C. § 45, which was a direct and

           proximate cause of the Data Breach;

       d. Misrepresenting that it would protect the privacy and confidentiality of Plaintiff and

           Alabama Subclass members’ Personal Information, including by implementing and

           maintaining reasonable security measures;

       e. Misrepresenting that it would comply with common law and statutory duties

           pertaining to the security and privacy of Plaintiff and Alabama Subclass members’

           Personal Information, including duties imposed by the FTC Act, 15 U.S.C. § 45;

       f. Omitting, suppressing, and concealing the material fact that it did not reasonably or

           adequately secure Plaintiff and Alabama Subclass members’ Personal Information;

           and

       g. Omitting, suppressing, and concealing the material fact that it did not comply with

           common law and statutory duties pertaining to the security and privacy of Plaintiff

           and Alabama Subclass members’ Personal Information, including duties imposed by

           the FTC Act, 15 U.S.C. § 45.

       382.      Marriott’s representations and omissions were material because they were likely

to deceive reasonable consumers about the adequacy of Marriott’s data security and ability to

protect the confidentiality of consumers’ Personal Information.

       383.      Marriott intended to mislead Plaintiff and Alabama Subclass members and induce

them to rely on its misrepresentations and omissions.




                                               116
     Case 8:19-md-02879-PWG Document 352 Filed 07/24/19 Page 131 of 373



       384.    Had Marriott disclosed to Plaintiffs and class members that its data systems were

not secure and, thus, vulnerable to attack, Marriott would have been unable to continue in

business and it would have been forced to adopt reasonable data security measures and comply

with the law. Instead, Marriott received, maintained, and compiled Plaintiffs’ and class

members’ Personal Information as part of the services Marriott provided and for which Plaintiffs

and class members paid without advising Plaintiffs and class members that Marriott’s data

security practices were insufficient to maintain the safety and confidentiality of Plaintiffs’ and

class members’ Personal Information. Accordingly, Plaintiff and the Alabama Subclass members

acted reasonably in relying on Marriott’s misrepresentations and omissions, the truth of which

they could not have discovered.

       385.    Marriott acted intentionally, knowingly, and maliciously to violate the Alabama

Deceptive Trade Practices Act, and recklessly disregarded Plaintiff and Alabama Subclass

members’ rights. Marriott’s past data breaches and breaches within the hospitality industry put it

on notice that its security and privacy protections were inadequate.

       386.    As a direct and proximate result of Marriott’s deceptive acts and practices,

Plaintiff and Alabama Subclass members have suffered and will continue to suffer injury,

ascertainable losses of money or property, and monetary and non-monetary damages, including

loss of the benefit of their bargain with Marriott as they would not have paid Marriott for goods

and services or would have paid less for such goods and services but for Marriott’s violations

alleged herein; losses from fraud and identity theft; costs for credit monitoring and identity

protection services; time and expenses related to monitoring their financial accounts for

fraudulent activity; time and money spent cancelling and replacing passports; loss of value of

their Personal Information; and an increased, imminent risk of fraud and identity theft.




                                               117
     Case 8:19-md-02879-PWG Document 352 Filed 07/24/19 Page 132 of 373



       387.    Marriott’s deceptive acts and practices caused substantial injury to Plaintiff and

Alabama Subclass members, which they could not reasonably avoid, and which outweighed any

benefits to consumers or to competition.

       388.    Plaintiff and the Alabama Subclass seek all monetary and non-monetary relief

allowed by law, including the greater of (a) actual damages or (b) statutory damages of $100;

treble damages; restitution; injunctive relief; attorneys’ fees, costs, and any other relief that is

just and proper.

                   CLAIMS ON BEHALF OF THE ALASKA SUBCLASS

                                           COUNT 10

                        PERSONAL INFORMATION PROTECTION ACT,

                                Alaska Stat. §§ 45.48.010, et seq.

       389.    The Alaska Plaintiff(s) identified above (“Plaintiff,” for purposes of this Count),

individually and on behalf of the Alaska Subclass, repeats and alleges Paragraphs 1-293, as if

fully alleged herein.

       390.    Marriott is a business that owns or licenses Personal Information as defined by

Alaska Stat. § 45.48.090(7). As such a business, it is a Covered Person as defined in Alaska Stat.

§ 45.48.010(a).

       391.    Plaintiff and Alaska Subclass members’ Personal Information includes Personal

Information as covered under Alaska Stat. § 45.48.010(a).

       392.    Marriott is required to accurately notify Plaintiff and Alaska Subclass members if

it becomes aware of a breach of its data security system in the most expeditious time possible

and without unreasonable delay under Alaska Stat. § 45.48.010(b).

       393.    Marriott is similarly required to determine the scope of the breach and restore the

reasonable integrity of the information system under Alaska Stat. § 45.48.010(b).


                                                118
     Case 8:19-md-02879-PWG Document 352 Filed 07/24/19 Page 133 of 373



       394.     Because Marriott was aware of a breach of its security system, Marriott had an

obligation to disclose the data breach in a timely and accurate fashion as mandated by Alaska

Stat. § 45.48.010(b).

       395.     By failing to disclose the Data Breach in a timely and accurate manner Marriott

violated Alaska Stat. § 45.48.010(b).

       396.     Pursuant to Alaska Stat. § 45.48.080(b), a violation of Alaska Stat. § 45.48.010(b)

is an unfair or deceptive act or practice under the Alaska Consumer Protection Act.

       397.     As a direct and proximate result of Marriott’s violations of Alaska Stat. §

45.48.010(b), Plaintiff and Alaska Subclass members suffered damages, as described above.

       398.     Plaintiff and Alaska Subclass members seek relief measured as the greater of (a)

each unlawful act, (b) three times actual damages in an amount to be determined at trial, or (c)

statutory damages in the amount of $500 for Plaintiff and each Alaska Subclass Member;

reasonable attorneys’ fees; and any other just and proper relief available under Alaska Stat. §

45.48.080(b)(2) and Alaska Stat. § 45.50.531.

                                          COUNT 11

                         ALASKA CONSUMER PROTECTION ACT,

                                 Alaska Stat. §§ 45.50.471, et seq.

       399.     The Alaska Plaintiff(s) identified above (“Plaintiff,” for purposes of this Count),

individually and on behalf of the Alaska Subclass, repeats and alleges Paragraphs 1-293, as if

fully alleged herein.

       400.     Marriott advertised, offered, or sold goods or services in Alaska and engaged in

trade or commerce directly or indirectly affecting the people of Alaska.

       401.     Alaska Subclass members are “consumers” as defined by Alaska Stat. §

45.50.561(4).


                                                119
     Case 8:19-md-02879-PWG Document 352 Filed 07/24/19 Page 134 of 373



       402.   Marriott engaged in unfair or deceptive acts and practices in the conduct of trade

or commerce, in violation Alaska Stat. § 45.50.471, including:

       a. Representing that goods or services have sponsorship, approval, characteristics,

           ingredients, uses, benefits, or qualities that they do not have;

       b. Representing that goods or services are of a particular standard, quality, or grade,

           when they are of another;

       c. Advertising goods or services with intent not to sell them as advertised;

       d. Engaging in any other conduct creating a likelihood of confusion or of

           misunderstanding and which misleads, deceives, or damages a buyer in connection

           with the sale or advertisements of its goods or services; and

       e. Using or employing deception, fraud, false pretense, false promise, misrepresentation,

           or knowingly concealing, suppressing, or omitting a material fact with intent that

           others rely upon the concealment, suppression, or omission in connection with the

           sale or advertisement of its goods or services whether or not a person was in fact

           misled, deceived, or damaged.

       403.   Marriott’s unfair and deceptive acts and practices include:

       a. Failing to implement and maintain reasonable security and privacy measures to

           protect Plaintiff and Alaska Subclass members’ Personal Information, which was a

           direct and proximate cause of the Data Breach;

       b. Failing to identify foreseeable security and privacy risks, remediate identified security

           and privacy risks, and adequately improve security and privacy measures following

           previous cybersecurity incidents, which was a direct and proximate cause of the Data

           Breach;




                                                120
     Case 8:19-md-02879-PWG Document 352 Filed 07/24/19 Page 135 of 373



       c. Failing to comply with common law and statutory duties pertaining to the security

           and privacy of Plaintiff and Alaska Subclass members’ Personal Information,

           including duties imposed by the FTC Act, 15 U.S.C. § 45, which was a direct and

           proximate cause of the Data Breach;

       d. Misrepresenting that it would protect the privacy and confidentiality of Plaintiff and

           Alaska Subclass members’ Personal Information, including by implementing and

           maintaining reasonable security measures;

       e. Misrepresenting that it would comply with common law and statutory duties

           pertaining to the security and privacy of Plaintiff and Alaska Subclass members’

           Personal Information, including duties imposed by the FTC Act, 15 U.S.C. § 45;

       f. Omitting, suppressing, and concealing the material fact that it did not reasonably or

           adequately secure Plaintiff and Alaska Subclass members’ Personal Information; and

       g. Omitting, suppressing, and concealing the material fact that it did not comply with

           common law and statutory duties pertaining to the security and privacy of Plaintiff

           and Alaska Subclass members’ Personal Information, including duties imposed by the

           FTC Act, 15 U.S.C. § 45.

       404.   Marriott’s representations and omissions were material because they were likely

to deceive reasonable consumers about the adequacy of Marriott’s data security and ability to

protect the confidentiality of consumers’ Personal Information.

       405.   Marriott intended to mislead Plaintiff and Alaska Subclass members and induce

them to rely on its misrepresentations and omissions.

       406.   Marriott acted intentionally, knowingly, and maliciously to violate Alaska’s

Consumer Protection Act, and recklessly disregarded Plaintiff and Alaska Subclass members’




                                              121
     Case 8:19-md-02879-PWG Document 352 Filed 07/24/19 Page 136 of 373



rights. Marriott’s past data breaches and breaches within the hospitality industry put it on notice

that its security and privacy protections were inadequate.

       407.    As a direct and proximate result of Marriott’s unfair and deceptive acts and

practices, Plaintiff and class members have suffered and will continue to suffer injury,

ascertainable losses of money or property, and monetary and non-monetary damages, including

loss of the benefit of their bargain with Marriott as they would not have paid Marriott for goods

and services or would have paid less for such goods and services but for Marriott’s violations

alleged herein; losses from fraud and identity theft; costs for credit monitoring and identity

protection services; time and expenses related to monitoring their financial accounts for

fraudulent activity; time and money spent cancelling and replacing passports; loss of value of

their Personal Information; and an increased, imminent risk of fraud and identity theft.

       408.    Plaintiff and the Alaska Subclass seek all monetary and non-monetary relief

allowed by law, including the greater of (a) three times their actual damages or (b) statutory

damages in the amount of $500; punitive damages; reasonable attorneys’ fees and costs;

injunctive relief; and any other relief that is necessary and proper.

                   CLAIMS ON BEHALF OF THE ARIZONA SUBCLASS

                                           COUNT 12

                            ARIZONA CONSUMER FRAUD ACT,

                                     A.R.S. §§ 44-1521, et seq.

       409.    The Arizona Plaintiff(s) identified above (“Plaintiff,” for purposes of this Count),

individually and on behalf of the Arizona Subclass, repeats and alleges Paragraphs 1-293, as if

fully alleged herein.

       410.    Marriott is a “person” as defined by A.R.S. § 44-1521(6).




                                                 122
     Case 8:19-md-02879-PWG Document 352 Filed 07/24/19 Page 137 of 373



       411.    Marriott advertised, offered, or sold goods or services in Arizona and engaged in

trade or commerce directly or indirectly affecting the people of Arizona.

       412.    Marriott engaged in deceptive and unfair acts and practices, misrepresentation,

and the concealment, suppression, and omission of material facts affecting the people of Arizona

in connection with the sale and advertisement of “merchandise” (as defined in Arizona

Consumer Fraud Act, A.R.S. § 44-1521(5)) in violation of A.R.S. § 44-1522(A), including:

       a. Failing to implement and maintain reasonable security and privacy measures to

           protect Plaintiff and Arizona Subclass members’ Personal Information, which was a

           direct and proximate cause of the Data Breach;

       b. Failing to identify foreseeable security and privacy risks, remediate identified security

           and privacy risks, and adequately improve security and privacy measures following

           previous cybersecurity incidents, which was a direct and proximate cause of the Data

           Breach;

       c. Failing to comply with common law and statutory duties pertaining to the security

           and privacy of Plaintiff and Arizona Subclass members’ Personal Information,

           including duties imposed by the FTC Act, 15 U.S.C. § 45, which was a direct and

           proximate cause of the Data Breach;

       d. Misrepresenting that it would protect the privacy and confidentiality of Plaintiff and

           Arizona Subclass members’ Personal Information, including by implementing and

           maintaining reasonable security measures;

       e. Misrepresenting that it would comply with common law and statutory duties

           pertaining to the security and privacy of Plaintiff and Arizona Subclass members’

           Personal Information, including duties imposed by the FTC Act, 15 U.S.C. § 45;




                                               123
     Case 8:19-md-02879-PWG Document 352 Filed 07/24/19 Page 138 of 373



       f. Omitting, suppressing, and concealing the material fact that it did not reasonably or

           adequately secure Plaintiff and Arizona Subclass members’ Personal Information;

           and

       g. Omitting, suppressing, and concealing the material fact that it did not comply with

           common law and statutory duties pertaining to the security and privacy of Plaintiff

           and Arizona Subclass members’ Personal Information, including duties imposed by

           the FTC Act, 15 U.S.C. § 45.

       413.      Marriott’s representations and omissions were material because they were likely

to deceive reasonable consumers about the adequacy of Marriott’s data security and ability to

protect the confidentiality of consumers’ Personal Information.

       414.      Marriott intended to mislead Plaintiff and Arizona Subclass members and induce

them to rely on its misrepresentations and omissions.

       415.      Had Marriott disclosed to Plaintiffs and class members that its data systems were

not secure and, thus, vulnerable to attack, Marriott would have been unable to continue in

business and it would have been forced to adopt reasonable data security measures and comply

with the law. Instead, Marriott received, maintained, and compiled Plaintiffs’ and class

members’ Personal Information as part of the services Marriott provided and for which Plaintiffs

and class members paid without advising Plaintiffs and class members that Marriott’s data

security practices were insufficient to maintain the safety and confidentiality of Plaintiffs’ and

class members’ Personal Information. Accordingly, Plaintiff and the Arizona Subclass members

acted reasonably in relying on Marriott’s misrepresentations and omissions, the truth of which

they could not have discovered.




                                                124
     Case 8:19-md-02879-PWG Document 352 Filed 07/24/19 Page 139 of 373



        416.    Marriott acted intentionally, knowingly, and maliciously to violate Arizona’s

Consumer Fraud Act, and recklessly disregarded Plaintiff and Arizona Subclass members’ rights.

Marriott’s past data breaches and breaches within the hospitality industry put it on notice that its

security and privacy protections were inadequate.

        417.    As a direct and proximate result of Marriott’s unfair and deceptive acts and

practices, Plaintiff and class members have suffered and will continue to suffer injury,

ascertainable losses of money or property, and monetary and non-monetary damages, including

loss of the benefit of their bargain with Marriott as they would not have paid Marriott for goods

and services or would have paid less for such goods and services but for Marriott’s violations

alleged herein; losses from fraud and identity theft; costs for credit monitoring and identity

protection services; time and expenses related to monitoring their financial accounts for

fraudulent activity; time and money spent cancelling and replacing passports; loss of value of

their Personal Information; and an increased, imminent risk of fraud and identity theft.

        418.    Plaintiff and Arizona Subclass members seek all monetary and non-monetary

relief allowed by law, including compensatory damages; restitution; disgorgement; punitive

damages; injunctive relief; and reasonable attorneys’ fees and costs.

                  CLAIMS ON BEHALF OF THE ARKANSAS SUBCLASS

                                          COUNT 13

                    ARKANSAS DECEPTIVE TRADE PRACTICES ACT,

                                    A.C.A. §§ 4-88-101, et seq.

        419.    The Arkansas Plaintiff(s) identified above (“Plaintiff,” for purposes of this

Count), individually and on behalf of the Arkansas Subclass, repeats and alleges Paragraphs 1-

293, as if fully alleged herein.

        420.    Marriott is a “person” as defined by A.C.A. § 4-88-102(5).


                                                125
     Case 8:19-md-02879-PWG Document 352 Filed 07/24/19 Page 140 of 373



       421.    Marriott’s products and services are “goods” and “services” as defined by A.C.A.

§§ 4-88-102(4) and (7).

       422.    Marriott advertised, offered, or sold goods or services in Arkansas and engaged in

trade or commerce directly or indirectly affecting the people of Arkansas.

       423.    The Arkansas Deceptive Trade Practices Act (“ADTPA”), A.C.A. §§ 4-88-101, et

seq., prohibits unfair, deceptive, false, and unconscionable trade practices.

       424.    Marriott engaged in acts of deception and false pretense in connection with the

sale and advertisement of services in violation of A.C.A. § 4-88-1-8(1) and concealment,

suppression and omission of material facts, with intent that others rely upon the concealment,

suppression or omission in violation of A.C.A. § 4-88-1-8(2), and engaged in the following

deceptive and unconscionable trade practices defined in A.C.A. § 4-88-107:

       a. Knowingly making a false representation as to the characteristics, ingredients, uses,

           benefits, alterations, source, sponsorship, approval, or certification of goods or

           services and as to goods being of a particular standard, quality, grade, style, or model;

       b. Advertising goods or services with the intent not to sell them as advertised;

       c. The employment of bait-and-switch advertising consistently of an attractive but

           insincere offer to sell a product or service which the seller in truth does not intend or

           desire to sell, as evidenced by acts demonstrating an intent not to sell the advertised

           product or services;

       d. Knowingly taking advantage of a consumer who is reasonably unable to protect his or

           her interest because of ignorance; and

       e. Engaging in other unconscionable, false, or deceptive acts and practices in business,

           commerce, or trade.




                                                126
Case 8:19-md-02879-PWG Document 352 Filed 07/24/19 Page 141 of 373



 425.     Marriott’s unconscionable, false, and deceptive acts and practices include:

 a. Failing to implement and maintain reasonable security and privacy measures to

    protect Plaintiff and Arkansas Subclass members’ Personal Information, which was a

    direct and proximate cause of the Data Breach;

 b. Failing to identify foreseeable security and privacy risks, remediate identified security

    and privacy risks, and adequately improve security and privacy measures following

    previous cybersecurity incidents, which was a direct and proximate cause of the Data

    Breach;

 c. Failing to comply with common law and statutory duties pertaining to the security

    and privacy of Plaintiff and Arkansas Subclass members’ Personal Information,

    including duties imposed by the FTC Act, 15 U.S.C. § 45, and the Arkansas Personal

    Information Protection Act, A.C.A. § 4-110-104(b), which was a direct and proximate

    cause of the Data Breach;

 d. Misrepresenting that it would protect the privacy and confidentiality of Plaintiff and

    Arkansas Subclass members’ Personal Information, including by implementing and

    maintaining reasonable security measures;

 e. Misrepresenting that it would comply with common law and statutory duties

    pertaining to the security and privacy of Plaintiff and Arkansas Subclass members’

    Personal Information, including duties imposed by the FTC Act, 15 U.S.C. § 45, and

    the Arkansas Personal Information Protection Act, A.C.A. § 4-110-104(b);

 f. Omitting, suppressing, and concealing the material fact that it did not reasonably or

    adequately secure Plaintiff and Arkansas Subclass members’ Personal Information;

    and




                                          127
     Case 8:19-md-02879-PWG Document 352 Filed 07/24/19 Page 142 of 373



       g. Omitting, suppressing, and concealing the material fact that it did not comply with

           common law and statutory duties pertaining to the security and privacy of Plaintiff

           and Arkansas Subclass members’ Personal Information, including duties imposed by

           the FTC Act, 15 U.S.C. § 45, and the Arkansas Personal Information Protection Act,

           A.C.A. § 4-110-104(b).

       426.    Marriott’s representations and omissions were material because they were likely

to deceive reasonable consumers about the adequacy of Marriott’s data security and ability to

protect the confidentiality of consumers’ Personal Information.

       427.    Marriott intended to mislead Plaintiff and Arkansas Subclass members and induce

them to rely on its misrepresentations and omissions.

       428.    Had Marriott disclosed to Plaintiffs and class members that its data systems were

not secure and, thus, vulnerable to attack, Marriott would have been unable to continue in

business and it would have been forced to adopt reasonable data security measures and comply

with the law. Instead, Marriott received, maintained, and compiled Plaintiffs’ and class

members’ Personal Information as part of the services Marriott provided and for which Plaintiffs

and class members paid without advising Plaintiffs and class members that Marriott’s data

security practices were insufficient to maintain the safety and confidentiality of Plaintiffs’ and

class members’ Personal Information. Plaintiff and the Arkansas Subclass members acted

reasonably in relying on Marriott’s misrepresentations and omissions, the truth of which they

could not have discovered.

       429.    Marriott acted intentionally, knowingly, and maliciously to violate Arkansas’s

Deceptive Trade Practices Act, and recklessly disregarded Plaintiff and Arkansas Subclass




                                               128
     Case 8:19-md-02879-PWG Document 352 Filed 07/24/19 Page 143 of 373



members’ rights. Marriott’s past data breaches and breaches within the hospitality industry put it

on notice that its security and privacy protections were inadequate.

        430.    As a direct and proximate result of Marriott’s unconscionable, unfair, and

deceptive acts or practices and Plaintiff and Arkansas Subclass members’ reliance thereon,

Plaintiff and Arkansas Subclass members have suffered and will continue to suffer injury,

ascertainable losses of money or property, and monetary and non-monetary damages, including

loss of the benefit of their bargain with Marriott as they would not have paid Marriott for goods

and services or would have paid less for such goods and services but for Marriott’s violations

alleged herein; losses from fraud and identity theft; costs for credit monitoring and identity

protection services; time and expenses related to monitoring their financial accounts for

fraudulent activity; time and money spent cancelling and replacing passports; loss of value of

their Personal Information; and an increased, imminent risk of fraud and identity theft.

        431.    Plaintiff and the Arkansas Subclass members seek all monetary and non-monetary

relief allowed by law, including actual financial losses; restitution; injunctive relief; and

reasonable attorneys’ fees and costs.

                 CLAIMS ON BEHALF OF THE CALIFORNIA SUBCLASS

                                            COUNT 14

                         CALIFORNIA CUSTOMER RECORDS ACT,

                                   Cal. Civ. Code §§ 1798.80, et seq.

        432.    The California Plaintiff(s) identified above (“Plaintiff,” for purposes of this

Count), individually and on behalf of the California Subclass, repeats and alleges Paragraphs 1-

293, as if fully alleged herein.

        433.    “[T]o ensure that Personal Information about California residents is protected,”

the California legislature enacted Cal. Civ. Code § 1798.81.5, which requires that any business


                                                  129
     Case 8:19-md-02879-PWG Document 352 Filed 07/24/19 Page 144 of 373



that “owns, licenses, or maintains Personal Information about a California resident shall

implement and maintain reasonable security procedures and practices appropriate to the nature of

the information, to protect the Personal Information from unauthorized access, destruction, use,

modification, or disclosure.”

       434.    Marriott is a business that owns, maintains, and licenses Personal Information,

within the meaning of Cal. Civ. Code § 1798.81.5, about Plaintiff and California Subclass

members.

       435.    Businesses that own or license computerized data that includes Personal

Information are required to notify California residents when their Personal Information has been

acquired (or is reasonably believed to have been acquired) by unauthorized persons in a data

security breach “in the most expedient time possible and without unreasonable delay.” Cal. Civ.

Code § 1798.82. Among other requirements, the security breach notification must include “the

types of Personal Information that were or are reasonably believed to have been the subject of

the breach.” Cal. Civ. Code § 1798.82.

       436.    Marriott is a business that owns or licenses computerized data that includes

Personal Information as defined by Cal. Civ. Code § 1798.82.

       437.    Plaintiff and California Subclass members’ Personal Information includes

Personal Information as covered by Cal. Civ. Code § 1798.82.

       438.    Because Marriott reasonably believed that Plaintiff’s and California Subclass

members’ Personal Information was acquired by unauthorized persons during the Data Breach,

Marriott had an obligation to disclose the Data Breach in a timely and accurate fashion as

mandated by Cal. Civ. Code § 1798.82.




                                              130
     Case 8:19-md-02879-PWG Document 352 Filed 07/24/19 Page 145 of 373



        439.    By failing to disclose the Data Breach in a timely and accurate manner, Marriott

violated Cal. Civ. Code § 1798.82.

        440.    As a direct and proximate result of Marriott’s violations of the Cal. Civ. Code §§

1798.81.5 and 1798.82, Plaintiff and California Subclass members suffered damages, as

described above.

        441.    Plaintiff and California Subclass members seek relief under Cal. Civ. Code §

1798.84, including actual damages and injunctive relief.

                                          COUNT 15

                       CALIFORNIA UNFAIR COMPETITION LAW,

                              Cal. Bus. & Prof. Code §§ 17200, et seq.

        442.    The California Plaintiff(s) identified above (“Plaintiff,” for purposes of this

Count), individually and on behalf of the California Subclass, repeats and alleges Paragraphs 1-

293, as if fully alleged herein.

        443.    Marriott is a “person” as defined by Cal. Bus. & Prof. Code §17201.

        444.    Marriott violated Cal. Bus. & Prof. Code §§ 17200, et seq. (“UCL”) by engaging

in unlawful, unfair, and deceptive business acts and practices.

        445.    Marriott’s “unfair” acts and practices include:

        a. Marriott failed to implement and maintain reasonable security measures to protect

            Plaintiff and California Subclass members’ Personal Information from unauthorized

            disclosure, release, data breaches, and theft, which was a direct and proximate cause

            of the Data Breach. Marriott failed to identify foreseeable security risks, remediate

            identified security risks, and adequately improve security following previous

            cybersecurity incidents.




                                                131
    Case 8:19-md-02879-PWG Document 352 Filed 07/24/19 Page 146 of 373




                                                        This conduct, with little if any utility, is

          unfair when weighed against the harm to Plaintiff and the California Subclass, whose

          Personal Information has been compromised.

       b. Marriott’s failure to implement and maintain reasonable security measures also was

          contrary to legislatively-declared public policy that seeks to protect consumers’ data

          and ensure that entities that are trusted with it use appropriate security measures.

          These policies are reflected in laws, including the FTC Act, 15 U.S.C. § 45, and

          California’s Consumer Records Act, Cal. Civ. Code § 1798.81.5.

       c. Marriott’s failure to implement and maintain reasonable security measures also lead

          to substantial consumer injuries, as described above, that are not outweighed by any

          countervailing benefits to consumers or competition. Moreover, because consumers

          could not know of Marriott’s inadequate security, consumers could not have

          reasonably avoided the harms that Marriott caused.

       d. Engaging in unlawful business practices by violating Cal. Civ. Code § 1798.82.

       446.   Marriott has engaged in “unlawful” business practices by violating multiple laws,

including California’s Consumer Records Act, Cal. Civ. Code §§ 1798.81.5 (requiring

reasonable data security measures) and 1798.82 (requiring timely breach notification),

California’s Consumers Legal Remedies Act, Cal. Civ. Code §§ 1780, et seq., the FTC Act, 15

U.S.C. § 45, and California common law.




                                             132
Case 8:19-md-02879-PWG Document 352 Filed 07/24/19 Page 147 of 373



 447.     Marriott’s unlawful, unfair, and deceptive acts and practices include:

 a. Failing to implement and maintain reasonable security and privacy measures to

    protect Plaintiff and California Subclass members’ Personal Information, which was a

    direct and proximate cause of the Data Breach;

 b. Failing to identify foreseeable security and privacy risks, remediate identified security

    and privacy risks, and adequately improve security and privacy measures following

    previous cybersecurity incidents, which was a direct and proximate cause of the Data

    Breach;

 c. Failing to comply with common law and statutory duties pertaining to the security

    and privacy of Plaintiff and California Subclass members’ Personal Information,

    including duties imposed by the FTC Act, 15 U.S.C. § 45, and California’s Customer

    Records Act, Cal. Civ. Code §§ 1798.80, et seq., which was a direct and proximate

    cause of the Data Breach;

 d. Misrepresenting that it would protect the privacy and confidentiality of Plaintiff and

    California Subclass members’ Personal Information, including by implementing and

    maintaining reasonable security measures;

 e. Misrepresenting that it would comply with common law and statutory duties

    pertaining to the security and privacy of Plaintiff and California Subclass members’

    Personal Information, including duties imposed by the FTC Act, 15 U.S.C. § 45, and

    California’s Customer Records Act, Cal. Civ. Code §§ 1798.80, et seq.;

 f. Omitting, suppressing, and concealing the material fact that it did not reasonably or

    adequately secure Plaintiff and California Subclass members’ Personal Information;

    and




                                          133
     Case 8:19-md-02879-PWG Document 352 Filed 07/24/19 Page 148 of 373



       g. Omitting, suppressing, and concealing the material fact that it did not comply with

           common law and statutory duties pertaining to the security and privacy of Plaintiff

           and California Subclass members’ Personal Information, including duties imposed by

           the FTC Act, 15 U.S.C. § 45, and California’s Customer Records Act, Cal. Civ. Code

           §§ 1798.80, et seq.

       448.    Marriott’s representations and omissions were material because they were likely

to deceive reasonable consumers about the adequacy of Marriott’s data security and ability to

protect the confidentiality of consumers’ Personal Information.

       449.    As a direct and proximate result of Marriott’s unfair, unlawful, and fraudulent acts

and practices, Plaintiff and California Subclass members were injured and lost money or

property, the premiums and/or price received by Marriott for its goods and services, the loss of

the benefit of their bargain with Marriott as they would not have paid Marriott for goods and

services or would have paid less for such goods and services but for Marriott’s violations alleged

herein; losses from fraud and identity theft; costs for credit monitoring and identity protection

services; time and expenses related to monitoring their financial accounts for fraudulent activity;

time and money spent cancelling and replacing passports; loss of value of their Personal

Information; and an increased, imminent risk of fraud and identity theft.

       450.    Marriott acted intentionally, knowingly, and maliciously to violate California’s

Unfair Competition Law, and recklessly disregarded Plaintiff and California Subclass members’

rights. Marriott’s past data breaches and breaches within the hospitality industry put it on notice

that its security and privacy protections were inadequate.

       451.    Plaintiff and California Subclass members seek all monetary and non-monetary

relief allowed by law, including restitution of all profits stemming from Marriott’s unfair,




                                               134
     Case 8:19-md-02879-PWG Document 352 Filed 07/24/19 Page 149 of 373



unlawful, and fraudulent business practices or use of their Personal Information; declaratory

relief; reasonable attorneys’ fees and costs under California Code of Civil Procedure § 1021.5;

injunctive relief; and other appropriate equitable relief.

                                               COUNT 16

                    CALIFORNIA CONSUMER LEGAL REMEDIES ACT,

                                       Cal. Civ. Code §§ 1750, et seq.

        452.    The California Plaintiff(s) identified above (“Plaintiff,” for purposes of this

Count), individually and on behalf of the California Subclass, repeats and alleges Paragraphs 1-

293, as if fully alleged herein.

        453.    The Consumers Legal Remedies Act, Cal. Civ. Code §§ 1750, et seq. (“CLRA”)

is a comprehensive statutory scheme that is to be liberally construed to protect consumers against

unfair and deceptive business practices in connection with the conduct of businesses providing

goods, property or services to consumers primarily for personal, family, or household use.

        454.    Marriott is a “person” as defined by Civil Code §§ 1761(c) and 1770, and has

provided “services” as defined by Civil Code §§ 1761(b) and 1770.

        455.    Civil Code section 1770, subdivision (a)(5) prohibits one who is involved in a

transaction from “[r]epresenting that goods or services have sponsorship, approval,

characteristics, ingredients, uses, benefits, or quantities which they do not have.”

        456.    Civil Code section 1770, subdivision (a)(7) prohibits one who is involved in a

transaction from “[r]epresenting that goods or services are of a particular standard, quality, or

grade . . . if they are of another.”

        457.    Plaintiff and the California Class are “consumers” as defined by Civil Code §§

1761(d) and 1770, and have engaged in a “transaction” as defined by Civil Code §§ 1761(e) and

1770.


                                                    135
     Case 8:19-md-02879-PWG Document 352 Filed 07/24/19 Page 150 of 373



       458.    Marriott’s acts and practices were intended to and did result in the sales of

products and services to Plaintiff and the California Subclass members in violation of Civil Code

§ 1770, including, but not limited to, the following:

       a. Representing that goods or services have characteristics that they do not have;

       b. Representing that goods or services are of a particular standard, quality, or grade

           when they were not;

       c. Advertising goods or services with intent not to sell them as advertised; and

       d. Representing that the subject of a transaction has been supplied in accordance with a

           previous representation when it has not.

       459.    Marriott’s representations and omissions were material because they were likely

to and did deceive reasonable consumers about the adequacy of Marriott’s data security and

ability to protect the confidentiality of consumers’ Personal Information.

       460.    Had Marriott disclosed to Plaintiffs and class members that its data systems were

not secure and, thus, vulnerable to attack, Marriott would have been unable to continue in

business and it would have been forced to adopt reasonable data security measures and comply

with the law. Instead, Marriott received, maintained, and compiled Plaintiffs’ and class

members’ Personal Information as part of the services Marriott provided and for which Plaintiffs

and class members paid without advising Plaintiffs and class members that Marriott’s data

security practices were insufficient to maintain the safety and confidentiality of Plaintiffs’ and

class members’ Personal Information. Accordingly, Plaintiff and the California Subclass

members acted reasonably in relying on Marriott’s misrepresentations and omissions, the truth of

which they could not have discovered.




                                                136
     Case 8:19-md-02879-PWG Document 352 Filed 07/24/19 Page 151 of 373



        461.    As a direct and proximate result of Marriott’s violations of California Civil Code

§ 1770, Plaintiff and California Subclass members have suffered and will continue to suffer

injury, ascertainable losses of money or property, and monetary and non-monetary damages,

including loss of the benefit of their bargain with Marriott as they would not have paid Marriott

for goods and services or would have paid less for such goods and services but for Marriott’s

violations alleged herein; losses from fraud and identity theft; costs for credit monitoring and

identity protection services; time and expenses related to monitoring their financial accounts for

fraudulent activity; time and money spent cancelling and replacing passports; loss of value of

their Personal Information; and an increased, imminent risk of fraud and identity theft.

        462.    Plaintiff and the California Subclass have provided notice of their claims for

damages to Marriott, in compliance with California Civil Code § 1782(a).

        463.    Plaintiff and the California Subclass seek all monetary and non-monetary relief

allowed by law, including damages, an order enjoining the acts and practices described above,

attorneys’ fees, and costs under the CLRA.

                 CLAIMS ON BEHALF OF THE COLORADO SUBCLASS

                                             COUNT 17

                 COLORADO SECURITY BREACH NOTIFICATION ACT,

                                   Colo. Rev. Stat. §§ 6-1-716, et seq.

        464.    The Colorado Plaintiff(s) identified above (“Plaintiff,” for purposes of this

Count), individually and on behalf of the Colorado Subclass, repeats and alleges Paragraphs 1-

293, as if fully alleged herein.

        465.    Marriott is a business that owns or licenses computerized data that includes

Personal Information as defined by Colo. Rev. Stat. §§ 6-1-716(1) and 6-1-716(2).




                                                   137
     Case 8:19-md-02879-PWG Document 352 Filed 07/24/19 Page 152 of 373



        466.    Plaintiff and Colorado Subclass members’ Personal Information includes Personal

Information as covered by Colo. Rev. Stat. §§ 6-1-716(1) and 6-1-716(2).

        467.    Marriott is required to accurately notify Plaintiff and Colorado Subclass members

if it becomes aware of a breach of its data security system in the most expedient time possible

and without unreasonable delay under Colo. Rev. Stat. § 6-1-716(2).

        468.    Because Marriott was aware of a breach of its security system, it had an

obligation to disclose the data breach in a timely and accurate fashion as mandated by Colo. Rev.

Stat. § 6-1-716(2).

        469.    By failing to disclose the Data Breach in a timely and accurate manner, Marriott

violated Colo. Rev. Stat. § 6-1-716(2).

        470.    As a direct and proximate result of Marriott’s violations of Colo. Rev. Stat. § 6-1-

716(2), Plaintiff and Colorado Subclass members suffered damages, as described above.

        471.    Plaintiff and Colorado Subclass members seek relief under Colo. Rev. Stat. § 6-1-

716(4), including actual damages and equitable relief.

                                             COUNT 18

                       COLORADO CONSUMER PROTECTION ACT,

                                   Colo. Rev. Stat. §§ 6-1-101, et seq.

        472.    The Colorado Plaintiff(s) identified above (“Plaintiff,” for purposes of this

Count), individually and on behalf of the Colorado Subclass, repeats and alleges Paragraphs 1-

293, as if fully alleged herein.

        473.    Marriott is a “person” as defined by Colo. Rev. Stat. § 6-1-102(6).

        474.    Marriott engaged in “sales” as defined by Colo. Rev. Stat. § 6-1-102(10).




                                                   138
     Case 8:19-md-02879-PWG Document 352 Filed 07/24/19 Page 153 of 373



       475.    Plaintiff and Colorado Subclass members, as well as the general public, are actual

or potential consumers of the products and services offered by Marriott or its successors in

interest to actual consumers.

       476.    Marriott engaged in deceptive trade practices in the course of its business, in

violation of Colo. Rev. Stat. § 6-1-105(1), including:

       a. Knowingly making a false representation as to the characteristics of products and

           services;

       b. Representing that services are of a particular standard, quality, or grade, though

           Marriott knew or should have known that they were another;

       c. Advertising services with intent not to sell them as advertised; and

       d. Failing to disclose material information concerning its services which was known at

           the time of an advertisement or sale when the failure to disclose the information was

           intended to induce the consumer to enter into the transaction.

       477.    Marriott’s deceptive trade practices include:

       a. Failing to implement and maintain reasonable security and privacy measures to

           protect Plaintiff and Colorado Subclass members’ Personal Information, which was a

           direct and proximate cause of the Data Breach;

       b. Failing to identify foreseeable security and privacy risks, remediate identified security

           and privacy risks, and adequately improve security and privacy measures following

           previous cybersecurity incidents, which was a direct and proximate cause of the Data

           Breach;

       c. Failing to comply with common law and statutory duties pertaining to the security

           and privacy of Plaintiff and Colorado Subclass members’ Personal Information,




                                               139
     Case 8:19-md-02879-PWG Document 352 Filed 07/24/19 Page 154 of 373



           including duties imposed by the FTC Act, 15 U.S.C. § 45, which was a direct and

           proximate cause of the Data Breach;

       d. Misrepresenting that it would protect the privacy and confidentiality of Plaintiff and

           Colorado Subclass members’ Personal Information, including by implementing and

           maintaining reasonable security measures;

       e. Misrepresenting that it would comply with common law and statutory duties

           pertaining to the security and privacy of Plaintiff and Colorado Subclass members’

           Personal Information, including duties imposed by the FTC Act, 15 U.S.C. § 45;

       f. Omitting, suppressing, and concealing the material fact that it did not reasonably or

           adequately secure Plaintiff and Colorado Subclass members’ Personal Information;

           and

       g. Omitting, suppressing, and concealing the material fact that it did not comply with

           common law and statutory duties pertaining to the security and privacy of Plaintiff

           and Colorado Subclass members’ Personal Information, including duties imposed by

           the FTC Act, 15 U.S.C. § 45.

       478.      Marriott’s representations and omissions were material because they were likely

to deceive reasonable consumers about the adequacy of Marriott’s data security and ability to

protect the confidentiality of consumers’ Personal Information.

       479.      Marriott intended to mislead Plaintiff and Colorado Subclass members and induce

them to rely on its misrepresentations and omissions.

       480.      Had Marriott disclosed to Plaintiffs and class members that its data systems were

not secure and, thus, vulnerable to attack, Marriott would have been unable to continue in

business and it would have been forced to adopt reasonable data security measures and comply




                                                140
     Case 8:19-md-02879-PWG Document 352 Filed 07/24/19 Page 155 of 373



with the law. Instead, Marriott received, maintained, and compiled Plaintiffs’ and class

members’ Personal Information as part of the services Marriott provided and for which Plaintiffs

and class members paid without advising Plaintiffs and class members that Marriott’s data

security practices were insufficient to maintain the safety and confidentiality of Plaintiffs’ and

class members’ Personal Information. Accordingly, Plaintiff and the Colorado Subclass members

acted reasonably in relying on Marriott’s misrepresentations and omissions, the truth of which

they could not have discovered.

       481.       Marriott acted intentionally, knowingly, and maliciously to violate Colorado’s

Consumer Protection Act, and recklessly disregarded Plaintiff and Subclass members’ rights.

Marriott’s past data breaches and breaches within the hospitality industry put it on notice that its

security and privacy protections were inadequate.

       482.       As a direct and proximate result of Marriott’s deceptive trade practices, Colorado

Subclass members suffered injuries to their legally protected interests, including their legally

protected interest in the confidentiality and privacy of their personal information.

       483.       Marriott’s deceptive trade practices significantly impact the public because

Marriott is the largest hotel chain in the world, with 30 brands with more than 7,000 properties in

131 countries and territories around the world.

       484.       Plaintiff and Colorado Subclass members seek all monetary and non-monetary

relief allowed by law, including the greater of: (a) actual damages, or (b) $500, or (c) three times

actual damages (for Marriott’s bad faith conduct); injunctive relief; and reasonable attorneys’

fees and costs.




                                                  141
     Case 8:19-md-02879-PWG Document 352 Filed 07/24/19 Page 156 of 373



               CLAIMS ON BEHALF OF THE CONNECTICUT SUBCLASS

                                          COUNT 19

                    CONNECTICUT UNFAIR TRADE PRACTICES ACT

                                        C.G.S.A. § 42-110G

                 On Behalf of Plaintiffs and the Statewide Connecticut Subclass

       485.    The Connecticut Plaintiff(s) identified above (“Plaintiff,” for purposes of this

Count), individually and on behalf of the Connecticut Subclass, repeats and alleges Paragraphs

1-293, as if fully alleged herein.

       486.    As discussed herein, this count is subject to the Court’s analysis under applicable

choice of law principles.

       487.    Marriott is a “person” as defined by C.G.S.A. § 42-110a(3).

       488.    Marriott is engaged in “trade” or “commerce” as those terms are defined by

C.G.S.A. § 42-110a(4).

       489.    At the time of filing this Complaint, Plaintiff has sent notice to the Attorney

General and Commissioner of Consumer Protection pursuant to C.G.S.A. § 42-110g(c). Plaintiff

will provide a file-stamped copy of the Complaint to the Attorney General and Commissioner of

Consumer Protection.

       490.    Marriott advertised, offered, or sold services in Connecticut, and engaged in trade

or commerce directly or indirectly affecting the people of Connecticut.

       a.      Marriott engaged in deceptive acts and practices and unfair acts and practices in

               the conduct of trade or commerce, in violation of the C.G.S.A. § 42-110b,

               including: Representing that services have sponsorship, approval, characteristics,

               ingredients, uses, benefits, or qualities that they do not have;




                                                142
     Case 8:19-md-02879-PWG Document 352 Filed 07/24/19 Page 157 of 373



       b.      Representing that services are of a particular standard, quality, or grade, or that

               goods are of a particular style or model, if they are of another; and

       c.      Engaging in any other unconscionable, false, misleading, or deceptive act or

               practice in the conduct of trade or commerce.

       491.    Marriott’s representations and omissions were material because they were likely

to deceive reasonable consumers.

       492.    Marriott intended to mislead Plaintiff and Connecticut Subclass members and

induce them to rely on its misrepresentations and omissions.

       493.    Had Marriott disclosed to Plaintiff and Connecticut Subclass members that it

misrepresented the security utilized on its networks, or otherwise had not omitted to Plaintiff and

Connecticut Subclass members that its systems were insecure, Marriott would not have been able

to continue storing Plaintiff and Connecticut Subclass members’ Personal Information on its

networks, and would have been forced to disclose the material information regarding security.

Instead, Marriott and its predecessors allowed its servers to be hacked—undetected—over the

course of four years, failed to discover that its servers were vulnerable through adequate due

diligence and testing, and yet still continued to store customers’ Personal Information in its

databases.

       494.    Marriott’s unlawful, deceptive, and unconscionable acts include:

       a.      Failing to implement and maintain reasonable security and privacy measures to

               protect Plaintiff and class members’ Personal Information, which was a direct and

               proximate cause of the Data Breach;

       b.      Failing to identify foreseeable security and privacy risks, remediate identified

               security and privacy risks, and adequately improve security and privacy measures




                                                143
     Case 8:19-md-02879-PWG Document 352 Filed 07/24/19 Page 158 of 373



               following previous cybersecurity incidents, which was a direct and proximate

               cause of the Data Breach;

       c.      Failing to comply with common law and statutory duties pertaining to the security

               and privacy of Plaintiff and Connecticut Subclass members’ Personal

               Information;

       d.      Misrepresenting that it would protect the privacy and confidentiality of Plaintiff

               and Connecticut Subclass members’ Personal Information, including by

               implementing and maintaining reasonable security measures;

       e.      Misrepresenting that it would comply with common law and statutory duties

               pertaining to the security and privacy of Plaintiff and Connecticut class members’

               Personal Information;

       f.      Omitting, suppressing, and concealing the material fact that it did not reasonably

               or adequately secure Plaintiff and Connecticut Subclass members’ Personal

               Information; and

       g.      Omitting, suppressing, and concealing the material fact that it did not comply with

               common law and statutory duties pertaining to the security and privacy of

               Plaintiff and Connecticut Subclass members’ Personal Information.

       495.    Marriott’s conduct is intentional, knowing, and malicious because Marriott knew

the value of Personal Information it stored and failed to undertake or implement necessary

safeguards, controls, and data security measures to keep it secure.

       496.    As a direct and proximate result of Marriott’s deceptive acts and practices,

Plaintiff and Connecticut Subclass members have suffered and will continue to suffer injury,

ascertainable losses of money or property, and monetary and non-monetary damages, including




                                               144
     Case 8:19-md-02879-PWG Document 352 Filed 07/24/19 Page 159 of 373



from identity theft, fraudulent charges, and time and money spent on preventative and corrective

measures.

          497.   Marriott’s deceptive acts and practices caused substantial, ascertainable injury to

Plaintiff and Connecticut Subclass members, which they could not reasonably avoid, and which

outweighed any benefits to consumers or to competition.

          498.   Marriott’s violations of Connecticut law were done with reckless indifference to

the Plaintiff and the Connecticut Subclass or was with an intentional or wanton violation of those

rights.

          499.   Plaintiff requests damages in the amount to be determined at trial, including

statutory and common law damages, restitution; attorneys’ fees, and punitive damage.

                  CLAIMS ON BEHALF OF THE DELAWARE SUBCLASS

                                             COUNT 20

                    DELAWARE COMPUTER SECURITY BREACH ACT,

                                   6 Del. Code Ann. §§ 12B-102, et seq.

          500.   The Delaware Plaintiff(s) identified above (“Plaintiff,” for purposes of this

Count), individually and on behalf of the Delaware Subclass, repeats and alleges Paragraphs 1-

293, as if fully alleged herein.

          501.   Marriott is a business that owns or licenses computerized data that includes

Personal Information as defined by 6 Del. Code Ann. § 12B-102(a).

          502.   Plaintiff and Delaware Subclass members’ Personal Information includes

Personal Information as covered under 6 Del. Code Ann. § 12B-101(4).

          503.   Marriott is required to accurately notify Plaintiff and Delaware Subclass members

if Marriott becomes aware of a breach of its data security system which is reasonably likely to




                                                   145
     Case 8:19-md-02879-PWG Document 352 Filed 07/24/19 Page 160 of 373



result in the misuse of a Delaware resident’s Personal Information, in the most expedient time

possible and without unreasonable delay under 6 Del. Code Ann. § 12B-102(a).

        504.    Because Marriott was aware of a breach of its security system which is reasonably

likely to result in misuse of Delaware residents’ Personal Information, Marriott had an obligation

to disclose the data breach in a timely and accurate fashion as mandated by 6 Del. Code Ann. §

12B-102(a).

        505.    By failing to disclose the Data Breach in a timely and accurate manner, Marriott

violated 6 Del. Code Ann. § 12B-102(a).

        506.    As a direct and proximate result of Marriott’s violations of 6 Del. Code Ann. §

12B-102(a), Plaintiff and Delaware Subclass members suffered damages, as described above.

        507.    Plaintiff and Delaware Subclass members seek relief under 6 Del. Code Ann. §

12B-104, including actual damages and equitable relief.

                                          COUNT 21

                           DELAWARE CONSUMER FRAUD ACT,

                                   6 Del. Code §§ 2513, et seq.

        508.    The Delaware Plaintiff(s) identified above (“Plaintiff,” for purposes of this

Count), individually and on behalf of the Delaware Subclass, repeats and alleges Paragraphs 1-

293, as if fully alleged herein.

        509.    Marriott is a “person” that is involved in the “sale” of “merchandise,” as defined

by 6 Del. Code § 2511(7), (8), and (6).

        510.    Marriott advertised, offered, or sold goods or services in Delaware and engaged in

trade or commerce directly or indirectly affecting the people of Delaware.

        511.    Marriott used and employed deception, fraud, false pretense, false promise,

misrepresentation, and the concealment, suppression, and omission of material facts with intent


                                               146
     Case 8:19-md-02879-PWG Document 352 Filed 07/24/19 Page 161 of 373



that others rely upon such concealment, suppression and omission, in connection with the sale

and advertisement of merchandise, in violation of 6 Del. Code § 2513(a), including:

       a. Failing to implement and maintain reasonable security and privacy measures to

           protect Plaintiff and Delaware Subclass members’ Personal Information, which was a

           direct and proximate cause of the Data Breach;

       b. Failing to identify foreseeable security and privacy risks, remediate identified security

           and privacy risks, and adequately improve security and privacy measures following

           previous cybersecurity incidents, which was a direct and proximate cause of the Data

           Breach;

       c. Failing to comply with common law and statutory duties pertaining to the security

           and privacy of Plaintiff and Delaware Subclass members’ Personal Information,

           including duties imposed by the FTC Act, 15 U.S.C. § 45, and Delaware’s data

           security statute, 6 Del. Code § 12B-100, which was a direct and proximate cause of

           the Data Breach;

       d. Misrepresenting that it would protect the privacy and confidentiality of Plaintiff and

           Delaware Subclass members’ Personal Information, including by implementing and

           maintaining reasonable security measures;

       e. Misrepresenting that it would comply with common law and statutory duties

           pertaining to the security and privacy of Plaintiff and Delaware Subclass members’

           Personal Information, including duties imposed by the FTC Act, 15 U.S.C. § 45, and

           Delaware’s data security statute, 6 Del. Code § 12B-100;




                                               147
     Case 8:19-md-02879-PWG Document 352 Filed 07/24/19 Page 162 of 373



       f. Omitting, suppressing, and concealing the material fact that it did not reasonably or

           adequately secure Plaintiff and Delaware Subclass members’ Personal Information;

           and

       g. Omitting, suppressing, and concealing the material fact that it did not comply with

           common law and statutory duties pertaining to the security and privacy of Plaintiff

           and Delaware Subclass members’ Personal Information, including duties imposed by

           the FTC Act, 15 U.S.C. § 45, and Delaware’s data security statute, 6 Del. Code §

           12B-100.

       512.      Marriott’s representations and omissions were material because they were likely

to deceive reasonable consumers about the adequacy of Marriott’s data security and ability to

protect the confidentiality of consumers’ Personal Information.

       513.      Marriott acted intentionally, knowingly, and maliciously to violate Delaware’s

Consumer Fraud Act, and recklessly disregarded Plaintiff and Delaware Subclass members’

rights. Marriott’s past data breaches and breaches within the hospitality industry put it on notice

that its security and privacy protections were inadequate.

       514.      Had Marriott disclosed to Plaintiffs and class members that its data systems were

not secure and, thus, vulnerable to attack, Marriott would have been unable to continue in

business and it would have been forced to adopt reasonable data security measures and comply

with the law. Instead, Marriott received, maintained, and compiled Plaintiffs’ and class

members’ Personal Information as part of the services Marriott provided and for which Plaintiffs

and class members paid without advising Plaintiffs and class members that Marriott’s data

security practices were insufficient to maintain the safety and confidentiality of Plaintiffs’ and

class members’ Personal Information. Accordingly, Plaintiff and the Delaware Subclass




                                                148
     Case 8:19-md-02879-PWG Document 352 Filed 07/24/19 Page 163 of 373



members acted reasonably in relying on Marriott’s misrepresentations and omissions, the truth of

which they could not have discovered.

       515.    Marriott’s unlawful trade practices were gross, oppressive, and aggravated, and

Marriott breached the trust of Plaintiff and the Delaware Subclass members.

       516.    As a direct and proximate result of Marriott’s unlawful acts and practices,

Plaintiff and Delaware Subclass members have suffered and will continue to suffer injury,

ascertainable losses of money or property, and monetary and non-monetary damages, including

loss of the benefit of their bargain with Marriott as they would not have paid Marriott for goods

and services or would have paid less for such goods and services but for Marriott’s violations

alleged herein; losses from fraud and identity theft; costs for credit monitoring and identity

protection services; time and expenses related to monitoring their financial accounts for

fraudulent activity; time and money spent cancelling and replacing passports; loss of value of

their Personal Information; and an increased, imminent risk of fraud and identity theft.

       517.    Plaintiff and Delaware Subclass members seek all monetary and non-monetary

relief allowed by law, including damages under 6 Del. Code § 2525 for injury resulting from the

direct and natural consequences of Marriott’s unlawful conduct; restitution; injunctive relief; and

reasonable attorneys’ fees and costs.

        CLAIMS ON BEHALF OF THE DISTRICT OF COLUMBIA SUBCLASS

                                          COUNT 22

DISTRICT OF COLUMBIA CONSUMER SECURITY BREACH NOTIFICATION ACT,

                                  D.C. Code §§ 28-3851, et seq.

       518.    The District of Columbia Plaintiff(s) identified above (“Plaintiff,” for purposes of

this Count), individually and on behalf of the District of Columbia Subclass, repeats and alleges

Paragraphs 1-293, as if fully alleged herein.


                                                149
     Case 8:19-md-02879-PWG Document 352 Filed 07/24/19 Page 164 of 373



         519.   Marriott is a business that owns or licenses computerized data that includes

Personal Information as defined by D.C. Code § 28-3852(a).

         520.   Plaintiff and District of Columbia Subclass members’ Personal Information

includes Personal Information as covered under D.C. Code § 28-3851(3).

         521.   Marriott is required to accurately notify Plaintiff and District of Columbia

Subclass members if it becomes aware of a breach of its data security system in the most

expedient time possible and without unreasonable delay under D.C. Code § 28-3852(a).

         522.   Because Marriott was aware of a breach of its security system, Marriott had an

obligation to disclose the data breach in a timely and accurate fashion as mandated by D.C. Code

§ 28-3852(a).

         523.   By failing to disclose the Data Breach in a timely and accurate manner Marriott

violated D.C. Code § 28-3852(a).

         524.   As a direct and proximate result of Marriott’s violations of D.C. Code § 28-

3852(a), Plaintiff and District of Columbia Subclass members suffered damages, as described

above.

         525.   Plaintiff and District of Columbia Subclass members seek relief under D.C. Code

§ 28-3853(a), including actual damages.

                                          COUNT 23

    DISTRICT OF COLUMBIA CONSUMER PROTECTION PROCEDURES ACT,

                                   D.C. Code §§ 28-3904, et seq.

         526.   The District of Columbia Plaintiff(s) identified above (“Plaintiff,” for purposes of

this Count), individually and on behalf of the District of Columbia Subclass, repeats and alleges

Paragraphs 1-293, as if fully alleged herein.

         527.   Marriott is a “person” as defined by D.C. Code § 28-3901(a)(1).


                                                150
     Case 8:19-md-02879-PWG Document 352 Filed 07/24/19 Page 165 of 373



       528.     Marriott is a “merchant” as defined by D.C. Code § 28-3901(a)(3).

       529.     Plaintiff and District of Columbia Subclass members are “consumers” who

purchased or received goods or services for personal, household, or family purposes, as defined

by D.C. Code § 28-3901.

       530.     Marriott advertised, offered, or sold goods or services in the District of Columbia

and engaged in trade or commerce directly or indirectly affecting the people of the District of

Columbia.

       531.     Marriott   engaged    in   unfair,   unlawful,   and   deceptive trade   practices,

misrepresentations, and the concealment, suppression, and omission of material facts with

respect to the sale and advertisement of goods and services in violation of D.C. Code § 28-3904,

including:

       a. Representing that goods or services have characteristics that they do not have;

       b. Representing that goods or services are of a particular standard, quality, grade, style,

             or model, when they are of another;

       c. Misrepresenting a material fact that has a tendency to mislead;

       d. Failing to state a material fact where the failure is misleading;

       e. Advertising or offering goods or services without the intent to sell them as advertised

             or offered;

       f. Representing that the subject of a transaction has been supplied in accordance with a

             previous representation when it has not.

       532.     Marriott’s unfair, unlawful, and deceptive trade practices include:




                                                 151
Case 8:19-md-02879-PWG Document 352 Filed 07/24/19 Page 166 of 373



 a. Failing to implement and maintain reasonable security and privacy measures to

    protect Plaintiff and District of Columbia Subclass members’ Personal Information,

    which was a direct and proximate cause of the Data Breach;

 b. Failing to identify foreseeable security and privacy risks, remediate identified security

    and privacy risks, and adequately improve security and privacy measures following

    previous cybersecurity incidents, which was a direct and proximate cause of the Data

    Breach;

 c. Failing to comply with common law and statutory duties pertaining to the security

    and privacy of Plaintiff and District of Columbia Subclass members’ Personal

    Information, including duties imposed by the FTC Act, 15 U.S.C. § 45, which was a

    direct and proximate cause of the Data Breach;

 d. Misrepresenting that it would protect the privacy and confidentiality of Plaintiff and

    District of Columbia Subclass members’ Personal Information, including by

    implementing and maintaining reasonable security measures;

 e. Misrepresenting that it would comply with common law and statutory duties

    pertaining to the security and privacy of Plaintiff and District of Columbia Subclass

    members’ Personal Information, including duties imposed by the FTC Act, 15 U.S.C.

    § 45;

 f. Omitting, suppressing, and concealing the material fact that it did not reasonably or

    adequately secure Plaintiff and District of Columbia Subclass members’ Personal

    Information; and

 g. Omitting, suppressing, and concealing the material fact that it did not comply with

    common law and statutory duties pertaining to the security and privacy of Plaintiff




                                         152
     Case 8:19-md-02879-PWG Document 352 Filed 07/24/19 Page 167 of 373



           and District of Columbia Subclass members’ Personal Information, including duties

           imposed by the FTC Act, 15 U.S.C. § 45.

       533.    Marriott’s representations and omissions were material because they were likely

to deceive reasonable consumers about the adequacy of Marriott’s data security and ability to

protect the confidentiality of consumers’ Personal Information.

       534.    Marriott intended to mislead Plaintiff and District of Columbia Subclass members

and induce them to rely on its misrepresentations and omissions.

       535.    The above unfair and deceptive practices and acts by Marriott were immoral,

unethical, oppressive, and unscrupulous. These acts caused substantial injury to Plaintiff and

District of Columbia Subclass members that they could not reasonably avoid; this substantial

injury outweighed any benefits to consumers or to competition.

       536.    Marriott acted intentionally, knowingly, and maliciously to violate the District of

Columbia’s Consumer Protection Procedures Act, and recklessly disregarded Plaintiff and

District of Columbia Subclass members’ rights. Marriott’s past data breaches and breaches

within the hospitality industry put it on notice that its security and privacy protections were

inadequate.

       537.    As a direct and proximate result of Marriott’s unfair, unlawful, and deceptive

trade practices, Plaintiff and District of Columbia Subclass members have suffered and will

continue to suffer injury, ascertainable losses of money or property, and monetary and non-

monetary damages, including loss of the benefit of their bargain with Marriott as they would not

have paid Marriott for goods and services or would have paid less for such goods and services

but for Marriott’s violations alleged herein; losses from fraud and identity theft; costs for credit

monitoring and identity protection services; time and expenses related to monitoring their




                                                153
     Case 8:19-md-02879-PWG Document 352 Filed 07/24/19 Page 168 of 373



financial accounts for fraudulent activity; time and money spent cancelling and replacing

passports; loss of value of their Personal Information; and an increased, imminent risk of fraud

and identity theft.

        538.    Plaintiff and District of Columbia Subclass members seek all monetary and non-

monetary relief allowed by law, including actual damages, restitution, injunctive relief, punitive

damages, attorneys’ fees and costs, the greater of treble damages or $1500 per violation, and any

other relief that the Court deems proper.

                      CLAIMS ON BEHALF OF THE FLORIDA SUBCLASS

                                            COUNT 24

            FLORIDA DECEPTIVE AND UNFAIR TRADE PRACTICES ACT,

                                   Fla. Stat. §§ 501.201, et seq.

        539.    The Florida Plaintiff(s) identified above (“Plaintiff,” for purposes of this Count),

individually and on behalf of the Florida Subclass, repeats and alleges Paragraphs 1-293, as if

fully alleged herein.

        540.    Plaintiff and Florida Subclass members are “consumers” as defined by Fla. Stat. §

501.203.

        541.    Marriott advertised, offered, or sold goods or services in Florida and engaged in

trade or commerce directly or indirectly affecting the people of Florida.

        542.    Marriott engaged in unconscionable, unfair, and deceptive acts and practices in

the conduct of trade and commerce, in violation of Fla. Stat. § 501.204(1), including:

        a. Failing to implement and maintain reasonable security and privacy measures to

            protect Plaintiff and Florida Subclass members’ Personal Information, which was a

            direct and proximate cause of the Data Breach;




                                                154
Case 8:19-md-02879-PWG Document 352 Filed 07/24/19 Page 169 of 373



 b. Failing to identify foreseeable security and privacy risks, remediate identified security

    and privacy risks, and adequately improve security and privacy measures following

    previous cybersecurity incidents, which was a direct and proximate cause of the Data

    Breach;

 c. Failing to comply with common law and statutory duties pertaining to the security

    and privacy of Plaintiff and Florida Subclass members’ Personal Information,

    including duties imposed by the FTC Act, 15 U.S.C. § 45, and Florida’s data security

    statute, F.S.A. § 501.171(2), which was a direct and proximate cause of the Data

    Breach;

 d. Misrepresenting that it would protect the privacy and confidentiality of Plaintiff and

    Florida Subclass members’ Personal Information, including by implementing and

    maintaining reasonable security measures;

 e. Misrepresenting that it would comply with common law and statutory duties

    pertaining to the security and privacy of Plaintiff and Florida Subclass members’

    Personal Information, including duties imposed by the FTC Act, 15 U.S.C. § 45, and

    Florida’s data security statute, F.S.A. § 501.171(2);

 f. Omitting, suppressing, and concealing the material fact that it did not reasonably or

    adequately secure Plaintiff and Florida Subclass members’ Personal Information; and

 g. Omitting, suppressing, and concealing the material fact that it did not comply with

    common law and statutory duties pertaining to the security and privacy of Plaintiff

    and Florida Subclass members’ Personal Information, including duties imposed by

    the FTC Act, 15 U.S.C. § 45, and Florida’s data security statute, F.S.A. § 501.171(2).




                                         155
     Case 8:19-md-02879-PWG Document 352 Filed 07/24/19 Page 170 of 373



        543.    Marriott’s representations and omissions were material because they were likely

to deceive reasonable consumers about the adequacy of Marriott’s data security and ability to

protect the confidentiality of consumers’ Personal Information.

        544.    Had Marriott disclosed to Plaintiffs and class members that its data systems were

not secure and, thus, vulnerable to attack, Marriott would have been unable to continue in

business and it would have been forced to adopt reasonable data security measures and comply

with the law. Instead, Marriott received, maintained, and compiled Plaintiffs’ and class

members’ Personal Information as part of the services Marriott provided and for which Plaintiffs

and class members paid without advising Plaintiffs and class members that Marriott’s data

security practices were insufficient to maintain the safety and confidentiality of Plaintiffs’ and

class members’ Personal Information. Accordingly, Plaintiff and the Florida Subclass members

acted reasonably in relying on Marriott’s misrepresentations and omissions, the truth of which

they could not have discovered.

        545.    As a direct and proximate result of Marriott’s unconscionable, unfair, and

deceptive acts and practices, Plaintiff and Florida Subclass members have suffered and will

continue to suffer injury, ascertainable losses of money or property, and monetary and non-

monetary damages, including loss of the benefit of their bargain with Marriott as they would not

have paid Marriott for goods and services or would have paid less for such goods and services

but for Marriott’s violations alleged herein; losses from fraud and identity theft; costs for credit

monitoring and identity protection services; time and expenses related to monitoring their

financial accounts for fraudulent activity; time and money spent cancelling and replacing

passports; loss of value of their Personal Information; and an increased, imminent risk of fraud

and identity theft.




                                                156
     Case 8:19-md-02879-PWG Document 352 Filed 07/24/19 Page 171 of 373



        546.    Plaintiff and Florida Subclass members seek all monetary and non-monetary relief

allowed by law, including actual or nominal damages under Fla. Stat. § 501.21; declaratory and

injunctive relief; reasonable attorneys’ fees and costs, under Fla. Stat. § 501.2105(1); and any

other relief that is just and proper.


                   CLAIMS ON BEHALF OF THE GEORGIA SUBCLASS

                                            COUNT 25

               GEORGIA UNIFORM DECEPTIVE TRADE PRACTICES ACT,

                                   Ga. Code Ann. §§ 10-1-370, et seq.

        547.    The Georgia Plaintiff(s) identified above (“Plaintiff,” for purposes of this Count),

individually and on behalf of the Georgia Subclass, repeats and alleges Paragraphs 1-293, as if

fully alleged herein.

        548.    Marriott, Plaintiff, and Georgia Subclass members are “persons” within the

meaning of § 10-1-371(5) of the Georgia Uniform Deceptive Trade Practices Act (“Georgia

UDTPA”).

        549.    Marriott engaged in deceptive trade practices in the conduct of its business, in

violation of Ga. Code § 110-1-372(a), including:

        a. Representing that goods or services have characteristics that they do not have;

        b. Representing that goods or services are of a particular standard, quality, or grade if

            they are of another;

        c. Advertising goods or services with intent not to sell them as advertised;

        d. Engaging in other conduct that creates a likelihood of confusion or misunderstanding.

        550.    Marriott’s deceptive trade practices include:




                                                  157
Case 8:19-md-02879-PWG Document 352 Filed 07/24/19 Page 172 of 373



 a. Failing to implement and maintain reasonable security and privacy measures to

    protect Plaintiff and Georgia Subclass members’ Personal Information, which was a

    direct and proximate cause of the Data Breach;

 b. Failing to identify foreseeable security and privacy risks, remediate identified security

    and privacy risks, and adequately improve security and privacy measures following

    previous cybersecurity incidents, which was a direct and proximate cause of the Data

    Breach;

 c. Failing to comply with common law and statutory duties pertaining to the security

    and privacy of Plaintiff and Georgia Subclass members’ Personal Information,

    including duties imposed by the FTC Act, 15 U.S.C. § 45, which was a direct and

    proximate cause of the Data Breach;

 d. Misrepresenting that it would protect the privacy and confidentiality of Plaintiff and

    Georgia Subclass members’ Personal Information, including by implementing and

    maintaining reasonable security measures;

 e. Misrepresenting that it would comply with common law and statutory duties

    pertaining to the security and privacy of Plaintiff and Georgia Subclass members’

    Personal Information, including duties imposed by the FTC Act, 15 U.S.C. § 45;

 f. Omitting, suppressing, and concealing the material fact that it did not reasonably or

    adequately secure Plaintiff and Georgia Subclass members’ Personal Information;

    and

 g. Omitting, suppressing, and concealing the material fact that it did not comply with

    common law and statutory duties pertaining to the security and privacy of Plaintiff




                                         158
     Case 8:19-md-02879-PWG Document 352 Filed 07/24/19 Page 173 of 373



           and Georgia Subclass members’ Personal Information, including duties imposed by

           the FTC Act, 15 U.S.C. § 45.

       551.    Marriott’s representations and omissions were material because they were likely

to deceive reasonable consumers about the adequacy of Marriott’s data security and ability to

protect the confidentiality of consumers’ Personal Information.

       552.    Marriott intended to mislead Plaintiff and Georgia Subclass members and induce

them to rely on its misrepresentations and omissions.

       553.    In the course of its business, Marriott engaged in activities with a tendency or

capacity to deceive.

       554.    Marriott acted intentionally, knowingly, and maliciously to violate Georgia’s

Uniform Deceptive Trade Practices Act, and recklessly disregarded Plaintiff and Georgia

Subclass members’ rights. Marriott’s past data breaches and breaches within the hospitality

industry put it on notice that its security and privacy protections were inadequate.

       555.    Had Marriott disclosed to Plaintiffs and class members that its data systems were

not secure and, thus, vulnerable to attack, Marriott would have been unable to continue in

business and it would have been forced to adopt reasonable data security measures and comply

with the law. Instead, Marriott received, maintained, and compiled Plaintiffs’ and class

members’ Personal Information as part of the services Marriott provided and for which Plaintiffs

and class members paid without advising Plaintiffs and class members that Marriott’s data

security practices were insufficient to maintain the safety and confidentiality of Plaintiffs’ and

class members’ Personal Information. Accordingly, Plaintiff and the Georgia Subclass members

acted reasonably in relying on Marriott’s misrepresentations and omissions, the truth of which

they could not have discovered.




                                                159
     Case 8:19-md-02879-PWG Document 352 Filed 07/24/19 Page 174 of 373



       556.    As a direct and proximate result of Marriott’s deceptive trade practices, Plaintiff

and Georgia Subclass members have suffered and will continue to suffer injury, ascertainable

losses of money or property, and monetary and non-monetary damages, including loss of the

benefit of their bargain with Marriott as they would not have paid Marriott for goods and

services or would have paid less for such goods and services but for Marriott’s violations alleged

herein; losses from fraud and identity theft; costs for credit monitoring and identity protection

services; time and expenses related to monitoring their financial accounts for fraudulent activity;

time and money spent cancelling and replacing passports; loss of value of their Personal

Information; and an increased, imminent risk of fraud and identity theft.

       557.    Plaintiff and Georgia Subclass members seek all relief allowed by law, including

injunctive relief, and reasonable attorneys’ fees and costs, under Ga. Code § 10-1-373.

                                           COUNT 26

       RECOVERY OF EXPENSES OF LITIGATION ON BEHALF OF GEORGIA
                              SUBCLASS

                                         O.C.G.A. § 13-6-11

       558.    The Georgia Plaintiff(s) identified above (“Plaintiff,” for purposes of this Count),

individually and on behalf of the Georgia Subclass, repeats and alleges Paragraphs 1-293, as if

fully alleged herein.

       559.    Pursuant to O.C.G.A. § 13-6-11, the jury may allow the expenses of litigation and

attorneys’ fees as part of the damages where a defendant “has acted in bad faith, has been

stubbornly litigious, or has caused the plaintiff unnecessary trouble and expense.”

       560.    Marriott through its actions alleged and described herein acted in bad faith, were

stubbornly litigious, or caused the Georgia Subclass unnecessary trouble and expense with

respect to the transaction or events underlying this litigation.



                                                 160
     Case 8:19-md-02879-PWG Document 352 Filed 07/24/19 Page 175 of 373



       561.    The Georgia Subclass therefore requests that their claim for recovery of expenses

of litigation and attorneys’ fees be submitted to the jury, and that the Court enter a Judgment

awarding their expenses of litigation and attorneys’ fees pursuant to O.C.G.A. § 13-6-11.

                   CLAIMS ON BEHALF OF THE HAWAII SUBCLASS

                                         COUNT 27

                   HAWAII SECURITY BREACH NOTIFICATION ACT,

                               Haw. Rev. Stat. §§ 487N-1, et seq.

       562.    The Hawaii Plaintiff(s) identified above (“Plaintiff,” for purposes of this Count),

individually and on behalf of the Hawaii Subclass, repeats and alleges Paragraphs 1-293, as if

fully alleged herein.

       563.    Marriott is a business that owns or licenses computerized data that includes

Personal Information as defined by Haw. Rev. Stat. § 487N-2(a).

       564.    Plaintiff and Hawaii Subclass members’ Personal Information includes Personal

Information as covered under Haw. Rev. Stat. § 487N-2(a).

       565.    Marriott is a business that owns or licenses computerized data that includes

Personal Information as defined by Haw. Rev. Stat. § 487N-2(a).

       566.    Plaintiff and Hawaii Subclass members’ Personal Information includes Personal

Information as covered under Haw. Rev. Stat. § 487N-2(a).

       567.    Marriott is required to accurately notify Plaintiff and Hawaii Subclass members if

it becomes aware of a breach of its data security system without unreasonable delay under Haw.

Rev. Stat. § 487N-2(a).

       568.    Because Marriott was aware of a breach of its security system, it had an

obligation to disclose the Data Breach in a timely and accurate fashion as mandated by Haw.

Rev. Stat. § 487N-2(a).


                                               161
     Case 8:19-md-02879-PWG Document 352 Filed 07/24/19 Page 176 of 373



       569.      By failing to disclose the Data Breach in a timely and accurate manner, Marriott

violated Haw. Rev. Stat. § 487N-2(a).

       570.      As a direct and proximate result of Marriott’s violations of Haw. Rev. Stat. §

487N-2(a), Plaintiff and Hawaii Subclass members suffered damages, as described above.

       571.      Plaintiff and Hawaii Subclass members seek relief under Haw. Rev. Stat. § 487N-

3(b), including actual damages.

                                           COUNT 28

          HAWAII UNFAIR PRACTICES AND UNFAIR COMPETITION ACT,

                                  Haw. Rev. Stat. §§ 480-1, et seq.

       572.      The Hawaii Plaintiff(s) identified above (“Plaintiff,” for purposes of this Count),

individually and on behalf of the Hawaii Subclass, repeats and alleges Paragraphs 1-293, as if

fully alleged herein.

       573.      Plaintiff and Hawaii Subclass members are “consumers” as defined by Haw. Rev.

Stat. § 480-1.

       574.      Plaintiffs, the Hawaii Subclass members, and Marriott are “persons” as defined by

Haw. Rev. Stat. § 480-1.

       575.      Marriott advertised, offered, or sold goods or services in Hawaii and engaged in

trade or commerce directly or indirectly affecting the people of Hawaii.

       576.      Marriott engaged in unfair or deceptive acts or practices, misrepresentations, and

the concealment, suppression, and omission of material facts with respect to the sale and

advertisement of the goods and services purchased by Hawaii Subclass members in violation of

Haw. Rev. Stat. § 480-2(a), including:




                                                 162
Case 8:19-md-02879-PWG Document 352 Filed 07/24/19 Page 177 of 373



 a. Failing to implement and maintain reasonable security and privacy measures to

    protect Plaintiff and Hawaii Subclass members’ Personal Information, which was a

    direct and proximate cause of the Data Breach;

 b. Failing to identify foreseeable security and privacy risks, remediate identified security

    and privacy risks, and adequately improve security and privacy measures following

    previous cybersecurity incidents, which was a direct and proximate cause of the Data

    Breach;

 c. Failing to comply with common law and statutory duties pertaining to the security

    and privacy of Plaintiff and Hawaii Subclass members’ Personal Information,

    including duties imposed by the FTC Act, 15 U.S.C. § 45;

 d. Misrepresenting that it would protect the privacy and confidentiality of Plaintiff and

    Hawaii Subclass members’ Personal Information, including by implementing and

    maintaining reasonable security measures;

 e. Misrepresenting that it would comply with common law and statutory duties

    pertaining to the security and privacy of Plaintiff and Hawaii Subclass members’

    Personal Information, including duties imposed by the FTC Act, 15 U.S.C. § 45;

 f. Omitting, suppressing, and concealing the material fact that it did not reasonably or

    adequately secure Plaintiff and Hawaii Subclass members’ Personal Information; and

 g. Omitting, suppressing, and concealing the material fact that it did not comply with

    common law and statutory duties pertaining to the security and privacy of Plaintiff

    and Hawaii Subclass members’ Personal Information, including duties imposed by

    the FTC Act, 15 U.S.C. § 45.




                                         163
     Case 8:19-md-02879-PWG Document 352 Filed 07/24/19 Page 178 of 373



       577.    Marriott’s representations and omissions were material because they were likely

to deceive reasonable consumers about the adequacy of Marriott’s data security and ability to

protect the confidentiality of consumers’ Personal Information.

       578.    Marriott intended to mislead Plaintiff and Hawaii Subclass members and induce

them to rely on its misrepresentations and omissions.

       579.    The foregoing unlawful and deceptive acts and practices were immoral, unethical,

oppressive, and unscrupulous.

       580.    Marriott acted intentionally, knowingly, and maliciously to violate Hawaii’s

Unfair Practices and Unfair Competition Act, and recklessly disregarded Plaintiff and Hawaii

Subclass members’ rights. Marriott’s past data breaches and breaches within the hospitality

industry put it on notice that its security and privacy protections were inadequate.

       581.    As a direct and proximate result of Marriott’s deceptive acts and practices,

Plaintiff and Hawaii Subclass members have suffered and will continue to suffer injury,

ascertainable losses of money or property, and monetary and non-monetary damages, including

loss of the benefit of their bargain with Marriott as they would not have paid Marriott for goods

and services or would have paid less for such goods and services but for Marriott’s violations

alleged herein; losses from fraud and identity theft; costs for credit monitoring and identity

protection services; time and expenses related to monitoring their financial accounts for

fraudulent activity; time and money spent cancelling and replacing passports; loss of value of

their Personal Information; and an increased, imminent risk of fraud and identity theft.

       582.    Plaintiff and Hawaii Subclass members seek all monetary and non-monetary relief

allowed by law, including actual damages, restitution, treble damages, injunctive relief, and

reasonable attorneys’ fees and costs.




                                                164
     Case 8:19-md-02879-PWG Document 352 Filed 07/24/19 Page 179 of 373



                                           COUNT 29

               HAWAII UNIFORM DECEPTIVE TRADE PRACTICE ACT,

                                  Haw. Rev. Stat. §§ 481A-3, et seq.

       583.    The Hawaii Plaintiff(s) identified above (“Plaintiff,” for purposes of this Count),

individually and on behalf of the Hawaii Subclass, repeats and alleges Paragraphs 1-293, as if

fully alleged herein.

       584.    Plaintiff and Hawaii Subclass members are “persons” as defined by Haw. Rev.

Stat. § 481A-2.

       585.    Marriott engaged in unfair and deceptive trade practices in the conduct of its

business, violating Haw. Rev. Stat. § 481A-3, including:

       a. Representing that goods or services have characteristics that they do not have;

       b. Representing that goods or services are of a particular standard, quality, or grade if

           they are of another;

       c. Advertising goods or services with intent not to sell them as advertised;

       d. Engaging in other conduct that creates a likelihood of confusion or misunderstanding.

       586.    Marriott’s unfair and deceptive trade practices include:

       a. Failing to implement and maintain reasonable security and privacy measures to

           protect Plaintiff and Hawaii Subclass members’ Personal Information, which was a

           direct and proximate cause of the Data Breach;

       b. Failing to identify foreseeable security and privacy risks, remediate identified security

           and privacy risks, and adequately improve security and privacy measures following

           previous cybersecurity incidents, which was a direct and proximate cause of the Data

           Breach;




                                                 165
     Case 8:19-md-02879-PWG Document 352 Filed 07/24/19 Page 180 of 373



       c. Failing to comply with common law and statutory duties pertaining to the security

           and privacy of Plaintiff and Hawaii Subclass members’ Personal Information,

           including duties imposed by the FTC Act, 15 U.S.C. § 45;

       d. Misrepresenting that it would protect the privacy and confidentiality of Plaintiff and

           Hawaii Subclass members’ Personal Information, including by implementing and

           maintaining reasonable security measures;

       e. Misrepresenting that it would comply with common law and statutory duties

           pertaining to the security and privacy of Plaintiff and Hawaii Subclass members’

           Personal Information, including duties imposed by the FTC Act, 15 U.S.C. § 45;

       f. Omitting, suppressing, and concealing the material fact that it did not reasonably or

           adequately secure Plaintiff and Hawaii Subclass members’ Personal Information; and

       g. Omitting, suppressing, and concealing the material fact that it did not comply with

           common law and statutory duties pertaining to the security and privacy of Plaintiff

           and Hawaii Subclass members’ Personal Information, including duties imposed by

           the FTC Act, 15 U.S.C. § 45.

       587.   Marriott’s representations and omissions were material because they were likely

to deceive reasonable consumers about the adequacy of Marriott’s data security and ability to

protect the confidentiality of consumers’ Personal Information.

       588.   The above unfair and deceptive practices and acts by Marriott were immoral,

unethical, oppressive, and unscrupulous. These acts caused substantial injury to Plaintiff and

Hawaii Subclass members that they could not reasonably avoid; this substantial injury

outweighed any benefits to consumers or to competition.




                                              166
     Case 8:19-md-02879-PWG Document 352 Filed 07/24/19 Page 181 of 373



       589.    As a direct and proximate result of Marriott’s unfair, unlawful, and deceptive

trade practices, Plaintiff and Hawaii Subclass members have suffered and will continue to suffer

injury, ascertainable losses of money or property, and monetary and non-monetary damages,

including loss of the benefit of their bargain with Marriott as they would not have paid Marriott

for goods and services or would have paid less for such goods and services but for Marriott’s

violations alleged herein; losses from fraud and identity theft; costs for credit monitoring and

identity protection services; time and expenses related to monitoring their financial accounts for

fraudulent activity; time and money spent cancelling and replacing passports; loss of value of

their Personal Information; and an increased, imminent risk of fraud and identity theft.

       590.    Plaintiff and Hawaii Subclass members seek all monetary and non-monetary relief

allowed by law, including injunctive relief, attorneys’ fees and costs, and any other relief that the

Court deems proper.

                    CLAIMS ON BEHALF OF THE IDAHO SUBCLASS

                                          COUNT 30

                         IDAHO CONSUMER PROTECTION ACT,

                                  Idaho Code §§ 48-601, et seq.

       591.    The Idaho Plaintiff(s) identified above (“Plaintiff,” for purposes of this Count),

individually and on behalf of the Idaho Subclass, repeats and alleges Paragraphs 1-293, as if

fully alleged herein.

       592.    Marriott is a “person” as defined by Idaho Code § 48-602(1).

       593.    Marriott’s conduct as alleged herein pertained to “goods” and “services” as

defined by Idaho Code § 48-602(6) and (7).

       594.    Marriott advertised, offered, or sold goods or services in Idaho and engaged in

trade or commerce directly or indirectly affecting the people of Idaho.


                                                167
     Case 8:19-md-02879-PWG Document 352 Filed 07/24/19 Page 182 of 373



       595.     Marriott engaged in unfair and deceptive acts or practices, and unconscionable

acts and practices, in the conduct of trade and commerce with respect to the sale and

advertisement of goods and services, in violation of Idaho Code §§ 48-603 and 48-603(C),

including:

       a. Representing that goods or services have sponsorship, approval, characteristics,

             ingredients, uses, benefits, or quantities that they do not have;

       b. Representing that goods are of a particular standard, quality, or grade when they are

             of another;

       c. Advertising goods or services with intent not to sell them as advertised;

       d. Engaging in other acts and practices that are otherwise misleading, false, or deceptive

             to consumers;

       e. Engaging in unconscionable methods, acts or practices in the conduct of trade or

             commerce.

       596.     Marriott’s unfair, deceptive, and unconscionable acts and practices include:

       a. Failing to implement and maintain reasonable security and privacy measures to

             protect Plaintiff and Idaho Subclass members’ Personal Information, which was a

             direct and proximate cause of the Data Breach;

       b. Failing to identify foreseeable security and privacy risks, remediate identified security

             and privacy risks, and adequately improve security and privacy measures following

             previous cybersecurity incidents, which was a direct and proximate cause of the Data

             Breach;




                                                  168
     Case 8:19-md-02879-PWG Document 352 Filed 07/24/19 Page 183 of 373



       c. Failing to comply with common law and statutory duties pertaining to the security

           and privacy of Plaintiff and Idaho Subclass members’ Personal Information,

           including duties imposed by the FTC Act, 15 U.S.C. § 45;

       d. Misrepresenting that it would protect the privacy and confidentiality of Plaintiff and

           Idaho Subclass members’ Personal Information, including by implementing and

           maintaining reasonable security measures;

       e. Misrepresenting that it would comply with common law and statutory duties

           pertaining to the security and privacy of Plaintiff and Idaho Subclass members’

           Personal Information, including duties imposed by the FTC Act, 15 U.S.C. § 45;

       f. Omitting, suppressing, and concealing the material fact that it did not reasonably or

           adequately secure Plaintiff and Idaho Subclass members’ Personal Information; and

       g. Omitting, suppressing, and concealing the material fact that it did not comply with

           common law and statutory duties pertaining to the security and privacy of Plaintiff

           and Idaho Subclass members’ Personal Information, including duties imposed by the

           FTC Act, 15 U.S.C. § 45.

       597.   Marriott’s representations and omissions were material because they were likely

to deceive reasonable consumers about the adequacy of Marriott’s data security and ability to

protect the confidentiality of consumers’ Personal Information.

       598.   Marriott intended to mislead Plaintiff and Idaho Subclass members and induce

them to rely on its misrepresentations and omissions. Marriott knew its representations and

omissions were false.

       599.   Marriott acted intentionally, knowingly, and maliciously to violate Idaho’s

Consumer Protection Act, and recklessly disregarded Plaintiff and Idaho Subclass members’




                                              169
     Case 8:19-md-02879-PWG Document 352 Filed 07/24/19 Page 184 of 373



rights. Marriott’s past data breaches and breaches within the hospitality industry put it on notice

that its security and privacy protections were inadequate.

        600.    As a direct and proximate result of Marriott’s unfair, deceptive, and

unconscionable conduct, Plaintiff and Idaho Subclass members have suffered and will continue

to suffer injury, ascertainable losses of money or property, and monetary and non-monetary

damages, including loss of the benefit of their bargain with Marriott as they would not have paid

Marriott for goods and services or would have paid less for such goods and services but for

Marriott’s violations alleged herein; losses from fraud and identity theft; costs for credit

monitoring and identity protection services; time and expenses related to monitoring their

financial accounts for fraudulent activity; time and money spent cancelling and replacing

passports; loss of value of their Personal Information; and an increased, imminent risk of fraud

and identity theft.

        601.    Plaintiff and Idaho Subclass members seek all monetary and non-monetary relief

allowed by law, including damages, restitution, punitive damages, injunctive relief, costs, and

attorneys’ fees.

                      CLAIMS ON BEHALF OF THE ILLINOIS SUBCLASS

                                           COUNT 31

               ILLINOIS PERSONAL INFORMATION PROTECTION ACT,

                             815 Ill. Comp. Stat. §§ 530/10(a), et seq.

        602.    The Illinois Plaintiff(s) identified above (“Plaintiff,” for purposes of this Count),

individually and on behalf of the Illinois Subclass, repeats and alleges Paragraphs 1-293, as if

fully alleged herein.




                                                170
     Case 8:19-md-02879-PWG Document 352 Filed 07/24/19 Page 185 of 373



       603.    As a publicly held corporation which handles, collects, disseminates, and

otherwise deals with nonpublic personal information, Marriott is a Data Collector as defined in

815 Ill. Comp. Stat. § 530/5.

       604.    Plaintiff and Illinois Subclass members’ Personal Information includes Personal

Information as covered under 815 Ill. Comp. Stat. § 530/5.

       605.    As a Data Collector, Marriott is required to notify Plaintiff and Illinois Subclass

members of a breach of its data security system in the most expedient time possible and without

unreasonable delay pursuant to 815 Ill. Comp. Stat. § 530/10(a).

       606.    By failing to disclose the Data Breach in the most expedient time possible and

without unreasonable delay, Marriott violated 815 Ill. Comp. Stat. § 530/10(a).

       607.    Pursuant to 815 Ill. Comp. Stat. § 530/20, a violation of 815 Ill. Comp. Stat. §

530/10(a) constitutes an unlawful practice under the Illinois Consumer Fraud and Deceptive

Business Practices Act.

       608.    As a direct and proximate result of Marriott’s violations of 815 Ill. Comp. Stat. §

530/10(a), Plaintiff and Illinois Subclass members suffered damages, as described above.

       609.    Plaintiff and Illinois Subclass members seek relief under 815 Ill. Comp. Stat. §

510/3 for the harm they suffered because of Marriott’s willful violations of 815 Ill. Comp. Stat. §

530/10(a), including actual damages, equitable relief, costs, and attorneys’ fees.

                                          COUNT 32

                            ILLINOIS CONSUMER FRAUD ACT,

                                815 Ill. Comp. Stat. §§ 505, et seq.

       610.    The Illinois Plaintiff(s) identified above (“Plaintiff,” for purposes of this Count),

individually and on behalf of the Illinois Subclass, repeats and alleges Paragraphs 1-293, as if

fully alleged herein.


                                                171
     Case 8:19-md-02879-PWG Document 352 Filed 07/24/19 Page 186 of 373



       611.    Marriott is a “person” as defined by 815 Ill. Comp. Stat. §§ 505/1(c).

       612.    Plaintiff and Illinois Subclass members are “consumers” as defined by 815 Ill.

Comp. Stat. §§ 505/1(e).

       613.    Marriott’s conduct as described herein was in the conduct of “trade” or

“commerce” as defined by 815 Ill. Comp. Stat. § 505/1(f).

       614.    Marriott’s deceptive, unfair, and unlawful trade acts or practices, in violation of

815 Ill. Comp. Stat. § 505/2, include:

       a. Failing to implement and maintain reasonable security and privacy measures to

           protect Plaintiff and Illinois Subclass members’ Personal Information, which was a

           direct and proximate cause of the Data Breach;

       b. Failing to identify foreseeable security and privacy risks, remediate identified security

           and privacy risks, and adequately improve security and privacy measures following

           previous cybersecurity incidents, which was a direct and proximate cause of the Data

           Breach;

       c. Failing to comply with common law and statutory duties pertaining to the security

           and privacy of Plaintiff and Illinois Subclass members’ Personal Information,

           including duties imposed by the FTC Act, 15 U.S.C. § 45, and the Illinois Uniform

           Deceptive Trade Practices Act, 815 Ill. Comp. Stat. § 510/2(a), which was a direct

           and proximate cause of the Data Breach;

       d. Misrepresenting that it would protect the privacy and confidentiality of Plaintiff and

           Illinois Subclass members’ Personal Information, including by implementing and

           maintaining reasonable security measures;




                                               172
     Case 8:19-md-02879-PWG Document 352 Filed 07/24/19 Page 187 of 373



       e. Misrepresenting that it would comply with common law and statutory duties

           pertaining to the security and privacy of Plaintiff and Illinois Subclass members’

           Personal Information, including duties imposed by the FTC Act, 15 U.S.C. § 45, and

           the Illinois Uniform Deceptive Trade Practices Act, 815 Ill. Comp. Stat. § 510/2(a);

       f. Omitting, suppressing, and concealing the material fact that it did not reasonably or

           adequately secure Plaintiff and Illinois Subclass members’ Personal Information; and

       g. Omitting, suppressing, and concealing the material fact that it did not comply with

           common law and statutory duties pertaining to the security and privacy of Plaintiff

           and Illinois Subclass members’ Personal Information, including duties imposed by

           the FTC Act, 15 U.S.C. § 45, and the Illinois Uniform Deceptive Trade Practices Act,

           815 Ill. Comp. Stat. § 510/2(a).

       615.   Marriott’s representations and omissions were material because they were likely

to deceive reasonable consumers about the adequacy of Marriott’s data security and ability to

protect the confidentiality of consumers’ Personal Information.

       616.   Marriott intended to mislead Plaintiff and Illinois Subclass members and induce

them to rely on its misrepresentations and omissions.

       617.   The above unfair and deceptive practices and acts by Marriott were immoral,

unethical, oppressive, and unscrupulous. These acts caused substantial injury that these

consumers could not reasonably avoid; this substantial injury outweighed any benefits to

consumers or to competition.

       618.   Marriott acted intentionally, knowingly, and maliciously to violate Illinois’s

Consumer Fraud Act, and recklessly disregarded Plaintiff and Illinois Subclass members’ rights.




                                              173
     Case 8:19-md-02879-PWG Document 352 Filed 07/24/19 Page 188 of 373



Marriott’s past data breaches and breaches within the hospitality industry put it on notice that its

security and privacy protections were inadequate.

       619.    As a direct and proximate result of Marriott’s unfair, unlawful, and deceptive acts

and practices, Plaintiff and Illinois Subclass members have suffered and will continue to suffer

injury, ascertainable losses of money or property, and monetary and non-monetary damages,

including loss of the benefit of their bargain with Marriott as they would not have paid Marriott

for goods and services or would have paid less for such goods and services but for Marriott’s

violations alleged herein; losses from fraud and identity theft; costs for credit monitoring and

identity protection services; time and expenses related to monitoring their financial accounts for

fraudulent activity; time and money spent cancelling and replacing passports; loss of value of

their Personal Information; and an increased, imminent risk of fraud and identity theft.

       620.    Plaintiff and Illinois Subclass members seek all monetary and non-monetary relief

allowed by law, including damages, restitution, punitive damages, injunctive relief, and

reasonable attorneys’ fees and costs.

                                          COUNT 33

              ILLINOIS UNIFORM DECEPTIVE TRADE PRACTICES ACT,

                               815 Ill. Comp. Stat. §§ 510/2, et seq.

       621.    The Illinois Plaintiff(s) identified above (“Plaintiff,” for purposes of this Count),

individually and on behalf of the Illinois Subclass, repeats and alleges Paragraphs 1-293, as if

fully alleged herein.

       622.    Marriott is a “person” as defined by 815 Ill. Comp. Stat. §§ 510/1(5).

       623.    Marriott engaged in deceptive trade practices in the conduct of its business, in

violation of 815 Ill. Comp. Stat. §§ 510/2(a), including:

       a. Representing that goods or services have characteristics that they do not have;


                                                174
Case 8:19-md-02879-PWG Document 352 Filed 07/24/19 Page 189 of 373



 b. Representing that goods or services are of a particular standard, quality, or grade if

    they are of another;

 c. Advertising goods or services with intent not to sell them as advertised;

 d. Engaging in other conduct that creates a likelihood of confusion or misunderstanding.

 624.   Marriott’s deceptive trade practices include:

 a. Failing to implement and maintain reasonable security and privacy measures to

    protect Plaintiff and Illinois Subclass members’ Personal Information, which was a

    direct and proximate cause of the Data Breach;

 b. Failing to identify foreseeable security and privacy risks, remediate identified security

    and privacy risks, and adequately improve security and privacy measures following

    previous cybersecurity incidents, which was a direct and proximate cause of the Data

    Breach;

 c. Failing to comply with common law and statutory duties pertaining to the security

    and privacy of Plaintiff and Illinois Subclass members’ Personal Information,

    including duties imposed by the FTC Act, 15 U.S.C. § 45, and the Illinois Uniform

    Deceptive Trade Practices Act, 815 Ill. Comp. Stat. § 510/2(a), which was a direct

    and proximate cause of the Data Breach;

 d. Misrepresenting that it would protect the privacy and confidentiality of Plaintiff and

    Illinois Subclass members’ Personal Information, including by implementing and

    maintaining reasonable security measures;

 e. Misrepresenting that it would comply with common law and statutory duties

    pertaining to the security and privacy of Plaintiff and Illinois Subclass members’




                                         175
     Case 8:19-md-02879-PWG Document 352 Filed 07/24/19 Page 190 of 373



           Personal Information, including duties imposed by the FTC Act, 15 U.S.C. § 45, and

           the Illinois Uniform Deceptive Trade Practices Act, 815 Ill. Comp. Stat. § 510/2(a);

       f. Omitting, suppressing, and concealing the material fact that it did not reasonably or

           adequately secure Plaintiff and Illinois Subclass members’ Personal Information; and

       g. Omitting, suppressing, and concealing the material fact that it did not comply with

           common law and statutory duties pertaining to the security and privacy of Plaintiff

           and Illinois Subclass members’ Personal Information, including duties imposed by

           the FTC Act, 15 U.S.C. § 45, and the Illinois Uniform Deceptive Trade Practices Act,

           815 Ill. Comp. Stat. § 510/2(a).

       625.    Marriott’s representations and omissions were material because they were likely

to deceive reasonable consumers about the adequacy of Marriott’s data security and ability to

protect the confidentiality of consumers’ Personal Information.

       626.    The above unfair and deceptive practices and acts by Marriott were immoral,

unethical, oppressive, and unscrupulous. These acts caused substantial injury to Plaintiff and

Illinois Subclass members that they could not reasonably avoid; this substantial injury

outweighed any benefits to consumers or to competition.

       627.    As a direct and proximate result of Marriott’s unfair, unlawful, and deceptive

trade practices, Plaintiff and Illinois Subclass members have suffered and will continue to suffer

injury, ascertainable losses of money or property, and monetary and non-monetary damages,

including loss of the benefit of their bargain with Marriott as they would not have paid Marriott

for goods and services or would have paid less for such goods and services but for Marriott’s

violations alleged herein; losses from fraud and identity theft; costs for credit monitoring and

identity protection services; time and expenses related to monitoring their financial accounts for




                                               176
     Case 8:19-md-02879-PWG Document 352 Filed 07/24/19 Page 191 of 373



fraudulent activity; time and money spent cancelling and replacing passports; loss of value of

their Personal Information; and an increased, imminent risk of fraud and identity theft.

       628.    Plaintiff and Illinois Subclass members seek all monetary and non-monetary relief

allowed by law, including injunctive relief and reasonable attorney’s fees.

                   CLAIMS ON BEHALF OF THE INDIANA SUBCLASS

                                         COUNT 34

                        INDIANA DECEPTIVE CONSUMER SALES ACT,

                                 Ind. Code §§ 24-5-0.5-1, et seq.

       629.    The Indiana Plaintiff(s) identified above (“Plaintiff,” for purposes of this Count),

individually and on behalf of the Indiana Subclass, repeats and alleges Paragraphs 1-293, as if

fully alleged herein.

       630.    Marriott is a “person” as defined by Ind. Code § 24-5-0.5-2(a)(2).

       631.    Marriott is a “supplier” as defined by § 24-5-0.5-2(a)(1), because it regularly

engages in or solicits “consumer transactions,” within the meaning of § 24-5-0.5-2(a)(3)(A).

       632.    Marriott engaged in unfair, abusive, and deceptive acts, omissions, and practices

in connection with consumer transactions, in violation of Ind. Code § 24-5-0.5-3(a).

       633.    Marriott’s representations and omissions include both implicit and explicit

representations.

       634.    Marriott’s unfair, abusive, and deceptive acts, omissions, and practices include:

       a. Failing to implement and maintain reasonable security and privacy measures to

           protect Plaintiff and Indiana Subclass members’ Personal Information, which was a

           direct and proximate cause of the Data Breach;

       b. Failing to identify foreseeable security and privacy risks, remediate identified security

           and privacy risks, and adequately improve security and privacy measures following


                                               177
Case 8:19-md-02879-PWG Document 352 Filed 07/24/19 Page 192 of 373



    previous cybersecurity incidents, which was a direct and proximate cause of the Data

    Breach;

 c. Failing to comply with common law and statutory duties pertaining to the security

    and privacy of Plaintiff and Indiana Subclass members’ Personal Information,

    including duties imposed by the FTC Act, 15 U.S.C. § 45, and Indiana security

    breach law, Ind. Code § 24-4.9-3-3.5(c), which was a direct and proximate cause of

    the Data Breach;

 d. Misrepresenting that it would protect the privacy and confidentiality of Plaintiff and

    Indiana Subclass members’ Personal Information, including by implementing and

    maintaining reasonable security measures;

 e. Misrepresenting that it would comply with common law and statutory duties

    pertaining to the security and privacy of Plaintiff and Indiana Subclass members’

    Personal Information, including duties imposed by the FTC Act, 15 U.S.C. § 45, and

    Indiana security breach law, Ind. Code § 24-4.9-3-3.5(c);

 f. Omitting, suppressing, and concealing the material fact that it did not reasonably or

    adequately secure Plaintiff and Indiana Subclass members’ Personal Information; and

 g. Omitting, suppressing, and concealing the material fact that it did not comply with

    common law and statutory duties pertaining to the security and privacy of Plaintiff

    and Indiana Subclass members’ Personal Information, including duties imposed by

    the FTC Act, 15 U.S.C. § 45, and Indiana security breach law, Ind. Code § 24-4.9-3-

    3.5(c).




                                       178
     Case 8:19-md-02879-PWG Document 352 Filed 07/24/19 Page 193 of 373



       635.    Marriott’s acts and practices were “unfair” because they caused or were likely to

cause substantial injury to consumers which was not reasonably avoidable by consumers

themselves and not outweighed by countervailing benefits to consumers or to competition.

       636.    The injury to consumers from Marriott’s conduct was and is substantial because it

was non-trivial and non-speculative; and involved a monetary injury and an unwarranted risk to

the safety of their Personal Information or the security of their identity or credit. The injury to

consumers was substantial not only because it inflicted harm on a significant number of

consumers, but also because it inflicted a significant amount of harm on each consumer.

       637.    Consumers could not have reasonably avoided injury because Marriott’s business

acts and practices unreasonably created or took advantage of an obstacle to the free exercise of

consumer decision-making. By withholding important information from consumers about the

inadequacy of its data security, Marriott created an asymmetry of information between it and

consumers that precluded consumers from taking action to avoid or mitigate injury.

       638.    Marriott’s inadequate data security had no countervailing benefit to consumers or

to competition.

       639.    Marriott’s acts and practices were “abusive” for numerous reasons, including:

       a. because they materially interfered with consumers’ ability to understand a term or

           condition in a consumer transaction. Marriott’s failure to disclose the inadequacies in

           its data security interfered with consumers’ decision-making in a variety of their

           transactions.

       b. because they took unreasonable advantage of consumers’ lack of understanding about

           the material risks, costs, or conditions of a consumer transaction. Without knowing




                                               179
     Case 8:19-md-02879-PWG Document 352 Filed 07/24/19 Page 194 of 373



           about the inadequacies in Marriott’s data security, consumers lacked an

           understanding of the material risks and costs of a variety of their transactions.

       c. because they took unreasonable advantage of consumers’ inability to protect their

           own interests. Consumers could not protect their interests due to the asymmetry in

           information between them and Marriott concerning the state of Marriott’s security.

       d. because Marriott took unreasonable advantage of consumers’ reasonable reliance that

           it was acting in their interests to secure their data. Consumers’ reliance was

           reasonable for the reasons discussed four paragraphs below.

       640.   Marriott also engaged in “deceptive” acts and practices in violation of Indiana

Code § 24-5-0.5-3(a) and § 24-5-0.5-3(b), including:

       a. Misrepresenting that the subject of a consumer transaction has sponsorship, approval,

           performance, characteristics, accessories, uses, or benefits it does not have which the

           supplier knows or should reasonably know it does not have;

       b. Misrepresenting that the subject of a consumer transaction is of a particular standard,

           quality, grade, style, or model, if it is not and if the supplier knows or should

           reasonably know that it is not;

       c. Misrepresenting that the subject of a consumer transaction will be supplied to the

           public in greater quantity (i.e., more data security) than the supplier intends or

           reasonably expects.

       641.   Marriott intended to mislead Plaintiff and Indiana Subclass members and induce

them to rely on its misrepresentations and omissions.




                                                180
     Case 8:19-md-02879-PWG Document 352 Filed 07/24/19 Page 195 of 373



       642.    Marriott’s representations and omissions were material because they were likely

to deceive reasonable consumers about the adequacy of Marriott’s data security and ability to

protect the confidentiality of consumers’ Personal Information.

       643.    Had Marriott disclosed to Plaintiffs and class members that its data systems were

not secure and, thus, vulnerable to attack, Marriott would have been unable to continue in

business and it would have been forced to adopt reasonable data security measures and comply

with the law. Instead, Marriott received, maintained, and compiled Plaintiffs’ and class

members’ Personal Information as part of the services Marriott provided and for which Plaintiffs

and class members paid without advising Plaintiffs and class members that Marriott’s data

security practices were insufficient to maintain the safety and confidentiality of Plaintiffs’ and

class members’ Personal Information. Accordingly, Plaintiff and the Indiana Subclass members

acted reasonably in relying on Marriott’s misrepresentations and omissions, the truth of which

they could not have discovered.

       644.    Marriott had a duty to disclose the above-described facts due to the circumstances

of this case and the sensitivity and extensivity of the Personal Information in its possession. This

duty arose because members of the public, including Plaintiff and the Indiana Subclass, repose a

trust and confidence in Marriott to keep their Personal Information secure. In addition, such a

duty is implied by law due to the nature of the relationship between consumers—including

Plaintiff and the Indiana Subclass—and Marriott, because consumers are unable to fully protect

their interests with regard to their data, and placed trust and confidence in Marriott. Marriott’s

duty to disclose also arose from its:

       a. Possession of exclusive knowledge regarding the security of the data in its systems;

       b. Active concealment of the state of its security; and/or




                                                181
     Case 8:19-md-02879-PWG Document 352 Filed 07/24/19 Page 196 of 373



       c. Incomplete representations about the security and integrity of its computer and data

             systems, and its prior data breaches, while purposefully withholding material facts

             from Plaintiff and the Indiana Subclass that contradicted these representations.

       645.     Marriott acted intentionally, knowingly, and maliciously to violate Indiana’s

Deceptive Consumer Sales Act, and recklessly disregarded Plaintiff and Indiana Subclass

members’ rights. Marriott’s past data breaches and breaches within the hospitality industry put it

on notice that its security and privacy protections were inadequate. Marriott’s actions were not

the result of a mistake of fact or law, honest error or judgment, overzealousness, mere

negligence, or other human failing.

       646.     Plaintiff sent a demand for relief on behalf of the Indiana Subclass pursuant to

Ind. Code § 24-5-0.5-5 on January 8, 2019. Marriott has not cured its unfair, abusive, and

deceptive acts and practices, or its violations of Indiana Deceptive Consumer Sales Act were

incurable.

       647.     Since Plaintiff provided the requisite notice, Marriott has failed to cure its

violations of the Indiana Deceptive Consumer Sales Act.

       648.     Marriott’s conduct includes incurable deceptive acts that Marriott engaged in as

part of a scheme, artifice, or device with intent to defraud or mislead, under Ind. Code § 24-5-

0.5-2(a)(8).

       649.     As a direct and proximate result of Marriott’s uncured or incurable unfair,

abusive, and deceptive acts or practices, Plaintiff and Indiana Subclass members have suffered

and will continue to suffer injury, ascertainable losses of money or property, and monetary and

non-monetary damages, including loss of the benefit of their bargain with Marriott as they would

not have paid Marriott for goods and services or would have paid less for such goods and




                                                 182
     Case 8:19-md-02879-PWG Document 352 Filed 07/24/19 Page 197 of 373



services but for Marriott’s violations alleged herein; losses from fraud and identity theft; costs

for credit monitoring and identity protection services; time and expenses related to monitoring

their financial accounts for fraudulent activity; time and money spent cancelling and replacing

passports; loss of value of their Personal Information; and an increased, imminent risk of fraud

and identity theft.

        650.      Marriott’s violations present a continuing risk to Plaintiff and Indiana Subclass

members as well as to the general public.

        651.      Plaintiff and Indiana Subclass members seek all monetary and non-monetary

relief allowed by law, including the greater of actual damages or $500 for each non-willful

violation; the greater of treble damages or $1,000 for each willful violation; restitution;

reasonable attorneys’ fees and costs; injunctive relief; and punitive damages.

                       CLAIMS ON BEHALF OF THE IOWA SUBCLASS

                                            COUNT 35

        PERSONAL INFORMATION SECURITY BREACH PROTECTION LAW,

                                        Iowa Code § 715C.2

        652.      The Iowa Plaintiff(s) identified above (“Plaintiff,” for purposes of this Count),

individually and on behalf of the Iowa Subclass, repeats and alleges Paragraphs 1-293, as if fully

alleged herein.

        653.      Marriott is a business that owns or licenses computerized data that includes

Personal Information as defined by Iowa Code § 715C.2(1).

        654.      Plaintiff’s and Iowa Subclass members’ Personal Information includes Personal

Information as covered under Iowa Code § 715C.2(1).




                                                 183
     Case 8:19-md-02879-PWG Document 352 Filed 07/24/19 Page 198 of 373



       655.       Marriott is required to accurately notify Plaintiff and Iowa Subclass members if it

becomes aware of a breach of its data security system in the most expeditious time possible and

without unreasonable delay under Iowa Code § 715C.2(1).

       656.       Because Marriott was aware of a breach of its security system, Marriott had an

obligation to disclose the data breach in a timely and accurate fashion as mandated by Iowa Code

§ 715C.2(1).

       657.       By failing to disclose the Data Breach in a timely and accurate manner, Marriott

violated Iowa Code § 715C.2(1).

       658.       Pursuant to Iowa Code § 715C.2(9), a violation of Iowa Code § 715C.2(1) is an

unlawful practice pursuant to Iowa Code Ann. § 714.16(7).

       659.       As a direct and proximate result of Marriott’s violations of Iowa Code §

715C.2(1), Plaintiff and Iowa Subclass members suffered damages, as described above.

       660.       Plaintiff and Iowa Subclass members seek relief under Iowa Code § 714.16(7),

including actual damages and injunctive relief.

                                            COUNT 36

        IOWA PRIVATE RIGHT OF ACTION FOR CONSUMER FRAUDS ACT,

                                          Iowa Code § 714H

       661.       The Iowa Plaintiff(s) identified above (“Plaintiff,” for purposes of this Count),

individually and on behalf of the Iowa Subclass, repeats and alleges Paragraphs 1-293, as if fully

alleged herein.

       662.       Marriott is a “person” as defined by Iowa Code § 714H.2(7).

       663.       Plaintiff and Iowa Subclass members are “consumers” as defined by Iowa Code §

714H.2(3).




                                                  184
     Case 8:19-md-02879-PWG Document 352 Filed 07/24/19 Page 199 of 373



       664.   Marriott’s conduct described herein related to the “sale” or “advertisement” of

“merchandise” as defined by Iowa Code §§ 714H.2(2), (6), & (8).

       665.    Marriott engaged in unfair, deceptive, and unconscionable trade practices, in

violation of the Iowa Private Right of Action for Consumer Frauds Act, including:

       a. Failing to implement and maintain reasonable security and privacy measures to

           protect Plaintiff and Iowa Subclass members’ Personal Information, which was a

           direct and proximate cause of the Data Breach;

       b. Failing to identify foreseeable security and privacy risks, remediate identified security

           and privacy risks, and adequately improve security and privacy measures following

           previous cybersecurity incidents, which was a direct and proximate cause of the Data

           Breach;

       c. Failing to comply with common law and statutory duties pertaining to the security

           and privacy of Plaintiff and Iowa Subclass members’ Personal Information, including

           duties imposed by the FTC Act, 15 U.S.C. § 45, which was a direct and proximate

           cause of the Data Breach;

       d. Misrepresenting that it would protect the privacy and confidentiality of Plaintiff and

           Iowa Subclass members’ Personal Information, including by implementing and

           maintaining reasonable security measures;

       e. Misrepresenting that it would comply with common law and statutory duties

           pertaining to the security and privacy of Plaintiff and Iowa Subclass members’

           Personal Information, including duties imposed by the FTC Act, 15 U.S.C. § 45;

       f. Omitting, suppressing, and concealing the material fact that it did not reasonably or

           adequately secure Plaintiff and Iowa Subclass members’ Personal Information; and




                                               185
     Case 8:19-md-02879-PWG Document 352 Filed 07/24/19 Page 200 of 373



        g. Omitting, suppressing, and concealing the material fact that it did not comply with

            common law and statutory duties pertaining to the security and privacy of Plaintiff

            and Iowa Subclass members’ Personal Information, including duties imposed by the

            FTC Act, 15 U.S.C. § 45.

        666.    Marriott’s representations and omissions were material because they were likely

to deceive reasonable consumers about the adequacy of Marriott’s data security and ability to

protect the confidentiality of consumers’ Personal Information.

        667.    Marriott intended to mislead Plaintiff and Iowa Subclass members and induce

them to rely on its misrepresentations and omissions.

        668.    Marriott acted intentionally, knowingly, and maliciously to violate Iowa’s Private

Right of Action for Consumer Frauds Act, and recklessly disregarded Plaintiff and Iowa

Subclass members’ rights. Marriott’s past data breaches and breaches within the hospitality

industry put it on notice that its security and privacy protections were inadequate.

        669.    As a direct and proximate result of Marriott’s unfair, deceptive, and

unconscionable conduct, Plaintiff and Iowa Subclass members have suffered and will continue to

suffer injury, ascertainable losses of money or property, and monetary and non-monetary

damages, including loss of the benefit of their bargain with Marriott as they would not have paid

Marriott for goods and services or would have paid less for such goods and services but for

Marriott’s violations alleged herein; losses from fraud and identity theft; costs for credit

monitoring and identity protection services; time and expenses related to monitoring their

financial accounts for fraudulent activity; time and money spent cancelling and replacing

passports; loss of value of their Personal Information; and an increased, imminent risk of fraud

and identity theft.




                                                186
     Case 8:19-md-02879-PWG Document 352 Filed 07/24/19 Page 201 of 373



       670.    Plaintiff has provided the requisite notice to the Iowa Attorney General, the office

of which approved the filing of this class action lawsuit pursuant to Iowa Code § 714H.7.

       671.    Plaintiff and Iowa Subclass members seek all monetary and non-monetary relief

allowed by law, including injunctive relief, damages, restitution, punitive damages, and

reasonable attorneys’ fees and costs.

                   CLAIMS ON BEHALF OF THE KANSAS SUBCLASS

                                         COUNT 37

                        PROTECTION OF CONSUMER INFORMATION

                              Kan. Stat. Ann. §§ 50-7a02(a), et seq.

       672.    The Kansas Plaintiff(s) identified above (“Plaintiff,” for purposes of this Count),

individually and on behalf of the Kansas Subclass, repeats and alleges Paragraphs 1-293, as if

fully alleged herein.

       673.    Marriott is a business that owns or licenses computerized data that includes

Personal Information as defined by Kan. Stat. Ann. § 50-7a02(a).

       674.    Plaintiff’s and Kansas Subclass members’ Personal Information includes Personal

Information as covered under Kan. Stat. Ann. § 50-7a02(a).

       675.    Marriott is required to accurately notify Plaintiffs and Kansas Subclass members

if it becomes aware of a breach of its data security system that was reasonably likely to have

caused misuse of Plaintiff’s and Kansas Subclass members’ Personal Information, in the most

expedient time possible and without unreasonable delay under Kan. Stat. Ann. § 50-7a02(a).

       676.    Because Marriott was aware of a breach of its security system that was reasonably

likely to have caused misuse of Plaintiffs’ and Kansas Subclass members’ Personal Information,

Marriott had an obligation to disclose the data breach in a timely and accurate fashion as

mandated by Kan. Stat. Ann. § 50-7a02(a).


                                               187
     Case 8:19-md-02879-PWG Document 352 Filed 07/24/19 Page 202 of 373



       677.    By failing to disclose the Data Breach in a timely and accurate manner, Marriott

violated Kan. Stat. Ann. § 50-7a02(a).

       678.    As a direct and proximate result of Marriott’s violations of Kan. Stat. Ann. § 50-

7a02(a), Plaintiff and Kansas Subclass members suffered damages, as described above.

       679.    Plaintiff and Kansas Subclass members seek relief under Kan. Stat. Ann. § 50-

7a02(g), including equitable relief.

                                           COUNT 38

                         KANSAS CONSUMER PROTECTION ACT,

                                       K.S.A. §§ 50-623, et seq.

       680.    The Kansas Plaintiff(s) identified above (“Plaintiff,” for purposes of this Count),

individually and on behalf of the Kansas Subclass, repeats and alleges Paragraphs 1-293, as if

fully alleged herein.

       681.    K.S.A. §§ 50-623, et seq. is to be liberally construed to protect consumers from

suppliers who commit deceptive and unconscionable practices.

       682.    Plaintiff and Kansas Subclass members are “consumers” as defined by K.S.A. §

50-624(b).

       683.    The acts and practices described herein are “consumer transactions,” as defined

by K.S.A. § 50-624(c).

       684.    Marriott is a “supplier” as defined by K.S.A. § 50-624(l).

       685.    Marriott advertised, offered, or sold goods or services in Kansas and engaged in

trade or commerce directly or indirectly affecting the people of Kansas.

       686.    Marriott engaged in deceptive and unfair acts or practices, including:




                                                 188
Case 8:19-md-02879-PWG Document 352 Filed 07/24/19 Page 203 of 373



 a. Failing to implement and maintain reasonable security and privacy measures to

    protect Plaintiff and Kansas Subclass members’ Personal Information, which was a

    direct and proximate cause of the Data Breach;

 b. Failing to identify foreseeable security and privacy risks, remediate identified security

    and privacy risks, and adequately improve security and privacy measures following

    previous cybersecurity incidents, which was a direct and proximate cause of the Data

    Breach;

 c. Failing to comply with common law and statutory duties pertaining to the security

    and privacy of Plaintiff and Kansas Subclass members’ Personal Information,

    including duties imposed by the FTC Act, 15 U.S.C. § 45, and Kansas’s identity fraud

    statute, the Wayne Owen Act, K.S.A. § 50-6,139b, which was a direct and proximate

    cause of the Data Breach;

 d. Misrepresenting that it would protect the privacy and confidentiality of Plaintiff and

    Kansas Subclass members’ Personal Information, including by implementing and

    maintaining reasonable security measures;

 e. Misrepresenting that it would comply with common law and statutory duties

    pertaining to the security and privacy of Plaintiff and Kansas Subclass members’

    Personal Information, including duties imposed by the FTC Act, 15 U.S.C. § 45, and

    Kansas’s identity fraud statute, the Wayne Owen Act, K.S.A. § 50-6,139b;

 f. Omitting, suppressing, and concealing the material fact that it did not reasonably or

    adequately secure Plaintiff and Kansas Subclass members’ Personal Information; and

 g. Omitting, suppressing, and concealing the material fact that it did not comply with

    common law and statutory duties pertaining to the security and privacy of Plaintiff




                                         189
     Case 8:19-md-02879-PWG Document 352 Filed 07/24/19 Page 204 of 373



           and Kansas Subclass members’ Personal Information, including duties imposed by

           the FTC Act, 15 U.S.C. § 45, and Kansas’s identity fraud statute, the Wayne Owen

           Act, K.S.A. § 50-6,139b.

       687.    Marriott’s representations and omissions were material because they were likely

to deceive reasonable consumers about the adequacy of Marriott’s data security and ability to

protect the confidentiality of consumers’ Personal Information.

       688.    Marriott intended to mislead Plaintiff and Kansas Subclass members and induce

them to rely on its misrepresentations and omissions.

       689.    Had Marriott disclosed to Plaintiffs and class members that its data systems were

not secure and, thus, vulnerable to attack, Marriott would have been unable to continue in

business and it would have been forced to adopt reasonable data security measures and comply

with the law. Instead, Marriott received, maintained, and compiled Plaintiffs’ and class

members’ Personal Information as part of the services Marriott provided and for which Plaintiffs

and class members paid without advising Plaintiffs and class members that Marriott’s data

security practices were insufficient to maintain the safety and confidentiality of Plaintiffs’ and

class members’ Personal Information. Accordingly, Plaintiff and the Kansas Subclass members

acted reasonably in relying on Marriott’s misrepresentations and omissions, the truth of which

they could not have discovered.

       690.    Marriott also engaged in unconscionable acts and practices in connection with a

consumer transaction, in violation of K.S.A. § 50-627, including:

       a. Knowingly taking advantage of the inability of Plaintiff and the Kansas Subclass to

           reasonably protect their interests, due to their lack of knowledge (see K.S.A. § 50-

           627(b)(1)); and




                                               190
     Case 8:19-md-02879-PWG Document 352 Filed 07/24/19 Page 205 of 373



       b. Requiring Plaintiff and the Kansas Subclass to enter into a consumer transaction on

           terms that Marriott knew were substantially one-sided in favor of Marriott (see

           K.S.A. § 50-627(b)(5)).

       691.    Plaintiff and the Kansas Subclass had unequal bargaining power with respect to

their ability to control the security and confidentiality of their Personal Information in Marriott’s

possession.

       692.    The above unfair, deceptive, and unconscionable practices and acts by Marriott

were immoral, unethical, oppressive, and unscrupulous. These acts caused substantial injury to

Plaintiff and Kansas Subclass members that they could not reasonably avoid; this substantial

injury outweighed any benefits to consumers or to competition.

       693.    Marriott acted intentionally, knowingly, and maliciously to violate Kansas’s

Consumer Protection Act, and recklessly disregarded Plaintiff and Kansas Subclass members’

rights. Marriott’s past data breaches and breaches within the hospitality industry put it on notice

that its security and privacy protections were inadequate.

       694.    As a direct and proximate result of Marriott’s unfair, deceptive, and

unconscionable trade practices, Plaintiff and Kansas Subclass members have suffered and will

continue to suffer injury, ascertainable losses of money or property, and monetary and non-

monetary damages, including loss of the benefit of their bargain with Marriott as they would not

have paid Marriott for goods and services or would have paid less for such goods and services

but for Marriott’s violations alleged herein; losses from fraud and identity theft; costs for credit

monitoring and identity protection services; time and expenses related to monitoring their

financial accounts for fraudulent activity; time and money spent cancelling and replacing




                                                191
     Case 8:19-md-02879-PWG Document 352 Filed 07/24/19 Page 206 of 373



passports; loss of value of their Personal Information; and an increased, imminent risk of fraud

and identity theft.

        695.    Plaintiff and Kansas Subclass members seek all monetary and non-monetary relief

allowed by law, including civil penalties or actual damages (whichever is greater), under K.S.A.

§§ 50-634 and 50-636; injunctive relief; restitution; and reasonable attorneys’ fees and costs.

                  CLAIMS ON BEHALF OF THE KENTUCKY SUBCLASS

                                          COUNT 39

         KENTUCKY COMPUTER SECURITY BREACH NOTIFICATION ACT,

                               Ky. Rev. Stat. Ann. §§ 365.732, et seq.

        696.    The Kentucky Plaintiff(s) identified above (“Plaintiff,” for purposes of this

Count), individually and on behalf of the Kentucky Subclass, repeats and alleges Paragraphs 1-

293, as if fully alleged herein.

        697.    Marriott is required to accurately notify Plaintiff and Kentucky Subclass members

if it becomes aware of a breach of its data security system that was reasonably likely to have

caused unauthorized persons to acquire Plaintiff’s and Kentucky Subclass members’ Personal

Information, in the most expedient time possible and without unreasonable delay under Ky. Rev.

Stat. Ann. § 365.732(2).

        698.    Marriott is a business that holds computerized data that includes Personal

Information as defined by Ky. Rev. Stat. Ann. § 365.732(2).

        699.    Plaintiff’s and Kentucky Subclass members’ Personal Information includes

Personal Information as covered under Ky. Rev. Stat. Ann. § 365.732(2).

        700.    Because Marriott was aware of a breach of its security system that was reasonably

likely to have caused unauthorized persons to acquire Plaintiff’s and Kentucky Subclass




                                                192
     Case 8:19-md-02879-PWG Document 352 Filed 07/24/19 Page 207 of 373



members’ Personal Information, Marriott had an obligation to disclose the data breach in a

timely and accurate fashion as mandated by Ky. Rev. Stat. Ann. § 365.732(2).

        701.    By failing to disclose the Data Breach in a timely and accurate manner, Marriott

violated Ky. Rev. Stat. Ann. § 365.732(2).

        702.    As a direct and proximate result of Marriott’s violations of Ky. Rev. Stat. Ann. §

365.732(2), Plaintiff and Kentucky Subclass members suffered damages, as described above.

        703.    Plaintiff and Kentucky Subclass members seek relief under Ky. Rev. Stat. Ann. §

446.070, including actual damages.

                                            COUNT 40

                       KENTUCKY CONSUMER PROTECTION ACT,

                                   Ky. Rev. Stat. §§ 367.110, et seq.

        704.    The Kentucky Plaintiff(s) identified above (“Plaintiff,” for purposes of this

Count), individually and on behalf of the Kentucky Subclass, repeats and alleges Paragraphs 1-

293, as if fully alleged herein.

        705.    Marriott is a “person” as defined by Ky. Rev. Stat. § 367.110(1).

        706.    Marriott advertised, offered, or sold goods or services in Kentucky and engaged in

trade or commerce directly or indirectly affecting the people of Kentucky, as defined by Ky.

Rev. Stat. 367.110(2).

        707.    Marriott engaged in unfair, false, misleading, deceptive, and unconscionable acts

or practices, in violation of Ky. Rev. Stat. § 367.170, including:

        a. Failing to implement and maintain reasonable security and privacy measures to

            protect Plaintiff and Kentucky Subclass members’ Personal Information, which was a

            direct and proximate cause of the Data Breach;




                                                  193
Case 8:19-md-02879-PWG Document 352 Filed 07/24/19 Page 208 of 373



 b. Failing to identify foreseeable security and privacy risks, remediate identified security

    and privacy risks, and adequately improve security and privacy measures following

    previous cybersecurity incidents, which was a direct and proximate cause of the Data

    Breach;

 c. Failing to comply with common law and statutory duties pertaining to the security

    and privacy of Plaintiff and Kentucky Subclass members’ Personal Information,

    including duties imposed by the FTC Act, 15 U.S.C. § 45, which was a direct and

    proximate cause of the Data Breach;

 d. Misrepresenting that it would protect the privacy and confidentiality of Plaintiff and

    Kentucky Subclass members’ Personal Information, including by implementing and

    maintaining reasonable security measures;

 e. Misrepresenting that it would comply with common law and statutory duties

    pertaining to the security and privacy of Plaintiff and Kentucky Subclass members’

    Personal Information, including duties imposed by the FTC Act, 15 U.S.C. § 45;

 f. Omitting, suppressing, and concealing the material fact that it did not reasonably or

    adequately secure Plaintiff and Kentucky Subclass members’ Personal Information;

    and

 g. Omitting, suppressing, and concealing the material fact that it did not comply with

    common law and statutory duties pertaining to the security and privacy of Plaintiff

    and Kentucky Subclass members’ Personal Information, including duties imposed by

    the FTC Act, 15 U.S.C. § 45.




                                         194
     Case 8:19-md-02879-PWG Document 352 Filed 07/24/19 Page 209 of 373



       708.    Marriott’s representations and omissions were material because they were likely

to deceive reasonable consumers about the adequacy of Marriott’s data security and ability to

protect the confidentiality of consumers’ Personal Information.

       709.    Marriott intended to mislead Plaintiff and Kentucky Subclass members and

induce them to rely on its misrepresentations and omissions.

       710.    Plaintiff and Kentucky Subclass members’ purchased goods or services for

personal, family, or household purposes and suffered ascertainable losses of money or property

as a result of Marriott’s unlawful acts and practices.

       711.    The above unlawful acts and practices by Marriott were immoral, unethical,

oppressive, and unscrupulous. These acts caused substantial injury to Plaintiff and Kentucky

Subclass members that they could not reasonably avoid; this substantial injury outweighed any

benefits to consumers or to competition.

       712.    Marriott acted intentionally, knowingly, and maliciously to violate Kentucky’s

Consumer Protection Act, and recklessly disregarded Plaintiff and Kentucky Subclass members’

rights. Marriott’s past data breaches and breaches within the hospitality industry put it on notice

that its security and privacy protections were inadequate.

       713.    As a direct and proximate result of Marriott’s unlawful acts and practices,

Plaintiff and Kentucky Subclass members have suffered and will continue to suffer injury,

ascertainable losses of money or property, and monetary and non-monetary damages, including

loss of the benefit of their bargain with Marriott as they would not have paid Marriott for goods

and services or would have paid less for such goods and services but for Marriott’s violations

alleged herein; losses from fraud and identity theft; costs for credit monitoring and identity

protection services; time and expenses related to monitoring their financial accounts for




                                                195
     Case 8:19-md-02879-PWG Document 352 Filed 07/24/19 Page 210 of 373



fraudulent activity; time and money spent cancelling and replacing passports; loss of value of

their Personal Information; and an increased, imminent risk of fraud and identity theft.

        714.    Plaintiff and Kentucky Subclass members seek all monetary and non-monetary

relief allowed by law, including damages, punitive damages, restitution or other equitable relief,

injunctive relief, and reasonable attorneys’ fees and costs.

                  CLAIMS ON BEHALF OF THE LOUISIANA SUBCLASS

                                          COUNT 41

                 DATABASE SECURITY BREACH NOTIFICATION LAW,

                             La. Rev. Stat. Ann. §§ 51:3074(A), et seq.

        715.    The Louisiana Plaintiff(s) identified above (“Plaintiff,” for purposes of this

Count), individually and on behalf of the Louisiana Subclass, repeats and alleges Paragraphs 1-

293, as if fully alleged herein.

        716.    Marriott is a business that owns or licenses computerized data that includes

Personal Information as defined by La. Rev. Stat. Ann. § 51:3074(C).

        717.    Plaintiff’s and Louisiana Subclass members’ Personal Information includes

Personal Information as covered under La. Rev. Stat. Ann. § 51:3074(C).

        718.    Marriott is required to accurately notify Plaintiff and Louisiana Subclass members

if it becomes aware of a breach of its data security system that was reasonably likely to have

caused unauthorized persons to acquire Plaintiff’s and Louisiana Subclass members’ Personal

Information, in the most expedient time possible and without unreasonable delay under La. Rev.

Stat. Ann. § 51:3074(C).

        719.    Because Marriott was aware of a breach of its security system that was reasonably

likely to have caused unauthorized persons to acquire Plaintiff’s and Louisiana Subclass




                                                196
     Case 8:19-md-02879-PWG Document 352 Filed 07/24/19 Page 211 of 373



members’ Personal Information, Marriott had an obligation to disclose the Data Breach in a

timely and accurate fashion as mandated by La. Rev. Stat. Ann. § 51:3074(C).

        720.    By failing to disclose the Data Breach in a timely and accurate manner, Marriott

violated La. Rev. Stat. Ann. § 51:3074(C).

        721.    As a direct and proximate result of Marriott’s violations of La. Rev. Stat. Ann. §

51:3074(C), Plaintiff and Louisiana Subclass members suffered damages, as described above.

        722.    Plaintiff and Louisiana Subclass members seek relief under La. Rev. Stat. Ann. §

51:3075, including actual damages.

                                          COUNT 42

 LOUISIANA UNFAIR TRADE PRACTICES AND CONSUMER PROTECTION LAW,

                               La Rev. Stat. Ann. §§ 51:1401, et seq.

        723.    The Louisiana Plaintiff(s) identified above (“Plaintiff,” for purposes of this

Count), individually and on behalf of the Louisiana Subclass, repeats and alleges Paragraphs 1-

293, as if fully alleged herein.

        724.    Marriott, Plaintiff, and the Louisiana Subclass members are “persons” within the

meaning of the La. Rev. Stat. Ann. § 51:1402(8).

        725.    Plaintiff and Louisiana Subclass members are “consumers” within the meaning of

La. Rev. Stat. Ann. § 51:1402(1).

        726.    Marriott engaged in “trade” or “commerce” within the meaning of La. Rev. Stat.

Ann. § 51:1402(10).

        727.    The Louisiana Unfair Trade Practices and Consumer Protection Law (“Louisiana

CPL”) makes unlawful “unfair or deceptive acts or practices in the conduct of any trade or

commerce.” La. Rev. Stat. Ann. § 51:1405(A). Unfair acts are those that offend established




                                                197
     Case 8:19-md-02879-PWG Document 352 Filed 07/24/19 Page 212 of 373



public policy, while deceptive acts are practices that amount to fraud, deceit, or

misrepresentation.

       728.   Marriott participated in unfair and deceptive acts and practices that violated the

Louisiana CPL, including:

       a. Failing to implement and maintain reasonable security and privacy measures to

           protect Plaintiff and Louisiana Subclass members’ Personal Information, which was a

           direct and proximate cause of the Data Breach;

       b. Failing to identify foreseeable security and privacy risks, remediate identified security

           and privacy risks, and adequately improve security and privacy measures following

           previous cybersecurity incidents, which was a direct and proximate cause of the Data

           Breach;

       c. Failing to comply with common law and statutory duties pertaining to the security

           and privacy of Plaintiff and Louisiana Subclass members’ Personal Information,

           including duties imposed by the FTC Act, 15 U.S.C. § 45, which was a direct and

           proximate cause of the Data Breach;

       d. Misrepresenting that it would protect the privacy and confidentiality of Plaintiff and

           Louisiana Subclass members’ Personal Information, including by implementing and

           maintaining reasonable security measures;

       e. Misrepresenting that it would comply with common law and statutory duties

           pertaining to the security and privacy of Plaintiff and Louisiana Subclass members’

           Personal Information, including duties imposed by the FTC Act, 15 U.S.C. § 45;




                                               198
     Case 8:19-md-02879-PWG Document 352 Filed 07/24/19 Page 213 of 373



       f. Omitting, suppressing, and concealing the material fact that it did not reasonably or

           adequately secure Plaintiff and Louisiana Subclass members’ Personal Information;

           and

       g. Omitting, suppressing, and concealing the material fact that it did not comply with

           common law and statutory duties pertaining to the security and privacy of Plaintiff

           and Louisiana Subclass members’ Personal Information, including duties imposed by

           the FTC Act, 15 U.S.C. § 45.

       729.      Marriott’s representations and omissions were material because they were likely

to deceive reasonable consumers about the adequacy of Marriott’s data security and ability to

protect the confidentiality of consumers’ Personal Information.

       730.      Marriott intended to mislead Plaintiff and Louisiana Subclass members and

induce them to rely on its misrepresentations and omissions.

       731.      Marriott’s unfair and deceptive acts and practices were immoral, unethical,

oppressive, and unscrupulous. These acts caused substantial injury to Plaintiff and Kentucky

Subclass members that they could not reasonably avoid; this substantial injury outweighed any

benefits to consumers or to competition.

       732.      Marriott acted intentionally, knowingly, and maliciously to violate Unfair Trade

Practices and Consumer Protection Law, and recklessly disregarded Plaintiff and Louisiana

Subclass members’ rights. Marriott’s past data breaches and breaches within the hospitality

industry put it on notice that its security and privacy protections were inadequate.

       733.      Had Marriott disclosed to Plaintiffs and class members that its data systems were

not secure and, thus, vulnerable to attack, Marriott would have been unable to continue in

business and it would have been forced to adopt reasonable data security measures and comply




                                                199
     Case 8:19-md-02879-PWG Document 352 Filed 07/24/19 Page 214 of 373



with the law. Instead, Marriott received, maintained, and compiled Plaintiffs’ and class

members’ Personal Information as part of the services Marriott provided and for which Plaintiffs

and class members paid without advising Plaintiffs and class members that Marriott’s data

security practices were insufficient to maintain the safety and confidentiality of Plaintiffs’ and

class members’ Personal Information. Accordingly, Plaintiff and the Louisiana Subclass

members acted reasonably in relying on Marriott’s misrepresentations and omissions, the truth of

which they could not have discovered.

        734.    As a direct and proximate result of Marriott’s unfair and deceptive acts and

practices, Plaintiff and Louisana Subclass members have suffered and will continue to suffer

injury, ascertainable losses of money or property, and monetary and non-monetary damages,

including loss of the benefit of their bargain with Marriott as they would not have paid Marriott

for goods and services or would have paid less for such goods and services but for Marriott’s

violations alleged herein; losses from fraud and identity theft; costs for credit monitoring and

identity protection services; time and expenses related to monitoring their financial accounts for

fraudulent activity; time and money spent cancelling and replacing passports; loss of value of

their Personal Information; and an increased, imminent risk of fraud and identity theft.

        735.    Plaintiff and Louisiana Subclass members seek all monetary and non-monetary

relief allowed by law, including actual damages; treble damages for Marriott’s knowing

violations of the Louisiana CPL; restitution; declaratory relief; attorneys’ fees; and any other

relief that is just and proper.




                                               200
     Case 8:19-md-02879-PWG Document 352 Filed 07/24/19 Page 215 of 373



                     CLAIMS ON BEHALF OF THE MAINE SUBCLASS

                                         COUNT 43

                        MAINE UNFAIR TRADE PRACTICES ACT,

                              5 Me. Rev. Stat. §§ 205, 213, et seq.

       736.    The Maine Plaintiff(s) identified above (“Plaintiff,” for purposes of this Count),

individually and on behalf of the Maine Subclass, repeats and alleges Paragraphs 1-293, as if

fully alleged herein.

       737.    Marriott is a “person” as defined by 5 Me. Rev. Stat. § 206(2).

       738.    Marriott’s conduct as alleged herein related was in the course of “trade and

commerce” as defined by 5 Me. Rev. Stat. § 206(3).

       739.    Plaintiff and Maine Subclass members purchased goods and/or services for

personal, family, and/or household purposes.

       740.    Plaintiff sent a demand for relief on behalf of the Maine Subclass pursuant to 5

Me. Rev. Stat. § 213(1-A) on January 8, 2019.

       741.    Marriott engaged in unfair and deceptive trade acts and practices in the conduct of

trade or commerce, in violation of 5 Me. Rev. Stat. §207, including:

       a. Failing to implement and maintain reasonable security and privacy measures to

           protect Plaintiff and Maine Subclass members’ Personal Information, which was a

           direct and proximate cause of the Data Breach;

       b. Failing to identify foreseeable security and privacy risks, remediate identified security

           and privacy risks, and adequately improve security and privacy measures following

           previous cybersecurity incidents, which was a direct and proximate cause of the Data

           Breach;




                                                201
     Case 8:19-md-02879-PWG Document 352 Filed 07/24/19 Page 216 of 373



       c. Failing to comply with common law and statutory duties pertaining to the security

           and privacy of Plaintiff and Maine Subclass members’ Personal Information,

           including duties imposed by the FTC Act, 15 U.S.C. § 45, which was a direct and

           proximate cause of the Data Breach;

       d. Misrepresenting that it would protect the privacy and confidentiality of Plaintiff and

           Maine Subclass members’ Personal Information, including by implementing and

           maintaining reasonable security measures;

       e. Misrepresenting that it would comply with common law and statutory duties

           pertaining to the security and privacy of Plaintiff and Maine Subclass members’

           Personal Information, including duties imposed by the FTC Act, 15 U.S.C. § 45;

       f. Omitting, suppressing, and concealing the material fact that it did not reasonably or

           adequately secure Plaintiff and Maine Subclass members’ Personal Information; and

       g. Omitting, suppressing, and concealing the material fact that it did not comply with

           common law and statutory duties pertaining to the security and privacy of Plaintiff

           and Maine Subclass members’ Personal Information, including duties imposed by the

           FTC Act, 15 U.S.C. § 45.

       742.   Marriott’s representations and omissions were material because they were likely

to deceive reasonable consumers about the adequacy of Marriott’s data security and ability to

protect the confidentiality of consumers’ Personal Information.

       743.   Had Marriott disclosed to Plaintiffs and class members that its data systems were

not secure and, thus, vulnerable to attack, Marriott would have been unable to continue in

business and it would have been forced to adopt reasonable data security measures and comply

with the law. Instead, Marriott received, maintained, and compiled Plaintiffs’ and class




                                              202
     Case 8:19-md-02879-PWG Document 352 Filed 07/24/19 Page 217 of 373



members’ Personal Information as part of the services Marriott provided and for which Plaintiffs

and class members paid without advising Plaintiffs and class members that Marriott’s data

security practices were insufficient to maintain the safety and confidentiality of Plaintiffs’ and

class members’ Personal Information. Accordingly, Plaintiff and the Maine Subclass members

acted reasonably in relying on Marriott’s misrepresentations and omissions, the truth of which

they could not have discovered.

       744.    As a direct and proximate result of Marriott’s unfair and deceptive acts and

conduct, Plaintiff and Maine Subclass members have suffered and will continue to suffer injury,

ascertainable losses of money or property, and monetary and non-monetary damages, including

loss of the benefit of their bargain with Marriott as they would not have paid Marriott for goods

and services or would have paid less for such goods and services but for Marriott’s violations

alleged herein; losses from fraud and identity theft; costs for credit monitoring and identity

protection services; time and expenses related to monitoring their financial accounts for

fraudulent activity; time and money spent cancelling and replacing passports; loss of value of

their Personal Information; and an increased, imminent risk of fraud and identity theft.

       745.    Plaintiff and the Maine Subclass members seek all monetary and non-monetary

relief allowed by law, including damages or restitution, injunctive and other equitable relief, and

attorneys’ fees and costs.

                                           COUNT 44

               MAINE UNIFORM DECEPTIVE TRADE PRACTICES ACT,

                                  10 Me. Rev. Stat. §§ 1212, et seq.

       746.    The Maine Plaintiff(s) identified above (“Plaintiff,” for purposes of this Count),

individually and on behalf of the Maine Subclass, repeats and alleges Paragraphs 1-293, as if

fully alleged herein.


                                                 203
     Case 8:19-md-02879-PWG Document 352 Filed 07/24/19 Page 218 of 373



       747.    Marriott is a “person” as defined by 10 Me. Rev. Stat. § 1211(5).

       748.    Marriott advertised, offered, or sold goods or services in Maine and engaged in

trade or commerce directly or indirectly affecting the people of Maine.

       749.    Marriott engaged in deceptive trade practices in the conduct of its business, in

violation of 10 Me. Rev. Stat. §1212, including:

       a. Representing that goods or services have characteristics that they do not have;

       b. Representing that goods or services are of a particular standard, quality, or grade if

           they are of another;

       c. Advertising goods or services with intent not to sell them as advertised;

       d. Engaging in other conduct that creates a likelihood of confusion or misunderstanding.

       750.    Marriott’s deceptive trade practices include:

       a. Failing to implement and maintain reasonable security and privacy measures to

           protect Plaintiff and Maine Subclass members’ Personal Information, which was a

           direct and proximate cause of the Data Breach;

       b. Failing to identify foreseeable security and privacy risks, remediate identified security

           and privacy risks, and adequately improve security and privacy measures following

           previous cybersecurity incidents, which was a direct and proximate cause of the Data

           Breach;

       c. Failing to comply with common law and statutory duties pertaining to the security

           and privacy of Plaintiff and Maine Subclass members’ Personal Information,

           including duties imposed by the FTC Act, 15 U.S.C. § 45, which was a direct and

           proximate cause of the Data Breach;




                                               204
     Case 8:19-md-02879-PWG Document 352 Filed 07/24/19 Page 219 of 373



       d. Misrepresenting that it would protect the privacy and confidentiality of Plaintiff and

           Maine Subclass members’ Personal Information, including by implementing and

           maintaining reasonable security measures;

       e. Misrepresenting that it would comply with common law and statutory duties

           pertaining to the security and privacy of Plaintiff and Maine Subclass members’

           Personal Information, including duties imposed by the FTC Act, 15 U.S.C. § 45;

       f. Omitting, suppressing, and concealing the material fact that it did not reasonably or

           adequately secure Plaintiff and Maine Subclass members’ Personal Information; and

       g. Omitting, suppressing, and concealing the material fact that it did not comply with

           common law and statutory duties pertaining to the security and privacy of Plaintiff

           and Maine Subclass members’ Personal Information, including duties imposed by the

           FTC Act, 15 U.S.C. § 45.

       751.   Marriott’s representations and omissions were material because they were likely

to deceive reasonable consumers about the adequacy of Marriott’s data security and ability to

protect the confidentiality of consumers’ Personal Information.

       752.   Marriott intended to mislead Plaintiff and Maine Subclass members and induce

them to rely on its misrepresentations and omissions.

       753.   Had Marriott disclosed to Plaintiffs and class members that its data systems were

not secure and, thus, vulnerable to attack, Marriott would have been unable to continue in

business and it would have been forced to adopt reasonable data security measures and comply

with the law. Instead, Marriott received, maintained, and compiled Plaintiffs’ and class

members’ Personal Information as part of the services Marriott provided and for which Plaintiffs

and class members paid without advising Plaintiffs and class members that Marriott’s data




                                              205
     Case 8:19-md-02879-PWG Document 352 Filed 07/24/19 Page 220 of 373



security practices were insufficient to maintain the safety and confidentiality of Plaintiffs’ and

class members’ Personal Information. Accordingly, Plaintiff and the Maine Subclass members

acted reasonably in relying on Marriott’s misrepresentations and omissions, the truth of which

they could not have discovered.

       754.    As a direct and proximate result of Marriott’s deceptive trade practices, Plaintiff

and Maine Subclass members have suffered and will continue to suffer injury, ascertainable

losses of money or property, and monetary and non-monetary damages, including loss of the

benefit of their bargain with Marriott as they would not have paid Marriott for goods and

services or would have paid less for such goods and services but for Marriott’s violations alleged

herein; losses from fraud and identity theft; costs for credit monitoring and identity protection

services; time and expenses related to monitoring their financial accounts for fraudulent activity;

time and money spent cancelling and replacing passports; loss of value of their Personal

Information; and an increased, imminent risk of fraud and identity theft.

       755.    Maine Subclass members are likely to be damaged by Marriott’s ongoing

deceptive trade practices.

       756.    Plaintiff and the Maine Subclass members seek all relief allowed by law,

including injunctive relief and reasonable attorneys’ fees and costs.

              CLAIMS ON BEHALF OF THE MASSACHUSETTS SUBCLASS

                                           COUNT 45

                   MASSACHUSETTS CONSUMER PROTECTION ACT,

                             Mass. Gen. Laws Ann. Ch. 93A, §§ 1, et seq.

       757.    The Massachusetts Plaintiff(s) identified above (“Plaintiff,” for purposes of this

Count), individually and on behalf of the Massachusetts Subclass, repeats and alleges Paragraphs

1-293, as if fully alleged herein.


                                                206
     Case 8:19-md-02879-PWG Document 352 Filed 07/24/19 Page 221 of 373



       758.    Marriott and Massachusetts Subclass members are “persons” as meant by Mass.

Gen. Laws. Ann. ch. 93A, § 1(a).

       759.    Marriott operates in “trade or commerce” as meant by Mass. Gen. Laws Ann. ch.

93A, § 1(b).

       760.    Marriott advertised, offered, or sold goods or services in Massachusetts and

engaged in trade or commerce directly or indirectly affecting the people of Massachusetts, as

defined by Mass. Gen. Laws Ann. ch. 93A, § 1(b).

       761.    Plaintiff sent a demand for relief on behalf of the Massachusetts Subclass

pursuant to Mass. Gen. Laws Ann. Ch. 93A § 9(3) on January 8, 2019.

       762.    Marriott engaged in unfair methods of competition and unfair and deceptive acts

and practices in the conduct of trade or commerce, in violation of Mass. Gen. Laws Ann. ch.

93A, § 2(a), including:

       a. Failing to implement and maintain reasonable security and privacy measures to

           protect Plaintiff and Massachusetts Subclass members’ Personal Information, which

           was a direct and proximate cause of the Data Breach;

       b. Failing to identify foreseeable security and privacy risks, remediate identified security

           and privacy risks, and adequately improve security and privacy measures following

           previous cybersecurity incidents, which was a direct and proximate cause of the Data

           Breach;

       c. Failing to comply with common law and statutory duties pertaining to the security

           and privacy of Plaintiff and Massachusetts Subclass members’ Personal Information,

           including duties imposed by the FTC Act, 15 U.S.C. § 45, and the Massachusetts

           Data Security statute and its implementing regulations, Mass. Gen. Laws Ann. Ch.




                                               207
     Case 8:19-md-02879-PWG Document 352 Filed 07/24/19 Page 222 of 373



           93H, § 2; 201 Mass. Code Regs. 17.01-05, which was a direct and proximate cause of

           the Data Breach;

       d. Misrepresenting that it would protect the privacy and confidentiality of Plaintiff and

           Massachusetts Subclass members’ Personal Information, including by implementing

           and maintaining reasonable security measures;

       e. Misrepresenting that it would comply with common law and statutory duties

           pertaining to the security and privacy of Plaintiff and Massachusetts Subclass

           members’ Personal Information, including duties imposed by the FTC Act, 15 U.S.C.

           § 45, and the Massachusetts Data Security statute and its implementing regulations,

           Mass. Gen. Laws Ann. Ch. 93H, § 2; 201 Mass. Code Regs. 17.01-05;

       f. Omitting, suppressing, and concealing the material fact that it did not reasonably or

           adequately secure Plaintiff and Massachusetts Subclass members’ Personal

           Information; and

       g. Omitting, suppressing, and concealing the material fact that it did not comply with

           common law and statutory duties pertaining to the security and privacy of Plaintiff

           and Massachusetts Subclass members’ Personal Information, including duties

           imposed by the FTC Act, 15 U.S.C. § 45, and the Massachusetts Data Security statute

           and its implementing regulations, Mass. Gen. Laws Ann. Ch. 93H, § 2; 201 Mass.

           Code Regs. 17.01-05.

       763.   Marriott’s acts and practices were “unfair” because they fall within the penumbra

of common law, statutory, and established concepts of unfairness, given that Marriott solely held

the true facts about its inadequate security for Personal Information, which Plaintiff and the

Massachusetts Subclass members could not independently discovered.




                                              208
     Case 8:19-md-02879-PWG Document 352 Filed 07/24/19 Page 223 of 373



       764.    Consumers could not have reasonably avoided injury because Marriott’s business

acts and practices unreasonably created or took advantage of an obstacle to the free exercise of

consumer decision-making. By withholding important information from consumers about the

inadequacy of its data security, Marriott created an asymmetry of information between it and

consumers that precluded consumers from taking action to avoid or mitigate injury.

       765.    Marriott’s inadequate data security had no countervailing benefit to consumers or

to competition.

       766.    Marriott intended to mislead Plaintiff and Massachusetts Subclass members and

induce them to rely on its misrepresentations and omissions. Marriott’s representations and

omissions were material because they were likely to deceive reasonable consumers about the

adequacy of Marriott’s data security and ability to protect the confidentiality of consumers’

Personal Information.

       767.    Marriott    acted   intentionally,   knowingly,     and   maliciously    to    violate

Massachusetts’s Consumer Protection Act, and recklessly disregarded Plaintiff and

Massachusetts Subclass members’ rights. Marriott’s past data breaches and breaches within the

hospitality industry put it on notice that its security and privacy protections were inadequate.

       768.    As a direct and proximate result of Marriott’s unfair and deceptive acts and

practices, Plaintiff and Massachusetts Subclass members have suffered and will continue to

suffer injury, ascertainable losses of money or property, and monetary and non-monetary

damages, including loss of the benefit of their bargain with Marriott as they would not have paid

Marriott for goods and services or would have paid less for such goods and services but for

Marriott’s violations alleged herein; losses from fraud and identity theft; costs for credit

monitoring and identity protection services; time and expenses related to monitoring their




                                                209
     Case 8:19-md-02879-PWG Document 352 Filed 07/24/19 Page 224 of 373



financial accounts for fraudulent activity; time and money spent cancelling and replacing

passports; loss of value of their Personal Information; and an increased, imminent risk of fraud

and identity theft.

        769.    Plaintiff and Massachusetts Subclass members seek all monetary and non-

monetary relief allowed by law, including actual damages, double or treble damages, restitution;

injunctive or other equitable relief, and attorneys’ fees and costs.

                  CLAIMS ON BEHALF OF THE MICHIGAN SUBCLASS

                                           COUNT 46

                      MICHIGAN IDENTITY THEFT PROTECTION ACT,

                             Mich. Comp. Laws Ann. §§ 445.72, et seq.

        770.    The Michigan Plaintiff(s) identified above (“Plaintiff,” for purposes of this

Count), individually and on behalf of the Michigan Subclass, repeats and alleges Paragraphs 1-

293, as if fully alleged herein.

        771.    Marriott is a business that owns or licenses computerized data that includes

Personal Information as defined by Mich. Comp. Laws Ann. § 445.72(1).

        772.    Plaintiff’s and Michigan Subclass members’ Personal Information includes

Personal Information as covered under Mich. Comp. Laws Ann. § 445.72(1).

        773.    Marriott is required to accurately notify Plaintiff and Michigan Subclass members

if it discovers a security breach, or receives notice of a security breach (where unencrypted and

unredacted Personal Information was accessed or acquired by unauthorized persons), without

unreasonable delay under Mich. Comp. Laws Ann. § 445.72(1).

        774.    Because Marriott discovered a security breach and had notice of a security breach

(where unencrypted and unredacted Personal Information was accessed or acquired by




                                                 210
     Case 8:19-md-02879-PWG Document 352 Filed 07/24/19 Page 225 of 373



unauthorized persons), Marriott had an obligation to disclose the Data Breach in a timely and

accurate fashion as mandated by Mich. Comp. Laws Ann. § 445.72(4).

         775.   By failing to disclose the Data Breach in a timely and accurate manner, Marriott

violated Mich. Comp. Laws Ann. § 445.72(4).

         776.   As a direct and proximate result of Marriott’s violations of Mich. Comp. Laws

Ann. § 445.72(4), Plaintiff and Michigan Subclass members suffered damages, as described

above.

         777.   Plaintiff and Michigan Subclass members seek relief under Mich. Comp. Laws

Ann. § 445.72(13), including a civil fine.

                                             COUNT 47

                       MICHIGAN CONSUMER PROTECTION ACT,

                            Mich. Comp. Laws Ann. §§ 445.903, et seq.

         778.   The Michigan Plaintiff(s) identified above (“Plaintiff,” for purposes of this

Count), individually and on behalf of the Michigan Subclass, repeats and alleges Paragraphs 1-

293, as if fully alleged herein.

         779.   Marriott and Michigan Subclass members are “persons” as defined by Mich.

Comp. Laws Ann. § 445.903(d).

         780.   Marriott advertised, offered, or sold goods or services in Michigan and engaged in

trade or commerce directly or indirectly affecting the people of Michigan, as defined by Mich.

Comp. Laws Ann. § 445.903(g).

         781.   Marriott engaged in unfair, unconscionable, and deceptive practices in the

conduct of trade and commerce, in violation of Mich. Comp. Laws Ann. § 445.903(1), including:

         a. Representing that its goods and services have characteristics, uses, and benefits that

            they do not have, in violation of Mich. Comp. Laws Ann. § 445.903(1)(c);


                                                211
Case 8:19-md-02879-PWG Document 352 Filed 07/24/19 Page 226 of 373



 b. Representing that its goods and services are of a particular standard or quality if they

    are of another in violation of Mich. Comp. Laws Ann. § 445.903(1)(e);

 c. Making a representation or statement of fact material to the transaction such that a

    person reasonably believes the represented or suggested state of affairs to be other

    than it actually is, in violation of Mich. Comp. Laws Ann. § 445.903(1)(bb); and

 d. Failing to reveal facts that are material to the transaction in light of representations of

    fact made in a positive matter, in violation of Mich. Comp. Laws Ann. §

    445.903(1)(cc).

 782.   Marriott’s unfair, unconscionable, and deceptive practices include:

 a. Failing to implement and maintain reasonable security and privacy measures to

    protect Plaintiff and Michigan Subclass members’ Personal Information, which was a

    direct and proximate cause of the Data Breach;

 b. Failing to identify foreseeable security and privacy risks, remediate identified security

    and privacy risks, and adequately improve security and privacy measures following

    previous cybersecurity incidents, which was a direct and proximate cause of the Data

    Breach;

 c. Failing to comply with common law and statutory duties pertaining to the security

    and privacy of Plaintiff and Michigan Subclass members’ Personal Information,

    including duties imposed by the FTC Act, 15 U.S.C. § 45, which was a direct and

    proximate cause of the Data Breach;

 d. Misrepresenting that it would protect the privacy and confidentiality of Plaintiff and

    Michigan Subclass members’ Personal Information, including by implementing and

    maintaining reasonable security measures;




                                          212
     Case 8:19-md-02879-PWG Document 352 Filed 07/24/19 Page 227 of 373



       e. Misrepresenting that it would comply with common law and statutory duties

           pertaining to the security and privacy of Plaintiff and Michigan Subclass members’

           Personal Information, including duties imposed by the FTC Act, 15 U.S.C. § 45;

       f. Omitting, suppressing, and concealing the material fact that it did not reasonably or

           adequately secure Plaintiff and Michigan Subclass members’ Personal Information;

           and

       g. Omitting, suppressing, and concealing the material fact that it did not comply with

           common law and statutory duties pertaining to the security and privacy of Plaintiff

           and Michigan Subclass members’ Personal Information, including duties imposed by

           the FTC Act, 15 U.S.C. § 45.

       783.      Marriott’s representations and omissions were material because they were likely

to deceive reasonable consumers about the adequacy of Marriott’s data security and ability to

protect the confidentiality of consumers’ Personal Information.

       784.      Marriott intended to mislead Plaintiff and Michigan Subclass members and induce

them to rely on its misrepresentations and omissions.

       785.      Marriott acted intentionally, knowingly, and maliciously to violate Michigan’s

Consumer Protection Act, and recklessly disregarded Plaintiff and Michigan Subclass members’

rights. Marriott’s past data breaches and breaches within the hospitality industry put it on notice

that its security and privacy protections were inadequate.

       786.      As a direct and proximate result of Marriott’s unfair, unconscionable, and

deceptive practices, Plaintiff and Michigan Subclass members have suffered and will continue to

suffer injury, ascertainable losses of money or property, and monetary and non-monetary

damages, including loss of the benefit of their bargain with Marriott as they would not have paid




                                               213
     Case 8:19-md-02879-PWG Document 352 Filed 07/24/19 Page 228 of 373



Marriott for goods and services or would have paid less for such goods and services but for

Marriott’s violations alleged herein; losses from fraud and identity theft; costs for credit

monitoring and identity protection services; time and expenses related to monitoring their

financial accounts for fraudulent activity; time and money spent cancelling and replacing

passports; loss of value of their Personal Information; and an increased, imminent risk of fraud

and identity theft.

        787.    Plaintiff and Michigan Subclass members seek all monetary and non-monetary

relief allowed by law, including the greater of actual damages or $250, restitution, injunctive

relief, and any other relief that is just and proper.

                 CLAIMS ON BEHALF OF THE MINNESOTA SUBCLASS

                                            COUNT 48

                           MINNESOTA CONSUMER FRAUD ACT,

                  Minn. Stat. §§ 325F.68, et seq. and Minn. Stat. §§ 8.31, et seq.

        788.    The Minnesota Plaintiff(s) identified above (“Plaintiff,” for purposes of this

Count), individually and on behalf of the Minnesota Subclass, repeats and alleges Paragraphs 1-

293, as if fully alleged herein.

        789.    Marriott, Plaintiff, and members of the Minnesota Subclass are each a “person” as

defined by Minn. Stat. § 325F.68(3).

        790.    Marriott’s goods, services, commodities, and intangibles are “merchandise” as

defined by Minn. Stat. § 325F.68(2).

        791.    Marriott engaged in “sales” as defined by Minn. Stat. § 325F.68(4).

        792.    Marriott engaged in fraud, false pretense, false promise, misrepresentation,

misleading statements, and deceptive practices in connection with the sale of merchandise, in

violation of Minn. Stat. § 325F.69(1), including:


                                                  214
Case 8:19-md-02879-PWG Document 352 Filed 07/24/19 Page 229 of 373



 a. Failing to implement and maintain reasonable security and privacy measures to

    protect Plaintiff and Minnesota Subclass members’ Personal Information, which was

    a direct and proximate cause of the Data Breach;

 b. Failing to identify foreseeable security and privacy risks, remediate identified security

    and privacy risks, and adequately improve security and privacy measures following

    previous cybersecurity incidents, which was a direct and proximate cause of the Data

    Breach;

 c. Failing to comply with common law and statutory duties pertaining to the security

    and privacy of Plaintiff and Minnesota Subclass members’ Personal Information,

    including duties imposed by the FTC Act, 15 U.S.C. § 45, which was a direct and

    proximate cause of the Data Breach;

 d. Misrepresenting that it would protect the privacy and confidentiality of Plaintiff and

    Minnesota Subclass members’ Personal Information, including by implementing and

    maintaining reasonable security measures;

 e. Misrepresenting that it would comply with common law and statutory duties

    pertaining to the security and privacy of Plaintiff and Minnesota Subclass members’

    Personal Information, including duties imposed by the FTC Act, 15 U.S.C. § 45;

 f. Omitting, suppressing, and concealing the material fact that it did not reasonably or

    adequately secure Plaintiff and Minnesota Subclass members’ Personal Information;

    and

 g. Omitting, suppressing, and concealing the material fact that it did not comply with

    common law and statutory duties pertaining to the security and privacy of Plaintiff




                                         215
     Case 8:19-md-02879-PWG Document 352 Filed 07/24/19 Page 230 of 373



            and Minnesota Subclass members’ Personal Information, including duties imposed by

            the FTC Act, 15 U.S.C. § 45.

        793.    Marriott’s representations and omissions were material because they were likely

to deceive reasonable consumers about the adequacy of Marriott’s data security and ability to

protect the confidentiality of consumers’ Personal Information.

        794.    Marriott intended to mislead Plaintiff and Minnesota Subclass members and

induce them to rely on its misrepresentations and omissions.

        795.    Marriott’s fraudulent, misleading, and deceptive practices affected the public

interest, including the Minnesotans affected by the Data Breach.

        796.    As a direct and proximate result of Marriott’s fraudulent, misleading, and

deceptive practices, Plaintiff and Minnesota Subclass members have suffered and will continue

to suffer injury, ascertainable losses of money or property, and monetary and non-monetary

damages, including loss of the benefit of their bargain with Marriott as they would not have paid

Marriott for goods and services or would have paid less for such goods and services but for

Marriott’s violations alleged herein; losses from fraud and identity theft; costs for credit

monitoring and identity protection services; time and expenses related to monitoring their

financial accounts for fraudulent activity; time and money spent cancelling and replacing

passports; loss of value of their Personal Information; and an increased, imminent risk of fraud

and identity theft.

        797.    Plaintiff and Minnesota Subclass members seek all monetary and non-monetary

relief allowed by law, including damages; injunctive or other equitable relief; and attorneys’

fees, disbursements, and costs.




                                              216
     Case 8:19-md-02879-PWG Document 352 Filed 07/24/19 Page 231 of 373



                                           COUNT 49

            MINNESOTA UNIFORM DECEPTIVE TRADE PRACTICES ACT,

                                   Minn. Stat. §§ 325D.43, et seq.

        798.    The Minnesota Plaintiff(s) identified above (“Plaintiff,” for purposes of this

Count), individually and on behalf of the Minnesota Subclass, repeats and alleges Paragraphs 1-

293, as if fully alleged herein.

        799.    By engaging in deceptive trade practices in the course of its business and

vocation, directly or indirectly affecting the people of Minnesota, Marriott violated Minn. Stat. §

325D.44, including the following provisions:

        a. Representing that its goods and services had characteristics, uses, and benefits that

            they did not have, in violation of Minn. Stat. § 325D.44(1)(5);

        b. Representing that goods and services are of a particular standard or quality when they

            are of another, in violation of Minn. Stat. § 325D.44(1)(7);

        c. Advertising goods and services with intent not to sell them as advertised, in violation

            of Minn. Stat. § 325D.44(1)(9); and

        d. Engaging in other conduct which similarly creates a likelihood of confusion or

            misunderstanding, in violation of Minn. Stat. § 325D.44(1)(13).

        800.    Marriott’s deceptive practices include:

        a. Failing to implement and maintain reasonable security and privacy measures to

            protect Plaintiff and Minnesota Subclass members’ Personal Information, which was

            a direct and proximate cause of the Data Breach;

        b. Failing to identify foreseeable security and privacy risks, remediate identified security

            and privacy risks, and adequately improve security and privacy measures following




                                                217
     Case 8:19-md-02879-PWG Document 352 Filed 07/24/19 Page 232 of 373



           previous cybersecurity incidents, which was a direct and proximate cause of the Data

           Breach;

       c. Failing to comply with common law and statutory duties pertaining to the security

           and privacy of Plaintiff and Minnesota Subclass members’ Personal Information,

           including duties imposed by the FTC Act, 15 U.S.C. § 45, which was a direct and

           proximate cause of the Data Breach;

       d. Misrepresenting that it would protect the privacy and confidentiality of Plaintiff and

           Minnesota Subclass members’ Personal Information, including by implementing and

           maintaining reasonable security measures;

       e. Misrepresenting that it would comply with common law and statutory duties

           pertaining to the security and privacy of Plaintiff and Minnesota Subclass members’

           Personal Information, including duties imposed by the FTC Act, 15 U.S.C. § 45;

       f. Omitting, suppressing, and concealing the material fact that it did not reasonably or

           adequately secure Plaintiff and Minnesota Subclass members’ Personal Information;

           and

       g. Omitting, suppressing, and concealing the material fact that it did not comply with

           common law and statutory duties pertaining to the security and privacy of Plaintiff

           and Minnesota Subclass members’ Personal Information, including duties imposed by

           the FTC Act, 15 U.S.C. § 45.

       801.      Marriott’s representations and omissions were material because they were likely

to deceive reasonable consumers about the adequacy of Marriott’s data security and ability to

protect the confidentiality of consumers’ Personal Information.




                                               218
     Case 8:19-md-02879-PWG Document 352 Filed 07/24/19 Page 233 of 373



       802.    Marriott intended to mislead Plaintiff and Minnesota Subclass members and

induce them to rely on its misrepresentations and omissions.

       803.    Had Marriott disclosed to Plaintiffs and class members that its data systems were

not secure and, thus, vulnerable to attack, Marriott would have been unable to continue in

business and it would have been forced to adopt reasonable data security measures and comply

with the law. Instead, Marriott received, maintained, and compiled Plaintiffs’ and class

members’ Personal Information as part of the services Marriott provided and for which Plaintiffs

and class members paid without advising Plaintiffs and class members that Marriott’s data

security practices were insufficient to maintain the safety and confidentiality of Plaintiffs’ and

class members’ Personal Information. Accordingly, Plaintiff and the Minnesota Subclass

members acted reasonably in relying on Marriott’s misrepresentations and omissions, the truth of

which they could not have discovered.

       804.    Marriott acted intentionally, knowingly, and maliciously to violate Minnesota’s

Uniform Deceptive Trade Practices Act, and recklessly disregarded Plaintiff and Minnesota

Subclass members’ rights. Marriott’s past data breaches and breaches within the hospitality

industry put it on notice that its security and privacy protections were inadequate.

       805.    As a direct and proximate result of Marriott’s deceptive trade practices, Plaintiff

and Minnesota Subclass members have suffered and will continue to suffer injury, ascertainable

losses of money or property, and monetary and non-monetary damages, including loss of the

benefit of their bargain with Marriott as they would not have paid Marriott for goods and

services or would have paid less for such goods and services but for Marriott’s violations alleged

herein; losses from fraud and identity theft; costs for credit monitoring and identity protection

services; time and expenses related to monitoring their financial accounts for fraudulent activity;




                                                219
     Case 8:19-md-02879-PWG Document 352 Filed 07/24/19 Page 234 of 373



time and money spent cancelling and replacing passports; loss of value of their Personal

Information; and an increased, imminent risk of fraud and identity theft.

        806.    Plaintiff and Minnesota Subclass members seek, including injunctive relief and

reasonable attorneys’ fees and costs.

                 CLAIMS ON BEHALF OF THE MISSISSIPPI SUBCLASS

                                          COUNT 50

                       MISSISSIPPI CONSUMER PROTECTION ACT,

                                   Miss. Code §§ 75-24-1, et seq.

        807.    The Mississippi Plaintiff(s) identified above (“Plaintiff,” for purposes of this

Count), individually and on behalf of the Mississippi Subclass, repeats and alleges Paragraphs 1-

293, as if fully alleged herein.

        808.    Marriott is a “person,” as defined by Miss. Code § 75-24-3.

        809.    Marriott advertised, offered, or sold goods or services in Mississippi and engaged

in trade or commerce directly or indirectly affecting the people of Mississippi, as defined by

Miss. Code § 75-24-3.

        810.    Plaintiff has complied with all pre-conditions for bringing a private action under

Miss. Code § 75-24-15.

        811.    Marriott engaged in unfair and deceptive trade acts or practices, including:

        a. Failing to implement and maintain reasonable security and privacy measures to

            protect Plaintiff and Mississippi Subclass members’ Personal Information, which was

            a direct and proximate cause of the Data Breach;

        b. Failing to identify foreseeable security and privacy risks, remediate identified security

            and privacy risks, and adequately improve security and privacy measures following




                                                220
Case 8:19-md-02879-PWG Document 352 Filed 07/24/19 Page 235 of 373



    previous cybersecurity incidents, which was a direct and proximate cause of the Data

    Breach;

 c. Failing to comply with common law and statutory duties pertaining to the security

    and privacy of Plaintiff and Mississippi Subclass members’ Personal Information,

    including duties imposed by the FTC Act, 15 U.S.C. § 45, which was a direct and

    proximate cause of the Data Breach;

 d. Misrepresenting that it would protect the privacy and confidentiality of Plaintiff and

    Mississippi Subclass members’ Personal Information, including by implementing and

    maintaining reasonable security measures;

 e. Misrepresenting that it would comply with common law and statutory duties

    pertaining to the security and privacy of Plaintiff and Mississippi Subclass members’

    Personal Information, including duties imposed by the FTC Act, 15 U.S.C. § 45;

 f. Omitting, suppressing, and concealing the material fact that it did not reasonably or

    adequately secure Plaintiff and Mississippi Subclass members’ Personal Information;

    and

 g. Omitting, suppressing, and concealing the material fact that it did not comply with

    common law and statutory duties pertaining to the security and privacy of Plaintiff

    and Mississippi Subclass members’ Personal Information, including duties imposed

    by the FTC Act, 15 U.S.C. § 45.

 812.     The above-described conduct violated Miss. Code Ann. § 75-24-5(2), including:

 a. Representing that goods or services have sponsorship, approval, characteristics,

    ingredients, uses, benefits, or quantities that they do not have;




                                         221
     Case 8:19-md-02879-PWG Document 352 Filed 07/24/19 Page 236 of 373



       b. Representing that goods or services are of a particular standard, quality, or grade, or

           that goods are of a particular style or model, if they are of another;

       c. Advertising goods or services with intent not to sell them as advertised.

       813.    Marriott intended to mislead Plaintiff and Mississippi Subclass members and

induce them to rely on its misrepresentations and omissions.

       814.    Marriott’s representations and omissions were material because they were likely

to deceive reasonable consumers about the adequacy of Marriott’s data security and ability to

protect the confidentiality of consumers’ Personal Information.

       815.    Had Marriott disclosed to Plaintiffs and class members that its data systems were

not secure and, thus, vulnerable to attack, Marriott would have been unable to continue in

business and it would have been forced to adopt reasonable data security measures and comply

with the law. Instead, Marriott received, maintained, and compiled Plaintiffs’ and class

members’ Personal Information as part of the services Marriott provided and for which Plaintiffs

and class members paid without advising Plaintiffs and class members that Marriott’s data

security practices were insufficient to maintain the safety and confidentiality of Plaintiffs’ and

class members’ Personal Information. Accordingly, Plaintiff and the Mississippi Subclass

members acted reasonably in relying on Marriott’s misrepresentations and omissions, the truth of

which they could not have discovered.

       816.    Marriott had a duty to disclose the above-described facts due to the circumstances

of this case and the sensitivity and extensivity of the Personal Information in its possession. In

addition, such a duty is implied by law due to the nature of the relationship between

consumers—including Plaintiff and the Mississippi Subclass—and Marriott, because consumers




                                                222
     Case 8:19-md-02879-PWG Document 352 Filed 07/24/19 Page 237 of 373



are unable to fully protect their interests with regard to their data, and placed trust and

confidence in Marriott. Marriott’s duty to disclose also arose from its:

       a. Possession of exclusive knowledge regarding the security of the data in its systems;

       b. Active concealment of the state of its security; and/or

       c. Incomplete representations about the security and integrity of its computer and data

           systems, and its prior data breaches, while purposefully withholding material facts

           from Plaintiff and the Mississippi Subclass that contradicted these representations.

       817.    Marriott acted intentionally, knowingly, and maliciously to violate Mississippi’s

Consumer Protection Act, and recklessly disregarded Plaintiff and Mississippi Subclass

members’ rights. Marriott’s past data breaches and breaches within the hospitality industry put it

on notice that its security and privacy protections were inadequate.

       818.    As a direct and proximate result of Marriott’s unfair and deceptive acts or

practices and Plaintiff and Mississippi Subclass members’ purchase of goods or services

primarily for personal, family, or household purposes, Plaintiff and Mississippi Subclass

members have suffered and will continue to suffer injury, ascertainable losses of money or

property, and monetary and non-monetary damages, including loss of the benefit of their bargain

with Marriott as they would not have paid Marriott for goods and services or would have paid

less for such goods and services but for Marriott’s violations alleged herein; losses from fraud

and identity theft; costs for credit monitoring and identity protection services; time and expenses

related to monitoring their financial accounts for fraudulent activity; time and money spent

cancelling and replacing passports; loss of value of their Personal Information; and an increased,

imminent risk of fraud and identity theft.




                                                223
     Case 8:19-md-02879-PWG Document 352 Filed 07/24/19 Page 238 of 373



       819.    Marriott’s violations present a continuing risk to Plaintiff and Mississippi

Subclass members as well as to the general public.

       820.    Plaintiff and Mississippi Subclass members seek all monetary and non-monetary

relief allowed by law, including actual damages, restitution and other relief under Miss. Code §

75-24-11, injunctive relief, punitive damages, and reasonable attorneys’ fees and costs.

                  CLAIMS ON BEHALF OF THE MISSOURI SUBCLASS

                                            COUNT 51

                        MISSOURI MERCHANDISING PRACTICES ACT,

                                   Mo. Rev. Stat. §§ 407.010, et seq.

       821.    The Missouri Plaintiff(s) identified above (“Plaintiff,” for purposes of this Count),

individually and on behalf of the Missouri Subclass, repeats and alleges Paragraphs 1-293, as if

fully alleged herein.

       822.    Marriott is a “person” as defined by Mo. Rev. Stat. § 407.010(5).

       823.    Marriott advertised, offered, or sold goods or services in Missouri and engaged in

trade or commerce directly or indirectly affecting the people of Missouri, as defined by Mo. Rev.

Stat. § 407.010(4), (6) and (7).

       824.    Plaintiff and Missouri Subclass members purchased or leased goods or services

primarily for personal, family, or household purposes.

       825.    Marriott engaged in unlawful, unfair, and deceptive acts and practices, in

connection with the sale or advertisement of merchandise in trade or commerce, in violation of

Mo. Rev. Stat. § 407.020(1), including:

       a. Failing to implement and maintain reasonable security and privacy measures to

           protect Plaintiff and Missouri Subclass members’ Personal Information, which was a

           direct and proximate cause of the Data Breach;


                                                  224
Case 8:19-md-02879-PWG Document 352 Filed 07/24/19 Page 239 of 373



 b. Failing to identify foreseeable security and privacy risks, remediate identified security

    and privacy risks, and adequately improve security and privacy measures following

    previous cybersecurity incidents, which was a direct and proximate cause of the Data

    Breach;

 c. Failing to comply with common law and statutory duties pertaining to the security

    and privacy of Plaintiff and Missouri Subclass members’ Personal Information,

    including duties imposed by the FTC Act, 15 U.S.C. § 45, which was a direct and

    proximate cause of the Data Breach;

 d. Misrepresenting that it would protect the privacy and confidentiality of Plaintiff and

    Missouri Subclass members’ Personal Information, including by implementing and

    maintaining reasonable security measures;

 e. Misrepresenting that it would comply with common law and statutory duties

    pertaining to the security and privacy of Plaintiff and Missouri Subclass members’

    Personal Information, including duties imposed by the FTC Act, 15 U.S.C. § 45;

 f. Omitting, suppressing, and concealing the material fact that it did not reasonably or

    adequately secure Plaintiff and Missouri Subclass members’ Personal Information;

    and

 g. Omitting, suppressing, and concealing the material fact that it did not comply with

    common law and statutory duties pertaining to the security and privacy of Plaintiff

    and Missouri Subclass members’ Personal Information, including duties imposed by

    the FTC Act, 15 U.S.C. § 45.




                                         225
     Case 8:19-md-02879-PWG Document 352 Filed 07/24/19 Page 240 of 373



       826.    Marriott’s representations and omissions were material because they were likely

to deceive reasonable consumers about the adequacy of Marriott’s data security and ability to

protect the confidentiality of consumers’ Personal Information.

       827.    Marriott intended to mislead Plaintiff and Missouri Subclass members and induce

them to rely on its misrepresentations and omissions.

       828.    Marriott acted intentionally, knowingly, and maliciously to violate Missouri’s

Merchandising Practices Act, and recklessly disregarded Plaintiff and Missouri Subclass

members’ rights. Marriott’s past data breaches and breaches within the hospitality industry put it

on notice that its security and privacy protections were inadequate.

       829.    As a direct and proximate result of Marriott’s unlawful, unfair, and deceptive acts

and practices, Plaintiff and Missouri Subclass members have suffered and will continue to suffer

injury, ascertainable losses of money or property, and monetary and non-monetary damages,

including loss of the benefit of their bargain with Marriott as they would not have paid Marriott

for goods and services or would have paid less for such goods and services but for Marriott’s

violations alleged herein; losses from fraud and identity theft; costs for credit monitoring and

identity protection services; time and expenses related to monitoring their financial accounts for

fraudulent activity; time and money spent cancelling and replacing passports; loss of value of

their Personal Information; and an increased, imminent risk of fraud and identity theft.

       830.    Plaintiff and Missouri Subclass members seek all monetary and non-monetary

relief allowed by law, including actual damages, restitution, punitive damages, attorneys’ fees

and costs, injunctive relief, and any other appropriate relief.




                                                 226
     Case 8:19-md-02879-PWG Document 352 Filed 07/24/19 Page 241 of 373



                  CLAIMS ON BEHALF OF THE MONTANA SUBCLASS

                                         COUNT 52

                         COMPUTER SECURITY BREACH LAW,

                           Mont. Code Ann. §§ 30-14-1704(1), et seq.

       831.    The Montana Plaintiff(s) identified above (“Plaintiff,” for purposes of this Count),

individually and on behalf of the Montana Subclass, repeats and alleges Paragraphs 1-293, as if

fully alleged herein.

       832.    Marriott is a business that owns or licenses computerized data that includes

Personal Information as defined by Mont. Code Ann. § 30-14-1704(4)(b). Marriott also

maintains computerized data that includes Personal Information which Marriott does not own.

Accordingly, it is subject to Mont. Code Ann. § 30-14-1704(1) and (2).

       833.    Plaintiff’s and Montana Subclass members’ Personal Information includes

Personal Information covered by Mont. Code Ann. § 30-14-1704(4)(b).

       834.    Marriott is required to give immediate notice of a breach of security of a data

system to owners of Personal Information which Marriott does not own, including Plaintiff and

Montana Subclass members, pursuant to Mont. Code Ann. § 30-14-1704(2).

       835.    Marriott is required to accurately notify Plaintiff and Montana Subclass members

if it discovers a security breach, or receives notice of a security breach which may have

compromised Personal Information which Marriott owns or licenses, without unreasonable delay

under Mont. Code Ann. § 30-14-1704(1).

       836.    Because Marriott was aware of a security breach, Marriott had an obligation to

disclose the data breach as mandated by Mont. Code Ann. § 30-14-1704(1) and (2).




                                               227
     Case 8:19-md-02879-PWG Document 352 Filed 07/24/19 Page 242 of 373



         837.   Pursuant to Mont. Code Ann. § 30-14-1705, violations of Mont. Code Ann. § 30-

14-1704 are unlawful practices under Mont. Code Ann. § 30-14-103, Montana’s Consumer

Protection Act.

         838.   As a direct and proximate result of Marriott’s violations of Mont. Code Ann. §

30-14-1704(1) and (2), Plaintiff and Montana Subclass members suffered damages, as described

above.

         839.   Plaintiff and Montana Subclass members seek relief under Mont. Code Ann. § 30-

14-133, including actual damages and injunctive relief.

                                          COUNT 53

  MONTANA UNFAIR TRADE PRACTICES AND CONSUMER PROTECTION ACT,

                                   M.C.A. §§ 30-14-101, et seq.

         840.   The Montana Plaintiff(s) identified above (“Plaintiff,” for purposes of this Count),

individually and on behalf of the Montana Subclass, repeats and alleges Paragraphs 1-293, as if

fully alleged herein.

         841.   Marriott is a “person” as defined by MCA § 30-14-102(6).

         842.   Plaintiff and Montana Subclass members are “consumers” as defined by MCA§

30-14-102(1).

         843.   Marriott advertised, offered, or sold goods or services in Montana and engaged in

trade or commerce directly or indirectly affecting the people of Montana, as defined by MCA §

30-14-102(8).

         844.   Marriott engaged in unfair and deceptive acts and practices in the conduct of trade

or commerce, in violation MCA § 30-14-103, including:




                                                228
Case 8:19-md-02879-PWG Document 352 Filed 07/24/19 Page 243 of 373



 a. Failing to implement and maintain reasonable security and privacy measures to

    protect Plaintiff and Montana Subclass members’ Personal Information, which was a

    direct and proximate cause of the Data Breach;

 b. Failing to identify foreseeable security and privacy risks, remediate identified security

    and privacy risks, and adequately improve security and privacy measures following

    previous cybersecurity incidents, which was a direct and proximate cause of the Data

    Breach;

 c. Failing to comply with common law and statutory duties pertaining to the security

    and privacy of Plaintiff and Montana Subclass members’ Personal Information,

    including duties imposed by the FTC Act, 15 U.S.C. § 45, which was a direct and

    proximate cause of the Data Breach;

 d. Misrepresenting that it would protect the privacy and confidentiality of Plaintiff and

    Montana Subclass members’ Personal Information, including by implementing and

    maintaining reasonable security measures;

 e. Misrepresenting that it would comply with common law and statutory duties

    pertaining to the security and privacy of Plaintiff and Montana Subclass members’

    Personal Information, including duties imposed by the FTC Act, 15 U.S.C. § 45;

 f. Omitting, suppressing, and concealing the material fact that it did not reasonably or

    adequately secure Plaintiff and Montana Subclass members’ Personal Information;

    and

 g. Omitting, suppressing, and concealing the material fact that it did not comply with

    common law and statutory duties pertaining to the security and privacy of Plaintiff




                                         229
     Case 8:19-md-02879-PWG Document 352 Filed 07/24/19 Page 244 of 373



           and Montana Subclass members’ Personal Information, including duties imposed by

           the FTC Act, 15 U.S.C. § 45.

       845.    Marriott’s representations and omissions were material because they were likely

to deceive reasonable consumers about the adequacy of Marriott’s data security and ability to

protect the confidentiality of consumers’ Personal Information.

       846.    Had Marriott disclosed to Plaintiffs and class members that its data systems were

not secure and, thus, vulnerable to attack, Marriott would have been unable to continue in

business and it would have been forced to adopt reasonable data security measures and comply

with the law. Instead, Marriott received, maintained, and compiled Plaintiffs’ and class

members’ Personal Information as part of the services Marriott provided and for which Plaintiffs

and class members paid without advising Plaintiffs and class members that Marriott’s data

security practices were insufficient to maintain the safety and confidentiality of Plaintiffs’ and

class members’ Personal Information. Accordingly, Plaintiff and the Montana Subclass members

acted reasonably in relying on Marriott’s misrepresentations and omissions, the truth of which

they could not have discovered.

       847.    Marriott’s acts described above are unfair and offend public policy; they are

immoral, unethical, oppressive, unscrupulous, and substantially injurious to consumers.

       848.    Marriott acted intentionally, knowingly, and maliciously to violate Montana’s

Unfair Trade Practices and Consumer Protection Act, and recklessly disregarded Plaintiff and

Montana Subclass members’ rights. Marriott’s past data breaches and breaches within the

hospitality industry put it on notice that its security and privacy protections were inadequate.

       849.    As a direct and proximate result of Marriott’s unfair methods of competition and

unfair and deceptive acts and practices in the conduct of trade or commerce, Plaintiff and




                                                230
     Case 8:19-md-02879-PWG Document 352 Filed 07/24/19 Page 245 of 373



Montana Subclass members have suffered and will continue to suffer injury, ascertainable losses

of money or property, and monetary and non-monetary damages, including loss of the benefit of

their bargain with Marriott as they would not have paid Marriott for goods and services or would

have paid less for such goods and services but for Marriott’s violations alleged herein; losses

from fraud and identity theft; costs for credit monitoring and identity protection services; time

and expenses related to monitoring their financial accounts for fraudulent activity; time and

money spent cancelling and replacing passports; loss of value of their Personal Information; and

an increased, imminent risk of fraud and identity theft.

        850.    Plaintiff and Montana Subclass members seek all monetary and non-monetary

relief allowed by law, including the greater of (a) actual damages or (b) statutory damages of

$500, treble damages, restitution, attorneys’ fees and costs, injunctive relief, and other relief that

the Court deems appropriate.

                  CLAIMS ON BEHALF OF THE NEBRASKA SUBCLASS

                                            COUNT 54

                        NEBRASKA CONSUMER PROTECTION ACT,

                                   Neb. Rev. Stat. §§ 59-1601, et seq.

        851.    The Nebraska Plaintiff(s) identified above (“Plaintiff,” for purposes of this

Count), individually and on behalf of the Nebraska Subclass, repeats and alleges Paragraphs 1-

293, as if fully alleged herein.

        852.    Marriott and Nebraska Subclass members are each a “person” as defined by Neb.

Rev. Stat. § 59-1601(1).

        853.    Marriott advertised, offered, or sold goods or services in Nebraska and engaged in

trade or commerce directly or indirectly affecting the people of Nebraska, as defined by Neb.

Rev. Stat. § 59-1601.


                                                  231
     Case 8:19-md-02879-PWG Document 352 Filed 07/24/19 Page 246 of 373



       854.      Marriott engaged in unfair and deceptive acts and practices in conducting trade

and commerce, in violation of Neb. Rev. Stat. § 59-1602, including:

       a. Failing to implement and maintain reasonable security and privacy measures to

           protect Plaintiff and Nebraska Subclass members’ Personal Information, which was a

           direct and proximate cause of the Data Breach;

       b. Failing to identify foreseeable security and privacy risks, remediate identified security

           and privacy risks, and adequately improve security and privacy measures following

           previous cybersecurity incidents, which was a direct and proximate cause of the Data

           Breach;

       c. Failing to comply with common law and statutory duties pertaining to the security

           and privacy of Plaintiff and Nebraska Subclass members’ Personal Information,

           including duties imposed by the FTC Act, 15 U.S.C. § 45, which was a direct and

           proximate cause of the Data Breach;

       d. Misrepresenting that it would protect the privacy and confidentiality of Plaintiff and

           Nebraska Subclass members’ Personal Information, including by implementing and

           maintaining reasonable security measures;

       e. Misrepresenting that it would comply with common law and statutory duties

           pertaining to the security and privacy of Plaintiff and Nebraska Subclass members’

           Personal Information, including duties imposed by the FTC Act, 15 U.S.C. § 45;

       f. Omitting, suppressing, and concealing the material fact that it did not reasonably or

           adequately secure Plaintiff and Nebraska Subclass members’ Personal Information;

           and




                                               232
     Case 8:19-md-02879-PWG Document 352 Filed 07/24/19 Page 247 of 373



       g. Omitting, suppressing, and concealing the material fact that it did not comply with

           common law and statutory duties pertaining to the security and privacy of Plaintiff

           and Nebraska Subclass members’ Personal Information, including duties imposed by

           the FTC Act, 15 U.S.C. § 45.

       855.    Marriott’s representations and omissions were material because they were likely

to deceive reasonable consumers about the adequacy of Marriott’s data security and ability to

protect the confidentiality of consumers’ Personal Information.

       856.    As a direct and proximate result of Marriott’s unfair and deceptive acts and

practices, Plaintiff and class members have suffered and will continue to suffer injury,

ascertainable losses of money or property, and monetary and non-monetary damages, including

loss of the benefit of their bargain with Marriott as they would not have paid Marriott for goods

and services or would have paid less for such goods and services but for Marriott’s violations

alleged herein; losses from fraud and identity theft; costs for credit monitoring and identity

protection services; time and expenses related to monitoring their financial accounts for

fraudulent activity; time and money spent cancelling and replacing passports; loss of value of

their Personal Information; and an increased, imminent risk of fraud and identity theft.

       857.    Marriott’s unfair and deceptive acts and practices complained of herein affected

the public interest, including the many Nebraskans affected by the Data Breach.

       858.    Plaintiff and Nebraska Subclass members seek all monetary and non-monetary

relief allowed by law, including injunctive relief, the greater of either actual damages or $1,000,

civil penalties, and reasonable attorneys’ fees and costs.




                                                233
     Case 8:19-md-02879-PWG Document 352 Filed 07/24/19 Page 248 of 373



                                            COUNT 55

               NEBRASKA UNIFORM DECEPTIVE TRADE PRACTICES ACT,

                                   Neb. Rev. Stat. §§ 87-301, et seq.

        859.    The Nebraska Plaintiff(s) identified above (“Plaintiff,” for purposes of this

Count), individually and on behalf of the Nebraska Subclass, repeats and alleges Paragraphs 1-

293, as if fully alleged herein.

        860.    Marriott and Nebraska Subclass members are “persons” as defined by Neb. Rev.

Stat. § 87-301(19).

        861.    Marriott advertised, offered, or sold goods or services in Nebraska and engaged in

trade or commerce directly or indirectly affecting the people of Nebraska.

        862.    Marriott engaged in deceptive trade practices in the course of its business, in

violation of Neb. Rev. Stat. §§ 87-302(a)(5), (8), and (10), including:

        a. Represented that goods and services have characteristics, uses, benefits, or qualities

            that they do not have;

        b. Represented that goods and services are of a particular standard, quality, or grade if

            they are of another; and

        c. Advertised its goods and services with intent not to sell them as advertised and in a

            manner calculated or tending to mislead or deceive.

        863.    Marriott’s deceptive trade practices include:

        a. Failing to implement and maintain reasonable security and privacy measures to

            protect Plaintiff and Nebraska Subclass members’ Personal Information, which was a

            direct and proximate cause of the Data Breach;

        b. Failing to identify foreseeable security and privacy risks, remediate identified security

            and privacy risks, and adequately improve security and privacy measures following


                                                  234
     Case 8:19-md-02879-PWG Document 352 Filed 07/24/19 Page 249 of 373



           previous cybersecurity incidents, which was a direct and proximate cause of the Data

           Breach;

       c. Failing to comply with common law and statutory duties pertaining to the security

           and privacy of Plaintiff and Nebraska Subclass members’ Personal Information,

           including duties imposed by the FTC Act, 15 U.S.C. § 45, which was a direct and

           proximate cause of the Data Breach;

       d. Misrepresenting that it would protect the privacy and confidentiality of Plaintiff and

           Nebraska Subclass members’ Personal Information, including by implementing and

           maintaining reasonable security measures;

       e. Misrepresenting that it would comply with common law and statutory duties

           pertaining to the security and privacy of Plaintiff and Nebraska Subclass members’

           Personal Information, including duties imposed by the FTC Act, 15 U.S.C. § 45;

       f. Omitting, suppressing, and concealing the material fact that it did not reasonably or

           adequately secure Plaintiff and Nebraska Subclass members’ Personal Information;

           and

       g. Omitting, suppressing, and concealing the material fact that it did not comply with

           common law and statutory duties pertaining to the security and privacy of Plaintiff

           and Nebraska Subclass members’ Personal Information, including duties imposed by

           the FTC Act, 15 U.S.C. § 45.

       864.      Marriott’s representations and omissions were material because they were likely

to deceive reasonable consumers about the adequacy of Marriott’s data security and ability to

protect the confidentiality of consumers’ Personal Information.




                                               235
     Case 8:19-md-02879-PWG Document 352 Filed 07/24/19 Page 250 of 373



       865.    Marriott intended to mislead Plaintiff and Nebraska Subclass members and induce

them to rely on its misrepresentations and omissions.

       866.    Had Marriott disclosed to Plaintiffs and class members that its data systems were

not secure and, thus, vulnerable to attack, Marriott would have been unable to continue in

business and it would have been forced to adopt reasonable data security measures and comply

with the law. Instead, Marriott received, maintained, and compiled Plaintiffs’ and class

members’ Personal Information as part of the services Marriott provided and for which Plaintiffs

and class members paid without advising Plaintiffs and class members that Marriott’s data

security practices were insufficient to maintain the safety and confidentiality of Plaintiffs’ and

class members’ Personal Information. Accordingly, Plaintiff and the Nebraska Subclass

members acted reasonably in relying on Marriott’s misrepresentations and omissions, the truth of

which they could not have discovered.

       867.    Marriott acted intentionally, knowingly, and maliciously to violate Nebraska’s

Uniform Deceptive Trade Practices Act, and recklessly disregarded Plaintiff and Nebraska

Subclass members’ rights. Marriott’s past data breaches and breaches within the hospitality

industry put it on notice that its security and privacy protections were inadequate.

       868.    As a direct and proximate result of Marriott’s deceptive trade practices, Plaintiff

and Nebraska Subclass members have suffered and will continue to suffer injury, ascertainable

losses of money or property, and monetary and non-monetary damages, including loss of the

benefit of their bargain with Marriott as they would not have paid Marriott for goods and

services or would have paid less for such goods and services but for Marriott’s violations alleged

herein; losses from fraud and identity theft; costs for credit monitoring and identity protection

services; time and expenses related to monitoring their financial accounts for fraudulent activity;




                                                236
     Case 8:19-md-02879-PWG Document 352 Filed 07/24/19 Page 251 of 373



time and money spent cancelling and replacing passports; loss of value of their Personal

Information; and an increased, imminent risk of fraud and identity theft.

       869.    Marriott’s deceptive trade practices complained of herein affected consumers at

large, including the large percentage of Nebraskans affected by the Data Breach.

       870.    Plaintiff and Nebraska Subclass members seek all relief allowed by law, including

injunctive relief and reasonable attorneys’ fees and costs.

                   CLAIMS ON BEHALF OF THE NEVADA SUBCLASS

                                          COUNT 56

                        NEVADA DECEPTIVE TRADE PRACTICES ACT,

                             Nev. Rev. Stat. Ann. §§ 598.0903 et seq.

       871.    The Nevada Plaintiff(s) identified above (“Plaintiff,” for purposes of this Count),

individually and on behalf of the Nevada Subclass, repeats and alleges Paragraphs 1-293, as if

fully alleged herein.

       872.    Marriott advertised, offered, or sold goods or services in Nevada and engaged in

trade or commerce directly or indirectly affecting the people of Nevada.

       873.    Marriott engaged in deceptive trade practices in the course of its business or

occupation, in violation of Nev. Rev. Stat. §§ 598.0915 and 598.0923, including:

       a. Knowingly making a false representation as to the characteristics, uses, and benefits

           of goods or services for sale in violation of Nev. Rev. Stat. § 598.0915(5);

       b. Representing that goods or services for sale are of a particular standard, quality, or

           grade when Marriott knew or should have known that they are of another standard,

           quality, or grade in violation of Nev. Rev. Stat. § 598.0915(7);

       c. Advertising goods or services with intent not to sell them as advertised in violation of

           Nev. Rev. Stat § 598.0915(9);


                                                237
     Case 8:19-md-02879-PWG Document 352 Filed 07/24/19 Page 252 of 373



       d. Failing to disclose a material fact in connection with the sale of goods or services in

           violation of Nev. Rev. Stat. § 598.0923(A)(2); and

       e. Violating state and federal statutes or regulations relating to the sale of goods or

           services in violation of Nev. Rev. Stat. § 598.0923(A)(3).

       874.   Marriott’s deceptive trade practices in the course of its business or occupation

include:

       a. Failing to implement and maintain reasonable security and privacy measures to

           protect Plaintiff and Nevada Subclass members’ Personal Information, which was a

           direct and proximate cause of the Data Breach;

       b. Failing to identify foreseeable security and privacy risks, remediate identified security

           and privacy risks, and adequately improve security and privacy measures following

           previous cybersecurity incidents, which was a direct and proximate cause of the Data

           Breach;

       c. Failing to comply with common law and statutory duties pertaining to the security

           and privacy of Plaintiff and Nevada Subclass members’ Personal Information,

           including duties imposed by the FTC Act, 15 U.S.C. § 45, and Nevada’s data security

           statute, Nev. Rev. Stat. § 603A.210, which was a direct and proximate cause of the

           Data Breach;

       d. Misrepresenting that it would protect the privacy and confidentiality of Plaintiff and

           Nevada Subclass members’ Personal Information, including by implementing and

           maintaining reasonable security measures;

       e. Misrepresenting that it would comply with common law and statutory duties

           pertaining to the security and privacy of Plaintiff and Nevada Subclass members’




                                               238
     Case 8:19-md-02879-PWG Document 352 Filed 07/24/19 Page 253 of 373



           Personal Information, including duties imposed by the FTC Act, 15 U.S.C. § 45, and

           Nevada’s data security statute, Nev. Rev. Stat. § 603A.210;

       f. Omitting, suppressing, and concealing the material fact that it did not reasonably or

           adequately secure Plaintiff and Nevada Subclass members’ Personal Information; and

       g. Omitting, suppressing, and concealing the material fact that it did not comply with

           common law and statutory duties pertaining to the security and privacy of Plaintiff

           and Subclass members’ Personal Information, including duties imposed by the FTC

           Act, 15 U.S.C. § 45, and Nevada’s data security statute, Nev. Rev. Stat. § 603A.210.

       875.    Marriott’s representations and omissions were material because they were likely

to deceive reasonable consumers about the adequacy of Marriott’s data security and ability to

protect the confidentiality of consumers’ Personal Information.

       876.    Had Marriott disclosed to Plaintiffs and class members that its data systems were

not secure and, thus, vulnerable to attack, Marriott would have been unable to continue in

business and it would have been forced to adopt reasonable data security measures and comply

with the law. Instead, Marriott received, maintained, and compiled Plaintiffs’ and class

members’ Personal Information as part of the services Marriott provided and for which Plaintiffs

and class members paid without advising Plaintiffs and class members that Marriott’s data

security practices were insufficient to maintain the safety and confidentiality of Plaintiffs’ and

class members’ Personal Information. Accordingly, Plaintiff and the Nevada Subclass members

acted reasonably in relying on Marriott’s misrepresentations and omissions, the truth of which

they could not have discovered.

       877.    Marriott acted intentionally, knowingly, and maliciously to violate Nevada’s

Deceptive Trade Practices Act, and recklessly disregarded Plaintiff and Nevada Subclass




                                               239
     Case 8:19-md-02879-PWG Document 352 Filed 07/24/19 Page 254 of 373



members’ rights. Marriott’s past data breaches and breaches within the hospitality industry put it

on notice that its security and privacy protections were inadequate.

         878.    As a direct and proximate result of Marriott’s deceptive trade practices, Plaintiff

and Nevada Subclass members have suffered and will continue to suffer injury, ascertainable

losses of money or property, and monetary and non-monetary damages, including loss of the

benefit of their bargain with Marriott as they would not have paid Marriott for goods and

services or would have paid less for such goods and services but for Marriott’s violations alleged

herein; losses from fraud and identity theft; costs for credit monitoring and identity protection

services; time and expenses related to monitoring their financial accounts for fraudulent activity;

time and money spent cancelling and replacing passports; loss of value of their Personal

Information; and an increased, imminent risk of fraud and identity theft.

         879.    Plaintiff and Nevada Subclass members seek all monetary and non-monetary

relief allowed by law, including damages, restitution, punitive damages, and attorneys’ fees and

costs.

                CLAIMS ON BEHALF OF THE NEW HAMPSHIRE SUBCLASS

                                           COUNT 57

                               NOTICE OF SECURITY BREACH

                           N.H. Rev. Stat. Ann. §§ 359-C:20(I)(A), et seq.

         880.    The New Hampshire Plaintiff(s) identified above (“Plaintiff,” for purposes of this

Count), individually and on behalf of the New Hampshire Subclass, repeats and alleges

Paragraphs 1-293, as if fully alleged herein.

         881.    Marriott is a business that owns or licenses computerized data that includes

Personal Information as defined by N.H. Rev. Stat. Ann. § 359-C:20(I)(a).




                                                 240
     Case 8:19-md-02879-PWG Document 352 Filed 07/24/19 Page 255 of 373



         882.   Plaintiff’s and New Hampshire Subclass members’ Personal Information includes

Personal Information as covered under N.H. Rev. Stat. Ann. § 359-C:20(I)(a).

         883.   Marriott is required to accurately notify Plaintiff and New Hampshire Subclass

members if Marriott becomes aware of a breach of its data security system in which misuse of

Personal Information has occurred or is reasonably likely to occur, as soon as possible under

N.H. Rev. Stat. Ann. § 359-C:20(I)(a).

         884.   Because Marriott was aware of a security breach in which misuse of Personal

Information has occurred or is reasonably likely to occur, Marriott had an obligation to disclose

the data breach in a timely and accurate fashion as mandated by N.H. Rev. Stat. Ann. § 359-

C:20(I)(a).

         885.   By failing to disclose the Data Breach in a timely and accurate manner, Marriott

violated N.H. Rev. Stat. Ann. § 359-C:20(I)(a).

         886.   As a direct and proximate result of Marriott’s violations of N.H. Rev. Stat. Ann. §

359-C:20(I)(a), Plaintiff and New Hampshire Subclass members suffered damages, as described

above.

         887.   Plaintiff and New Hampshire Subclass members seek relief under N.H. Rev. Stat.

Ann. § 359-C:21(I), including actual damages and injunctive relief.

                                          COUNT 58

                   NEW HAMPSHIRE CONSUMER PROTECTION ACT,

                                   N.H.R.S.A. §§ 358-A, et seq.

         888.   The New Hampshire Plaintiff(s) identified above (“Plaintiff,” for purposes of this

Count), individually and on behalf of the New Hampshire Subclass, repeats and alleges

Paragraphs 1-293, as if fully alleged herein.

         889.   Marriott is a “person” under the New Hampshire Consumer Protection.


                                                241
     Case 8:19-md-02879-PWG Document 352 Filed 07/24/19 Page 256 of 373



       890.    Marriott advertised, offered, or sold goods or services in New Hampshire and

engaged in trade or commerce directly or indirectly affecting the people of New Hampshire, as

defined by N.H.R.S.A. § 358-A:1.

       891.    Marriott engaged in unfair and deceptive acts or practices in the ordinary conduct

of its trade or business, in violation of N.H.R.S.A. § 358-A:2, including:

       a. Representing that its goods or services have characteristics, uses, or benefits that they

           do not have in violation of N.H.R.S.A. § 358-A:2.V;

       b. Representing that its goods or services are of a particular standard or quality if they

           are of another in violation of N.H.R.S.A. § 358-A:2.VII; and

       c. Advertising its goods or services with intent not to sell them as advertised in violation

           of N.H.R.S.A. § 358-A:2.IX.

       892.    Marriott’s unfair and deceptive acts and practices include:

       a. Failing to implement and maintain reasonable security and privacy measures to

           protect Plaintiff and New Hampshire Subclass members’ Personal Information, which

           was a direct and proximate cause of the Data Breach;

       b. Failing to identify foreseeable security and privacy risks, remediate identified security

           and privacy risks, and adequately improve security and privacy measures following

           previous cybersecurity incidents, which was a direct and proximate cause of the Data

           Breach;

       c. Failing to comply with common law and statutory duties pertaining to the security

           and privacy of Plaintiff and New Hampshire Subclass members’ Personal

           Information, including duties imposed by the FTC Act, 15 U.S.C. § 45, which was a

           direct and proximate cause of the Data Breach;




                                               242
     Case 8:19-md-02879-PWG Document 352 Filed 07/24/19 Page 257 of 373



       d. Misrepresenting that it would protect the privacy and confidentiality of Plaintiff and

           New     Hampshire     Subclass   members’     Personal       Information,   including   by

           implementing and maintaining reasonable security measures;

       e. Misrepresenting that it would comply with common law and statutory duties

           pertaining to the security and privacy of Plaintiff and New Hampshire Subclass

           members’ Personal Information, including duties imposed by the FTC Act, 15 U.S.C.

           § 45;

       f. Omitting, suppressing, and concealing the material fact that it did not reasonably or

           adequately secure Plaintiff and New Hampshire Subclass members’ Personal

           Information; and

       g. Omitting, suppressing, and concealing the material fact that it did not comply with

           common law and statutory duties pertaining to the security and privacy of Plaintiff

           and New Hampshire Subclass members’ Personal Information, including duties

           imposed by the FTC Act, 15 U.S.C. § 45.

       893.    Marriott’s representations and omissions were material because they were likely

to deceive reasonable consumers about the adequacy of Marriott’s data security and ability to

protect the confidentiality of consumers’ Personal Information.

       894.    Marriott acted intentionally, knowingly, and maliciously to violate New

Hampshire’s Consumer Protection Act, and recklessly disregarded Plaintiff and New Hampshire

Subclass members’ rights. Marriott’s past data breaches and breaches within the hospitality

industry put it on notice that its security and privacy protections were inadequate. Marriott’s acts

and practices went beyond the realm of strictly private transactions.




                                                243
     Case 8:19-md-02879-PWG Document 352 Filed 07/24/19 Page 258 of 373



        895.     As a direct and proximate result of Marriott’s unfair and deceptive acts and

practices, Plaintiff and class members have suffered and will continue to suffer injury,

ascertainable losses of money or property, and monetary and non-monetary damages, including

loss of the benefit of their bargain with Marriott as they would not have paid Marriott for goods

and services or would have paid less for such goods and services but for Marriott’s violations

alleged herein; losses from fraud and identity theft; costs for credit monitoring and identity

protection services; time and expenses related to monitoring their financial accounts for

fraudulent activity; time and money spent cancelling and replacing passports; loss of value of

their Personal Information; and an increased, imminent risk of fraud and identity theft.

        896.     Plaintiff and New Hampshire Subclass members seek all monetary and non-

monetary relief allowed by law, including actual damages, punitive damages, equitable relief

(including injunctive relief), restitution, civil penalties, and attorneys’ fees and costs.

                 CLAIMS ON BEHALF OF THE NEW JERSEY SUBCLASS

                                             COUNT 59

         NEW JERSEY CUSTOMER SECURITY BREACH DISCLOSURE ACT,

                                   N.J. Stat. Ann. §§ 56:8-163, et seq.

        897.     The New Jersey Plaintiff(s) identified above (“Plaintiff,” for purposes of this

Count), individually and on behalf of the New Jersey Subclass, repeats and alleges Paragraphs 1-

293, as if fully alleged herein.

        898.     Marriott is a business that conducts business in New Jersey under N.J. Stat. Ann.

§ 56:8-163(a).

        899.     Plaintiff’s and New Jersey Subclass members’ Personal Information includes

Personal Information covered under N.J. Stat. Ann. §§ 56:8-163, et seq.




                                                   244
     Case 8:19-md-02879-PWG Document 352 Filed 07/24/19 Page 259 of 373



        900.    Under N.J. Stat. Ann. § 56:8-163(a), “[a]ny business that conducts business in

New Jersey. . . shall disclose any breach of security of [] computerized records following

discovery or notification of the breach to any customer who is a resident of New Jersey whose

personal information was, or is reasonably believed to have been, accessed by an unauthorized

person.”

        901.    Because Marriott discovered a breach of its security system in which Personal

Information was, or is reasonably believed to have been, acquired by an unauthorized person and

the Personal Information was not secured, Marriott had an obligation to disclose the Data Breach

in a timely and accurate fashion as mandated under N.J. Stat. Ann. §§ 56:8-163, et seq.

        902.    By failing to disclose the Data Breach in a timely and accurate manner, Marriott

violated N.J. Stat. Ann. § 56:8-163(a).

        903.    As a direct and proximate result of Marriott’s violations of N.J. Stat. Ann. § 56:8-

163(a), Plaintiff and New Jersey Subclass members suffered the damages described above.

        904.    Plaintiff and New Jersey Subclass members seek relief under N.J. Stat. Ann. §

56:8-19, including treble damages, attorneys’ fees and costs, and injunctive relief.

                                            COUNT 60

                          NEW JERSEY CONSUMER FRAUD ACT,

                                   N.J. Stat. Ann. §§ 56:8-1, et seq.

        905.    The New Jersey Plaintiff(s) identified above (“Plaintiff,” for purposes of this

Count), individually and on behalf of the New Jersey Subclass, repeats and alleges Paragraphs 1-

293, as if fully alleged herein.

        906.    Marriott is a “person,” as defined by N.J. Stat. Ann. § 56:8-1(d).

        907.    Marriott sells “merchandise,” as defined by N.J. Stat. Ann. § 56:8-1(c) & (e).




                                                  245
     Case 8:19-md-02879-PWG Document 352 Filed 07/24/19 Page 260 of 373



       908.    The New Jersey Consumer Fraud Act, N.J. Stat. §§ 56:8-1, et seq., prohibits

unconscionable commercial practices, deception, fraud, false pretense, false promise,

misrepresentation, as well as the knowing concealment, suppression, or omission of any material

fact with the intent that others rely on the concealment, omission, or fact, in connection with the

sale or advertisement of any merchandise.

       909.    Marriott’s unconscionable and deceptive practices include:

       a. Failing to implement and maintain reasonable security and privacy measures to

           protect Plaintiff and New Jersey Subclass members’ Personal Information, which was

           a direct and proximate cause of the Data Breach;

       b. Failing to identify foreseeable security and privacy risks, remediate identified security

           and privacy risks, and adequately improve security and privacy measures following

           previous cybersecurity incidents, which was a direct and proximate cause of the Data

           Breach;

       c. Failing to comply with common law and statutory duties pertaining to the security

           and privacy of Plaintiff and New Jersey Subclass members’ Personal Information,

           including duties imposed by the FTC Act, 15 U.S.C. § 45, which was a direct and

           proximate cause of the Data Breach;

       d. Misrepresenting that it would protect the privacy and confidentiality of Plaintiff and

           New Jersey Subclass members’ Personal Information, including by implementing and

           maintaining reasonable security measures;

       e. Misrepresenting that it would comply with common law and statutory duties

           pertaining to the security and privacy of Plaintiff and New Jersey Subclass members’

           Personal Information, including duties imposed by the FTC Act, 15 U.S.C. § 45;




                                               246
     Case 8:19-md-02879-PWG Document 352 Filed 07/24/19 Page 261 of 373



       f. Omitting, suppressing, and concealing the material fact that it did not reasonably or

           adequately secure Plaintiff and Subclass members’ Personal Information; and

       g. Omitting, suppressing, and concealing the material fact that it did not comply with

           common law and statutory duties pertaining to the security and privacy of Plaintiff

           and New Jersey Subclass members’ Personal Information, including duties imposed

           by the FTC Act, 15 U.S.C. § 45.

       910.    Marriott’s representations and omissions were material because they were likely

to deceive reasonable consumers about the adequacy of Marriott’s data security and ability to

protect the confidentiality of consumers’ Personal Information.

       911.    Marriott intended to mislead Plaintiff and New Jersey Subclass members and

induce them to rely on its misrepresentations and omissions.

       912.    Marriott acted intentionally, knowingly, and maliciously to violate New Jersey’s

Consumer Fraud Act, and recklessly disregarded Plaintiff and New Jersey Subclass members’

rights. Marriott’s past data breaches and breaches within the hospitality industry put it on notice

that its security and privacy protections were inadequate.

       913.    As a direct and proximate result of Marriott’s unconscionable and deceptive

practices, Plaintiff and New Jersey Subclass members have suffered and will continue to suffer

injury, ascertainable losses of money or property, and monetary and non-monetary damages,

including loss of the benefit of their bargain with Marriott as they would not have paid Marriott

for goods and services or would have paid less for such goods and services but for Marriott’s

violations alleged herein; losses from fraud and identity theft; costs for credit monitoring and

identity protection services; time and expenses related to monitoring their financial accounts for




                                               247
     Case 8:19-md-02879-PWG Document 352 Filed 07/24/19 Page 262 of 373



fraudulent activity; time and money spent cancelling and replacing passports; loss of value of

their Personal Information; and an increased, imminent risk of fraud and identity theft.

       914.    Plaintiff and New Jersey Subclass members seek all monetary and non-monetary

relief allowed by law, including injunctive relief, other equitable relief, actual damages, treble

damages, restitution, and attorneys’ fees, filing fees, and costs.

                CLAIMS ON BEHALF OF THE NEW MEXICO SUBCLASS

                                           COUNT 61

                           NEW MEXICO UNFAIR PRACTICES ACT,

                                 N.M. Stat. Ann. §§ 57-12-2, et seq.

       915.    The New Mexico Plaintiff(s) identified above (“Plaintiff,” for purposes of this

Count), individually and on behalf of the New Mexico Subclass, repeats and alleges Paragraphs

1-293, as if fully alleged herein.

       916.    Marriott is a “person” as meant by N.M. Stat. Ann. § 57-12-2.

       917.    Marriott was engaged in “trade” and “commerce” as meant by N.M. Stat. Ann. §

57-12-2(C) when engaging in the conduct alleged.

       918.    The New Mexico Unfair Practices Act, N.M. Stat. Ann. §§ 57-12-2, et seq.,

prohibits both unfair or deceptive trade practices and unconscionable trade practices in the

conduct of any trade or commerce.

       919.    Marriott engaged in unconscionable, unfair, and deceptive acts and practices in

connection with the sale of goods or services in the regular course of its trade or commerce,

including the following:

       a. Knowingly representing that its goods and services have characteristics, benefits, or

           qualities that they do not have, in violation of N.M. Stat. Ann. § 57-12-2(D)(5);




                                                 248
Case 8:19-md-02879-PWG Document 352 Filed 07/24/19 Page 263 of 373



 b. Knowingly representing that its goods and services are of a particular standard or

    quality when they are of another in violation of N.M. Stat. Ann. § 57-12-2(D)(7);

 c. Knowingly using exaggeration, innuendo, or ambiguity as to a material fact or failing

    to state a material fact where doing so deceives or tends to deceive in violation of

    N.M. Stat. Ann. § 57-12-2(D)(14)

 d. Taking advantage of the lack of knowledge, experience, or capacity of its consumers

    to a grossly unfair degree to Plaintiff’s and the New Mexico Subclass’ detriment in

    violation of N.M. Stat. Ann. § 57-2-12(E)(1); and

 e. Performing these acts and practices in a way that results in a gross disparity between

    the value received by Plaintiff and the New Mexico Subclass and the price paid, to

    their detriment, in violation of N.M. Stat. § 57-2-12(E)(2).

 920.   Marriott’s unfair, deceptive, and unconscionable acts and practices include:

 a. Failing to implement and maintain reasonable security and privacy measures to

    protect Plaintiff and New Mexico Subclass members’ Personal Information, which

    was a direct and proximate cause of the Data Breach;

 b. Failing to identify foreseeable security and privacy risks, remediate identified security

    and privacy risks, and adequately improve security and privacy measures following

    previous cybersecurity incidents, which was a direct and proximate cause of the Data

    Breach;

 c. Failing to comply with common law and statutory duties pertaining to the security

    and privacy of Plaintiff and New Mexico Subclass members’ Personal Information,

    including duties imposed by the FTC Act, 15 U.S.C. § 45, and New Mexico statutes




                                         249
     Case 8:19-md-02879-PWG Document 352 Filed 07/24/19 Page 264 of 373



           mandating reasonable data security, N.M. Stat. § 57-12C-4, which was a direct and

           proximate cause of the Data Breach;

       d. Misrepresenting that it would protect the privacy and confidentiality of Plaintiff and

           New Mexico Subclass members’ Personal Information, including by implementing

           and maintaining reasonable security measures;

       e. Misrepresenting that it would comply with common law and statutory duties

           pertaining to the security and privacy of Plaintiff and New Mexico Subclass

           members’ Personal Information, including duties imposed by the FTC Act, 15 U.S.C.

           § 45, and New Mexico statutes mandating reasonable data security, N.M. Stat. § 57-

           12C-4;

       f. Omitting, suppressing, and concealing the material fact that it did not reasonably or

           adequately secure Plaintiff and New Mexico Subclass members’ Personal

           Information; and

       g. Omitting, suppressing, and concealing the material fact that it did not comply with

           common law and statutory duties pertaining to the security and privacy of Plaintiff

           and New Mexico Subclass members’ Personal Information, including duties imposed

           by the FTC Act, 15 U.S.C. § 45, and New Mexico statutes mandating reasonable data

           security, N.M. Stat. § 57-12C-4.

       921.   Marriott’s representations and omissions were material because they were likely

to deceive reasonable consumers about the adequacy of Marriott’s data security and ability to

protect the confidentiality of consumers’ Personal Information.

       922.   Marriott intended to mislead Plaintiff and New Mexico Subclass members and

induce them to rely on its misrepresentations and omissions.




                                              250
     Case 8:19-md-02879-PWG Document 352 Filed 07/24/19 Page 265 of 373



        923.    Marriott acted intentionally, knowingly, and maliciously to violate New Mexico’s

Unfair Practices Act, and recklessly disregarded Plaintiff and New Mexico Subclass members’

rights. Marriott’s past data breaches and breaches within the hospitality industry put it on notice

that its security and privacy protections were inadequate.

        924.    As a direct and proximate result of Marriott’s unfair, deceptive, and

unconscionable trade practices, Plaintiff and New Mexico Subclass members have suffered and

will continue to suffer injury, ascertainable losses of money or property, and monetary and non-

monetary damages, including loss of the benefit of their bargain with Marriott as they would not

have paid Marriott for goods and services or would have paid less for such goods and services

but for Marriott’s violations alleged herein; losses from fraud and identity theft; costs for credit

monitoring and identity protection services; time and expenses related to monitoring their

financial accounts for fraudulent activity; time and money spent cancelling and replacing

passports; loss of value of their Personal Information; and an increased, imminent risk of fraud

and identity theft.

        925.    Plaintiff and New Mexico Subclass members seek all monetary and non-monetary

relief allowed by law, including injunctive relief, actual damages or statutory damages of $100

(whichever is greater), treble damages or statutory damages of $300 (whichever is greater), and

reasonable attorneys’ fees and costs.




                                                251
     Case 8:19-md-02879-PWG Document 352 Filed 07/24/19 Page 266 of 373



                  CLAIMS ON BEHALF OF THE NEW YORK SUBCLASS

                                            COUNT 62

                          NEW YORK GENERAL BUSINESS LAW,

                                   N.Y. Gen. Bus. Law §§ 349, et seq.

        926.    The New York Plaintiff(s) identified above (“Plaintiff,” for purposes of this

Count), individually and on behalf of the New York Subclass, repeats and alleges Paragraphs 1-

293, as if fully alleged herein.

        927.    Marriott engaged in deceptive acts or practices in the conduct of its business,

trade, and commerce or furnishing of services, in violation of N.Y. Gen. Bus. Law § 349,

including:

        a. Failing to implement and maintain reasonable security and privacy measures to

             protect Plaintiff and New York Subclass members’ Personal Information, which was

             a direct and proximate cause of the Data Breach;

        b. Failing to identify foreseeable security and privacy risks, remediate identified security

             and privacy risks, and adequately improve security and privacy measures following

             previous cybersecurity incidents, which was a direct and proximate cause of the Data

             Breach;

        c. Failing to comply with common law and statutory duties pertaining to the security

             and privacy of Plaintiff and New York Subclass members’ Personal Information,

             including duties imposed by the FTC Act, 15 U.S.C. § 45, which was a direct and

             proximate cause of the Data Breach;

        d. Misrepresenting that it would protect the privacy and confidentiality of Plaintiff and

             New York Subclass members’ Personal Information, including by implementing and

             maintaining reasonable security measures;


                                                  252
     Case 8:19-md-02879-PWG Document 352 Filed 07/24/19 Page 267 of 373



       e. Misrepresenting that it would comply with common law and statutory duties

           pertaining to the security and privacy of Plaintiff and New York Subclass members’

           Personal Information, including duties imposed by the FTC Act, 15 U.S.C. § 45;

       f. Omitting, suppressing, and concealing the material fact that it did not reasonably or

           adequately secure Plaintiff and New York Subclass members’ Personal Information;

           and

       g. Omitting, suppressing, and concealing the material fact that it did not comply with

           common law and statutory duties pertaining to the security and privacy of Plaintiff

           and Subclass members’ Personal Information, including duties imposed by the FTC

           Act, 15 U.S.C. § 45.

       928.      Marriott’s representations and omissions were material because they were likely

to deceive reasonable consumers about the adequacy of Marriott’s data security and ability to

protect the confidentiality of consumers’ Personal Information.

       929.      Marriott acted intentionally, knowingly, and maliciously to violate New York’s

General Business Law, and recklessly disregarded Plaintiff and New York Subclass members’

rights. Marriott’s past data breaches and breaches within the hospitality industry put it on notice

that its security and privacy protections were inadequate.

       930.      As a direct and proximate result of Marriott’s deceptive and unlawful acts and

practices, Plaintiff and New York Subclass members have suffered and will continue to suffer

injury, ascertainable losses of money or property, and monetary and non-monetary damages,

including loss of the benefit of their bargain with Marriott as they would not have paid Marriott

for goods and services or would have paid less for such goods and services but for Marriott’s

violations alleged herein; losses from fraud and identity theft; costs for credit monitoring and




                                               253
     Case 8:19-md-02879-PWG Document 352 Filed 07/24/19 Page 268 of 373



identity protection services; time and expenses related to monitoring their financial accounts for

fraudulent activity; time and money spent cancelling and replacing passports; loss of value of

their Personal Information; and an increased, imminent risk of fraud and identity theft.

         931.    Marriott’s deceptive and unlawful acts and practices complained of herein

affected the public interest and consumers at large, including the millions of New Yorkers

affected by the Data Breach.

         932.    The above deceptive and unlawful practices and acts by Marriott caused

substantial injury to Plaintiff and New York Subclass members that they could not reasonably

avoid.

         933.    Plaintiff and New York Subclass members seek all monetary and non-monetary

relief allowed by law, including actual damages or statutory damages of $50 (whichever is

greater), treble damages, restitution, injunctive relief, and attorney’s fees and costs.

                CLAIMS ON BEHALF OF THE NORTH CAROLINA SUBCLASS

                                           COUNT 63

                 NORTH CAROLINA IDENTITY THEFT PROTECTION ACT,

                                  N.C. Gen. Stat. §§ 75-60, et seq.

         934.    The North Carolina Plaintiff(s) identified above (“Plaintiff,” for purposes of this

Count), individually and on behalf of the North Carolina Subclass, repeats and alleges

Paragraphs 1-293, as if fully alleged herein.

         935.    Marriott is a business that owns or licenses computerized data that includes

Personal Information as defined by N.C. Gen. Stat. § 75-61(1).

         936.    Plaintiff and North Carolina Subclass members are “consumers” as defined by

N.C. Gen. Stat. § 75-61(2).




                                                 254
     Case 8:19-md-02879-PWG Document 352 Filed 07/24/19 Page 269 of 373



       937.    Marriott is required to accurately notify Plaintiff and North Carolina Subclass

members if it discovers a security breach, or receives notice of a security breach (where

unencrypted and unredacted Personal Information was accessed or acquired by unauthorized

persons), without unreasonable delay under N.C. Gen. Stat. § 75-65.

       938.    Plaintiff’s and North Carolina Subclass members’ Personal Information includes

Personal Information as covered under N.C. Gen. Stat. § 75-61(10).

       939.    Because Marriott discovered a security breach and had notice of a security breach

(where unencrypted and unredacted Personal Information was accessed or acquired by

unauthorized persons), Marriott had an obligation to disclose the Data Breach in a timely and

accurate fashion as mandated by N.C. Gen. Stat. § 75-65.

       940.    By failing to disclose the Data Breach in a timely and accurate manner, Marriott

violated N.C. Gen. Stat. § 75-65.

       941.    A violation of N.C. Gen. Stat. § 75-65 is an unlawful trade practice under N.C.

Gen. Stat. Art. 2A § 75-1.1.

       942.    As a direct and proximate result of Marriott’s violations of N.C. Gen. Stat. § 75-

65, Plaintiff and North Carolina Subclass members suffered damages, as described above.

       943.    Plaintiff and North Carolina Subclass members seek relief under N.C. Gen. Stat.

§§ 75-16 and 16.1, including treble damages and attorney’s fees.

                                          COUNT 64

                NORTH CAROLINA UNFAIR TRADE PRACTICES ACT,

                               N.C. Gen. Stat. Ann. §§ 75-1.1, et seq.

       944.    The North Carolina Plaintiff(s) identified above (“Plaintiff,” for purposes of this

Count), individually and on behalf of the North Carolina Subclass, repeats and alleges

Paragraphs 1-293, as if fully alleged herein.


                                                255
     Case 8:19-md-02879-PWG Document 352 Filed 07/24/19 Page 270 of 373



       945.   Marriott advertised, offered, or sold goods or services in North Carolina and

engaged in trade or commerce directly or indirectly affecting the people of North Carolina, as

defined by N.C. Gen. Stat. Ann. § 75-1.1(b).

       946.   Marriott engaged in unfair and deceptive acts and practices in or affecting

commerce, in violation of N.C. Gen. Stat. Ann. § 75-1.1, including:

       a. Failing to implement and maintain reasonable security and privacy measures to

           protect Plaintiff and North Carolina Subclass members’ Personal Information, which

           was a direct and proximate cause of the Data Breach;

       b. Failing to identify foreseeable security and privacy risks, remediate identified security

           and privacy risks, and adequately improve security and privacy measures following

           previous cybersecurity incidents, which was a direct and proximate cause of the Data

           Breach;

       c. Failing to comply with common law and statutory duties pertaining to the security

           and privacy of Plaintiff and North Carolina Subclass members’ Personal Information,

           including duties imposed by the FTC Act, 15 U.S.C. § 45, which was a direct and

           proximate cause of the Data Breach;

       d. Misrepresenting that it would protect the privacy and confidentiality of Plaintiff and

           North Carolina Subclass members’ Personal Information, including by implementing

           and maintaining reasonable security measures;

       e. Misrepresenting that it would comply with common law and statutory duties

           pertaining to the security and privacy of Plaintiff and North Carolina Subclass

           members’ Personal Information, including duties imposed by the FTC Act, 15 U.S.C.

           § 45;




                                               256
     Case 8:19-md-02879-PWG Document 352 Filed 07/24/19 Page 271 of 373



       f. Omitting, suppressing, and concealing the material fact that it did not reasonably or

           adequately secure Plaintiff and North Carolina Subclass members’ Personal

           Information; and

       g. Omitting, suppressing, and concealing the material fact that it did not comply with

           common law and statutory duties pertaining to the security and privacy of Plaintiff

           and North Carolina Subclass members’ Personal Information, including duties

           imposed by the FTC Act, 15 U.S.C. § 45.

       947.    Marriott’s representations and omissions were material because they were likely

to deceive reasonable consumers about the adequacy of Marriott’s data security and ability to

protect the confidentiality of consumers’ Personal Information.

       948.    Marriott intended to mislead Plaintiff and North Carolina Subclass members and

induce them to rely on its misrepresentations and omissions.

       949.    Had Marriott disclosed to Plaintiffs and class members that its data systems were

not secure and, thus, vulnerable to attack, Marriott would have been unable to continue in

business and it would have been forced to adopt reasonable data security measures and comply

with the law. Instead, Marriott received, maintained, and compiled Plaintiffs’ and class

members’ Personal Information as part of the services Marriott provided and for which Plaintiffs

and class members paid without advising Plaintiffs and class members that Marriott’s data

security practices were insufficient to maintain the safety and confidentiality of Plaintiffs’ and

class members’ Personal Information. Accordingly, Plaintiff and the North Carolina Subclass

members acted reasonably in relying on Marriott’s misrepresentations and omissions, the truth of

which they could not have discovered.




                                               257
     Case 8:19-md-02879-PWG Document 352 Filed 07/24/19 Page 272 of 373



       950.    Marriott acted intentionally, knowingly, and maliciously to violate North

Carolina’s Unfair Trade Practices Act, and recklessly disregarded Plaintiff and North Carolina

Subclass members’ rights. Marriott’s past data breaches and breaches within the hospitality

industry put it on notice that its security and privacy protections were inadequate.

       951.    As a direct and proximate result of Marriott’s unfair and deceptive acts and

practices, Plaintiff and class members have suffered and will continue to suffer injury,

ascertainable losses of money or property, and monetary and non-monetary damages, including

loss of the benefit of their bargain with Marriott as they would not have paid Marriott for goods

and services or would have paid less for such goods and services but for Marriott’s violations

alleged herein; losses from fraud and identity theft; costs for credit monitoring and identity

protection services; time and expenses related to monitoring their financial accounts for

fraudulent activity; time and money spent cancelling and replacing passports; loss of value of

their Personal Information; and an increased, imminent risk of fraud and identity theft.

       952.    Marriott’s conduct as alleged herein was continuous, such that after the first

violations of the provisions pled herein, each week that the violations continued constitute

separate offenses pursuant to N.C. Gen. Stat. Ann. § 75-8.

       953.    Plaintiff and North Carolina Subclass members seek all monetary and non-

monetary relief allowed by law, including actual damages, treble damages, restitution, and

attorneys’ fees and costs.




                                                258
     Case 8:19-md-02879-PWG Document 352 Filed 07/24/19 Page 273 of 373



              CLAIMS ON BEHALF OF THE NORTH DAKOTA SUBCLASS

                                          COUNT 65

         NOTICE OF SECURITY BREACH FOR PERSONAL INFORMATION,

                                N.D. Cent. Code §§ 51-30-02, et seq.

       954.    The North Dakota Plaintiff(s) identified above (“Plaintiff,” for purposes of this

Count), individually and on behalf of the North Dakota Subclass, repeats and alleges Paragraphs

1-293, as if fully alleged herein.

       955.    Marriott is a business that owns or licenses computerized data that includes

Personal Information as defined by N.D. Cent. Code § 51-30-01(4). Marriott also maintains

computerized data that includes Personal Information which Marriott does not own.

Accordingly, it is subject to N.D. Cent. Code §§ 51-30-02 and 03.

       956.    Plaintiff’s and North Dakota Subclass members’ Personal Information includes

Personal Information covered by N.D. Cent. Code § 51-30-01(4).

       957.    Marriott is required to give immediate notice of a breach of security of a data

system to owners of Personal Information which Marriott does not own, including Plaintiff and

North Dakota Subclass members, pursuant to N.D. Cent. Code § 51-30-03.

       958.    Marriott is required to accurately notify Plaintiff and North Dakota Subclass

members if it discovers a security breach, or receives notice of a security breach which may have

compromised Personal Information which Marriott owns or licenses, in the most expedient time

possible and without unreasonable delay under N.D. Cent. Code § 51-30-02.

       959.    Because Marriott was aware of a security breach, Marriott had an obligation to

disclose the data breach as mandated by N.D. Cent. Code §§ 51-30-02 and 51-30-03.




                                                259
     Case 8:19-md-02879-PWG Document 352 Filed 07/24/19 Page 274 of 373



       960.    Pursuant to N.D. Cent. Code § 51-30-07, violations of N.D. Cent. Code §§ 51-30-

02 and 51-30-03 are unlawful sales or advertising practices which violate chapter 51-15 of the

North Dakota Century Code.

       961.    As a direct and proximate result of Marriott’s violations of N.D. Cent. Code §§

51-30-02 and 51-30-03, Plaintiff and North Dakota Subclass members suffered damages, as

described above.

       962.    Plaintiff and North Dakota Subclass members seek relief under N.D. Cent. Code

§§ 51-15-01 et seq., including actual damages and injunctive relief.

                                            COUNT 66

              NORTH DAKOTA UNLAWFUL SALES OR ADVERTISING ACT,

                                N.D. Cent. Code §§ 51-15-01, et seq.

       963.    The North Dakota Plaintiff(s) identified above (“Plaintiff,” for purposes of this

Count), individually and on behalf of the North Dakota Subclass, repeats and alleges Paragraphs

1-293, as if fully alleged herein.

       964.    Marriott, Plaintiff, and each member of the North Dakota Subclass is a “person,”

as defined by N.D. Cent. Code § 51-15-01(4).

       965.    Marriott sells and advertises “merchandise,” as defined by N.D. Cent. Code § 51-

15-01(3) and (5).

       966.    Marriott advertised, offered, or sold goods or services in North Dakota and

engaged in trade or commerce directly or indirectly affecting the people of North Dakota.

       967.    Marriott     engaged    in    deceptive,   false,   fraudulent,   misrepresentative,

unconscionable, and substantially injurious acts and practices in connection with the sale and

advertisement of merchandise, in violation of N.D. Cent. Code § 51-15-01, including:




                                                260
Case 8:19-md-02879-PWG Document 352 Filed 07/24/19 Page 275 of 373



 a. Failing to implement and maintain reasonable security and privacy measures to

    protect Plaintiff and North Dakota Subclass members’ Personal Information, which

    was a direct and proximate cause of the Data Breach;

 b. Failing to identify foreseeable security and privacy risks, remediate identified security

    and privacy risks, and adequately improve security and privacy measures following

    previous cybersecurity incidents, which was a direct and proximate cause of the Data

    Breach;

 c. Failing to comply with common law and statutory duties pertaining to the security

    and privacy of Plaintiff and North Dakota Subclass members’ Personal Information,

    including duties imposed by the FTC Act, 15 U.S.C. § 45, which was a direct and

    proximate cause of the Data Breach;

 d. Misrepresenting that it would protect the privacy and confidentiality of Plaintiff and

    North Dakota Subclass members’ Personal Information, including by implementing

    and maintaining reasonable security measures;

 e. Misrepresenting that it would comply with common law and statutory duties

    pertaining to the security and privacy of Plaintiff and North Dakota Subclass

    members’ Personal Information, including duties imposed by the FTC Act, 15 U.S.C.

    § 45;

 f. Omitting, suppressing, and concealing the material fact that it did not reasonably or

    adequately secure Plaintiff and North Dakota Subclass members’ Personal

    Information; and

 g. Omitting, suppressing, and concealing the material fact that it did not comply with

    common law and statutory duties pertaining to the security and privacy of Plaintiff




                                         261
     Case 8:19-md-02879-PWG Document 352 Filed 07/24/19 Page 276 of 373



           and North Dakota Subclass members’ Personal Information, including duties imposed

           by the FTC Act, 15 U.S.C. § 45.

       968.    Marriott’s representations and omissions were material because they were likely

to deceive reasonable consumers about the adequacy of Marriott’s data security and ability to

protect the confidentiality of consumers’ Personal Information.

       969.    The Marriott’s above-described acts and practices caused substantial injury to

Plaintiff and North Dakota Subclass members that they could not reasonably avoid; this

substantial injury outweighed any benefits to consumers or to competition.

       970.    Marriott intended to mislead Plaintiff and North Dakota Subclass members and

induce them to rely on its misrepresentations and omissions.

       971.    Marriott acted intentionally, knowingly, and maliciously to violate North

Dakota’s Unlawful Sales or Advertising Law, and recklessly disregarded Plaintiff and North

Dakota Subclass members’ rights. Marriott’s past data breaches and breaches within the

hospitality industry put it on notice that its security and privacy protections were inadequate.

       972.    As a direct and proximate result of Marriott’s deceptive, unconscionable, and

substantially injurious practices, Plaintiff and North Dakota Subclass members have suffered and

will continue to suffer injury, ascertainable losses of money or property, and monetary and non-

monetary damages, including loss of the benefit of their bargain with Marriott as they would not

have paid Marriott for goods and services or would have paid less for such goods and services

but for Marriott’s violations alleged herein; losses from fraud and identity theft; costs for credit

monitoring and identity protection services; time and expenses related to monitoring their

financial accounts for fraudulent activity; time and money spent cancelling and replacing




                                                262
     Case 8:19-md-02879-PWG Document 352 Filed 07/24/19 Page 277 of 373



passports; loss of value of their Personal Information; and an increased, imminent risk of fraud

and identity theft.

        973.      Plaintiff and North Dakota Subclass members seek all monetary and non-

monetary relief allowed by law, including injunctive relief, damages, restitution, treble damages,

civil penalties, and attorneys’ fees, costs, and disbursements.

                       CLAIMS ON BEHALF OF THE OHIO SUBCLASS

                                           COUNT 67

                         OHIO CONSUMER SALES PRACTICES ACT,

                                 Ohio Rev. Code §§ 1345.01, et seq.

        974.      The Ohio Plaintiff(s) identified above (“Plaintiff,” for purposes of this Count),

individually and on behalf of the Ohio Subclass, repeats and alleges Paragraphs 1-293, as if fully

alleged herein.

        975.      Plaintiff and Ohio Subclass members are “persons,” as defined by Ohio Rev.

Code § 1345.01(B).

        976.      Marriott was a “supplier” engaged in “consumer transactions,” as defined by Ohio

Rev. Code §§ 1345.01(A) & (C).

        977.      Marriott advertised, offered, or sold goods or services in Ohio and engaged in

trade or commerce directly or indirectly affecting the people of Ohio.

        978.      Marriott engaged in unfair and deceptive acts and practices in connection with a

consumer transaction, in violation of Ohio Rev. Code §§ 1345.02, including:

        a. Marriott represented that its goods, services, and intangibles had performance

            characteristics, uses, and benefits that it did not have, in violation of Ohio Rev. Code

            § 1345.02(B)(1); and




                                                 263
     Case 8:19-md-02879-PWG Document 352 Filed 07/24/19 Page 278 of 373



       b. Marriott represented that its goods, services, and intangibles were of a particular

          standard or quality when they were not, in violation of Ohio Rev. Code § 1345(B)(2).

       979.   Marriott engaged in unconscionable acts and practices in connection with a

consumer transaction, in violation of Ohio Rev. Code Ann. § 1345.03, including:

       a. Marriott knowingly took advantage of the inability of Plaintiff and the Ohio Subclass

          to reasonably protect their interest because of their ignorance of the issues discussed

          herein (Ohio Rev. Code Ann. § 1345.03(B)(1)); and

       b. Marriott required Plaintiff and the Ohio Subclass to enter into a consumer transaction

          on terms that Marriott knew were substantially one-sided in favor of Marriott (Ohio

          Rev. Code Ann. § 1345.03(B)(5)).

       980.   Marriott’s unfair, deceptive, and unconscionable acts and practices include:

       a. Failing to implement and maintain reasonable security and privacy measures to

          protect Plaintiff and Ohio Subclass members’ Personal Information, which was a

          direct and proximate cause of the Data Breach;

       b. Failing to identify foreseeable security and privacy risks, remediate identified security

          and privacy risks, and adequately improve security and privacy measures following

          previous cybersecurity incidents, which was a direct and proximate cause of the Data

          Breach;

       c. Failing to comply with common law and statutory duties pertaining to the security

          and privacy of Plaintiff and Ohio Subclass members’ Personal Information, including

          duties imposed by the FTC Act, 15 U.S.C. § 45;




                                               264
     Case 8:19-md-02879-PWG Document 352 Filed 07/24/19 Page 279 of 373



       d. Misrepresenting that it would protect the privacy and confidentiality of Plaintiff and

           Ohio Subclass members’ Personal Information, including by implementing and

           maintaining reasonable security measures;

       e. Misrepresenting that it would comply with common law and statutory duties

           pertaining to the security and privacy of Plaintiff and Ohio Subclass members’

           Personal Information, including duties imposed by the FTC Act, 15 U.S.C. § 45;

       f. Omitting, suppressing, and concealing the material fact that it did not reasonably or

           adequately secure Plaintiff and Ohio Subclass members’ Personal Information; and

       g. Omitting, suppressing, and concealing the material fact that it did not comply with

           common law and statutory duties pertaining to the security and privacy of Plaintiff

           and Ohio Subclass members’ Personal Information, including duties imposed by the

           FTC Act, 15 U.S.C. § 45.

       981.    Marriott’s representations and omissions were material because they were likely

to deceive reasonable consumers about the adequacy of Marriott’s data security and ability to

protect the confidentiality of consumers’ Personal Information.

       982.    Marriott intended to mislead Plaintiff and Ohio Subclass members and induce

them to rely on its misrepresentations and omissions.

       983.    Marriott acted intentionally, knowingly, and maliciously to violate Ohio’s

Consumer Sales Practices Act, and recklessly disregarded Plaintiff and Ohio Subclass members’

rights. Marriott’s past data breaches and breaches within the hospitality industry put it on notice

that its security and privacy protections were inadequate.

       984.    Marriott’s unfair, deceptive, and unconscionable acts and practices complained of

herein affected the public interest, including the many Ohioans affected by the Data Breach.




                                               265
     Case 8:19-md-02879-PWG Document 352 Filed 07/24/19 Page 280 of 373



        985.      As a direct and proximate result of Marriott’s unfair, deceptive, and

unconscionable acts and practices, Plaintiff and Ohio Subclass members have suffered and will

continue to suffer injury, ascertainable losses of money or property, and monetary and non-

monetary damages, including loss of the benefit of their bargain with Marriott as they would not

have paid Marriott for goods and services or would have paid less for such goods and services

but for Marriott’s violations alleged herein; losses from fraud and identity theft; costs for credit

monitoring and identity protection services; time and expenses related to monitoring their

financial accounts for fraudulent activity; time and money spent cancelling and replacing

passports; loss of value of their Personal Information; and an increased, imminent risk of fraud

and identity theft.

        986.      Plaintiff and the Ohio Subclass members seek all monetary and non-monetary

relief allowed by law, including declaratory and injunctive relief, the greater of actual and treble

damages or statutory damages, attorneys’ fees and costs, and any other appropriate relief.

                                           COUNT 68

                         OHIO DECEPTIVE TRADE PRACTICES ACT,

                                 Ohio Rev. Code §§ 4165.01, et seq.

        987.      The Ohio Plaintiff(s) identified above (“Plaintiff,” for purposes of this Count),

individually and on behalf of the Ohio Subclass, repeats and alleges Paragraphs 1-293, as if fully

alleged herein.

        988.      Marriott, Plaintiff, and Ohio Subclass members are each a “person,” as defined by

Ohio Rev. Code § 4165.01(D).

        989.      Marriott advertised, offered, or sold goods or services in Ohio and engaged in

trade or commerce directly or indirectly affecting the people of Ohio.




                                                 266
     Case 8:19-md-02879-PWG Document 352 Filed 07/24/19 Page 281 of 373



       990.   Marriott engaged in deceptive trade practices in the course of its business and

vocation, in violation of Ohio Rev. Code § 4165.02, including:

       a. Representing that its goods and services have characteristics, uses, benefits, or

           qualities that they do not have, in violation of Ohio Rev. Code § 4165.02(A)(7);

       b. Representing that its goods and services are of a particular standard or quality when

           they are of another, in violation of Ohio Rev. Code § 4165.02(A)(9); and

       c. Advertising its goods and services with intent not to sell them as advertise, in

           violation of Ohio Rev. Code § 4165.02(A)(11).

       991.   Marriott’s deceptive trade practices include:

       a. Failing to implement and maintain reasonable security and privacy measures to

           protect Plaintiff and Ohio Subclass members’ Personal Information, which was a

           direct and proximate cause of the Data Breach;

       b. Failing to identify foreseeable security and privacy risks, remediate identified security

           and privacy risks, and adequately improve security and privacy measures following

           previous cybersecurity incidents, which was a direct and proximate cause of the Data

           Breach;

       c. Failing to comply with common law and statutory duties pertaining to the security

           and privacy of Plaintiff and Ohio Subclass members’ Personal Information, including

           duties imposed by the FTC Act, 15 U.S.C. § 45;

       d. Misrepresenting that it would protect the privacy and confidentiality of Plaintiff and

           Ohio Subclass members’ Personal Information, including by implementing and

           maintaining reasonable security measures;




                                               267
     Case 8:19-md-02879-PWG Document 352 Filed 07/24/19 Page 282 of 373



       e. Misrepresenting that it would comply with common law and statutory duties

           pertaining to the security and privacy of Plaintiff and Ohio Subclass members’

           Personal Information, including duties imposed by the FTC Act, 15 U.S.C. § 45;

       f. Omitting, suppressing, and concealing the material fact that it did not reasonably or

           adequately secure Plaintiff and Ohio Subclass members’ Personal Information; and

       g. Omitting, suppressing, and concealing the material fact that it did not comply with

           common law and statutory duties pertaining to the security and privacy of Plaintiff

           and Ohio Subclass members’ Personal Information, including duties imposed by the

           FTC Act, 15 U.S.C. § 45.

       992.    Marriott’s representations and omissions were material because they were likely

to deceive reasonable consumers about the adequacy of Marriott’s data security and ability to

protect the confidentiality of consumers’ Personal Information.

       993.    Marriott intended to mislead Plaintiff and Ohio Subclass members and induce

them to rely on its misrepresentations and omissions.

       994.    Marriott acted intentionally, knowingly, and maliciously to violate Ohio’s

Deceptive Trade Practices Act, and recklessly disregarded Plaintiff and Ohio Subclass members’

rights. Marriott’s past data breaches and breaches within the hospitality industry put it on notice

that its security and privacy protections were inadequate.

       995.    As a direct and proximate result of Marriott’s deceptive trade practices, Plaintiff

and Ohio Subclass members have suffered and will continue to suffer injury, ascertainable losses

of money or property, and monetary and non-monetary damages, including loss of the benefit of

their bargain with Marriott as they would not have paid Marriott for goods and services or would

have paid less for such goods and services but for Marriott’s violations alleged herein; losses




                                               268
     Case 8:19-md-02879-PWG Document 352 Filed 07/24/19 Page 283 of 373



from fraud and identity theft; costs for credit monitoring and identity protection services; time

and expenses related to monitoring their financial accounts for fraudulent activity; time and

money spent cancelling and replacing passports; loss of value of their Personal Information; and

an increased, imminent risk of fraud and identity theft.

        996.    Plaintiff and Ohio Subclass members seek all monetary and non-monetary relief

allowed by law, including injunctive relief, actual damages, restitution, attorneys’ fees, and any

other relief that is just and proper.

                     CLAIMS ON BEHALF OF THE OKLAHOMA SUBCLASS

                                            COUNT 69

                        OKLAHOMA CONSUMER PROTECTION ACT,

                                   Okla. Stat. Tit. 15, §§ 751, et seq.

        997.    The Oklahoma Plaintiff(s) identified above (“Plaintiff,” for purposes of this

Count), individually and on behalf of the Oklahoma Subclass, repeats and alleges Paragraphs 1-

293, as if fully alleged herein.

        998.    Marriott is a “person,” as meant by Okla. Stat. tit. 15, § 752(1).

        999.    Marriott’s advertisements, offers of sales, sales, and distribution of goods,

services, and other things of value constituted “consumer transactions” as meant by Okla. Stat.

tit. 15, § 752(2).

        1000. Marriott, in the course of its business, engaged in unlawful practices in violation

of Okla. Stat. tit. 15, § 753, including the following:

        a. Made false representations, knowingly or with reason to know, as to the

            characteristics, uses, and benefits of the subjects of its consumer transactions, in

            violation of Okla. Stat. tit. 15, § 753(5);




                                                  269
Case 8:19-md-02879-PWG Document 352 Filed 07/24/19 Page 284 of 373



 b. Represented, knowingly or with reason to know, that the subjects of its consumer

    transactions were of a particular standard when they were of another, in violation of

    Okla. Stat. tit 15, § 753(7);

 c. Advertised, knowingly or with reason to know, the subjects of its consumer

    transactions with intent not to sell as advertised, in violation of Okla. Stat. tit 15, §

    753 (8);

 d. Committed unfair trade practices that offend established public policy and was

    immoral, unethical, oppressive, unscrupulous, and substantially injurious to

    consumers as defined by section 752(14), in violation of Okla. Stat. tit. 15, § 753(20);

    and

 e. Committed deceptive trade practices that deceived or could reasonably be expected to

    deceive or mislead a person to the detriment of that person as defined by section

    752(13), in violation of Okla. Stat. tit. 15, § 753(20).

 1001. Marriott’s unlawful practices include:

 a. Failing to implement and maintain reasonable security and privacy measures to

    protect Plaintiff and Oklahoma Subclass members’ Personal Information, which was

    a direct and proximate cause of the Data Breach;

 b. Failing to identify foreseeable security and privacy risks, remediate identified security

    and privacy risks, and adequately improve security and privacy measures following

    previous cybersecurity incidents, which was a direct and proximate cause of the Data

    Breach;




                                         270
     Case 8:19-md-02879-PWG Document 352 Filed 07/24/19 Page 285 of 373



       c. Failing to comply with common law and statutory duties pertaining to the security

           and privacy of Plaintiff and Oklahoma Subclass members’ Personal Information,

           including duties imposed by the FTC Act, 15 U.S.C. § 45;

       d. Misrepresenting that it would protect the privacy and confidentiality of Plaintiff and

           Oklahoma Subclass members’ Personal Information, including by implementing and

           maintaining reasonable security measures;

       e. Misrepresenting that it would comply with common law and statutory duties

           pertaining to the security and privacy of Plaintiff and Oklahoma Subclass members’

           Personal Information, including duties imposed by the FTC Act, 15 U.S.C. § 45;

       f. Omitting, suppressing, and concealing the material fact that it did not reasonably or

           adequately secure Plaintiff and Oklahoma Subclass members’ Personal Information;

           and

       g. Omitting, suppressing, and concealing the material fact that it did not comply with

           common law and statutory duties pertaining to the security and privacy of Plaintiff

           and Oklahoma Subclass members’ Personal Information, including duties imposed by

           the FTC Act, 15 U.S.C. § 45.

       1002. Marriott’s representations and omissions were material because they were likely

to deceive reasonable consumers about the adequacy of Marriott’s data security and ability to

protect the confidentiality of consumers’ Personal Information.

       1003. Marriott intended to mislead Plaintiff and Oklahoma Subclass members and

induce them to rely on its misrepresentations and omissions.

       1004. Had Marriott disclosed to Plaintiffs and class members that its data systems were

not secure and, thus, vulnerable to attack, Marriott would have been unable to continue in




                                              271
     Case 8:19-md-02879-PWG Document 352 Filed 07/24/19 Page 286 of 373



business and it would have been forced to adopt reasonable data security measures and comply

with the law. Instead, Marriott received, maintained, and compiled Plaintiffs’ and class

members’ Personal Information as part of the services Marriott provided and for which Plaintiffs

and class members paid without advising Plaintiffs and class members that Marriott’s data

security practices were insufficient to maintain the safety and confidentiality of Plaintiffs’ and

class members’ Personal Information. Accordingly, Plaintiff and the Oklahoma Subclass

members acted reasonably in relying on Marriott’s misrepresentations and omissions, the truth of

which they could not have discovered.

       1005. The above unlawful practices and acts by Marriott were immoral, unethical,

oppressive, unscrupulous, and substantially injurious. These acts caused substantial injury to

Plaintiff and Oklahoma Subclass members.

       1006. Marriott acted intentionally, knowingly, and maliciously to violate Oklahoma’s

Consumer Protection Act, and recklessly disregarded Plaintiff and Oklahoma Subclass members’

rights. Marriott’s past data breaches and breaches within the hospitality industry put it on notice

that its security and privacy protections were inadequate.

       1007. As a direct and proximate result of Marriott’s unlawful practices, Plaintiff and

Oklahoma Subclass members have suffered and will continue to suffer injury, ascertainable

losses of money or property, and monetary and non-monetary damages, including loss of the

benefit of their bargain with Marriott as they would not have paid Marriott for goods and

services or would have paid less for such goods and services but for Marriott’s violations alleged

herein; losses from fraud and identity theft; costs for credit monitoring and identity protection

services; time and expenses related to monitoring their financial accounts for fraudulent activity;




                                               272
     Case 8:19-md-02879-PWG Document 352 Filed 07/24/19 Page 287 of 373



time and money spent cancelling and replacing passports; loss of value of their Personal

Information; and an increased, imminent risk of fraud and identity theft.

       1008. Plaintiff and Oklahoma Subclass members seek all monetary and non-monetary

relief allowed by law, including actual damages, civil penalties, and attorneys’ fees and costs.

                   CLAIMS ON BEHALF OF THE OREGON SUBCLASS

                                          COUNT 70

             OREGON CONSUMER IDENTITY THEFT PROTECTION ACT,

                              Or. Rev. Stat. §§ 646A.604(1), et seq.

       1009. The Oregon Plaintiff(s) identified above (“Plaintiff,” for purposes of this Count),

individually and on behalf of the Oregon Subclass, repeats and alleges Paragraphs 1-293, as if

fully alleged herein.

       1010. Marriott is a business that maintains records which contain Personal Information,

within the meaning of Or. Rev. Stat. § 646A.622(1), about Plaintiff and Oregon Subclass

members.

       1011. Pursuant to Or. Rev. Stat. § 646A.622(1), a business “that maintains records

which contain Personal Information” of an Oregon resident “shall implement and maintain

reasonable security measures to protect those records from unauthorized access, acquisition,

destruction, use, modification or disclosure.”

       1012. Marriott violated Or. Rev. Stat. § 646A.622(1) by failing to implement reasonable

measures to protect Plaintiff’s and Oregon Subclass members’ Personal Information.

       1013. Marriott is a business that owns, maintains, or otherwise possesses data that

includes consumers Personal Information as defined by Or. Rev. Stat. § 646A.604(1).

       1014. Plaintiff’s and Oregon Subclass members’ Personal Information includes Personal

Information as covered under Or. Rev. Stat. § 646A.604(1).


                                                 273
     Case 8:19-md-02879-PWG Document 352 Filed 07/24/19 Page 288 of 373



       1015. Marriott is required to accurately notify Plaintiff and Oregon Subclass members if

it becomes aware of a breach of its data security system in the most expeditious time possible

and without unreasonable delay under Or. Rev. Stat. § 646A.604(1).

       1016. Because Marriott discovered a breach of its security system, it had an obligation

to disclose the data breach in a timely and accurate fashion as mandated by Or. Rev. Stat. §

646A.604(1).

       1017. By failing to disclose the Data Breach in a timely and accurate manner, Marriott

violated Or. Rev. Stat. § 646A.604(1).

       1018. Pursuant to Or. Rev. Stat. § 646A.604(9), violations of Or. Rev. Stat. §§

646A.604(1) and 646A.622(1) are unlawful practices under Or. Rev. Stat. § 646.607.

       1019. As a direct and proximate result of Marriott’s violations of Or. Rev. Stat. §§

646A.604(1) and 646A.622(1), Plaintiff and Oregon Subclass members suffered damages, as

described above.

       1020. Plaintiff and Oregon Subclass members seek relief under Or. Rev. Stat. §

646.638, including actual damages, punitive damages, and injunctive relief.

                                         COUNT 71

                        OREGON UNLAWFUL TRADE PRACTICES ACT,

                               Or. Rev. Stat. §§ 646.608, et seq.

       1021. The Oregon Plaintiff(s) identified above (“Plaintiff,” for purposes of this Count),

individually and on behalf of the Oregon Subclass, repeats and alleges Paragraphs 1-293, as if

fully alleged herein.

       1022. Marriott is a “person,” as defined by Or. Rev. Stat. § 646.605(4).

       1023. Marriott engaged in the sale of “goods and services,” as defined by Or. Rev. Stat.

§ 646.605(6)(a).


                                              274
     Case 8:19-md-02879-PWG Document 352 Filed 07/24/19 Page 289 of 373



       1024. Marriott sold “goods or services,” as defined by Or. Rev. Stat. § 646.605(6)(a).

       1025. Marriott advertised, offered, or sold goods or services in Oregon and engaged in

trade or commerce directly or indirectly affecting the people of Oregon.

       1026. Marriott engaged in unlawful practices in the course of its business and

occupation, in violation of Or. Rev. Stat. § 646.608, included the following:

       a. Represented that its goods and services have approval, characteristics, uses, benefits,

           and qualities that they do not have, in violation of Or. Rev. Stat. § 646.608(1)(e);

       b. Represented that its goods and services are of a particular standard or quality if they

           are of another, in violation of Or. Rev. Stat. § 646.608(1)(g);

       c. Advertised its goods or services with intent not to provide them as advertised, in

           violation of Or. Rev. Stat. § 646.608(1)(i); and

       d. Concurrent with tender or delivery of its goods and services, failed to disclose any

           known material defect, in violation of Or. Rev. Stat. § 646.608(1)(t).

       1027. Marriott’s unlawful practices include:

       a. Failing to implement and maintain reasonable security and privacy measures to

           protect Plaintiff and Oregon Subclass members’ Personal Information, which was a

           direct and proximate cause of the Data Breach;

       b. Failing to identify foreseeable security and privacy risks, remediate identified security

           and privacy risks, and adequately improve security and privacy measures following

           previous cybersecurity incidents, which was a direct and proximate cause of the Data

           Breach;

       c. Failing to comply with common law and statutory duties pertaining to the security

           and privacy of Plaintiff and Oregon Subclass members’ Personal Information,




                                               275
     Case 8:19-md-02879-PWG Document 352 Filed 07/24/19 Page 290 of 373



           including duties imposed by the FTC Act, 15 U.S.C. § 45, and Oregon’s Consumer

           Identity Theft Protection Act, Or. Rev. Stat. §§ 646A.600, et seq., which was a direct

           and proximate cause of the Data Breach;

       d. Misrepresenting that it would protect the privacy and confidentiality of Plaintiff and

           Oregon Subclass members’ Personal Information, including by implementing and

           maintaining reasonable security measures;

       e. Misrepresenting that it would comply with common law and statutory duties

           pertaining to the security and privacy of Plaintiff and Oregon Subclass members’

           Personal Information, including duties imposed by the FTC Act, 15 U.S.C. § 45, and

           Oregon’s Consumer Identity Theft Protection Act, Or. Rev. Stat. §§ 646A.600, et

           seq.;

       f. Omitting, suppressing, and concealing the material fact that it did not reasonably or

           adequately secure Plaintiff and Oregon

       g. Omitting, suppressing, and concealing the material fact that it did not comply with

           common law and statutory duties pertaining to the security and privacy of Plaintiff

           and Oregon Subclass members’ Personal Information, including duties imposed by

           the FTC Act, 15 U.S.C. § 45, and Oregon’s Consumer Identity Theft Protection Act,

           Or. Rev. Stat. §§ 646A.600, et seq.

       1028. Marriott’s representations and omissions were material because they were likely

to deceive reasonable consumers about the adequacy of Marriott’s data security and ability to

protect the confidentiality of consumers’ Personal Information.

       1029. Marriott intended to mislead Plaintiff and Oregon Subclass members and induce

them to rely on its misrepresentations and omissions.




                                                 276
     Case 8:19-md-02879-PWG Document 352 Filed 07/24/19 Page 291 of 373



       1030. Had Marriott disclosed to Plaintiffs and class members that its data systems were

not secure and, thus, vulnerable to attack, Marriott would have been unable to continue in

business and it would have been forced to adopt reasonable data security measures and comply

with the law. Instead, Marriott received, maintained, and compiled Plaintiffs’ and class

members’ Personal Information as part of the services Marriott provided and for which Plaintiffs

and class members paid without advising Plaintiffs and class members that Marriott’s data

security practices were insufficient to maintain the safety and confidentiality of Plaintiffs’ and

class members’ Personal Information. Accordingly, Plaintiff and the Oregon Subclass members

acted reasonably in relying on Marriott’s misrepresentations and omissions, the truth of which

they could not have discovered.

       1031. Marriott acted intentionally, knowingly, and maliciously to violate Oregon’s

Unlawful Trade Practices Act, and recklessly disregarded Plaintiff and Oregon Subclass

members’ rights. Marriott’s past data breaches and breaches within the hospitality industry put it

on notice that its security and privacy protections were inadequate.

       1032. As a direct and proximate result of Marriott’s unlawful practices, Plaintiff and

Oregon Subclass members have suffered and will continue to suffer injury, ascertainable losses

of money or property, and monetary and non-monetary damages, including loss of the benefit of

their bargain with Marriott as they would not have paid Marriott for goods and services or would

have paid less for such goods and services but for Marriott’s violations alleged herein; losses

from fraud and identity theft; costs for credit monitoring and identity protection services; time

and expenses related to monitoring their financial accounts for fraudulent activity; time and

money spent cancelling and replacing passports; loss of value of their Personal Information; and

an increased, imminent risk of fraud and identity theft.




                                                277
     Case 8:19-md-02879-PWG Document 352 Filed 07/24/19 Page 292 of 373



       1033. Plaintiff and Oregon Subclass members seek all monetary and non-monetary

relief allowed by law, including equitable relief, restitution, actual damages or statutory damages

of $200 per violation (whichever is greater), punitive damages, and reasonable attorneys’ fees

and costs.

               CLAIMS ON BEHALF OF THE PENNSYLVANIA SUBCLASS

                                           COUNT 72

  PENNSYLVANIA UNFAIR TRADE PRACTICES AND CONSUMER PROTECTION
                              LAW,

                            73 Pa. Cons. Stat. §§ 201-2 & 201-3, et seq.

       1034. The Pennsylvania Plaintiff(s) identified above (“Plaintiff,” for purposes of this

Count), individually and on behalf of the Pennsylvania Subclass, repeats and alleges Paragraphs

1-293, as if fully alleged herein.

       1035. Marriott is a “person”, as meant by 73 Pa. Cons. Stat. § 201-2(2).

       1036. Plaintiff and Pennsylvania Subclass members purchased goods and services in

“trade” and “commerce,” as meant by 73 Pa. Cons. Stat. § 201-2(3), primarily for personal,

family, and/or household purposes.

       1037. Marriott Pennsylvania engaged in unfair methods of competition and unfair or

deceptive acts or practices in the conduct of its trade and commerce in violation of 73 Pa. Cons.

Stat. Ann. § 201-3, including the following:

       a. Representing that its goods and services have characteristics, uses, benefits, and

             qualities that they do not have (73 Pa. Stat. Ann. § 201-2(4)(v));

       b. Representing that its goods and services are of a particular standard or quality if they

             are another (73 Pa. Stat. Ann. § 201-2(4)(vii)); and




                                                 278
Case 8:19-md-02879-PWG Document 352 Filed 07/24/19 Page 293 of 373



 c. Advertising its goods and services with intent not to sell them as advertised (73 Pa.

    Stat. Ann. § 201-2(4)(ix)).

 1038. Marriott’s unfair or deceptive acts and practices include:

 a. Failing to implement and maintain reasonable security and privacy measures to

    protect Plaintiff and Pennsylvania Subclass members’ Personal Information, which

    was a direct and proximate cause of the Data Breach;

 b. Failing to identify foreseeable security and privacy risks, remediate identified security

    and privacy risks, and adequately improve security and privacy measures following

    previous cybersecurity incidents, which was a direct and proximate cause of the Data

    Breach;

 c. Failing to comply with common law and statutory duties pertaining to the security

    and privacy of Plaintiff and Pennsylvania Subclass members’ Personal Information,

    including duties imposed by the FTC Act, 15 U.S.C. § 45;

 d. Misrepresenting that it would protect the privacy and confidentiality of Plaintiff and

    Pennsylvania Subclass members’ Personal Information, including by implementing

    and maintaining reasonable security measures;

 e. Misrepresenting that it would comply with common law and statutory duties

    pertaining to the security and privacy of Plaintiff and Pennsylvania Subclass

    members’ Personal Information, including duties imposed by the FTC Act, 15 U.S.C.

    § 45;

 f. Omitting, suppressing, and concealing the material fact that it did not reasonably or

    adequately secure Plaintiff and Pennsylvania Subclass members’ Personal

    Information; and




                                         279
     Case 8:19-md-02879-PWG Document 352 Filed 07/24/19 Page 294 of 373



       g. Omitting, suppressing, and concealing the material fact that it did not comply with

           common law and statutory duties pertaining to the security and privacy of Plaintiff

           and Pennsylvania Subclass members’ Personal Information, including duties imposed

           by the FTC Act, 15 U.S.C. § 45.

       1039. Marriott’s representations and omissions were material because they were likely

to deceive reasonable consumers about the adequacy of Marriott’s data security and ability to

protect the confidentiality of consumers’ Personal Information.

       1040. Marriott intended to mislead Plaintiff and Pennsylvania Subclass members and

induce them to rely on its misrepresentations and omissions.

       1041. Had Marriott disclosed to Plaintiffs and class members that its data systems were

not secure and, thus, vulnerable to attack, Marriott would have been unable to continue in

business and it would have been forced to adopt reasonable data security measures and comply

with the law. Instead, Marriott received, maintained, and compiled Plaintiffs’ and class

members’ Personal Information as part of the services Marriott provided and for which Plaintiffs

and class members paid without advising Plaintiffs and class members that Marriott’s data

security practices were insufficient to maintain the safety and confidentiality of Plaintiffs’ and

class members’ Personal Information. Accordingly, Plaintiff and the Pennsylvania Subclass

members acted reasonably in relying on Marriott’s misrepresentations and omissions, the truth of

which they could not have discovered.

       1042. Marriott acted intentionally, knowingly, and maliciously to violate Pennsylvania

Unfair Trade Practices and Consumer Protection Law, and recklessly disregarded Plaintiff and

Pennsylvania Subclass members’ rights. Marriott’s past data breaches and breaches within the

hospitality industry put it on notice that its security and privacy protections were inadequate.




                                                280
     Case 8:19-md-02879-PWG Document 352 Filed 07/24/19 Page 295 of 373



        1043. As a direct and proximate result of Marriott’s unfair methods of competition and

unfair or deceptive acts or practices and Plaintiff’s and the Pennsylvania Subclass’ reliance on

them, Plaintiff and Pennsylvania Subclass members have suffered and will continue to suffer

injury, ascertainable losses of money or property, and monetary and non-monetary damages,

including loss of the benefit of their bargain with Marriott as they would not have paid Marriott

for goods and services or would have paid less for such goods and services but for Marriott’s

violations alleged herein; losses from fraud and identity theft; costs for credit monitoring and

identity protection services; time and expenses related to monitoring their financial accounts for

fraudulent activity; time and money spent cancelling and replacing passports; loss of value of

their Personal Information; and an increased, imminent risk of fraud and identity theft.

        1044. Plaintiff and Pennsylvania Subclass members seek all monetary and non-

monetary relief allowed by law, including actual damages or statutory damages of $100

(whichever is greater), treble damages, restitution, attorneys’ fees and costs, and any additional

relief the Court deems necessary or proper.

                CLAIMS ON BEHALF OF THE PUERTO RICO SUBCLASS

                                           COUNT 73

              CITIZEN INFORMATION ON DATA BANKS SECURITY ACT,

                               P.R. Laws Ann. tit. 10, §§ 4051, et seq.

        1045. Plaintiffs, on behalf of the Puerto Rico Subclass, repeat and allege Paragraphs 1-

293, as if fully alleged herein.

        1046. Marriott is the owner and custodian of databases that include Personal

Information as defined by P.R. Laws Ann. Tit. 10, § 4051(a), and is therefore subject to. P.R.

Laws Ann. Tit. 10, § 4052.




                                                 281
     Case 8:19-md-02879-PWG Document 352 Filed 07/24/19 Page 296 of 373



       1047. Plaintiff’s and Puerto Rico Subclass members’ Personal Information includes

personal identifying information as covered under P.R. Laws Ann. Tit. 10, § 4051(a).

       1048. Marriott is required to accurately notify Plaintiff and Puerto Rico Subclass

members following discovery or notification of a breach of its data security system as

expeditiously as possible under P.R. Laws Ann. Tit. 10, § 4052.

       1049. Because Marriott discovered a breach of its data security system, Marriott had an

obligation to disclose the Data Breach in a timely and accurate fashion as mandated by P.R.

Laws Ann. Tit. 10, § 4052.

       1050. By failing to disclose the Data Breach in a timely and accurate manner, Marriott

violated P.R. Laws Ann. Tit. 10, § 4052.

       1051. As a direct and proximate result of Marriott’s violations of P.R. Laws Ann. Tit.

10, § 4052, Plaintiff and Puerto Rico Subclass members suffered damages, as described above.

       1052. Plaintiff and Puerto Rico Subclass members seek relief under P.R. Laws Ann. Tit.

10, § 4055, including actual damages and injunctive relief.

               CLAIMS ON BEHALF OF THE RHODE ISLAND SUBCLASS

                                             COUNT 74

                 RHODE ISLAND DECEPTIVE TRADE PRACTICES ACT,

                                     R.I. Gen. Laws §§ 6-13.1, et seq.

       1053. The Rhode Island Plaintiff(s) identified above (“Plaintiff,” for purposes of this

Count), individually and on behalf of the Rhode Island Subclass, repeats and alleges Paragraphs

1-293, as if fully alleged herein.

       1054. Plaintiff and Rhode Island Subclass members are each a “person,” as defined by

R.I. Gen. Laws § 6-13.1-1(3).




                                                   282
     Case 8:19-md-02879-PWG Document 352 Filed 07/24/19 Page 297 of 373



       1055. Plaintiff and Rhode Island Subclass members purchased goods and services for

personal, family, or household purposes.

       1056. Marriott advertised, offered, or sold goods or services in Rhode Island and

engaged in trade or commerce directly or indirectly affecting the people of Rhode Island, as

defined by R.I. Gen. Laws § 6-13.1-1(5).

       1057. Marriott engaged in unfair and deceptive acts and practices, in violation of R.I.

Gen. Laws § 6-13.1-2, including:

       a. Representing that its goods and services have characteristics, uses, and benefits that

           they do not have (R.I. Gen. Laws § 6-13.1-52(6)(v));

       b. Representing that its goods and services are of a particular standard or quality when

           they are of another (R.I. Gen. Laws § 6-13.1-52(6)(vii));

       c. Advertising goods or services with intent not to sell them as advertised (R.I. Gen.

           Laws § 6-13.1-52(6)(ix));

       d. Engaging in any other conduct that similarly creates a likelihood of confusion or

           misunderstanding (R.I. Gen. Laws § 6-13.1-52(6)(xii));

       e. Engaging in any act or practice that is unfair or deceptive to the consumer (R.I. Gen.

           Laws § 6-13.1-52(6)(xiii)); and

       f. Using other methods, acts, and practices that mislead or deceive members of the

           public in a material respect (R.I. Gen. Laws § 6-13.1-52(6)(xiv)).

       1058. Marriott’s unfair and deceptive acts include:

       a. Failing to implement and maintain reasonable security and privacy measures to

           protect Plaintiff and Rhode Island Subclass members’ Personal Information, which

           was a direct and proximate cause of the Data Breach;




                                               283
Case 8:19-md-02879-PWG Document 352 Filed 07/24/19 Page 298 of 373



 b. Failing to identify foreseeable security and privacy risks, remediate identified security

    and privacy risks, and adequately improve security and privacy measures following

    previous cybersecurity incidents, which was a direct and proximate cause of the Data

    Breach;

 c. Failing to comply with common law and statutory duties pertaining to the security

    and privacy of Plaintiff and Rhode Island Subclass members’ Personal Information,

    including duties imposed by the FTC Act, 15 U.S.C. § 45, and the Rhode Island

    Identity Theft Protection Act of 2015, R.I. Gen. Laws § 11-49.3-2, which was a direct

    and proximate cause of the Data Breach;

 d. Misrepresenting that it would protect the privacy and confidentiality of Plaintiff and

    Rhode Island Subclass members’ Personal Information, including by implementing

    and maintaining reasonable security measures;

 e. Misrepresenting that it would comply with common law and statutory duties

    pertaining to the security and privacy of Plaintiff and Rhode Island Subclass

    members’ Personal Information, including duties imposed by the FTC Act, 15 U.S.C.

    § 45, and the Rhode Island Identity Theft Protection Act of 2015, R.I. Gen. Laws §

    11-49.3-2;

 f. Omitting, suppressing, and concealing the material fact that it did not reasonably or

    adequately secure Plaintiff and Rhode Island Subclass members’ Personal

    Information; and

 g. Omitting, suppressing, and concealing the material fact that it did not comply with

    common law and statutory duties pertaining to the security and privacy of Plaintiff

    and Rhode Island Subclass members’ Personal Information, including duties imposed




                                         284
     Case 8:19-md-02879-PWG Document 352 Filed 07/24/19 Page 299 of 373



           by the FTC Act, 15 U.S.C. § 45, and the Rhode Island Identity Theft Protection Act

           of 2015, R.I. Gen. Laws § 11-49.3-2.

       1059. Marriott’s representations and omissions were material because they were likely

to deceive reasonable consumers about the adequacy of Marriott’s data security and ability to

protect the confidentiality of consumers’ Personal Information.

       1060. Marriott intended to mislead Plaintiff and Rhode Island Subclass members and

induce them to rely on its misrepresentations and omissions.

       1061. Marriott acted intentionally, knowingly, and maliciously to violate Rhode Island’s

Deceptive Trade Practices Act, and recklessly disregarded Plaintiff and Rhode Island Subclass

members’ rights. Marriott’s past data breaches and breaches within the hospitality industry put it

on notice that its security and privacy protections were inadequate.

       1062. As a direct and proximate result of Marriott’s unfair and deceptive acts, Plaintiff

and Rhode Island Subclass members have suffered and will continue to suffer injury,

ascertainable losses of money or property, and monetary and non-monetary damages, including

loss of the benefit of their bargain with Marriott as they would not have paid Marriott for goods

and services or would have paid less for such goods and services but for Marriott’s violations

alleged herein; losses from fraud and identity theft; costs for credit monitoring and identity

protection services; time and expenses related to monitoring their financial accounts for

fraudulent activity; time and money spent cancelling and replacing passports; loss of value of

their Personal Information; and an increased, imminent risk of fraud and identity theft.

       1063. Plaintiff and Rhode Island Subclass members seek all monetary and non-

monetary relief allowed by law, including actual damages or statutory damages of $200 per




                                               285
     Case 8:19-md-02879-PWG Document 352 Filed 07/24/19 Page 300 of 373



Subclass Member (whichever is greater), punitive damages, injunctive relief, restitution and

other equitable relief, and attorneys’ fees and costs.

             CLAIMS ON BEHALF OF THE SOUTH CAROLINA SUBCLASS

                                           COUNT 75

                  SOUTH CAROLINA DATA BREACH SECURITY ACT,

                                S.C. Code Ann. §§ 39-1-90, et seq.

       1064. The South Carolina Plaintiff(s) identified above (“Plaintiff,” for purposes of this

Count), individually and on behalf of the South Carolina Subclass, repeats and alleges

Paragraphs 1-293, as if fully alleged herein.

       1065. Marriott is a business that owns or licenses computerized data or other data that

includes personal identifying information as defined by S.C. Code Ann. § 39-1-90(A).

       1066. Plaintiff’s and South Carolina Subclass members’ Personal Information includes

personal identifying information as covered under S.C. Code Ann. § 39-1-90(D)(3).

       1067. Marriott is required to accurately notify Plaintiff and South Carolina Subclass

members following discovery or notification of a breach of its data security system if Personal

Information that was not rendered unusable through encryption, redaction, or other methods was,

or was reasonably believed to have been, acquired by an unauthorized person, creating a material

risk of harm, in the most expedient time possible and without unreasonable delay under S.C.

Code Ann. § 39-1-90(A).

       1068. Because Marriott discovered a breach of its data security system in which

Personal Information that was not rendered unusable through encryption, redaction, or other

methods, was, or was reasonably believed to have been, acquired by an unauthorized person,

creating a material risk of harm, Marriott had an obligation to disclose the Data Breach in a

timely and accurate fashion as mandated by S.C. Code Ann. § 39-1-90(A).


                                                 286
     Case 8:19-md-02879-PWG Document 352 Filed 07/24/19 Page 301 of 373



       1069. By failing to disclose the Data Breach in a timely and accurate manner, Marriott

violated S.C. Code Ann. § 39-1-90(A).

       1070. As a direct and proximate result of Marriott’s violations of S.C. Code Ann. § 39-

1-90(A), Plaintiff and South Carolina Subclass members suffered damages, as described above.

       1071. Plaintiff and South Carolina Subclass members seek relief under S.C. Code Ann.

§ 39-1-90(G), including actual damages and injunctive relief.

                                          COUNT 76

                 SOUTH CAROLINA UNFAIR TRADE PRACTICES ACT,

                                S.C. Code Ann. §§ 39-5-10, et seq.

       1072. The South Carolina Plaintiff(s) identified above (“Plaintiff,” for purposes of this

Count), individually and on behalf of the South Carolina Subclass, repeats and alleges

Paragraphs 1-293, as if fully alleged herein.

       1073. Marriott is a “person,” as defined by S.C. Code Ann. § 39-5-10(a).

       1074. South Carolina’s Unfair Trade Practices Act (SC UTPA) prohibits “unfair or

deceptive acts or practices in the conduct of any trade or commerce.” S.C. Code Ann. § 39-5-20.

       1075. Marriott advertised, offered, or sold goods or services in South Carolina and

engaged in trade or commerce directly or indirectly affecting the people of South Carolina, as

defined by S.C. Code Ann. § 39-5-10(b).

       1076. Marriott engaged in unfair and deceptive acts and practices, including:

       a. Failing to implement and maintain reasonable security and privacy measures to

           protect Plaintiff and South Carolina Subclass members’ Personal Information, which

           was a direct and proximate cause of the Data Breach;

       b. Failing to identify foreseeable security and privacy risks, remediate identified security

           and privacy risks, and adequately improve security and privacy measures following


                                                287
     Case 8:19-md-02879-PWG Document 352 Filed 07/24/19 Page 302 of 373



              previous cybersecurity incidents, which was a direct and proximate cause of the Data

              Breach;

       c. Failing to comply with common law and statutory duties pertaining to the security

              and privacy of Plaintiff and South Carolina Subclass members’ Personal Information,

              including duties imposed by the FTC Act, 15 U.S.C. § 45, which was a direct and

              proximate cause of the Data Breach;

       d. Misrepresenting that it would protect the privacy and confidentiality of Plaintiff and

              South Carolina Subclass members’ Personal Information, including by implementing

              and maintaining reasonable security measures;

       e. Misrepresenting that it would comply with common law and statutory duties

              pertaining to the security and privacy of Plaintiff and South Carolina Subclass

              members’ Personal Information, including duties imposed by the FTC Act, 15 U.S.C.

              § 45;

       f. Omitting, suppressing, and concealing the material fact that it did not reasonably or

              adequately secure Plaintiff and South Carolina Subclass members’ Personal

              Information; and

       g. Omitting, suppressing, and concealing the material fact that it did not comply with

              common law and statutory duties pertaining to the security and privacy of Plaintiff

              and South Carolina Subclass members’ Personal Information, including duties

              imposed by the FTC Act, 15 U.S.C. § 45.

       1077. Marriott’s acts and practices had, and continue to have, the tendency or capacity

to deceive.




                                                288
     Case 8:19-md-02879-PWG Document 352 Filed 07/24/19 Page 303 of 373



       1078. Marriott’s representations and omissions were material because they were likely

to deceive reasonable consumers about the adequacy of Marriott’s data security and ability to

protect the confidentiality of consumers’ Personal Information.

       1079. Marriott intended to mislead Plaintiff and South Carolina Subclass members and

induce them to rely on its misrepresentations and omissions.

       1080. Had Marriott disclosed to Plaintiffs and class members that its data systems were

not secure and, thus, vulnerable to attack, Marriott would have been unable to continue in

business and it would have been forced to adopt reasonable data security measures and comply

with the law. Instead, Marriott received, maintained, and compiled Plaintiffs’ and class

members’ Personal Information as part of the services Marriott provided and for which Plaintiffs

and class members paid without advising Plaintiffs and class members that Marriott’s data

security practices were insufficient to maintain the safety and confidentiality of Plaintiffs’ and

class members’ Personal Information. Accordingly, Plaintiff and the South Carolina Subclass

members acted reasonably in relying on Marriott’s misrepresentations and omissions, the truth of

which they could not have discovered.

       1081. Marriott had a duty to disclose the above-described facts due to the circumstances

of this case and the sensitivity and extensivity of the Personal Information in its possession. Such

a duty is also implied by law due to the nature of the relationship between consumers—including

Plaintiff and the South Carolina Subclass—and Marriott, because consumers are unable to fully

protect their interests with regard to the Personal Information in Marriott’s possession, and place

trust and confidence in Marriott. Marriott’s duty to disclose also arose from its:

       a. Possession of exclusive knowledge regarding the security of the data in its systems;

       b. Active concealment of the state of its security; and/or




                                                289
     Case 8:19-md-02879-PWG Document 352 Filed 07/24/19 Page 304 of 373



       c. Incomplete representations about the security and integrity of its computer and data

           systems, and its prior data breaches, while purposefully withholding material facts

           from Plaintiff and the South Carolina Subclass that contradicted these representations.

       1082. Marriott’s business acts and practices offend an established public policy, or are

immoral, unethical, or oppressive. Marriott’s acts and practices offend established public policies

that seek to protect consumers’ Personal Information and ensure that entities entrusted with

Personal Information use appropriate security measures. These public policies are reflected in

laws such as the FTC Act, 15 U.S.C. § 45, and the South Carolina Data Breach Security Act,

S.C. Code § 39-1-90, et seq.

       1083. Marriott’s failure to implement and maintain reasonable security measures was

immoral, unethical, or oppressive in light of Marriott’s long history of inadequate data security

and previous data breaches and the sensitivity and extensivity of Personal Information in its

possession.

       1084. Marriott’s unfair and deceptive acts or practices adversely affected the public

interest because such acts or practices have the potential for repetition; Marriott engages in such

acts or practices as a general rule; and such acts or practices impact the public at large, including

the many South Carolinians impacted by the Data Breach.

       1085. Marriott’s unfair and deceptive acts or practices have the potential for repetition

because the same kinds of actions occurred in the past, including past data breaches, thus making

it likely that these acts or practices will continue to occur if left undeterred. Additionally,

Marriott’s policies and procedures, such as its security practices, create the potential for

recurrence of the complained-of business acts and practices.




                                                290
     Case 8:19-md-02879-PWG Document 352 Filed 07/24/19 Page 305 of 373



        1086. Marriott’s violations present a continuing risk to Plaintiff and South Carolina

Subclass members as well as to the general public.

        1087. Marriott intended to mislead Plaintiff and South Carolina Subclass members and

induce them to rely on its misrepresentations and omissions.

        1088. Marriott acted intentionally, knowingly, and maliciously to violate South

Carolina’s Unfair Trade Practices Act, and recklessly disregarded Plaintiff and South Carolina

Subclass members’ rights. Marriott’s past data breaches and breaches within the hospitality

industry put it on notice that its security and privacy protections were inadequate. In light of this

conduct, punitive damages would serve the interest of society in punishing and warning others

not to engage in such conduct, and would deter Marriott and others from committing similar

conduct in the future.

        1089. As a direct and proximate result of Marriott’s unfair and deceptive acts or

practices, Plaintiff and South Carolina Subclass members have suffered and will continue to

suffer injury, ascertainable losses of money or property, and monetary and non-monetary

damages, including loss of the benefit of their bargain with Marriott as they would not have paid

Marriott for goods and services or would have paid less for such goods and services but for

Marriott’s violations alleged herein; losses from fraud and identity theft; costs for credit

monitoring and identity protection services; time and expenses related to monitoring their

financial accounts for fraudulent activity; time and money spent cancelling and replacing

passports; loss of value of their Personal Information; and an increased, imminent risk of fraud

and identity theft.




                                                291
     Case 8:19-md-02879-PWG Document 352 Filed 07/24/19 Page 306 of 373



       1090. Plaintiff and South Carolina Subclass members seek all monetary and non-

monetary relief allowed by law, including damages for their economic losses; treble damages;

punitive damages; injunctive relief; and reasonable attorneys’ fees and costs.

              CLAIMS ON BEHALF OF THE SOUTH DAKOTA SUBCLASS

                                          COUNT 77

        SOUTH DAKOTA DECEPTIVE TRADE PRACTICES AND CONSUMER
                          PROTECTION ACT,

                               S.D. Codified Laws §§ 37-24-1, et seq.

       1091. The South Dakota Plaintiff(s) identified above (“Plaintiff,” for purposes of this

Count), individually and on behalf of the South Dakota Subclass, repeats and alleges Paragraphs

1-293, as if fully alleged herein.

       1092. Marriott is a “person,” as defined by S.D. Codified Laws § 37-24-1(8).

       1093. Marriott advertises and sells “merchandise,” as defined by S.D. Codified Laws §

37-24-1(6), (7), & (13).

       1094. Marriott advertised, offered, or sold goods or services in South Dakota and

engaged in trade or commerce directly or indirectly affecting the people of South Dakota, as

defined by S.D. Codified Laws § 37-24-1(6), (7), & (13).

       1095. Marriott knowingly engaged in deceptive acts or practices, misrepresentation,

concealment, suppression, or omission of material facts in connection with the sale and

advertisement of goods or services, in violation of S.D. Codified Laws § 37-24-6, including:

       a. Failing to implement and maintain reasonable security and privacy measures to

           protect Plaintiff and South Dakota Subclass members’ Personal Information, which

           was a direct and proximate cause of the Data Breach;




                                                292
Case 8:19-md-02879-PWG Document 352 Filed 07/24/19 Page 307 of 373



 b. Failing to identify foreseeable security and privacy risks, remediate identified security

    and privacy risks, and adequately improve security and privacy measures following

    previous cybersecurity incidents, which was a direct and proximate cause of the Data

    Breach;

 c. Failing to comply with common law and statutory duties pertaining to the security

    and privacy of Plaintiff and South Dakota Subclass members’ Personal Information,

    including duties imposed by the FTC Act, 15 U.S.C. § 45, which was a direct and

    proximate cause of the Data Breach;

 d. Misrepresenting that it would protect the privacy and confidentiality of Plaintiff and

    South Dakota Subclass members’ Personal Information, including by implementing

    and maintaining reasonable security measures;

 e. Misrepresenting that it would comply with common law and statutory duties

    pertaining to the security and privacy of Plaintiff and South Dakota Subclass

    members’ Personal Information, including duties imposed by the FTC Act, 15 U.S.C.

    § 45;

 f. Omitting, suppressing, and concealing the material fact that it did not reasonably or

    adequately secure Plaintiff and South Dakota Subclass members’ Personal

    Information; and

 g. Omitting, suppressing, and concealing the material fact that it did not comply with

    common law and statutory duties pertaining to the security and privacy of Plaintiff

    and South Dakota Subclass members’ Personal Information, including duties imposed

    by the FTC Act, 15 U.S.C. § 45.




                                         293
     Case 8:19-md-02879-PWG Document 352 Filed 07/24/19 Page 308 of 373



       1096. Marriott intended to mislead Plaintiff and South Dakota Subclass members and

induce them to rely on its misrepresentations and omissions.

       1097. Marriott’s representations and omissions were material because they were likely

to deceive reasonable consumers about the adequacy of Marriott’s data security and ability to

protect the confidentiality of consumers’ Personal Information.

       1098. Had Marriott disclosed to Plaintiffs and class members that its data systems were

not secure and, thus, vulnerable to attack, Marriott would have been unable to continue in

business and it would have been forced to adopt reasonable data security measures and comply

with the law. Instead, Marriott received, maintained, and compiled Plaintiffs’ and class

members’ Personal Information as part of the services Marriott provided and for which Plaintiffs

and class members paid without advising Plaintiffs and class members that Marriott’s data

security practices were insufficient to maintain the safety and confidentiality of Plaintiffs’ and

class members’ Personal Information. Accordingly, Plaintiff and the South Dakota Subclass

members acted reasonably in relying on Marriott’s misrepresentations and omissions, the truth of

which they could not have discovered.

       1099. Marriott had a duty to disclose the above facts because Plaintiff and the South

Dakota Subclass members reposed a trust and confidence in Marriott when they provided their

Personal Information to Marriott in exchange for Marriott’s services. In addition, such a duty is

implied by law due to the nature of the relationship between consumers, including Plaintiff and

the South Dakota Subclass, and Marriott because consumers are unable to fully protect their

interests with regard to their data, and have placed trust and confidence in Marriott. Marriott’s

duty to disclose also arose from its:

       a. Possession of exclusive knowledge regarding the security of the data in its systems;




                                               294
     Case 8:19-md-02879-PWG Document 352 Filed 07/24/19 Page 309 of 373



       b. Active concealment of the state of its security; and/or

       c. Incomplete representations about the security and integrity of its computer and data

           systems, and its prior data breaches, while purposefully withholding material facts

           from Plaintiff and the South Dakota Subclass that contradicted these representations.

       1100. As a direct and proximate result of Marriott’s deceptive acts or practices,

misrepresentations, and concealment, suppression, and/or omission of material facts, Plaintiff

and South Dakota Subclass members have suffered and will continue to suffer injury,

ascertainable losses of money or property, and monetary and non-monetary damages, including

loss of the benefit of their bargain with Marriott as they would not have paid Marriott for goods

and services or would have paid less for such goods and services but for Marriott’s violations

alleged herein; losses from fraud and identity theft; costs for credit monitoring and identity

protection services; time and expenses related to monitoring their financial accounts for

fraudulent activity; time and money spent cancelling and replacing passports; loss of value of

their Personal Information; and an increased, imminent risk of fraud and identity theft.

       1101. Marriott’s violations present a continuing risk to Plaintiff and South Dakota

Subclass members as well as to the general public.

       1102. Plaintiff and South Dakota Subclass members seek all monetary and non-

monetary relief allowed by law, including actual damages, restitution, injunctive relief, and

reasonable attorneys’ fees and costs.




                                               295
     Case 8:19-md-02879-PWG Document 352 Filed 07/24/19 Page 310 of 373



                 CLAIMS ON BEHALF OF THE TENNESSEE SUBCLASS

                                         COUNT 78

        TENNESSEE PERSONAL CONSUMER INFORMATION RELEASE ACT,

                              Tenn. Code Ann. §§ 47-18-2107, et seq.

        1103. The Tennessee Plaintiff(s) identified above (“Plaintiff,” for purposes of this

Count), individually and on behalf of the Tennessee Subclass, repeats and alleges Paragraphs 1-

293, as if fully alleged herein.

        1104. Marriott is a business that owns or licenses computerized data that includes

Personal Information as defined by Tenn. Code Ann. § 47-18-2107(a)(2).

        1105. Plaintiff’s and Tennessee Subclass members’ Personal Information includes

Personal Information as covered under Tenn. Code Ann. § 47-18- 2107(a)(3)(A).

        1106. Marriott is required to accurately notify Plaintiff and Tennessee Subclass

members following discovery or notification of a breach of its data security system in which

unencrypted Personal Information was, or is reasonably believed to have been, acquired by an

unauthorized person, in the most expedient time possible and without unreasonable delay under

Tenn. Code Ann. § 47-18-2107(b).

        1107. Because Marriott discovered a breach of its security system in which unencrypted

Personal Information was, or is reasonably believed to have been, acquired by an unauthorized

person, Marriott had an obligation to disclose the Data Breach in a timely and accurate fashion as

mandated by Tenn. Code Ann. § 47-18-2107(b).

        1108. By failing to disclose the Data Breach in a timely and accurate manner, Marriott

violated Tenn. Code Ann. § 47-18-2107(b).

        1109. As a direct and proximate result of Marriott’s violations of Tenn. Code Ann. § 47-

18-2107(b), Plaintiff and Tennessee Subclass members suffered damages, as described above.


                                               296
     Case 8:19-md-02879-PWG Document 352 Filed 07/24/19 Page 311 of 373



        1110. Plaintiff and Tennessee Subclass members seek relief under Tenn. Code Ann. §§

47-18-2107(h), 47-18-2104(d), and 47-18-2104(f), including actual damages, injunctive relief,

and treble damages.

                                          COUNT 79

                       TENNESSEE CONSUMER PROTECTION ACT,

                               Tenn. Code Ann. §§ 47-18-101, et seq.

        1111. The Tennessee Plaintiff(s) identified above (“Plaintiff,” for purposes of this

Count), individually and on behalf of the Tennessee Subclass, repeats and alleges Paragraphs 1-

293, as if fully alleged herein.

        1112. Marriott is a “person,” as defined by Tenn. Code § 47-18-103(13).

        1113. Plaintiff and Tennessee Subclass members are “consumers,” as meant by Tenn.

Code § 47-18-103(2).

        1114. Marriott advertised and sold “goods” or “services” in “consumer transaction[s],”

as defined by Tenn. Code §§ 47-18-103(7), (18) & (19).

        1115. Marriott advertised, offered, or sold goods or services in Tennessee and engaged

in trade or commerce directly or indirectly affecting the people of Tennessee, as defined by

Tenn. Code §§ 47-18-103(7), (18) & (19). And Marriott’s acts or practices affected the conduct

of trade or commerce, under Tenn. Code § 47-18-104.

        1116. Marriott’s unfair and deceptive acts and practices include:

        a. Failing to implement and maintain reasonable security and privacy measures to

            protect Plaintiff and Tennessee Subclass members’ Personal Information, which was

            a direct and proximate cause of the Data Breach;

        b. Failing to identify foreseeable security and privacy risks, remediate identified security

            and privacy risks, and adequately improve security and privacy measures following


                                                297
     Case 8:19-md-02879-PWG Document 352 Filed 07/24/19 Page 312 of 373



           previous cybersecurity incidents, which was a direct and proximate cause of the Data

           Breach;

       c. Failing to comply with common law and statutory duties pertaining to the security

           and privacy of Plaintiff and Tennessee Subclass members’ Personal Information,

           including duties imposed by the FTC Act, 15 U.S.C. § 45, which was a direct and

           proximate cause of the Data Breach;

       d. Misrepresenting that it would protect the privacy and confidentiality of Plaintiff and

           Tennessee Subclass members’ Personal Information, including by implementing and

           maintaining reasonable security measures;

       e. Misrepresenting that it would comply with common law and statutory duties

           pertaining to the security and privacy of Plaintiff and Tennessee Subclass members’

           Personal Information, including duties imposed by the FTC Act, 15 U.S.C. § 45;

       f. Omitting, suppressing, and concealing the material fact that it did not reasonably or

           adequately secure Plaintiff and Tennessee Subclass members’ Personal Information;

           and

       g. Omitting, suppressing, and concealing the material fact that it did not comply with

           common law and statutory duties pertaining to the security and privacy of Plaintiff

           and Subclass members’ Personal Information, including duties imposed by the FTC

           Act, 15 U.S.C. § 45.

       1117. Marriott intended to mislead Plaintiff and Tennessee Subclass members and

induce them to rely on its misrepresentations and omissions.




                                              298
     Case 8:19-md-02879-PWG Document 352 Filed 07/24/19 Page 313 of 373



       1118. Marriott’s representations and omissions were material because they were likely

to deceive reasonable consumers about the adequacy of Marriott’s data security and ability to

protect the confidentiality of consumers’ Personal Information.

       1119. Had Marriott disclosed to Plaintiff and Tennessee Subclass members that its data

systems were not secure and, thus, vulnerable to attack, Marriott would have been unable to

continue in business and it would have been forced to adopt reasonable data security measures

and comply with the law. Instead, Marriott received, maintained, and compiled Plaintiff’s and

Tennessee Subclass members’ Personal Information as part of the services Marriott provided and

for which Plaintiff and Tennessee Subclass members paid without advising Plaintiff and

Tennessee Subclass members that Marriott’s data security practices were insufficient to maintain

the safety and confidentiality of Plaintiff’s and Tennessee Subclass members’ Personal

Information. Accordingly, Plaintiff and the Tennessee Subclass members acted reasonably in

relying on Marriott’s misrepresentations and omissions, the truth of which they could not have

discovered.

       1120. Marriott had a duty to disclose the above facts due to the circumstances of this

case and the sensitivity and extensivity of the Personal Information in its possession. This duty

arose because Plaintiff and the Tennessee Subclass members reposed a trust and confidence in

Marriott when they provided their Personal Information to Marriott in exchange for Marriott’s

services. In addition, such a duty is implied by law due to the nature of the relationship between

consumers, including Plaintiff and the Tennessee Subclass, and Marriott because consumers are

unable to fully protect their interests with regard to their data, and placed trust and confidence in

Marriott. Marriott’s duty to disclose also arose from its:

       a. Possession of exclusive knowledge regarding the security of the data in its systems;




                                                299
     Case 8:19-md-02879-PWG Document 352 Filed 07/24/19 Page 314 of 373



          b. Active concealment of the state of its security; and/or

          c. Incomplete representations about the security and integrity of its computer and data

             systems, and its prior data breaches, while purposefully withholding material facts

             from Plaintiff and the Tennessee Subclass that contradicted these representations.

          1121. Marriott’s “unfair” acts and practices caused or were likely to cause substantial

injury to consumers which was not reasonably avoidable by consumers themselves and not

outweighed by countervailing benefits to consumers or to competition.

          1122. The injury to consumers was and is substantial because it was non-trivial and non-

speculative; and involved a monetary injury and/or an unwarranted risk to the safety of their

Personal Information or the security of their identity or credit. The injury to consumers was

substantial not only because it inflicted harm on a significant number of consumers, but also

because it inflicted a significant amount of harm on each consumer.

          1123. Consumers could not have reasonably avoided injury because Marriott’s business

acts and practices unreasonably created or took advantage of an obstacle to the free exercise of

consumer decision-making. By withholding important information from consumers about the

inadequacy of its data security, Marriott created an asymmetry of information between it and

consumers that precluded consumers from taking action to avoid or mitigate injury.

          1124. Marriott’s inadequate data security had no countervailing benefit to consumers or

to competition.

          1125. By misrepresenting and omitting material facts about its data security and failing

to comply with its common law and statutory duties pertaining to data security (including its

duties under the FTC Act), Marriott violated the following provisions of Tenn. Code § 47-18-

104(b):




                                                 300
     Case 8:19-md-02879-PWG Document 352 Filed 07/24/19 Page 315 of 373



       a. Representing that goods or services have sponsorship, approval, characteristics,

           ingredients, uses, benefits or quantities that they do not have;

       b. Representing that goods or services are of a particular standard, quality or grade, if

           they are of another;

       c. Advertising goods or services with intent not to sell them as advertised;

       d. Representing that a consumer transaction confers or involves rights, remedies or

           obligations that it does not have or involve.

       1126. Marriott acted intentionally, knowingly, and maliciously to violate Tennessee’s

Consumer Protection Act, and recklessly disregarded Plaintiff and Tennessee Subclass members’

rights. Marriott’s past data breaches and breaches within the hospitality industry put it on notice

that its security and privacy protections were inadequate.

       1127. As a direct and proximate result of Marriott’s unfair and deceptive acts or

practices, Plaintiff and Tennessee Subclass members have suffered and will continue to suffer

injury, ascertainable losses of money or property, and monetary and non-monetary damages,

including loss of the benefit of their bargain with Marriott as they would not have paid Marriott

for goods and services or would have paid less for such goods and services but for Marriott’s

violations alleged herein; losses from fraud and identity theft; costs for credit monitoring and

identity protection services; time and expenses related to monitoring their financial accounts for

fraudulent activity; time and money spent cancelling and replacing passports; loss of value of

their Personal Information; and an increased, imminent risk of fraud and identity theft.

       1128. Marriott’s violations present a continuing risk to Plaintiff and Tennessee Subclass

members as well as to the general public.




                                                301
     Case 8:19-md-02879-PWG Document 352 Filed 07/24/19 Page 316 of 373



       1129. Plaintiff and Tennessee Subclass members seek all monetary and non-monetary

relief allowed by law, including injunctive relief, actual damages, treble damages for each willful

or knowing violation, attorneys’ fees and costs, and any other relief that is necessary and proper.

                    CLAIMS ON BEHALF OF THE TEXAS SUBCLASS

                                          COUNT 80

         DECEPTIVE TRADE PRACTICES—CONSUMER PROTECTION ACT,

                            Texas Bus. & Com. Code §§ 17.41, et seq.

       1130. The Texas Plaintiff(s) identified above (“Plaintiff,” for purposes of this Count),

individually and on behalf of the Texas Subclass, repeats and alleges Paragraphs 1-293, as if

fully alleged herein.

       1131. Marriott is a “person,” as defined by Tex. Bus. & Com. Code § 17.45(3).

       1132. Plaintiffs and the Texas Subclass members are “consumers,” as defined by Tex.

Bus. & Com. Code § 17.45(4).

       1133. Marriott advertised, offered, or sold goods or services in Texas and engaged in

trade or commerce directly or indirectly affecting the people of Texas, as defined by Tex. Bus. &

Com. Code § 17.45(6).

       1134. Marriott engaged in false, misleading, or deceptive acts and practices, in violation

of Tex. Bus. & Com. Code § 17.46(b), including:

       a. Representing that goods or services have sponsorship, approval, characteristics,

           ingredients, uses, benefits or quantities that they do not have;

       b. Representing that goods or services are of a particular standard, quality or grade, if

           they are of another;

       c. Advertising goods or services with intent not to sell them as advertised.

       1135. Marriott’s false, misleading, and deceptive acts and practices include:


                                                302
Case 8:19-md-02879-PWG Document 352 Filed 07/24/19 Page 317 of 373



 a. Failing to implement and maintain reasonable security and privacy measures to

    protect Plaintiff and Texas Subclass members’ Personal Information, which was a

    direct and proximate cause of the Data Breach;

 b. Failing to identify foreseeable security and privacy risks, remediate identified security

    and privacy risks, and adequately improve security and privacy measures following

    previous cybersecurity incidents, which was a direct and proximate cause of the Data

    Breach;

 c. Failing to comply with common law and statutory duties pertaining to the security

    and privacy of Plaintiff and Texas Subclass members’ Personal Information,

    including duties imposed by the FTC Act, 15 U.S.C. § 45, and Texas’s data security

    statute, Tex. Bus. & Com. Code § 521.052, which was a direct and proximate cause

    of the Data Breach;

 d. Misrepresenting that it would protect the privacy and confidentiality of Plaintiff and

    Texas Subclass members’ Personal Information, including by implementing and

    maintaining reasonable security measures;

 e. Misrepresenting that it would comply with common law and statutory duties

    pertaining to the security and privacy of Plaintiff and Texas Subclass members’

    Personal Information, including duties imposed by the FTC Act, 15 U.S.C. § 45, and

    Texas’s data security statute, Tex. Bus. & Com. Code § 521.052;

 f. Omitting, suppressing, and concealing the material fact that it did not reasonably or

    adequately secure Plaintiff and Texas Subclass members’ Personal Information; and

 g. Omitting, suppressing, and concealing the material fact that it did not comply with

    common law and statutory duties pertaining to the security and privacy of Plaintiff




                                         303
     Case 8:19-md-02879-PWG Document 352 Filed 07/24/19 Page 318 of 373



           and Texas Subclass members’ Personal Information, including duties imposed by the

           FTC Act, 15 U.S.C. § 45, and Texas’s data security statute, Tex. Bus. & Com. Code §

           521.052.

       1136. Marriott intended to mislead Plaintiff and Texas Subclass members and induce

them to rely on its misrepresentations and omissions.

       1137. Marriott’s representations and omissions were material because they were likely

to deceive reasonable consumers about the adequacy of Marriott’s data security and ability to

protect the confidentiality of consumers’ Personal Information.

       1138. Had Marriott disclosed to Plaintiffs and class members that its data systems were

not secure and, thus, vulnerable to attack, Marriott would have been unable to continue in

business and it would have been forced to adopt reasonable data security measures and comply

with the law. Instead, Marriott received, maintained, and compiled Plaintiffs’ and class

members’ Personal Information as part of the services Marriott provided and for which Plaintiffs

and class members paid without advising Plaintiffs and class members that Marriott’s data

security practices were insufficient to maintain the safety and confidentiality of Plaintiffs’ and

class members’ Personal Information. Accordingly, Plaintiff and the Texas Subclass members

acted reasonably in relying on Marriott’s misrepresentations and omissions, the truth of which

they could not have discovered.

       1139. Marriott had a duty to disclose the above facts due to the circumstances of this

case and the sensitivity and extensivity of the Personal Information in its possession. This duty

arose because Plaintiffs and the Texas Subclass members reposed a trust and confidence in

Marriott when they provided their Personal Information to Marriott in exchange for Marriott’s

services. In addition, such a duty is implied by law due to the nature of the relationship between




                                               304
     Case 8:19-md-02879-PWG Document 352 Filed 07/24/19 Page 319 of 373



consumers, including Plaintiffs and the Texas Subclass, and Marriott because consumers are

unable to fully protect their interests with regard to their data, and placed trust and confidence in

Marriott. Marriott’s duty to disclose also arose from its:

       a. Possession of exclusive knowledge regarding the security of the data in its systems;

       b. Active concealment of the state of its security; and/or

       c. Incomplete representations about the security and integrity of its computer and data

           systems, and its prior data breaches, while purposefully withholding material facts

           from Plaintiffs and the Texas Subclass that contradicted these representations.

       1140. Marriott engaged in unconscionable actions or courses of conduct, in violation of

Tex. Bus. & Com. Code Ann. § 17.50(a)(3). Marriott engaged in acts or practices which, to

consumers’ detriment, took advantage of consumers’ lack of knowledge, ability, experience, or

capacity to a grossly unfair degree.

       1141. Consumers, including Plaintiffs and Texas Subclass members, lacked knowledge

about deficiencies in Marriott’s data security because this information was known exclusively by

Marriott. Consumers also lacked the ability, experience, or capacity to secure the Personal

Information in Marriott’s possession or to fully protect their interests with regard to their data.

Plaintiffs and Texas Subclass members lack expertise in information security matters and do not

have access to Marriott’s systems in order to evaluate its security controls. Marriott took

advantage of its special skill and access to Personal Information to hide its inability to protect the

security and confidentiality of Plaintiffs and Texas Subclass members’ Personal Information.

       1142. Marriott intended to take advantage of consumers’ lack of knowledge, ability,

experience, or capacity to a grossly unfair degree, with reckless disregard of the unfairness that

would result. The unfairness resulting from Marriott’s conduct is glaringly noticeable, flagrant,




                                                 305
     Case 8:19-md-02879-PWG Document 352 Filed 07/24/19 Page 320 of 373



complete, and unmitigated. The Data Breach, which resulted from Marriott’s unconscionable

business acts and practices, exposed Plaintiffs and Texas Subclass members to a wholly

unwarranted risk to the safety of their Personal Information and the security of their identity or

credit, and worked a substantial hardship on a significant and unprecedented number of

consumers. Plaintiffs and Texas Subclass members cannot mitigate this unfairness because they

cannot undo the data breach.

       1143. Marriott acted intentionally, knowingly, and maliciously to violate Texas’s

Deceptive Trade Practices-Consumer Protection Act, and recklessly disregarded Plaintiff and

Texas Subclass members’ rights. Marriott’s past data breaches and breaches within the

hospitality industry put it on notice that its security and privacy protections were inadequate.

       1144. As a direct and proximate result of Marriott’s unconscionable and deceptive acts

or practices, Plaintiffs and Texas Subclass members have suffered and will continue to suffer

injury, ascertainable losses of money or property, and monetary and non-monetary damages,

including loss of the benefit of their bargain with Marriott as they would not have paid Marriott

for goods and services or would have paid less for such goods and services but for Marriott’s

violations alleged herein; losses from fraud and identity theft; costs for credit monitoring and

identity protection services; time and expenses related to monitoring their financial accounts for

fraudulent activity; time and money spent cancelling and replacing passports; loss of value of

their Personal Information; and an increased, imminent risk of fraud and identity theft.

       1145. Marriott’s unconscionable and deceptive acts or practices were a producing cause

of Plaintiffs’ and Texas Subclass members’ injuries, ascertainable losses, economic damages,

and non-economic damages, including their mental anguish.




                                                306
     Case 8:19-md-02879-PWG Document 352 Filed 07/24/19 Page 321 of 373



       1146. Marriott’s violations present a continuing risk to Plaintiffs and Texas Subclass

members as well as to the general public.

       1147. Plaintiffs and the Texas Subclass seek all monetary and non-monetary relief

allowed by law, including economic damages; damages for mental anguish; treble damages for

each act committed intentionally or knowingly; restitution; court costs; reasonably and necessary

attorneys’ fees; injunctive relief; and any other relief which the court deems proper.

                      CLAIMS ON BEHALF OF THE UTAH SUBCLASS

                                            COUNT 81

                       UTAH CONSUMER SALES PRACTICES ACT,

                                  Utah Code §§ 13-11-1, et seq.

       1148. The Utah Plaintiff(s) identified above (“Plaintiff,” for purposes of this Count),

individually and on behalf of the Utah Subclass, repeats and alleges Paragraphs 1-293, as if fully

alleged herein.

       1149. Marriott is a “person,” as defined by Utah Code § 13-11-1(5).

       1150. Marriott is a “supplier,” as defined by Utah Code § 13-11-1(6), because it

regularly solicits, engages in, or enforces “consumer transactions,” as defined by Utah Code §

13-11-1(2).

       1151. Marriott engaged in deceptive and unconscionable acts and practices in

connection with consumer transactions, in violation of Utah Code § 13-11-4 and Utah Code §

13-11-5, including:

       a. Failing to implement and maintain reasonable security and privacy measures to

           protect Plaintiff and Utah Subclass members’ Personal Information, which was a

           direct and proximate cause of the Data Breach;




                                                307
Case 8:19-md-02879-PWG Document 352 Filed 07/24/19 Page 322 of 373



 b. Failing to identify foreseeable security and privacy risks, remediate identified security

    and privacy risks, and adequately improve security and privacy measures following

    previous cybersecurity incidents, which was a direct and proximate cause of the Data

    Breach;

 c. Failing to comply with common law and statutory duties pertaining to the security

    and privacy of Plaintiff and Utah Subclass members’ Personal Information, including

    duties imposed by the FTC Act, 15 U.S.C. § 45, and the Utah Protection of Personal

    Information Act, Utah Code § 13-44-201, which was a direct and proximate cause of

    the Data Breach;

 d. Misrepresenting that it would protect the privacy and confidentiality of Plaintiff and

    Utah Subclass members’ Personal Information, including by implementing and

    maintaining reasonable security measures;

 e. Misrepresenting that it would comply with common law and statutory duties

    pertaining to the security and privacy of Plaintiff and Utah Subclass members’

    Personal Information, including duties imposed by the FTC Act, 15 U.S.C. § 45, and

    the Utah Protection of Personal Information Act, Utah Code § 13-44-201;

 f. Omitting, suppressing, and concealing the material fact that it did not reasonably or

    adequately secure Plaintiff and Utah Subclass members’ Personal Information; and

 g. Omitting, suppressing, and concealing the material fact that it did not comply with

    common law and statutory duties pertaining to the security and privacy of Plaintiff

    and Subclass members’ Personal Information, including duties imposed by the FTC

    Act, 15 U.S.C. § 45, and the Utah Protection of Personal Information Act, Utah Code

    § 13-44-201.




                                         308
     Case 8:19-md-02879-PWG Document 352 Filed 07/24/19 Page 323 of 373



       1152. Marriott intended to mislead Plaintiff and Utah Subclass members and induce

them to rely on its misrepresentations and omissions.

       1153. Marriott’s representations and omissions were material because they were likely

to deceive reasonable consumers about the adequacy of Marriott’s data security and ability to

protect the confidentiality of consumers’ Personal Information.

       1154. Had Marriott disclosed to Plaintiff and Utah Subclass members that its data

systems were not secure and, thus, vulnerable to attack, Marriott would have been unable to

continue in business and it would have been forced to adopt reasonable data security measures

and comply with the law. Instead, Marriott received, maintained, and compiled Plaintiff’s and

Utah Subclass members’ Personal Information as part of the services Marriott provided and for

which Plaintiff and Utah Subclass members paid without advising Plaintiff and Utah Subclass

members that Marriott’s data security practices were insufficient to maintain the safety and

confidentiality of Plaintiff’s and Utah Subclass members’ Personal Information. Accordingly,

Plaintiff and the Utah Subclass members acted reasonably in relying on Marriott’s

misrepresentations and omissions, the truth of which they could not have discovered.

       1155. Marriott had a duty to disclose the above facts due to the circumstances of this

case and the sensitivity and extensivity of the Personal Information in its possession. This duty

arose because Plaintiff and the Utah Subclass members reposed a trust and confidence in

Marriott when they provided their Personal Information to Marriott in exchange for Marriott’s

services. In addition, such a duty is implied by law due to the nature of the relationship between

consumers, including Plaintiff and the Utah Subclass, and Marriott because consumers are

unable to fully protect their interests with regard to their data, and placed trust and confidence in

Marriott. Marriott’s duty to disclose also arose from its:




                                                309
     Case 8:19-md-02879-PWG Document 352 Filed 07/24/19 Page 324 of 373



       a. Possession of exclusive knowledge regarding the security of the data in its systems;

       b. Active concealment of the state of its security; and/or

       c. Incomplete representations about the security and integrity of its computer and data

           systems, and its prior data breaches, while purposefully withholding material facts

           from Plaintiff and the Utah Subclass that contradicted these representations.

       1156. Marriott intentionally or knowingly engaged in deceptive acts or practices,

violating Utah Code § 13-11-4(2) by:

       a. indicating that the subject of a consumer transaction has sponsorship, approval,

           performance characteristics, accessories, uses, or benefits, if it has not;

       b. indicating that the subject of a consumer transaction is of a particular standard,

           quality, grade, style, or model, if it is not;

       c. indicating that the subject of a consumer transaction has been supplied in accordance

           with a previous representation, if it has not;

       d. indicating that the subject of a consumer transaction will be supplied in greater

           quantity (e.g. more data security) than the supplier intends.

       1157. Marriott engaged in unconscionable acts and practices that were oppressive and

led to unfair surprise, as shown in the setting, purpose, and effect of those acts and practices.

Marriott’s acts and practices unjustly imposed hardship on Plaintiff and the Utah Subclass by

imposing on them, through no fault of their own, an increased and imminent risk of fraud and

identity theft; substantial cost in time and expenses related to monitoring their financial accounts

for fraudulent activity and cancelling and replacing passports; and lost value of their Personal

Information. The deficiencies in Marriott’s data security, and the material misrepresentations and




                                                  310
     Case 8:19-md-02879-PWG Document 352 Filed 07/24/19 Page 325 of 373



omissions concerning those deficiencies, led to unfair surprise to Plaintiff and the Utah Subclass

when the data breach occurred.

       1158. In addition, there was an overall imbalance in the obligations and rights imposed

by the consumer transactions in question, based on the mores and industry standards of the time

and place where they occurred. Societal standards required Marriott, as one of the largest hotel

conglomerates that collects, maintains, and compiles its customers’ Personal Information, to

adequately secure Personal Information in its possession. There is a substantial imbalance

between the obligations and rights of consumers, such as Plaintiff and the Utah Subclass, and

Marriott, which has complete control over the Personal Information in its possession.

       1159. Marriott’s acts and practices were also procedurally unconscionable because

consumers, including Plaintiff and the Utah Subclass, had no practicable option but to have their

Personal Information stored in Marriott’s systems if they wanted to utilize Marriott’s services.

Marriott exploited this imbalance in power, and the asymmetry of information about its data

security, to profit by inadequately securing the Personal Information in its systems.

       1160. As a direct and proximate result of Marriott’s unconscionable and deceptive acts

or practices, Plaintiffs and Utah Subclass members have suffered and will continue to suffer

injury, ascertainable losses of money or property, and monetary and non-monetary damages,

including loss of the benefit of their bargain with Marriott as they would not have paid Marriott

for goods and services or would have paid less for such goods and services but for Marriott’s

violations alleged herein; losses from fraud and identity theft; costs for credit monitoring and

identity protection services; time and expenses related to monitoring their financial accounts for

fraudulent activity; time and money spent cancelling and replacing passports; loss of value of

their Personal Information; and an increased, imminent risk of fraud and identity theft.




                                               311
     Case 8:19-md-02879-PWG Document 352 Filed 07/24/19 Page 326 of 373



        1161. Marriott’s violations present a continuing risk to Plaintiffs and Utah Subclass

members as well as to the general public.

        1162. Plaintiff and Utah Subclass members seek all monetary and non-monetary relief

allowed by law, including actual damages, statutory damages of $2,000 per violation, amounts

necessary to avoid unjust enrichment, under Utah Code §§ 13-11-19, et seq.; injunctive relief;

and reasonable attorneys’ fees and costs.

                  CLAIMS ON BEHALF OF THE VERMONT SUBCLASS

                                            COUNT 82

                            VERMONT CONSUMER FRAUD ACT,

                                Vt. Stat. Ann. Tit. 9, §§ 2451, et seq.

        1163. The Vermont Plaintiff(s) identified above (“Plaintiff,” for purposes of this Count),

individually and on behalf of the Vermont Subclass, repeats and alleges Paragraphs 1-293, as if

fully alleged herein.

        1164. Plaintiff and Vermont Subclass members are “consumers,” as defined by Vt. Stat.

Ann. tit. 9, § 2451a(a).

        1165. Marriott’s conduct as alleged herein related to “goods” or “services” for personal,

family, or household purposes, as defined by Vt. Stat. Ann. tit. 9, § 2451a(b).

        1166. Marriott is a “seller,” as defined by Vt. Stat. Ann. tit. 9, § 2451a(c).

        1167. Marriott advertised, offered, or sold goods or services in Vermont and engaged in

trade or commerce directly or indirectly affecting the people of Vermont.

        1168. Marriott engaged in unfair and deceptive acts or practices, in violation of Vt. Stat.

tit. 9, § 2453(a), including:




                                                 312
Case 8:19-md-02879-PWG Document 352 Filed 07/24/19 Page 327 of 373



 a. Failing to implement and maintain reasonable security and privacy measures to

    protect Plaintiff and Vermont Subclass members’ Personal Information, which was a

    direct and proximate cause of the Data Breach;

 b. Failing to identify foreseeable security and privacy risks, remediate identified security

    and privacy risks, and adequately improve security and privacy measures following

    previous cybersecurity incidents, which was a direct and proximate cause of the Data

    Breach;

 c. Failing to comply with common law and statutory duties pertaining to the security

    and privacy of Plaintiff and Vermont Subclass members’ Personal Information,

    including duties imposed by the FTC Act, 15 U.S.C. § 45, which was a direct and

    proximate cause of the Data Breach;

 d. Misrepresenting that it would protect the privacy and confidentiality of Plaintiff and

    Vermont Subclass members’ Personal Information, including by implementing and

    maintaining reasonable security measures;

 e. Misrepresenting that it would comply with common law and statutory duties

    pertaining to the security and privacy of Plaintiff and Vermont Subclass members’

    Personal Information, including duties imposed by the FTC Act, 15 U.S.C. § 45;

 f. Omitting, suppressing, and concealing the material fact that it did not reasonably or

    adequately secure Plaintiff and Vermont Subclass members’ Personal Information;

    and

 g. Omitting, suppressing, and concealing the material fact that it did not comply with

    common law and statutory duties pertaining to the security and privacy of Plaintiff




                                         313
     Case 8:19-md-02879-PWG Document 352 Filed 07/24/19 Page 328 of 373



           and Vermont Subclass members’ Personal Information, including duties imposed by

           the FTC Act, 15 U.S.C. § 45.

       1169. Marriott intended to mislead Plaintiff and Vermont Subclass members and induce

them to rely on its misrepresentations and omissions.

       1170. Marriott’s representations and omissions were material because they were likely

to deceive reasonable consumers about the adequacy of Marriott’s data security and ability to

protect the confidentiality of consumers’ Personal Information.

       1171. Under the circumstances, consumers had a reasonable interpretation of Marriott’s

representations and omissions.

       1172. Marriott had a duty to disclose these facts due to the circumstances of this case

and the sensitivity and extensivity of the Personal Information in its possession. This duty arose

because Plaintiff and the Vermont Subclass members reposed a trust and confidence in Marriott

when they provided their Personal Information to Marriott in exchange for Marriott’s services. In

addition, such a duty is implied by law due to the nature of the relationship between consumers,

including Plaintiff and the Vermont Subclass, and Marriott because consumers are unable to

fully protect their interests with regard to their data, and placed trust and confidence in Marriott.

Marriott’s duty to disclose also arose from its:

       a. Possession of exclusive knowledge regarding the security of the data in its systems;

       b. Active concealment of the state of its security; and/or

       c. Incomplete representations about the security and integrity of its computer and data

           systems, and its prior data breaches, while purposefully withholding material facts

           from Plaintiff and the Vermont Subclass that contradicted these representations.




                                                   314
     Case 8:19-md-02879-PWG Document 352 Filed 07/24/19 Page 329 of 373



       1173. Marriott’s acts and practices caused or were likely to cause substantial injury to

consumers, which was not reasonably avoidable by consumers themselves and not outweighed

by countervailing benefits to consumers or to competition.

       1174. The injury to consumers was and is substantial because it was non-trivial and non-

speculative; and involved a concrete monetary injury and/or an unwarranted risk to the safety of

their Personal Information or the security of their identity or credit. The injury to consumers was

substantial not only because it inflicted harm on a significant number of consumers, but also

because it inflicted a significant amount of harm on each consumer.

       1175. Consumers could not have reasonably avoided injury because Marriott’s business

acts and practices unreasonably created or took advantage of an obstacle to the free exercise of

consumer decision-making. By withholding important information from consumers about the

inadequacy of its data security, Marriott created an asymmetry of information between it and

consumers that precluded consumers from taking action to avoid or mitigate injury.

       1176. Marriott’s inadequate data security had no countervailing benefit to consumers or

to competition.

       1177. Marriott is presumed, as a matter of law under Vt. Stat. Ann. tit. 9, § 2457, to

have intentionally violated the Vermont Consumer Protection Act because it failed to sell goods

or services in the manner and of the nature advertised or offered.

       1178. Marriott acted intentionally, knowingly, and maliciously to violate Vermont’s

Consumer Fraud Act, and recklessly disregarded Plaintiff and Vermont Subclass members’

rights. Marriott’s past data breaches and breaches within the hospitality industry put it on notice

that its security and privacy protections were inadequate.




                                               315
     Case 8:19-md-02879-PWG Document 352 Filed 07/24/19 Page 330 of 373



       1179. As a direct and proximate result of Marriott’s unfair and deceptive acts or

practices, Plaintiffs and Vermont Subclass members have suffered and will continue to suffer

injury, ascertainable losses of money or property, and monetary and non-monetary damages,

including loss of the benefit of their bargain with Marriott as they would not have paid Marriott

for goods and services or would have paid less for such goods and services but for Marriott’s

violations alleged herein; losses from fraud and identity theft; costs for credit monitoring and

identity protection services; time and expenses related to monitoring their financial accounts for

fraudulent activity; time and money spent cancelling and replacing passports; loss of value of

their Personal Information; and an increased, imminent risk of fraud and identity theft.

       1180. Marriott’s violations present a continuing risk to Plaintiffs and Vermont Subclass

members as well as to the general public.

       1181. Plaintiff and Vermont Subclass members seek all monetary and non-monetary

relief allowed by law, including injunctive relief, restitution, actual damages, disgorgement of

profits, treble damages, punitive/exemplary damages, and reasonable attorneys’ fees and costs.

              CLAIMS ON BEHALF OF THE VIRGIN ISLANDS SUBCLASS

                                            COUNT 83

                           IDENTITY THEFT PREVENTION ACT,

                               V.I. Code Ann. tit. 14 §§ 2208, et seq.

       1182. Plaintiffs, on behalf of the Virgin Islands Subclass, repeat and allege Paragraphs

1-293, as if fully alleged herein.

       1183. Marriott is a business that owns or licenses computerized data that includes

Personal Information as defined by V.I Code Ann. tit. 14 § 2201(a). Marriott also maintains

computerized data that includes Personal Information which Marriott does not own.

Accordingly, it is subject to V.I Code Ann. tit. 14 §§ 2208(a) and (b).


                                                316
     Case 8:19-md-02879-PWG Document 352 Filed 07/24/19 Page 331 of 373



       1184. Virgin Islands Subclass members’ Personal Information includes Personal

Information covered by V.I Code Ann. tit. 14 § 2201(a).

       1185. Marriott is required to give immediate notice of a breach of security of a data

system to owners of Personal Information which Marriott does not own, including Virgin Islands

Subclass members, pursuant to V.I Code Ann. tit. 14 § 2208(b).

       1186. Marriott is required to accurately notify Virgin Islands Subclass members if it

discovers a security breach, or receives notice of a security breach which may have compromised

Personal Information which Marriott owns or licenses, in the most expedient time possible and

without unreasonable delay under V.I Code Ann. tit. 14 § 2208(a).

       1187. Because Marriott was aware of a security breach, Marriott had an obligation to

disclose the data breach as mandated by V.I Code Ann. tit. 14 § 2208.

       1188. As a direct and proximate result of Marriott’s violations of V.I Code Ann. tit. 14

§§ 2208(a) and (b), Virgin Islands Subclass members suffered damages, as described above.

       1189. Virgin Islands Subclass members seek relief under V.I Code Ann. tit. 14 §§

2211(a) and (b), including actual damages, and injunctive relief.

                                          COUNT 84

 VIRGIN ISLANDS CONSUMER FRAUD AND DECEPTIVE BUSINESS PRACTICES
                             ACT,

                            Virgin Islands Code tit. 12A, §§ 301, et seq.

       1190. Plaintiffs, on behalf of the Virgin Islands Subclass, repeat and allege Paragraphs

1-293, as if fully alleged herein.

       1191. Marriott is a “person,” as defined by V.I. Code tit. 12A, § 303(h).

       1192. Plaintiff and Virgin Islands Subclass members are “consumers,” as defined by

V.I. Code tit. 12A, § 303(d).



                                                317
     Case 8:19-md-02879-PWG Document 352 Filed 07/24/19 Page 332 of 373



       1193. Marriott advertised, offered, or sold goods or services in the Virgin Islands and

engaged in trade or commerce directly or indirectly affecting the people of the Virgin Islands.

       1194. Marriott engaged in unfair and deceptive acts and practices, in violation of V.I.

Code tit. 12A, § 304, including:

       a. Failing to implement and maintain reasonable security and privacy measures to

           protect Plaintiff and Virgin Islands Subclass members’ Personal Information, which

           was a direct and proximate cause of the Data Breach;

       b. Failing to identify foreseeable security and privacy risks, remediate identified security

           and privacy risks, and adequately improve security and privacy measures following

           previous cybersecurity incidents, which was a direct and proximate cause of the Data

           Breach;

       c. Failing to comply with common law and statutory duties pertaining to the security

           and privacy of Plaintiff and Virgin Islands Subclass members’ Personal Information,

           including duties imposed by the FTC Act, 15 U.S.C. § 45, which was a direct and

           proximate cause of the Data Breach;

       d. Misrepresenting that it would protect the privacy and confidentiality of Plaintiff and

           Virgin Islands Subclass members’ Personal Information, including by implementing

           and maintaining reasonable security measures;

       e. Misrepresenting that it would comply with common law and statutory duties

           pertaining to the security and privacy of Plaintiff and Virgin Islands Subclass

           members’ Personal Information, including duties imposed by the FTC Act, 15 U.S.C.

           § 45;




                                               318
     Case 8:19-md-02879-PWG Document 352 Filed 07/24/19 Page 333 of 373



       f. Omitting, suppressing, and concealing the material fact that it did not reasonably or

           adequately secure Plaintiff and Virgin Islands Subclass members’ Personal

           Information; and

       g. Omitting, suppressing, and concealing the material fact that it did not comply with

           common law and statutory duties pertaining to the security and privacy of Plaintiff

           and Virgin Islands Subclass members’ Personal Information, including duties

           imposed by the FTC Act, 15 U.S.C. § 45.

       1195. Marriott’s acts and practices were “unfair” under V.I. Code tit. 12A, § 304

because they caused or were likely to cause substantial injury to consumers which was not

reasonably avoidable by consumers themselves and not outweighed by countervailing benefits to

consumers or to competition.

       1196. The injury to consumers from Marriott’s conduct was and is substantial because it

was non-trivial and non-speculative; and involved a monetary injury and/or an unwarranted risk

to the safety of their Personal Information or the security of their identity or credit. The injury to

consumers was substantial not only because it inflicted harm on a significant number of

consumers, but also because it inflicted a significant amount of harm on each consumer.

       1197. Consumers could not have reasonably avoided injury because Marriott’s business

acts and practices unreasonably created or took advantage of an obstacle to the free exercise of

consumer decision-making. By withholding important information from consumers about the

inadequacy of its data security, Marriott created an asymmetry of information between it and

consumers that precluded consumers from taking action to avoid or mitigate injury.

       1198. Marriott’s inadequate data security had no countervailing benefit to consumers or

to competition.




                                                 319
     Case 8:19-md-02879-PWG Document 352 Filed 07/24/19 Page 334 of 373



       1199. Marriott’s acts and practices were “deceptive” under V.I. Code tit. 12A, §§ 303 &

304 because Marriott made representations or omissions of material facts that had the capacity,

tendency or effect of deceiving or misleading consumers, including Plaintiff and Virgin Islands

Subclass members.

       1200. Marriott intended to mislead Plaintiff and Virgin Island Subclass members and

induce them to rely on its misrepresentations and omissions.

       1201. Marriott’s representations and omissions were material because they were likely

to unfairly influence or deceive reasonable consumers about the adequacy of Marriott’s data

security and ability to protect the confidentiality of consumers’ Personal Information.

       1202. Marriott had a duty to disclose the above-described facts due to the circumstances

of this case and the sensitivity and extensivity of the Personal Information in its possession. This

duty arose because Plaintiff and the Virgin Islands Subclass members reposed a trust and

confidence in Marriott when they provided their Personal Information to Marriott in exchange

for Marriott’s services. In addition, such a duty is implied by law due to the nature of the

relationship between consumers—including Plaintiff and the Virgin Islands Subclass—and

Marriott, because consumers are unable to fully protect their interests with regard to their data,

and placed trust and confidence in Marriott. Marriott’s duty to disclose also arose from its:

       a. Possession of exclusive knowledge regarding the security of the data in its systems;

       b. Active concealment of the state of its security; and/or

       c. Incomplete representations about the security and integrity of its computer and data

           systems, and its prior data breaches, while purposefully withholding material facts

           from Plaintiff and the Virgin Islands Subclass that contradicted these representations.




                                                320
     Case 8:19-md-02879-PWG Document 352 Filed 07/24/19 Page 335 of 373



        1203. Marriott acted intentionally, knowingly, and maliciously to violate the Virgin

Island’s Consumer Fraud and Deceptive Business Practices Act, and recklessly disregarded

Plaintiff and Virgin Islands Subclass members’ rights. Marriott’s past data breaches and breaches

within the hospitality industry put it on notice that its security and privacy protections were

inadequate. Marriott intentionally hid the inadequacies in its data security, callously disregarding

the rights of consumers.

        1204. As a direct and proximate result of Marriott’s unfair and deceptive acts or

practices, Plaintiff and Virgin Islands Subclass members have suffered and will continue to

suffer injury, ascertainable losses of money or property, and monetary and non-monetary

damages, including loss of the benefit of their bargain with Marriott as they would not have paid

Marriott for goods and services or would have paid less for such goods and services but for

Marriott’s violations alleged herein; losses from fraud and identity theft; costs for credit

monitoring and identity protection services; time and expenses related to monitoring their

financial accounts for fraudulent activity; time and money spent cancelling and replacing

passports; loss of value of their Personal Information; and an increased, imminent risk of fraud

and identity theft.

        1205. Marriott’s violations present a continuing risk to Plaintiff and Virgin Islands

Subclass members as well as to the general public.

        1206. Plaintiff and Virgin Islands Subclass members seek all monetary and non-

monetary relief allowed by law, including compensatory, consequential, treble, punitive, and

equitable damages under V.I. Code tit. 12A, § 331; injunctive relief; and reasonable attorneys’

fees and costs.




                                                321
     Case 8:19-md-02879-PWG Document 352 Filed 07/24/19 Page 336 of 373



                                              COUNT 85

                   VIRGIN ISLANDS CONSUMER PROTECTION LAW,

                                     V.I. Code tit. 12A, §§101, et seq.

       1207. Plaintiffs, on behalf of the Virgin Islands Subclass, repeat and allege Paragraphs

1-293, as if fully alleged herein.

       1208. Marriott is a “merchant,” as defined by V.I. Code tit. 12A, § 102(e).

       1209. Plaintiff and Virgin Islands Subclass members are “consumers,” as defined by

V.I. Code tit. 12A, § 102(d).

       1210. Marriott sells and offers for sale “consumer goods” and “consumer services,” as

defined by V.I. Code tit. 12A, § 102(c).

       1211. Marriott engaged in deceptive acts and practices, in violation of V.I. Code tit.

12A, § 101, including:

       a. Failing to implement and maintain reasonable security and privacy measures to

           protect Plaintiff and Virgin Islands Subclass members’ Personal Information, which

           was a direct and proximate cause of the Data Breach;

       b. Failing to identify foreseeable security and privacy risks, remediate identified security

           and privacy risks, and adequately improve security and privacy measures following

           previous cybersecurity incidents, which was a direct and proximate cause of the Data

           Breach;

       c. Failing to comply with common law and statutory duties pertaining to the security

           and privacy of Plaintiff and Virgin Islands Subclass members’ Personal Information,

           including duties imposed by the FTC Act, 15 U.S.C. § 45, which was a direct and

           proximate cause of the Data Breach;




                                                    322
     Case 8:19-md-02879-PWG Document 352 Filed 07/24/19 Page 337 of 373



       d. Misrepresenting that it would protect the privacy and confidentiality of Plaintiff and

          Virgin Islands Subclass members’ Personal Information, including by implementing

          and maintaining reasonable security measures;

       e. Misrepresenting that it would comply with common law and statutory duties

          pertaining to the security and privacy of Plaintiff and Virgin Islands Subclass

          members’ Personal Information, including duties imposed by the FTC Act, 15 U.S.C.

          § 45;

       f. Omitting, suppressing, and concealing the material fact that it did not reasonably or

          adequately secure Plaintiff and Virgin Islands Subclass members’ Personal

          Information; and

       g. Omitting, suppressing, and concealing the material fact that it did not comply with

          common law and statutory duties pertaining to the security and privacy of Plaintiff

          and Virgin Islands Subclass members’ Personal Information, including duties

          imposed by the FTC Act, 15 U.S.C. § 45.

       1212. Marriott’s acts and practices were “deceptive trade practices” under V.I. Code tit.

12A, § 102(a) because Marriott:

       a. Represented that goods or services have sponsorship, approval, accessories,

          characteristics, ingredients, uses, benefits, or quantities that they do not have; or that

          goods or services are of particular standard, quality, grade, style or model, if they are

          of another;

       b. Used exaggeration, innuendo or ambiguity as to a material fact or failure to state a

          material fact if such use deceives or tends to deceive;

       c. Offered goods or services with intent not to sell them as offered;




                                               323
     Case 8:19-md-02879-PWG Document 352 Filed 07/24/19 Page 338 of 373



       d. Stated that a consumer transaction involves consumer rights, remedies or obligations

           that it does not involve.

       1213. Marriott’s acts and practices were also “deceptive” under V.I. Code tit. 12A, §

101 because Marriott made representations or omissions of material facts that had the capacity,

tendency or effect of deceiving or misleading consumers, including Plaintiff and Virgin Islands

Subclass members.

       1214. Marriott intended to mislead Plaintiff and Virgin Islands Subclass members and

induce them to rely on its misrepresentations and omissions.

       1215. Marriott’s representations and omissions were material because they were likely

to deceive reasonable consumers about the adequacy of Marriott’s data security and ability to

protect the confidentiality of consumers’ Personal Information.

       1216. Marriott had a duty to disclose the above-described facts due to the circumstances

of this case and the sensitivity and extensivity of the Personal Information in its possession. This

duty arose because Plaintiff and the Virgin Islands Subclass members reposed a trust and

confidence in Marriott when they provided their Personal Information to Marriott in exchange

for Marriott’s services. In addition, such a duty is implied by law due to the nature of the

relationship between consumers—including Plaintiff and the Virgin Islands Subclass—and

Marriott, because consumers are unable to fully protect their interests with regard to their data,

and placed trust and confidence in Marriott. Marriott’s duty to disclose also arose from its:

       a. Possession of exclusive knowledge regarding the security of the data in its systems;

       b. Active concealment of the state of its security; and/or




                                                324
     Case 8:19-md-02879-PWG Document 352 Filed 07/24/19 Page 339 of 373



       c. Incomplete representations about the security and integrity of its computer and data

           systems, and its prior data breaches, while purposefully withholding material facts

           from Plaintiff and the Virgin Islands Subclass that contradicted these representations.

       1217. Marriott acted intentionally, knowingly, and maliciously to violate the Virgin

Island’s Consumer Protection Law, and recklessly disregarded Plaintiff and Virgin Island

Subclass members’ rights. Marriott’s past data breaches and breaches within the hospitality

industry put it on notice that its security and privacy protections were inadequate.

       1218. As a direct and proximate result of Marriott’s deceptive acts or practices, Plaintiff

and Virgin Islands Subclass members have suffered and will continue to suffer injury,

ascertainable losses of money or property, and monetary and non-monetary damages, including

loss of the benefit of their bargain with Marriott as they would not have paid Marriott for goods

and services or would have paid less for such goods and services but for Marriott’s violations

alleged herein; losses from fraud and identity theft; costs for credit monitoring and identity

protection services; time and expenses related to monitoring their financial accounts for

fraudulent activity; time and money spent cancelling and replacing passports; loss of value of

their Personal Information; and an increased, imminent risk of fraud and identity theft.

       1219. Marriott’s violations present a continuing risk to Plaintiff and Virgin Islands

Subclass members as well as to the general public.

       1220. Plaintiff and Virgin Islands Subclass members seek all monetary and non-

monetary relief allowed by law, including declaratory relief; injunctive relief; the greater of

actual damages or $500 per violation; compensatory, consequential, treble, and punitive

damages; restitution; disgorgement; and reasonable attorneys’ fees and costs.




                                                325
     Case 8:19-md-02879-PWG Document 352 Filed 07/24/19 Page 340 of 373



                  CLAIMS ON BEHALF OF THE VIRGINIA SUBCLASS

                                          COUNT 86

       VIRGINIA PERSONAL INFORMATION BREACH NOTIFICATION ACT,

                              Va. Code. Ann. §§ 18.2-186.6, et seq.

       1221. The Virginia Plaintiff(s) identified above (“Plaintiff,” for purposes of this Count),

individually and on behalf of the Virginia Subclass, repeats and alleges Paragraphs 1-293, as if

fully alleged herein.

       1222. Marriott is required to accurately notify Plaintiff and Virginia Subclass members

following discovery or notification of a breach of its data security system if unencrypted or

unredacted Personal Information was or is reasonably believed to have been accessed and

acquired by an unauthorized person who will, or it is reasonably believed who will, engage in

identify theft or another fraud, without unreasonable delay under Va. Code Ann. § 18.2-

186.6(B).

       1223. Marriott is an entity that owns or licenses computerized data that includes

Personal Information as defined by Va. Code Ann. § 18.2-186.6(B).

       1224. Plaintiff’s and Virginia Subclass members’ Personal Information includes

Personal Information as covered under Va. Code Ann. § 18.2-186.6(A).

       1225. Because Marriott discovered a breach of its security system in which unencrypted

or unredacted Personal Information was or is reasonably believed to have been accessed and

acquired by an unauthorized person, who will, or it is reasonably believed who will, engage in

identify theft or another fraud, Marriott had an obligation to disclose the data breach in a timely

and accurate fashion as mandated by Va. Code Ann. § 18.2-186.6(B).

       1226. By failing to disclose the Data Breach in a timely and accurate manner, Marriott

violated Va. Code Ann. § 18.2-186.6(B).


                                               326
     Case 8:19-md-02879-PWG Document 352 Filed 07/24/19 Page 341 of 373



       1227. As a direct and proximate result of Marriott’s violations of Va. Code Ann. § 18.2-

186.6(B), Plaintiff and Virginia Subclass members suffered damages, as described above.

       1228. Plaintiff and Virginia Subclass members seek relief under Va. Code Ann. § 18.2-

186.6(I), including actual damages.

                                         COUNT 87

                        VIRGINIA CONSUMER PROTECTION ACT,

                               Va. Code Ann. §§ 59.1-196, et seq.

       1229. The Virginia Plaintiff(s) identified above (“Plaintiff,” for purposes of this Count),

individually and on behalf of the Virginia Subclass, repeats and alleges Paragraphs 1-293, as if

fully alleged herein.

       1230. The Virginia Consumer Protection Act prohibits “[u]sing any . . . deception,

fraud, false pretense, false promise, or misrepresentation in connection with a consumer

transaction.” Va. Code Ann. § 59.1-200(14).

       1231. Marriott is a “person” as defined by Va. Code Ann. § 59.1-198.

       1232. Marriott is a “supplier,” as defined by Va. Code Ann. § 59.1-198.

       1233. Marriott engaged in the complained-of conduct in connection with “consumer

transactions” with regard to “goods” and “services,” as defined by Va. Code Ann. § 59.1-198.

Marriott advertised, offered, or sold goods or services used primarily for personal, family or

household purposes; or relating to an individual’s finding or obtaining employment.

       1234. Marriott engaged in deceptive acts and practices by using deception, fraud, false

pretense, false promise, and misrepresentation in connection with consumer transactions,

including:




                                              327
Case 8:19-md-02879-PWG Document 352 Filed 07/24/19 Page 342 of 373



 a. Failing to implement and maintain reasonable security and privacy measures to

    protect Plaintiff and Virginia Subclass members’ Personal Information, which was a

    direct and proximate cause of the Data Breach;

 b. Failing to identify foreseeable security and privacy risks, remediate identified security

    and privacy risks, and adequately improve security and privacy measures following

    previous cybersecurity incidents, which was a direct and proximate cause of the Data

    Breach;

 c. Failing to comply with common law and statutory duties pertaining to the security

    and privacy of Plaintiff and Virginia Subclass members’ Personal Information,

    including duties imposed by the FTC Act, 15 U.S.C. § 45, which was a direct and

    proximate cause of the Data Breach;

 d. Misrepresenting that it would protect the privacy and confidentiality of Plaintiff and

    Virginia Subclass members’ Personal Information, including by implementing and

    maintaining reasonable security measures;

 e. Misrepresenting that it would comply with common law and statutory duties

    pertaining to the security and privacy of Plaintiff and Virginia Subclass members’

    Personal Information, including duties imposed by the FTC Act, 15 U.S.C. § 45;

 f. Omitting, suppressing, and concealing the material fact that it did not reasonably or

    adequately secure Plaintiff and Virginia Subclass members’ Personal Information;

    and

 g. Omitting, suppressing, and concealing the material fact that it did not comply with

    common law and statutory duties pertaining to the security and privacy of Plaintiff




                                         328
     Case 8:19-md-02879-PWG Document 352 Filed 07/24/19 Page 343 of 373



           and Virginia Subclass members’ Personal Information, including duties imposed by

           the FTC Act, 15 U.S.C. § 45.

       1235. Marriott intended to mislead Plaintiff and Virginia Subclass members and induce

them to rely on its misrepresentations and omissions.

       1236. Marriott’s representations and omissions were material because they were likely

to deceive reasonable consumers, including Plaintiff and Virginia Subclass members, about the

adequacy of Marriott’s computer and data security and the quality of the Marriott brand.

       1237. Had Marriott disclosed to Plaintiff and Virginia Subclass members that its data

systems were not secure and, thus, vulnerable to attack, Marriott would have been unable to

continue in business and it would have been forced to adopt reasonable data security measures

and comply with the law. Instead, Marriott received, maintained, and compiled Plaintiff’s and

Virginia Subclass members’ Personal Information as part of the services Marriott provided and

for which Plaintiff and Virginia Subclass members paid without advising Plaintiff and Virginia

Subclass members that Marriott’s data security practices were insufficient to maintain the safety

and confidentiality of Plaintiff’s and Virginia Subclass members’ Personal Information.

Accordingly, Plaintiff and the Virginia Subclass members acted reasonably in relying on

Marriott’s misrepresentations and omissions, the truth of which they could not have discovered.

       1238. In Marriott had a duty to disclose these facts due to the circumstances of this case

and the sensitivity and extensivity of the Personal Information in its possession. In addition, such

a duty is implied by law due to the nature of the relationship between consumers—including

Plaintiff and the Virginia Subclass—and Marriott, because consumers are unable to fully protect

their interests with regard to their data, and placed trust and confidence in Marriott. Marriott’s

duty to disclose also arose from its:




                                                329
     Case 8:19-md-02879-PWG Document 352 Filed 07/24/19 Page 344 of 373



       a. Possession of exclusive knowledge regarding the security of the data in its systems;

       b. Active concealment of the state of its security; and/or

       c. Incomplete representations about the security and integrity of its computer and data

           systems, and its prior data breaches, while purposefully withholding material facts

           from Plaintiff and the Virginia Subclass that contradicted these representations.

       1239. The above-described deceptive acts and practices also violated the following

provisions of VA Code § 59.1-200(A):

       a. Misrepresenting that goods or services have certain quantities, characteristics,

           ingredients, uses, or benefits;

       b. Misrepresenting that goods or services are of a particular standard, quality, grade,

           style, or model; and

       c. Advertising goods or services with intent not to sell them as advertised, or with intent

           not to sell them upon the terms advertised.

       1240. Marriott acted intentionally, knowingly, and maliciously to violate Virginia’s

Consumer Protection Act, and recklessly disregarded Plaintiff and Virginia Subclass members’

rights. Marriott’s past data breaches and breaches within the hospitality industry put it on notice

that its security and privacy protections were inadequate. An award of punitive damages would

serve to punish Marriott for its wrongdoing, and warn or deter others from engaging in similar

conduct.

       1241. As a direct and proximate result of Marriott’s deceptive acts or practices,

Plaintiffs and Virginia Subclass members have suffered and will continue to suffer injury,

ascertainable losses of money or property, and monetary and non-monetary damages, including

loss of the benefit of their bargain with Marriott as they would not have paid Marriott for goods




                                               330
     Case 8:19-md-02879-PWG Document 352 Filed 07/24/19 Page 345 of 373



and services or would have paid less for such goods and services but for Marriott’s violations

alleged herein; losses from fraud and identity theft; costs for credit monitoring and identity

protection services; time and expenses related to monitoring their financial accounts for

fraudulent activity; time and money spent cancelling and replacing passports; loss of value of

their Personal Information; and an increased, imminent risk of fraud and identity theft.

       1242. Marriott’s violations present a continuing risk to Plaintiffs and Virginia Subclass

members as well as to the general public.

       1243. Plaintiff and Virginia Subclass members seek all monetary and non-monetary

relief allowed by law, including actual damages; statutory damages in the amount of $1,000 per

violation if the conduct is found to be willful or, in the alternative, $500 per violation; restitution,

injunctive relief; punitive damages; and attorneys’ fees and costs.

                CLAIMS ON BEHALF OF THE WASHINGTON SUBCLASS

                                            COUNT 88

                       WASHINGTON DATA BREACH NOTICE ACT,

                              Wash. Rev. Code §§ 19.255.010, et seq.

       1244. The Washington Plaintiff(s) identified above (“Plaintiff,” for purposes of this

Count), individually and on behalf of the Washington Subclass, repeats and alleges Paragraphs

1-293, as if fully alleged herein.

       1245. Marriott is a business that owns or licenses computerized data that includes

Personal Information as defined by Wash. Rev. Code § 19.255.010(1).

       1246. Plaintiff’s and Washington Subclass members’ Personal Information includes

Personal Information as covered under Wash. Rev. Code § 19.255.010(5).

       1247. Marriott is required to accurately notify Plaintiff and Washington Subclass

members following discovery or notification of the breach of its data security system if Personal


                                                 331
     Case 8:19-md-02879-PWG Document 352 Filed 07/24/19 Page 346 of 373



Information was, or is reasonably believed to have been, acquired by an unauthorized person and

the Personal Information was not secured, in the most expedient time possible and without

unreasonable delay under Wash. Rev. Code § 19.255.010(1).

         1248. Because Marriott discovered a breach of its security system in which Personal

Information was, or is reasonably believed to have been, acquired by an unauthorized person and

the Personal Information was not secured, Marriott had an obligation to disclose the data breach

in a timely and accurate fashion as mandated by Wash. Rev. Code § 19.255.010(1).

         1249. By failing to disclose the Data Breach in a timely and accurate manner, Marriott

violated Wash. Rev. Code § 19.255.010(1).

         1250. As a direct and proximate result of Marriott’s violations of Wash. Rev. Code §

19.255.010(1), Plaintiff and Washington Subclass members suffered damages, as described

above.

         1251. Plaintiff and Washington Subclass members seek relief under Wash. Rev. Code

§§ 19.255.010(13)(a) and 19.255.010(13)(b), including actual damages and injunctive relief.

                                         COUNT 89

                     WASHINGTON CONSUMER PROTECTION ACT,

                            Wash. Rev. Code Ann. §§ 19.86.020, et seq.

         1252. The Washington Plaintiff(s) identified above (“Plaintiff,” for purposes of this

Count), individually and on behalf of the Washington Subclass, repeats and alleges Paragraphs

1-293, as if fully alleged herein.

         1253. Marriott is a “person,” as defined by Wash. Rev. Code Ann. § 19.86.010(1).

         1254. Marriott advertised, offered, or sold goods or services in Washington and engaged

in trade or commerce directly or indirectly affecting the people of Washington, as defined by

Wash. Rev. Code Ann. § 19.86.010 (2).


                                               332
     Case 8:19-md-02879-PWG Document 352 Filed 07/24/19 Page 347 of 373



       1255. Marriott engaged in unfair or deceptive acts or practices in the conduct of trade or

commerce, in violation of Wash. Rev. Code Ann. § 19.86.020, including:

       a. Failing to implement and maintain reasonable security and privacy measures to

          protect Plaintiff and Washington Subclass members’ Personal Information, which

          was a direct and proximate cause of the Data Breach;

       b. Failing to identify foreseeable security and privacy risks, remediate identified security

          and privacy risks, and adequately improve security and privacy measures following

          previous cybersecurity incidents, which was a direct and proximate cause of the Data

          Breach;

       c. Failing to comply with common law and statutory duties pertaining to the security

          and privacy of Plaintiff and Washington Subclass members’ Personal Information,

          including duties imposed by the FTC Act, 15 U.S.C. § 45, which was a direct and

          proximate cause of the Data Breach;

       d. Misrepresenting that it would protect the privacy and confidentiality of Plaintiff and

          Washington Subclass members’ Personal Information, including by implementing

          and maintaining reasonable security measures;

       e. Misrepresenting that it would comply with common law and statutory duties

          pertaining to the security and privacy of Plaintiff and Washington Subclass members’

          Personal Information, including duties imposed by the FTC Act, 15 U.S.C. § 45;

       f. Omitting, suppressing, and concealing the material fact that it did not reasonably or

          adequately secure Plaintiff and Washington Subclass members’ Personal Information;

          and




                                               333
     Case 8:19-md-02879-PWG Document 352 Filed 07/24/19 Page 348 of 373



       g. Omitting, suppressing, and concealing the material fact that it did not comply with

           common law and statutory duties pertaining to the security and privacy of Plaintiff

           and Washington Subclass members’ Personal Information, including duties imposed

           by the FTC Act, 15 U.S.C. § 45.

       1256. Marriott’s representations and omissions were material because they were likely

to deceive reasonable consumers about the adequacy of Marriott’s data security and ability to

protect the confidentiality of consumers’ Personal Information.

       1257. Marriott acted intentionally, knowingly, and maliciously to violate Washington’s

Consumer Protection Act, and recklessly disregarded Plaintiff and Washington Subclass

members’ rights. Marriott’s past data breaches and breaches within the hospitality industry put it

on notice that its security and privacy protections were inadequate.

       1258. Marriott’s conduct is injurious to the public interest because it violates Wash.

Rev. Code Ann. § 19.86.020, violates a statute that contains a specific legislation declaration of

public interest impact, and/or injured persons and had and has the capacity to injure persons.

Further, its conduct affected the public interest, including the many Washingtonians affected by

the Data Breach.

       1259. As a direct and proximate result of Marriott’s unfair methods of competition and

unfair or deceptive acts or practices, Plaintiff and Washington Subclass members have suffered

and will continue to suffer injury, ascertainable losses of money or property, and monetary and

non-monetary damages, including loss of the benefit of their bargain with Marriott as they would

not have paid Marriott for goods and services or would have paid less for such goods and

services but for Marriott’s violations alleged herein; losses from fraud and identity theft; costs

for credit monitoring and identity protection services; time and expenses related to monitoring




                                               334
     Case 8:19-md-02879-PWG Document 352 Filed 07/24/19 Page 349 of 373



their financial accounts for fraudulent activity; time and money spent cancelling and replacing

passports; loss of value of their Personal Information; and an increased, imminent risk of fraud

and identity theft.

        1260. Plaintiff and Washington Subclass members seek all monetary and non-monetary

relief allowed by law, including actual damages, treble damages, injunctive relief, civil penalties,

and attorneys’ fees and costs.

               CLAIMS ON BEHALF OF THE WEST VIRGINIA SUBCLASS

                                          COUNT 90

            WEST VIRGINIA CONSUMER CREDIT AND PROTECTION ACT,

                                 W. Va. Code §§46A-6-101, et seq.

        1261. The West Virginia Plaintiff(s) identified above (“Plaintiff,” for purposes of this

Count), individually and on behalf of the West Virginia Subclass, repeats and alleges Paragraphs

1-293, as if fully alleged herein.

        1262. Plaintiff and West Virginia Subclass members are “consumers,” as defined by W.

Va. Code § 46A-6-102(2).

        1263. Marriott engaged in “consumer transactions,” as defined by W. Va. Code § 46A-

6-102(2).

        1264. Marriott advertised, offered, or sold goods or services in West Virginia and

engaged in trade or commerce directly or indirectly affecting the people of West Virginia, as

defined by W. Va. Code § 46A-6-102(6).

        1265. Plaintiff sent a demand for relief on behalf of the West Virginia Subclass pursuant

to W. Va. Code § 46A-6-106(c) on January 8, 2019. Marriott has not cured its unfair and

deceptive acts and practices.




                                                335
     Case 8:19-md-02879-PWG Document 352 Filed 07/24/19 Page 350 of 373



       1266. Marriott engaged in unfair and deceptive business acts and practices in the

conduct of trade or commerce, in violation of W. Va. Code § 46A-6-104, including:

       a. Failing to implement and maintain reasonable security and privacy measures to

          protect Plaintiff and West Virginia Subclass members’ Personal Information, which

          was a direct and proximate cause of the Data Breach;

       b. Failing to identify foreseeable security and privacy risks, remediate identified security

          and privacy risks, and adequately improve security and privacy measures following

          previous cybersecurity incidents, which was a direct and proximate cause of the Data

          Breach;

       c. Failing to comply with common law and statutory duties pertaining to the security

          and privacy of Plaintiff and West Virginia Subclass members’ Personal Information,

          including duties imposed by the FTC Act, 15 U.S.C. § 45, which was a direct and

          proximate cause of the Data Breach;

       d. Misrepresenting that it would protect the privacy and confidentiality of Plaintiff and

          West Virginia Subclass members’ Personal Information, including by implementing

          and maintaining reasonable security measures;

       e. Misrepresenting that it would comply with common law and statutory duties

          pertaining to the security and privacy of Plaintiff and West Virginia Subclass

          members’ Personal Information, including duties imposed by the FTC Act, 15 U.S.C.

          § 45;

       f. Omitting, suppressing, and concealing the material fact that it did not reasonably or

          adequately secure Plaintiff and West Virginia Subclass members’ Personal

          Information; and




                                               336
     Case 8:19-md-02879-PWG Document 352 Filed 07/24/19 Page 351 of 373



       g. Omitting, suppressing, and concealing the material fact that it did not comply with

          common law and statutory duties pertaining to the security and privacy of Plaintiff

          and West Virginia Subclass members’ Personal Information, including duties

          imposed by the FTC Act, 15 U.S.C. § 45.

       1267. Marriott’s unfair and deceptive acts and practices also violated W. Va. Code §

46A-6-102(7), including:

       a. Representing that goods or services have sponsorship, approval, characteristics,

          ingredients, uses, benefits or quantities that they do not have;

       b. Representing that goods or services are of a particular standard, quality or grade, or

          that goods are of a particular style or model if they are of another;

       c. Advertising goods or services with intent not to sell them as advertised;

       d. Engaging in any other conduct which similarly creates a likelihood of confusion or of

          misunderstanding;

       e. Using deception, fraud, false pretense, false promise or misrepresentation, or the

          concealment, suppression or omission of any material fact with intent that others rely

          upon such concealment, suppression or omission, in connection with the sale or

          advertisement of goods or services, whether or not any person has in fact been misled,

          deceived or damaged thereby;

       f. Advertising, displaying, publishing, distributing, or causing to be advertised,

          displayed, published, or distributed in any manner, statements and representations

          with regard to the sale of goods or the extension of consumer credit, which are false,

          misleading or deceptive or which omit to state material information which is

          necessary to make the statements therein not false, misleading or deceptive;




                                               337
     Case 8:19-md-02879-PWG Document 352 Filed 07/24/19 Page 352 of 373



       1268. Marriott’s unfair and deceptive acts and practices were unreasonable when

weighed against the need to develop or preserve business, and were injurious to the public

interest, under W. Va. Code § 46A-6-101.

       1269. Marriott’s acts and practices were additionally “unfair” under W. Va. Code §

46A-6-104 because they caused or were likely to cause substantial injury to consumers which

was not reasonably avoidable by consumers themselves and not outweighed by countervailing

benefits to consumers or to competition.

       1270. The injury to consumers from Marriott’s conduct was and is substantial because it

was non-trivial and non-speculative; and involved a monetary injury and/or an unwarranted risk

to the safety of their Personal Information or the security of their identity or credit. The injury to

consumers was substantial not only because it inflicted harm on a significant number of

consumers, but also because it inflicted a significant amount of harm on each consumer.

       1271. Consumers could not have reasonably avoided injury because Marriott’s business

acts and practices unreasonably created or took advantage of an obstacle to the free exercise of

consumer decision-making. By withholding important information from consumers about the

inadequacy of its data security, Marriott created an asymmetry of information between it and

consumers that precluded consumers from taking action to avoid or mitigate injury.

       1272. Marriott’s inadequate data security had no countervailing benefit to consumers or

to competition.

       1273. Marriott’s acts and practices were additionally “deceptive” under W. Va. Code §

46A-6-104 because Marriott made representations or omissions of material facts that misled or

were likely to mislead reasonable consumers, including Plaintiff and West Virginia Subclass

members.




                                                 338
     Case 8:19-md-02879-PWG Document 352 Filed 07/24/19 Page 353 of 373



       1274. Marriott intended to mislead Plaintiff and West Virginia Subclass members and

induce them to rely on its misrepresentations and omissions.

       1275. Marriott’s representations and omissions were material because they were likely

to deceive reasonable consumers about the adequacy of Marriott’s data security and ability to

protect the confidentiality of consumers’ Personal Information.

       1276. Had Marriott disclosed to Plaintiff and West Virginia Subclass members that its

data systems were not secure and, thus, vulnerable to attack, Marriott would have been unable to

continue in business and it would have been forced to adopt reasonable data security measures

and comply with the law. Instead, Marriott received, maintained, and compiled Plaintiff’s and

West Virginia Subclass members’ Personal Information as part of the services Marriott provided

and for which Plaintiff and West Virginia Subclass members paid without advising Plaintiff and

West Virginia Subclass members that Marriott’s data security practices were insufficient to

maintain the safety and confidentiality of Plaintiff’s and West Virginia Subclass members’

Personal Information. Accordingly, Plaintiff and the West Virginia Subclass members acted

reasonably in relying on Marriott’s misrepresentations and omissions, the truth of which they

could not have discovered.

       1277. Marriott had a duty to disclose the above-described facts due to the circumstances

of this case and the sensitivity and extensivity of the Personal Information in its possession. This

duty arose because Plaintiff and the West Virginia Subclass members reposed a trust and

confidence in Marriott when they provided their Personal Information to Marriott in exchange

for Marriott’s services. In addition, such a duty is implied by law due to the nature of the

relationship between consumers—including Plaintiff and the West Virginia Subclass—and




                                                339
     Case 8:19-md-02879-PWG Document 352 Filed 07/24/19 Page 354 of 373



Marriott, because consumers are unable to fully protect their interests with regard to their data,

and placed trust and confidence in Marriott. Marriott’s duty to disclose also arose from its:

       a. Possession of exclusive knowledge regarding the security of the data in its systems;

       b. Active concealment of the state of its security; and/or

       c. Incomplete representations about the security and integrity of its computer and data

           systems, and its prior data breaches, while purposefully withholding material facts

           from Plaintiff and the West Virginia Subclass that contradicted these representations.

       1278. Marriott’s omissions were legally presumed to be equivalent to active

misrepresentations because Marriott intentionally prevented Plaintiff and West Virginia Subclass

members from discovering the truth regarding Marriott’s inadequate data security.

       1279. Marriott acted intentionally, knowingly, and maliciously to violate West

Virginia’s Consumer Credit and Protection Act, and recklessly disregarded Plaintiff and West

Virginia Subclass members’ rights. Marriott’s unfair and deceptive acts and practices were likely

to cause serious harm. Marriott’s past data breaches and breaches within the hospitality industry

put it on notice that its security and privacy protections were inadequate.

       1280. As a direct and proximate result of Marriott’s unfair and deceptive acts or

practices and Plaintiff and West Virginia Subclass members’ purchase of goods or services,

Plaintiff and West Virginia Subclass members have suffered and will continue to suffer injury,

ascertainable losses of money or property, and monetary and non-monetary damages, including

loss of the benefit of their bargain with Marriott as they would not have paid Marriott for goods

and services or would have paid less for such goods and services but for Marriott’s violations

alleged herein; losses from fraud and identity theft; costs for credit monitoring and identity

protection services; time and expenses related to monitoring their financial accounts for




                                                340
     Case 8:19-md-02879-PWG Document 352 Filed 07/24/19 Page 355 of 373



fraudulent activity; time and money spent cancelling and replacing passports; loss of value of

their Personal Information; and an increased, imminent risk of fraud and identity theft.

        1281. Marriott’s violations present a continuing risk to Plaintiff and West Virginia

Subclass members as well as to the general public.

        1282. Plaintiff and West Virginia Subclass members seek all monetary and non-

monetary relief allowed by law, including the greater of actual damages or $200 per violation

under W. Va. Code § 46A-6-106(a); restitution, injunctive and other equitable relief; punitive

damages, and reasonable attorneys’ fees and costs.

                 CLAIMS ON BEHALF OF THE WISCONSIN SUBCLASS

                                           COUNT 91

   NOTICE OF UNAUTHORIZED ACQUISITION OF PERSONAL INFORMATION,

                                   Wis. Stat. §§ 134.98(2), et seq.

        1283. The Wisconsin Plaintiff(s) identified above (“Plaintiff,” for purposes of this

Count), individually and on behalf of the Wisconsin Subclass, repeats and alleges Paragraphs 1-

293, as if fully alleged herein.

        1284. Marriott is a business that maintains or licenses Personal Information as defined

by Wis. Stat. § 134.98(2).

        1285. Plaintiff’s and Wisconsin Subclass members’ Personal Information includes

Personal Information as covered under Wis. Stat. § 134.98(1)(b).

        1286. Marriott is required to accurately notify Plaintiff and Wisconsin Subclass

members if it knows that Personal Information in its possession has been acquired by a person

whom it has not authorized to acquire the Personal Information within a reasonable time under

Wis. Stat. §§ 134.98(2)-(3)(a).




                                                 341
     Case 8:19-md-02879-PWG Document 352 Filed 07/24/19 Page 356 of 373



        1287. Because Marriott knew that Personal Information in its possession had been

acquired by a person whom it has not authorized to acquire the Personal Information, Marriott

had an obligation to disclose the data breach in a timely and accurate fashion as mandated by

Wis. Stat. § 134.98(2).

        1288. By failing to disclose the Data Breach in a timely and accurate manner, Marriott

violated Wis. Stat. § 134.98(2).

        1289. As a direct and proximate result of Marriott’s violations of Wis. Stat. §

134.98(3)(a), Plaintiff and Wisconsin Subclass members suffered damages, as described above.

        1290. Plaintiff and Wisconsin Subclass members seek relief under Wis. Stat. § 134.98,

including actual damages and injunctive relief.

                                          COUNT 92

                   WISCONSIN DECEPTIVE TRADE PRACTICES ACT,

                                        Wis. Stat. § 100.18

        1291. The Wisconsin Plaintiff(s) identified above (“Plaintiff,” for purposes of this

Count), individually and on behalf of the Wisconsin Subclass, repeats and alleges Paragraphs 1-

293, as if fully alleged herein.

        1292. Marriott is a “person, firm, corporation or association,” as defined by Wis. Stat. §

100.18(1).

        1293. Plaintiff and Wisconsin Subclass members are members of “the public,” as

defined by Wis. Stat. § 100.18(1).

        1294. With intent to sell, distribute, or increase consumption of merchandise, services,

or anything else offered by Marriott to members of the public for sale, use, or distribution,

Marriott made, published, circulated, placed before the public or caused (directly or indirectly) to

be made, published, circulated, or placed before the public in Wisconsin advertisements,


                                                  342
     Case 8:19-md-02879-PWG Document 352 Filed 07/24/19 Page 357 of 373



announcements, statements, and representations to the public which contained assertions,

representations, or statements of fact which are untrue, deceptive, and/or misleading, in violation

of Wis. Stat. § 100.18(1).

       1295. Marriott also engaged in the above-described conduct as part of a plan or scheme,

the purpose or effect of which was to sell, purchase, or use merchandise or services not as

advertised, in violation of Wis. Stat. § 100.18(9).

       1296. Marriott’s deceptive acts, practices, plans, and schemes include:

       a. Failing to implement and maintain reasonable security and privacy measures to

           protect Plaintiff and Wisconsin Subclass members’ Personal Information, which was

           a direct and proximate cause of the Data Breach;

       b. Failing to identify foreseeable security and privacy risks, remediate identified security

           and privacy risks, and adequately improve security and privacy measures following

           previous cybersecurity incidents, which was a direct and proximate cause of the Data

           Breach;

       c. Failing to comply with common law and statutory duties pertaining to the security

           and privacy of Plaintiff and Wisconsin Subclass members’ Personal Information,

           including duties imposed by the FTC Act, 15 U.S.C. § 45, which was a direct and

           proximate cause of the Data Breach;

       d. Misrepresenting that it would protect the privacy and confidentiality of Plaintiff and

           Wisconsin Subclass members’ Personal Information, including by implementing and

           maintaining reasonable security measures;




                                                343
     Case 8:19-md-02879-PWG Document 352 Filed 07/24/19 Page 358 of 373



       e. Misrepresenting that it would comply with common law and statutory duties

           pertaining to the security and privacy of Plaintiff and Wisconsin Subclass members’

           Personal Information, including duties imposed by the FTC Act, 15 U.S.C. § 45;

       f. Omitting, suppressing, and concealing the material fact that it did not reasonably or

           adequately secure Plaintiff and Wisconsin Subclass members’ Personal Information;

           and

       g. Omitting, suppressing, and concealing the material fact that it did not comply with

           common law and statutory duties pertaining to the security and privacy of Plaintiff

           and Wisconsin Subclass members’ Personal Information, including duties imposed by

           the FTC Act, 15 U.S.C. § 45.

       1297. Marriott intended to mislead Plaintiff and Wisconsin Subclass members and

induce them to rely on its misrepresentations and omissions.

       1298. Marriott’s representations and omissions were material because they were likely

to deceive reasonable consumers about the adequacy of Marriott’s data security and ability to

protect the confidentiality of consumers’ Personal Information.

       1299. Marriott had a duty to disclose the above-described facts due to the circumstances

of this case and the sensitivity and extensivity of the Personal Information in its possession. This

duty arose because Plaintiff and the Wisconsin Subclass members reposed a trust and confidence

in Marriott when they provided their Personal Information to Marriott in exchange for Marriott’s

services. In addition, such a duty is implied by law due to the nature of the relationship between

consumers—including Plaintiff and the Wisconsin Subclass—and Marriott, because consumers

are unable to fully protect their interests with regard to their data, and placed trust and

confidence in Marriott. Marriott’s duty to disclose also arose from its:




                                                344
     Case 8:19-md-02879-PWG Document 352 Filed 07/24/19 Page 359 of 373



       a. Possession of exclusive knowledge regarding the security of the data in its systems;

       b. Active concealment of the state of its security; and/or

       c. Incomplete representations about the security and integrity of its computer and data

           systems, and its prior data breaches, while purposefully withholding material facts

           from Plaintiff and the Wisconsin Subclass that contradicted these representations.

       1300. Marriott’s failure to disclose the above-described facts is the same as actively

representing that those facts do not exist.

       1301. Marriott acted intentionally, knowingly, and maliciously to violate the Wisconsin

Deceptive Trade Practices Act, and recklessly disregarded Plaintiff and Wisconsin Subclass

members’ rights. Marriott’s past data breaches and breaches within the hospitality industry put it

on notice that its security and privacy protections were inadequate.

       1302. As a direct and proximate result of Marriott’s deceptive acts or practices, Plaintiff

and Wisconsin Subclass members have suffered and will continue to suffer injury, ascertainable

losses of money or property, and monetary and non-monetary damages, including loss of the

benefit of their bargain with Marriott as they would not have paid Marriott for goods and

services or would have paid less for such goods and services but for Marriott’s violations alleged

herein; losses from fraud and identity theft; costs for credit monitoring and identity protection

services; time and expenses related to monitoring their financial accounts for fraudulent activity;

time and money spent cancelling and replacing passports; loss of value of their Personal

Information; and an increased, imminent risk of fraud and identity theft.

       1303. Marriott had an ongoing duty to all Marriott customers to refrain from deceptive

acts, practices, plans, and schemes under Wis. Stat. § 100.18.




                                               345
     Case 8:19-md-02879-PWG Document 352 Filed 07/24/19 Page 360 of 373



        1304. Plaintiff and Wisconsin Subclass members seek all monetary and non-monetary

relief allowed by law, including damages, restitution, reasonable attorneys’ fees, and costs under

Wis. Stat. § 100.18(11)(b)(2), injunctive relief, and punitive damages.

                  CLAIMS ON BEHALF OF THE WYOMING SUBCLASS

                                           COUNT 93

        COMPUTER SECURITY BREACH; NOTICE TO AFFECTED PERSONS,

                              Wyo. Stat. Ann. §§ 40-12-502(a), et seq.

        1305. The Wyoming Plaintiff(s) identified above (“Plaintiff,” for purposes of this

Count), individually and on behalf of the Wyoming Subclass, repeats and alleges Paragraphs 1-

293, as if fully alleged herein.

        1306. Marriott is a business that owns or licenses computerized data that includes

Personal Information as defined by Wyo. Stat. Ann. § 40-12-502(a).

        1307. Plaintiff’s and Wyoming Subclass members’ Personal Information includes

Personal Information as covered under Wyo. Stat. Ann. § 40-12-502(a).

        1308. Marriott is required to accurately notify Plaintiff and Wyoming Subclass members

when it becomes aware of a breach of its data security system if the misuse of personal

identifying information has occurred or is reasonably likely to occur, in the most expedient time

possible and without unreasonable delay under Wyo. Stat. Ann. § 40-12-502(a).

        1309. Because Marriott was aware of a breach of its data security system in which the

misuse of personal identifying information has occurred or is reasonably likely to occur, Marriott

had an obligation to disclose the Data Breach in a timely and accurate fashion as mandated by

Wyo. Stat. Ann. § 40-12-502(a).

        1310. By failing to disclose the Data Breach in a timely and accurate manner, Marriott

violated Wyo. Stat. Ann. § 40-12-502(a).


                                                346
     Case 8:19-md-02879-PWG Document 352 Filed 07/24/19 Page 361 of 373



        1311. As a direct and proximate result of Marriott’s violations of Wyo. Stat. Ann. § 40-

12-502(a), Plaintiff and Wyoming Subclass members suffered damages, as described above.

        1312. Plaintiff and Marriott Subclass members seek relief under Wyo. Stat. Ann. § 40-

12-502(f), including actual damages and equitable relief.

                                              COUNT 94

                        WYOMING CONSUMER PROTECTION ACT,

                                   Wyo. Stat. Ann. §§ 40-12-101, et seq.

        1313. The Wyoming Plaintiff(s) identified above (“Plaintiff,” for purposes of this

Count), individually and on behalf of the Wyoming Subclass, repeats and alleges Paragraphs 1-

293, as if fully alleged herein.

        1314. Marriott is a “person” within the meaning of Wyo. Stat. Ann. § 40-12-102(a)(i).

        1315. Marriott’s goods and services are “merchandise” within the meaning of Wyo.

Stat. Ann. § 40-12-102(a)(vi).

        1316. Marriott engages in “consumer transactions” within the meaning of Wyo. Stat.

Ann. § 40-12-102(a)(ii).

        1317. Marriott has “advertised” its goods and services within the meaning of Wyo. Stat.

Ann. § 40-12-102(a)(v).

        1318. Plaintiff sent a demand for relief on behalf of the Wyoming Subclass pursuant to

Wyo. Stat. Ann. § 40-12-109 on January 8, 2019. Marriott has not cured the deceptive trade

practices described below.

        1319. Marriott knowingly engaged in unfair and deceptive trade practices in the course

of its business and in connection with consumer transactions, including by:




                                                   347
     Case 8:19-md-02879-PWG Document 352 Filed 07/24/19 Page 362 of 373



       a.     Failing to implement and maintain reasonable security measures to protect

       Plaintiff and Wyoming Subclass members’ Personal Information from unauthorized

       disclosure, release, data breaches, and theft;

       b.     Failing to identify foreseeable security risks, remediate identified security risks,

       and adequately improve security following previous cybersecurity incidents;

       c.     Failing to comply with common law and statutory duties pertaining to the security

       of Plaintiff and Wyoming Subclass members’ Personal Information, including duties

       imposed by the FTC Act, 15 U.S.C. § 45;

       d.     Misrepresenting that it would implement and maintain reasonable security

       measures to protect Plaintiff and Wyoming Subclass members’ Personal Information

       from unauthorized disclosure, release, data breaches, and theft;

       e.     Misrepresenting that it would comply with common law and statutory duties

       pertaining to the security of Plaintiff and Wyoming Subclass members’ Personal

       Information, including duties imposed by the FTC Act, 15 U.S.C. § 45;

       f.     Omitting, suppressing, and concealing the material fact that it did not reasonably

       or adequately secure Plaintiff and Wyoming Subclass members’ Personal Information;

       and

       g.     Omitting, suppressing, and concealing the material fact that it did not comply with

       common law and statutory duties pertaining to the security of Plaintiff and Wyoming

       Subclass members’ Personal Information, including duties imposed by the FTC Act, 15

       U.S.C. § 45.

       1320. Through the above-described conduct, Marriott violated Wyo. Stat. Ann. § 40-12-

105(a) by:




                                                348
     Case 8:19-md-02879-PWG Document 352 Filed 07/24/19 Page 363 of 373



       a. Knowingly representing that goods or services have sponsorship, approval,

           accessories or uses they do not have;

       b. Knowingly representing that goods or services are of a particular standard or grade, if

           they are not;

       c. Knowingly representing that goods or services have been supplied in accordance with

           a previous representation, if they have not;

       d. Knowingly advertising goods or services with intent not to sell them as advertised;

           and

       e. Knowingly engaging in unfair or deceptive acts or practices.

       1321. Marriott intentionally made the above-described representations and omissions of

material fact with knowledge of their falsity or reckless disregard of the truth. Marriott knew or

should have known that its computer systems and data security practices were inadequate to

protect Plaintiff and Wyoming Subclass members’ Personal Information and that a data breach

or theft was highly likely to occur. Marriott’s past data breaches and breaches within the

hospitality industry, among other things, did or should have put it on notice that its security was

inadequate. In making its representations and omissions, Marriott intended to mislead Plaintiff

and Wyoming Subclass members and cause them to act or elect not to act based on these

representations and omissions. Marriott knew or should have known that its conduct violated

Wyo. Stat. § 40-12-105.

       1322. Marriott’s representations and omissions were material because they were likely

to deceive reasonable consumers, including Plaintiff and Wyoming Subclass members, about the

adequacy of Marriott’s computer and data security and the quality of the Marriott brand.




                                               349
     Case 8:19-md-02879-PWG Document 352 Filed 07/24/19 Page 364 of 373



       1323. Plaintiff and Wyoming Subclass members were ignorant of the falsity of

Marriott’s representations and omissions, and relied upon these representations and omissions in

choosing to act or not act.

       1324. Marriott had a duty to disclose the above-described facts due to the circumstances

of this case and the sensitivity and extensivity of the Personal Information in its possession. This

duty arose because Plaintiff and the Wyoming Subclass members reposed a trust and confidence

in Marriott when they provided their Personal Information to Marriott in exchange for Marriott’s

services. In addition, such a duty is implied by law due to the nature of the relationship between

consumers—including Plaintiff and the Wyoming Subclass—and Marriott, because consumers

are unable to fully protect their interests with regard to their data, and placed trust and

confidence in Marriott. Marriott’s duty to disclose also arose from its general duty to exercise

reasonable care and its knowledge that Plaintiff and Wyoming Subclass members might

justifiably be induced, by Marriott’s omissions, to act or refrain from acting in a business

transaction. Additionally, Marriott’s had a duty to disclose inadequacies in its data security

because such facts were basic to the transactions in question; Marriott knew Plaintiff and

Wyoming Subclass members were mistaken as to these facts and would enter transactions as a

result; and based on objective circumstances, Plaintiff and Wyoming Subclass members would

reasonably expect a disclosure of those facts. Marriott’s duty to disclose also arose from its:

       a. Possession of exclusive knowledge regarding the security of the data in its systems;

       b. Active concealment of the state of its security; and/or

       c. Incomplete representations about the security and integrity of its computer and data

           systems, and its prior data breaches, while purposefully withholding material facts

           from Plaintiff and the Wyoming Subclass that contradicted these representations.




                                                350
     Case 8:19-md-02879-PWG Document 352 Filed 07/24/19 Page 365 of 373



       1325. As described above, Marriott’s statements and omissions were likely to deceive a

reasonable consumer because consumers provided their Personal Information to Marriott in

exchange for Marriott’s services and because Marriott kept the inadequate state of its security

controls secret from the public. In light of its direct relationship with its customers, Marriott’s

statements concerning data security constitute representations that its security was, at minimum,

reasonable.

       1326. Marriott’s acts and practices were “unfair” because they caused or were likely to

cause substantial injury to consumers which was not reasonably avoidable by consumers

themselves and not outweighed by countervailing benefits to consumers or to competition.

       1327. The injury to consumers from Marriott’s conduct was and is substantial because it

was non-trivial and non-speculative; and involved a monetary injury and/or an unwarranted risk

to the safety of their Personal Information or the security of their identity or credit. The injury to

consumers was substantial not only because it inflicted harm on a significant and unprecedented

number of consumers, but also because it inflicted a significant amount of harm on each

consumer.

       1328. Consumers could not have reasonably avoided injury because Marriott’s business

acts and practices unreasonably created or took advantage of an obstacle to the free exercise of

consumer decision-making. By withholding important information from consumers about the

inadequacy of its data security, Marriott created an asymmetry of information between it and

consumers that precluded consumers from taking action to avoid or mitigate injury.

       1329. Marriott’s inadequate data security had no countervailing benefit to consumers or

to competition.




                                                 351
     Case 8:19-md-02879-PWG Document 352 Filed 07/24/19 Page 366 of 373



       1330. As a direct and proximate result of Marriott’s uncured unfair and deceptive acts or

practices, Plaintiff and Wyoming Subclass members have suffered and will continue to suffer

injury, ascertainable losses of money or property, and monetary and/or non-monetary damages,

including from fraud and identity theft; time and expenses related to monitoring their financial

accounts for fraudulent activity and cancelling and replacing passports; an increased, imminent

risk of fraud and identity theft; and loss of value of their Personal Information.

       1331. Plaintiff and Wyoming Subclass members seek relief pursuant to Wyo. Stat. Ann.

§ 40-12-108, including damages and reasonable attorneys’ fees.

   CLAIMS ON BEHALF OF THE NATIONWIDE CLASS AGAINST ACCENTURE

                                           COUNT 95

                                          NEGLIGENCE

    On Behalf of Plaintiffs and the Nationwide Class, or Alternatively, on Behalf of Plaintiffs
                                   and the Statewide Subclasses

       1332. Plaintiffs repeat and allege Paragraphs 1-293, as if fully alleged herein.

       1333. Accenture owed a duty to Plaintiffs and class members to exercise reasonable care

in securing and safeguarding and protecting their Personal Information in Starwood’s databases

from being compromised, lost, stolen, accessed and misused by unauthorized persons. More

specifically, this duty included, among other things: (a) designing, maintaining, and testing the

security systems of Starwood and Marriott to ensure that Plaintiffs’ and class members’ Personal

Information in Starwood’s and Marriott’s possession was adequately secured and protected; (b)

implementing processes that would detect a breach of its security system in a timely manner; (c)

timely acting upon warnings and alerts, including those generated by its own security systems,

regarding intrusions to its networks; and (d) maintaining data security measures consistent with

industry standards.



                                                352
     Case 8:19-md-02879-PWG Document 352 Filed 07/24/19 Page 367 of 373



       1334. Accenture had a common law duty to prevent foreseeable harm to others. This

duty existed because Plaintiffs and Class members were the foreseeable and probable victims of

Accenture’s inadequate security practices. Accenture knew that its failure to secure its clients’

networks or detect and identify IT security threats could result in the exposure of Plaintiffs’ and

class members’ Personal Information and cause significant harm, which Accenture

acknowledged in its own public filings.

       1335. Accenture’s duty to use reasonable data security measures also arose under

Section 5 of the Federal Trade Commission Act (“FTC Act”), 15 U.S.C. § 45, which prohibits

“unfair . . . practices in or affecting commerce,” including, as interpreted and enforced by the

FTC, the unfair practice of failing to use reasonable measures to protect Personal Information by

companies such as Accenture. Various FTC publications and data security breach orders further

form the basis of Accenture’s duty. In addition, individual states have enacted statutes based

upon the FTC Act that also created a duty.

       1336. Accenture also had a duty to safeguard the Personal Information of Plaintiffs and

class members because of state laws and statutes that require Accenture to reasonably safeguard

Personal Information, as detailed herein.

       1337. Accenture breached the duties it owed to Plaintiffs and class members described

above and thus was negligent. Accenture breached these duties by, among other things, failing

to: (a) exercise reasonable care and implement adequate security systems, protocols and practices

sufficient to protect the Personal Information of Plaintiffs and class members; (b) detect and

identify known and obvious security threats; (c) detect the breach while it was ongoing; and (d)

maintain its clients’ security systems consistent with industry standards.




                                                353
     Case 8:19-md-02879-PWG Document 352 Filed 07/24/19 Page 368 of 373



       1338. Accenture’s wrongful and negligent breach of its duties owed to Plaintiffs and

class members caused their Personal Information to be compromised.

       1339. As a direct and proximate result of Accenture’s negligence, Plaintiffs and class

members have been injured as described herein, and are entitled to damages in an amount to be

proven at trial. Plaintiffs and class members injuries include:

       a. purchasing goods and services they would not have otherwise paid for and/or paying

           more for good and services than they otherwise would have paid, had they known the

           truth about Accenture’s substandard data security practices;

       b. losing the inherent value of their Personal Information;

       c. losing the value of the explicit and implicit promises of data security;

       d. identity theft and fraud resulting from the theft of their Personal Information;

       e. costs associated with the detection and prevention of identity theft and unauthorized

           use of their financial accounts;

       f. costs associated with purchasing credit monitoring, credit freezes, and identity theft

           protection services;

       g. costs associated with replacing passports or addressing passport-related fraud;

       h. loss of value of reward points accumulated through the purchase of goods or services;

       i. unauthorized charges and loss of use of and access to their financial account funds

           and costs associated with inability to obtain money from their accounts or being

           limited in the amount of money they were permitted to obtain from their accounts,

           including missed payments on bills and loans, late charges and fees, and adverse

           effects on their credit;

       j. lowered credit scores resulting from credit inquiries following fraudulent activities;




                                                354
     Case 8:19-md-02879-PWG Document 352 Filed 07/24/19 Page 369 of 373



       k. costs associated with time spent and the loss of productivity or the enjoyment of one’s

           life from taking time to address and attempt to mitigate and address the actual and

           future consequences of the Data Breach, including discovering fraudulent charges,

           cancelling and reissuing cards, purchasing credit monitoring and identity theft

           protection services, imposing withdrawal and purchase limits on compromised

           accounts, and the stress, nuisance and annoyance of dealing with the repercussions of

           the Data Breach; and

       l. the continued imminent and certainly impending injury flowing from potential fraud

           and identify theft posed by their Personal Information being in the possession of one

           or many unauthorized third parties.

                                          COUNT 96

                                    NEGLIGENCE PER SE

 On Behalf of Plaintiffs and the Nationwide Class, or Alternatively, on Behalf of Plaintiffs and
                                   the Statewide Subclasses

       1340. Plaintiffs repeat and allege Paragraphs 1-293, as if fully alleged herein.

       1341. Section 5 of the Federal Trade Commission Act, 15 U.S.C. § 45, prohibits “unfair

. . . practices in or affecting commerce” including, as interpreted and enforced by the Federal

Trade Commission (“FTC”), the unfair act or practice by companies such as Marriott of failing

to use reasonable measures to protect Personal Information. Various FTC publications and orders

also form the basis of Marriott’s duty.

       1342. Accenture violated Section 5 of the FTC Act (and similar state statutes) by failing

to use reasonable measures to protect Personal Information and not complying with industry

standards. Accenture’s conduct was particularly unreasonable given the nature and amount of

Personal Information it knew was stored on Starwood’s database, its obligations to safeguard that



                                                 355
     Case 8:19-md-02879-PWG Document 352 Filed 07/24/19 Page 370 of 373



information knowing the inherent risks of storing such information, and the foreseeable

consequences of a data breach on Starwood’s systems.

        1343. Accenture’s violation of Section 5 of the FTC Act (and similar state statutes)

constitutes negligence per se.

        1344. Nationwide Class members are consumers within the class of persons Section 5 of

the FTC Act (and similar state statutes) was intended to protect.

        1345. Moreover, the harm that has occurred is the type of harm the FTC Act (and

similar state statutes) was intended to guard against. Indeed, the FTC has pursued over fifty

enforcement actions against businesses which, as a result of their failure to employ reasonable

data security measures and avoid unfair and deceptive practices, caused the same harm suffered

by Plaintiffs and the Class.

        1346. As a direct and proximate result of Accenture’s negligence, Plaintiffs and Class

members have been injured as described herein, and are entitled to damages in an amount to be

proven at trial.

                                     REQUEST FOR RELIEF

        Plaintiffs, individually and on behalf of members of the Class and Subclasses, as

applicable, respectfully request that the Court enter judgment in their favor and against

Defendants, as follows:

       1.          That the Court certify this action as a class action, proper and maintainable

pursuant to Rule 23 of the Federal Rules of Civil Procedure; declare that Plaintiffs are proper

class representatives; and appoint Plaintiffs’ Co-Lead and Co-Liaison Counsel as Class Counsel;

       2.          That the Court grant permanent injunctive relief to prohibit Defendants from

continuing to engage in the unlawful acts, omissions, and practices described herein;




                                                356
      Case 8:19-md-02879-PWG Document 352 Filed 07/24/19 Page 371 of 373



      3.         That the Court award Plaintiffs and Class and Subclass members compensatory,

consequential, and general damages in an amount to be determined at trial;

      4.         That the Court order disgorgement and restitution of all earnings, profits,

compensation, and benefits received by Defendants as a result of their unlawful acts, omissions,

and practices;

      5.         That the Court award statutory damages, trebled, and punitive or exemplary

damages, to the extent permitted by law;

      6.         That Plaintiffs be granted the declaratory relief sought herein;

      7.         That the Court award to Plaintiffs the costs and disbursements of the action, along

with reasonable attorneys’ fees, costs, and expenses;

      8.         That the Court award pre- and post-judgment interest at the maximum legal rate;

and

      9.         That the Court grant all such other relief as it deems just and proper.

                                  DEMAND FOR JURY TRIAL

       Plaintiffs demand a jury trial on all claims so triable.




                                                  357
     Case 8:19-md-02879-PWG Document 352 Filed 07/24/19 Page 372 of 373



Dated: July 22, 2019                            Respectfully submitted,


/s/ Amy E. Keller                               /s/ James J. Pizzirusso
Amy E. Keller (D. Md. Bar No. 20816)            James J. Pizzirusso (D. Md. Bar No. 20817)
DICELLO LEVITT GUTZLER LLC                      HAUSFELD LLP
Ten North Dearborn Street, Eleventh Floor       1700 K Street NW Suite 650
Chicago, Illinois 60602                         Washington, D.C. 20006
Tel. 312-214-7900                               Tel. 202-540-7200
akeller@dlcfirm.com                             jpizzirusso@hausfeld.com

/s/ Andrew N. Friedman
Andrew N. Friedman (D. Md. Bar No. 14421)
COHEN MILSTEIN SELLERS & TOLL
PLLC
1100 New York Avenue, NW, Suite 500
Washington, D.C. 20005
Tel. 202-408-4600
afriedman@cohenmilstein.com

                             Consumer Plaintiffs’ Co-lead Counsel


Norman E. Siegel                                MaryBeth V. Gibson
STUEVE SIEGEL HANSON LLP                        THE FINLEY FIRM, P.C.
460 Nichols Road, Suite 200                     3535 Piedmont Road, Bldg. 14, Suite 230
Kansas City, Missouri 64112                     Atlanta, GA 30305
Tel: 816-714-7100                               Tel: 404-320-9979
siegel@stuevesiegel.com                         mgibson@thefinleyfirm.com

Ariana J. Tadler                                Jason Lichtman
TADLER LAW LLP                                  LIEFF CABRASER HEIMANN &
One Penn Plaza, 36th Floor                      BERNSTEIN, LLP
New York, NY 10119                              250 Hudson Street, 8th Floor
Tel: 212-946-9300                               New York, NY 10013
atadler@tadlerlaw.com                           Tel: 212-355-9500
                                                jlichtman@lchb.com

Daniel Robinson                                 Megan Jones
ROBINSON CALCAGNIE, INC.                        HAUSFELD LLP
19 Corporate Plaza Drive                        600 Montgomery Street, Suite 3200
Newport Beach, CA 92660                         San Francisco, CA 94111
Tel: 949-720-1288                               Tel: 415-633-1908
drobinson@robinsonfirm.com                      mjones@hausfeld.com




                                             358
     Case 8:19-md-02879-PWG Document 352 Filed 07/24/19 Page 373 of 373



Timothy Maloney                                   Gary F. Lynch
JOSEPH GREENWALD & LAAKE, P.A.                    CARLSON LYNCH LLP
6404 Ivy Lane, Suite 400                          1133 Penn Avenue, 5th Floor
Greenbelt, MD 20770                               Pittsburgh, PA 15222
Tel: 301-220-2200                                 Tel: 412-322-9243
tmaloney@jgllaw.com                               glynch@carlsonlynch.com

                            Consumer Plaintiffs’ Steering Committee


Veronica Nannis                                   James Ulwick
JOSEPH GREENWALD & LAAKE, P.A.                    KRAMON & GRAHAM PA
6404 Ivy Lane, Suite 400                          1 South Street, Suite 2600
Greenbelt, MD 20770                               Baltimore, MD 21202
Tel: 301-220-2200                                 Tel: 410-347-7426
vnannis@jgllaw.com                                julwick@kg-law.com

                             Consumer Plaintiffs’ Liaison Counsel




                                CERTIFICATE OF SERVICE

       I, Veronica Nannis, Co-Liaison Counsel for the Consumer Plaintiffs, hereby certify that

on July 22, 2019, I served the above and foregoing Consolidated Consumer Class Action

Complaint on all counsel of record by filing it electronically with the Clerk of the Court using

the CM/ECF filing system.


                                              /s/ Veronica Nannis




                                               359
